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              Country Reports on
              Terrorism 2011

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States Code, Section 2656f (the “Act”), which requires the Department of State to provide to
Congress a full and complete annual report on terrorism for those countries and groups meeting
the criteria of the Act.



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CHAPTER 1
STRATEGIC ASSESSMENT
The death of Usama bin Ladin, al-Qa’ida’s founder and sole leader for the past 22 years,
highlighted a landmark year in the global effort to counter terrorism. In addition to being an
iconic leader whose personal story had a profound attraction for violent extremists, bin Ladin
was also a prime advocate of the group’s focus on the United States as a terrorist target. Even in
the years when he had to limit and manage his contacts with the rest of the organization, it was
clear from the trove of information collected from the compound in Abbotabad, Pakistan, that he
remained deeply involved in directing its operations and setting its strategy.

Bin Ladin was not the only top al-Qa’ida leader who was removed from the battlefield in 2011.
In June, Ilyas Kashmiri, one of the most capable terrorist operatives in South Asia, was killed in
Pakistan. Also in June, Harun Fazul, an architect of the 1998 U.S. Embassy bombings in Kenya
and Tanzania, and the foremost member of al-Qa’ida in East Africa, was killed in Somalia by the
Transitional Federal Government. In August, Atiya Abdul Rahman, al-Qa’ida’s second-in-
command after bin Ladin’s death and a senior operational commander, was killed in Pakistan. In
September, Anwar al-Aulaqi, al-Qa’ida in the Arabian Peninsula’s chief of external operations,
was killed in Yemen.

The loss of bin Ladin and these other key operatives puts the network on a path of decline that
will be difficult to reverse. These successes are attributable, in large part, to global
counterterrorism cooperation, which has put considerable pressure on the al-Qa’ida core
leadership in Pakistan. But despite blows in western Pakistan, al-Qa’ida, its affiliates, and its
adherents remain adaptable. They have shown resilience; retain the capability to conduct
regional and transnational attacks; and, thus, constitute an enduring and serious threat to our
national security.

As al-Qa’ida’s core has gotten weaker, we have seen the rise of affiliated groups around the
world. Among these al-Qa’ida affiliates, al-Qa’ida in the Arabian Peninsula (AQAP) represents
a particularly serious threat. At year’s end, AQAP had taken control of territory in southern
Yemen and was exploiting unrest in that country to advance plots against regional and Western
interests.

In the Sahel, al-Qa’ida in the Islamic Maghreb (AQIM), historically the weakest of the al-Qa’ida
affiliates, saw its coffers filled in 2011 with kidnapping ransoms – a practice that other terrorist
groups are also using to considerable advantage. These resources, together with AQIM’s efforts
to take advantage of the instability in Libya and Mali, have raised concern about this group’s
trajectory.

In the Horn of Africa, al-Shabaab pursued a diverse set of targets, demonstrating that it had both
the willingness and ability to conduct attacks outside of Somalia. In all, al-Shabaab’s 2011
attacks resulted in the deaths of more than 1,000 people. Among its most deadly attacks were a
string of armed assaults in May that killed over 120 people, a June attack on African Union
Mission in Somalia peacekeepers that killed 13, and an October vehicle-borne improvised
explosive device attack on a government compound in Mogadishu that killed about 70. In

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Somalia, however, al-Shabaab has been weakened over the past year as a result of the African
Union Mission in Somalia, and Kenyan and Ethiopian military offensives that forced the group’s
retreat from key locations including Mogadishu.

In other areas that have been critically important theaters over the last decade, we recognize a
persistent threat. With the United States withdrawal of its final forces from Iraq, Iraqi Security
Forces have continued to confront the al-Qa’ida affiliate there, showing substantial capability
against the group. Al-Qa’ida in Iraq (AQI) suffered leadership losses and continued to fail to
mobilize a Sunni community that turned decisively against it after the carnage in the previous
decade. However, AQI is resilient, as noted by its intermittent high-profile attacks in country,
and likely to carry out additional attacks into the foreseeable future. In fact, towards the end of
2011, AQI was believed to be extending its reach into Syria and seeking to exploit the popular
uprising against the dictatorship of Bashar al-Asad.

Despite the counterterrorism successes in disrupting and degrading the capabilities of al-Qa’ida
and its affiliates, al-Qa’ida and violent extremist ideology and rhetoric continued to spread in
some parts of the word. For example, while not a formal al-Qa’ida affiliate, elements of the
group known as Boko Haram launched widespread attacks across Nigeria, including one in
August against the United Nations headquarters in Abuja, which signaled their ambition and
capability to attack non-Nigerian targets. The Sinai Peninsula is another area of concern. A
number of loosely knit militant groups have formed in the Sinai, with some claiming ties and
allegiance to al-Qa’ida – though no formal links have been discovered. Also in August, a group
of heavily armed militants who entered southern Israel through the Sinai conducted a series of
coordinated attacks against Israeli civilian and military targets near Eilat, killing eight.

Although there were no terrorist attacks in the United States in 2011, we remain concerned about
threats to the homeland. In the last several years, individuals who appear to have been trained by
al-Qa’ida and its affiliates have operated within U.S. borders. Najibullah Zazi, a U.S. lawful
permanent resident, obtained training in Pakistan and, in 2010, pled guilty to charges that he was
planning to set off several bombs in the United States. And on October 14, 2011, Nigerian
national Umar Abdulmutallab pled guilty to all charges against him in U.S. federal court in
Michigan regarding his unsuccessful attempt on December 25, 2009, to detonate an explosive
aboard a flight bound for Detroit, Michigan at the behest of AQAP. While these individuals had
direct ties to international terrorist groups, separate incidents involving so-called “lone wolf”
terrorists also pose a threat to the U.S. homeland – one that can be difficult to detect in advance.

Al-Qa’ida and its affiliates and adherents are far from the only terrorist threat the United States
faces. Iran, the world’s leading state sponsor of terrorism, continues to undermine international
efforts to promote peace and democracy and threatens stability, especially in the Middle East and
South Asia. Its use of terrorism as an instrument of policy was exemplified by the involvement
of elements of the Iranian regime in the plot to assassinate the Saudi Ambassador in Washington,
a conspiracy that the international community strongly condemned through a UN General
Assembly resolution in November.

Despite its pledge to support the stabilization of Iraq, in 2011 Iran continued to provide lethal
support – including weapons, training, funding, and guidance – to Iraqi Shia militant groups that

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targeted U.S. and Iraqi forces. Iran also continued to provide weapons, training, and funding to
Hamas and other Palestinian terrorist groups, including Palestine Islamic Jihad and the Popular
Front for the Liberation of Palestine-General Command. Since the end of the 2006 Israeli-
Hizballah conflict, Iran has provided significant quantities of weaponry and funding to
Hizballah, in direct violation of United Nations Security Council Resolution 1701.

Both Hamas and Hizballah continued to play destabilizing roles in the Middle East. As a well-
armed terrorist group in Lebanon, Hizballah persisted in using force and threats to intimidate the
Lebanese people. The group’s robust relationships with the regimes in Iran and Syria,
involvement in illicit financial activity, continued engagement in international attack planning,
and acquisition of increasingly sophisticated missiles and rockets continued to threaten U.S.
interests in the region. Meanwhile, Hamas retained its grip on Gaza, where it continued to
stockpile weapons that pose a serious threat to regional stability. Moreover, Hamas and other
Gaza-based groups continue to smuggle weapons, materiel, and people through the Sinai, taking
advantage of the vast and largely ungoverned territory.

In South Asia, groups such as Lashkar-e-Tayyiba (LeT), Tehrik-e Taliban Pakistan, and the
Haqqani Network continued to cite U.S. interests as legitimate targets for attacks. In 2011, LeT
was responsible for multiple attacks. Most of the attacks occurred in Jammu and Kashmir, with
the deadliest being a May 27 attack on a private residence in the city of Kupwara that killed two
civilians. The Indian Mujahideen, which shares the LeT’s ideology, committed multiple deadly
attacks in crowded areas of Mumbai and against the High Court in New Delhi.

While terrorism from non-state actors related to al-Qa’ida, as well as state-sponsored terrorism
originating in Iran, remained the predominant concern of the United States, a wide range of other
forms of violent extremism undermined peace and security around the world in 2011. The
Kurdistan Workers’ Party (PKK) was active in 2011, with approximately 61 credited attacks that
killed at least 88 people and wounded over 200. Anarchists in Greece and Italy continued to
launch attacks, sometimes infiltrating otherwise peaceful anti-austerity protests, to target
government offices, foreign missions, and symbols of the state – albeit at a lower level than in
previous years. In Northern Ireland, dissident Republican groups continued their campaigns of
violence. The inability of any country to escape from terrorism was underscored in July in
Norway, a country that has rarely been targeted in the past, when a lone right-wing extremist
espousing a radical xenophobia carried out an attack that left more than 70 people dead and
dozens more injured.




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CHAPTER 2
COUNTRY REPORTS ON TERRORISM

                                           AFRICA

OVERVIEW

Foreign fighters, a small number of al-Qa’ida operatives, and other indigenous violent extremists
continued to pose a threat to regional security throughout East Africa. Al-Shabaab continued to
conduct frequent attacks on government, military, and civilian targets inside Somalia while the
group’s leadership remained actively interested in attacking U.S. and Western interests in the
region. In the Trans-Sahara region, al-Qa’ida in the Islamic Maghreb (AQIM) continued kidnap
for ransom operations against Western Europeans and Africans. AQIM conducted small-scale
ambushes and attacks on security forces in Algeria, Mali, Mauritania, and Niger. Regional
efforts to contain and marginalize AQIM continued, as did capacity building efforts of military
and law enforcement personnel. Conflict in Nigeria continued throughout the northern part of
the country with hundreds of casualties as indigenous terrorist attacks increased. The Nigerian
extremist group, Boko Haram, claimed responsibility for some of these attacks.

TRANS-SAHARA COUNTERTERRORISM PARTNERSHIP (TSCTP)

Established in 2005, the Trans-Sahara Counterterrorism Partnership (TSCTP) is a U.S.-funded
and implemented multi-faceted, multi-year effort designed to counter violent extremism and
contain and marginalize terrorist organizations by strengthening individual country and regional
counterterrorism capabilities, enhancing and institutionalizing cooperation among the region’s
security and intelligence organizations, promoting democratic governance, and discrediting
terrorist ideology. The core goals are to enhance the indigenous capacities of governments in the
pan-Sahel (Mauritania, Mali, Chad, Niger, Nigeria, Senegal, and Burkina Faso) to confront the
challenge posed by terrorist organizations in the trans-Sahara; and to facilitate cooperation
between those countries and U.S. partners in the Maghreb (Morocco, Algeria, and Tunisia).
TSCTP has been successful in slowly building capacity and cooperation despite political
setbacks over the years caused by coups d’etats, ethnic rebellions, and extra-constitutional
actions that have interrupted work and progress with select countries of the partnership. In 2011,
some partner nations succeeded in disrupting the movement and operations of al-Qa’ida in the
Islamic Maghreb (AQIM) in the trans-Sahara. For example, Mauritania and Mali defeated
AQIM twice at Ouagadou Forest and Mauritania defeated AQIM at Bessiknou.

THE PARTNERSHIP FOR REGIONAL EAST AFRICAN COUNTERTERRORISM
(PREACT)

PREACT, formerly known as the East Africa Regional Strategic Initiative (EARSI), is the East
Africa counterpart to the Trans-Sahara Counterterrorism Partnership (TSCTP). First established
in 2009, PREACT is a U.S.-funded and implemented multi-year, multi-faceted program designed
to build the counterterrorism capacity and capability of member countries to thwart short-term
terrorist threats and address longer-term vulnerabilities. It uses law enforcement, military, and

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development resources to achieve its strategic objectives, including reducing the operational
capacity of terrorist networks, expanding border security, enhancing and institutionalizing
cooperation among the region’s security organizations, improving democratic governance, and
discrediting terrorist ideology. PREACT member countries include Burundi, Comoros, Djibouti,
Ethiopia, Kenya, Rwanda, Seychelles, Somalia, South Sudan, Sudan, Tanzania, and Uganda.

BURKINA FASO

Overview: The Government of Burkina Faso remained vigilant and responsive to the threats
and dangers posed by terrorist organizations, specifically, al-Qa’ida in the Islamic Maghreb
(AQIM), despite instability resulting from political unrest and violence in neighboring Cote
d'Ivoire, the spring Burkinabe military mutinies, and student demonstrations. The Government
of Burkina Faso proactively issued several notices to the diplomatic and international community
regarding the threat posed by AQIM and was responsive to U.S. government requests for
military and security assistance.

Burkina Faso actively participated in the Trans-Sahara Counterterrorism Partnership (TSCTP).
In response to President Compaore's requests for counterterrorism, intelligence, and border
security assistance, the first series of Antiterrorism Assistance (ATA) program courses were held
with the primary beneficiaries being the National Police and National Gendarmerie. Although
Burkinabe government's counterterrorism capabilities remained limited, the initiation and
delivery of U.S. government training and equipment and its continued participation in regional
counterterrorism conferences and training opportunities were important benchmarks for 2011.

Legislation and Law Enforcement: Despite continued financial constraints, the Burkinabe
government increased armed patrols in the capital and along the border in response to the
January and November AQIM kidnapping operations in neighboring Niger and Mali. The
Burkinabe government developed response plans should a kidnapping for ransom operation be
attempted in Burkina Faso.

Countering Terrorist Finance: Burkina Faso is a member of the Inter-Governmental Action
Group Against Money Laundering in West Africa (GIABA), a Financial Action Task Force-style
regional body. According to Burkina Faso’s most recent GIABA Action Plan, the Ministry of
Finance’s newly created Financial Intelligence Unit, known as the Cellule Nationale de
Traitement des Informations Financières (CENTIF) will likely require additional personnel,
additional training, and better funding in order to be able to carry out its mission. CENTIF
collects and processes financial information on money laundering and terrorist financing. In
October, CENTIF organized a workshop for the financial sector on money laundering and
terrorist financing with the United Nations Office of Drugs and Crime. There were no known
terrorist financing prosecutions in 2011. For further information on money laundering and
financial crimes, we refer you to the 2011 International Narcotics Control Strategy Report
(INCSR), Volume 2, Money Laundering and Financial Crimes:
http://www.state.gov/j/inl/rls/nrcrpt/index.htm.

Regional and International Cooperation: Burkina Faso participated in regional and
international counterterrorism conferences and training exercises. The Burkinabe military

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continued its participation in AFRICOM's annual regional counterterrorism FLINTLOCK
exercise. The Burkinabe government signed an agreement with France in 2011 to improve and
construct border security checkpoints in the tri-border area with Mali and Niger, and to install
systems designed to track movement into and out of the country at border posts. Burkina Faso
participated in the Global Counterterrorism Forum’s Sahel Working Group.

Countering Radicalization and Violent Extremism: The Burkinabe government encourages
regular and ongoing interfaith dialogues as a way to mitigate violent extremism. Muslim
religious leaders regularly denounced violence and called for peaceful coexistence of all
religions.

BURUNDI

Overview: Although Burundi's continued participation in the African Union Mission in Somalia
has made it a target of al-Shabaab, international terrorism has not yet struck Burundi. While
Burundi lacked a sophisticated capacity to foil potential attacks, it has shown an interest in
addressing international terrorism. A counterterrorism cell was formed in 2010 and consists of
elements of the police, military, and the National Intelligence Service. The cell's physical
security recommendations have been put into operation but the cell has not yet implemented a
comprehensive plan to counter terrorism.

Legislation and Law Enforcement: Burundi has provisions in its penal code defining all forms
of terrorism. Sentences for acts of terrorism range from 10 to 20 years or life imprisonment if
the act results in the death of a person. The law was applied in court for the first time in
December when a group was arrested for plotting domestic terrorist activities. Burundi also
continued its participation in the Department of State’s Antiterrorism Assistance program.

Countering Terrorist Financing: Burundi was not considered a significant center for terrorist
financing. The Government of Burundi has created counterterrorist financing laws but has yet to
commit funding, provide training, or implement policies. For further information on money
laundering and financial crimes, we refer you to the 2011 International Narcotics Control
Strategy Report (INCSR), Volume 2, Money Laundering and Financial Crimes:
http://www.state.gov/j/inl/rls/nrcrpt/index.htm.

Regional and International Cooperation: Burundi cooperated with neighboring countries to
exchange information on suspected terrorists but did not participate in any formal regional or
international counterterrorism working groups. Occasionally, Burundi mounted counterterrorism
operations in conjunction with neighboring countries. An example of this was an operation
conducted in conjunction with Tanzania to infiltrate and arrest armed groups labeled by
Burundian authorities as domestic terrorists.

Countering Radicalization and Violent Extremism: Several international organizations
funded vocational training and economic development programs designed for vulnerable
populations.

CHAD

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Overview: The Government of Chad was a strong counterterrorism partner in 2011. Countering
international terrorism and extremist threats in Chad were priorities at the highest levels of
Chad’s government, with a particular focus on countering potential terrorist threats from across
the Sahel region. Special Operations Command Africa, through the Joint Special Operations
Task Force-Trans Sahara, maintained a Special Operations Forces Liaison Element in Chad to
support Chadian counterterrorism forces with training and logistical support. This element
works primarily with the Chadian Special Anti-Terrorism Group (SATG), who has the mandate
to conduct nation-wide security and counterterrorism operations with a specific focus on border
security and interdiction of those trafficking in illicit goods.

Legislation and Law Enforcement: Chadian criminal law does not explicitly criminalize
terrorism. However, certain general provisions of the Penal Code (1967) have been used to
prosecute acts of terrorism. Chad continued its participation in the Department of State’s
Antiterrorism Assistance program.

Countering Terrorist Finance: Chad is a member of the Groupe d’Action Contre le
Blanchiment d’Argent en Afrique Centrale (GABAC), an observer to the Financial Action Task
Force (FATF) with the same mandate and status as a FATF-style regional body. GABAC works
directly with Chad’s Financial Intelligence Unit, the National Financial Investigative Agency
(ANIF). ANIF is hindered by serious resource constraints, and law enforcement and customs
officials need training in financial crimes enforcement. For further information on money
laundering and financial crimes, we refer you to the 2011 International Narcotics Control
Strategy Report (INCSR), Volume 2, Money Laundering and Financial Crimes:
http://www.state.gov/j/inl/rls/nrcrpt/index.htm.

Regional and International Cooperation: Chad’s counterterrorism coordination was largely
on a bilateral basis, although Chad is a member state and participates in security-related
mechanisms of the Economic Community of Central African States. Chad held bilateral
counterterrorism discussions at the head-of-state level with Cameroon, Sudan, and Nigeria.
Chad co-sponsored the November UN General Assembly Resolution condemning the Iranian
plot against the Saudi Ambassador to the United States.

Countering Radicalization and Violent Extremism: As a participant in the Trans-Sahara
Counterterrorism Partnership (TSCTP), Chad participated in targeted projects to counter violent
extremism. Specific activities have included building the capacity of national civil society
organizations, engagement of community and youth empowerment, promoting interfaith
dialogue and religious tolerance, and media and outreach work.

DEMOCRATIC REPUBLIC OF THE CONGO

Overview: There was no credible evidence to indicate a significant presence of al-Qa’ida (AQ)-
related groups in the Democratic Republic of the Congo (DRC). The DRC is a vast country
bordered by nine neighbors. The Government of the DRC lacked complete control over some
areas of its territory, especially in the East where various armed groups operate, and had very
limited capacity to monitor and disrupt potential terrorist threats. Furthermore, counterterrorism

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was not a priority issue for the government. The DRC's inability to control its porous borders
and its lack of authority over remote areas provided opportunities for terrorist organizations
seeking safe havens.

The three principal foreign armed groups that operated in the DRC and posed a threat to security
and stability were the Democratic Forces for the Liberation of Rwanda (known by its French
acronym as FDLR) and two Ugandan armed groups, the Lord's Resistance Army (LRA) and
Allied Democratic Forces/National Army for the Liberation of Uganda (ADF/NALU). The
FDLR, which includes former soldiers and supporters of the regime that orchestrated the 1994
Rwanda genocide, continued to operate with relative impunity in parts of the North and South
Kivu Provinces. While no longer the military threat to the current Rwandan government it once
was, the FDLR contributed to the destabilization of the area through its continued promulgation
of anti-Tutsi propaganda and through its cruel treatment of the local civilian population.

As a result of continued military pressure from both the UN Organization Stabilization Mission
in the Congo (MONUSCO) and the Congolese Armed Forces (FARDC), the FDLR has been
reduced to approximately half of its original strength in the provinces of North and South Kivu.
Additionally, the arrest of key leaders and numerous FDLR defections, including some by high-
ranking leadership such as the strategy and plans chief, also contributed to low morale amongst
the rank and file.

The ADF/NALU is made up of Ugandan opposition forces, particularly in North Kivu province.
ADF/NALU has been described by the Government of Uganda as an Islamic extremist group. In
early 2011, ADF/NALU increased its activities and became a security threat to the population of
North Kivu.

2011 Terrorist Incidents: The year witnessed numerous attacks by the LRA, FDLR, and ADF.
The ADF remained active but has suffered setbacks due to a number of FARDC offensives.
MONUSCO attributed 32 attacks to the LRA in the month of June, making it the most active
month, while September was the least active with only five registered attacks.

Legislation and Law Enforcement: The DRC has no comprehensive counterterrorism
legislation, but a 2001 presidential decree established a National Committee for the Coordination
of Anti-International Terrorism within a counterterrorism office in its Ministry of Interior. The
DRC government made some progress on its border security management program. In
collaboration with the Organization for International Migration (IOM), the Government of the
DRC established national and provincial oversight committees to further develop the program’s
implementation. The Congolese National Police was equipped with biometrics, and the Director
General of Migration established a personal identification and recognition system, developed by
IOM, that was used at eight strategic border posts.

Countering Terrorist Finance: The DRC has Anti-Money Laundering/Counterterrorist
Financing legislation and a Financial Intelligence Unit (CENAREF). Many banks installed new
computerized communications and accounting networks, making it easier to trace formal
financial transactions. The DRC is not a member of any Financial Action Task Force (FATF)-
style regional body. There were no legal restrictions in the DRC prohibiting the sharing of

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financial account information with foreign entities. In 2011, the DRC signed a mutual assistance
agreement with Belgium's Financial Intelligence Unit, the Cellule des Traitements des
Informations Financieres.

The DRC is home to a Lebanese expatriate community that numbers several thousand, some of
whom ran businesses that were owned or controlled by Hizballah supporters, including
Executive Order 13224 designees and brothers, Kassim Tajideen, Ali Tajideen, and Husayn
Tajideen. CENAREF received 170 suspicious transaction reports in 2011. Several DRC
government agencies, including the courts and the National Intelligence Agency (ANR), sent 15
cases involving suspicious financial transactions to CENAREF for further investigation.
CENAREF also received 52 cases from anonymous sources or public information and another
103 that required analysis.

For further information on money laundering and financial crimes, we refer you to the 2011
International Narcotics Control Strategy Report (INCSR), Volume 2, Money Laundering and
Financial Crimes: http://www.state.gov/j/inl/rls/nrcrpt/index.htm.

Regional and International Cooperation: The FDLR and LRA threats have a regional impact
on security. Affected countries have cooperated in the past to counter the threat and ensure
regional stability. The Government of the DRC met several times in February, June, and July
with the Government of Uganda to discuss countering LRA and ADF threats. In April, the
Government of the DRC also participated in an AU-led regional assessment on counter-LRA
issues. In September, for the first time, the Government of the DRC hosted Uganda, South
Sudan, and the Central African Republic delegations in Kinshasa to formulate a common
strategic plan on the eradication of the LRA.

The Government of the DRC is a member of numerous regional organizations and has diverse
cooperation agreements – with the South African Development Community, the Economic
Community of the Great Lakes Countries, and the Economic Community of Central Africa – to
exchange information and enhance border security. The DRC is a member of the International
Conference of the Great Lakes Region and will head this organization for the next five years.

DJIBOUTI

Overview: Djibouti remained an active counterterrorism partner. Its 2011 counterterrorism
efforts focused on increased training for police and military members.

Legislation and Law Enforcement: Due to its geographic location and porous borders,
counterterrorism remained a high priority for all Djiboutian law enforcement entities. The most
visible of these efforts were ad hoc checkpoints within the capital city and an increased emphasis
at border control points to screen for potential security threats. Djibouti continued to process
travelers on entry and departure at its international airport and seaport with the Personal
Identification Secure Comparison Evaluation System (PISCES) and added fingerprinting
capability this year. Djibouti continued its participation in the Department of State’s
Antiterrorism Assistance program.


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Countering Terrorist Finance: Djibouti is not a member of any Financial Action Task Force-
style regional body. In May, its anti-money laundering legislation was amended to include the
criminalization of terrorist financing. The Central Bank of Djibouti has a Financial Intelligence
Unit, the Fraud Investigation Unit (FIU). Charged with investigating money laundering and
terrorist finance-related issues, the FIU received notifications for approximately 10 suspicious
transactions in 2011. Djibouti has been the focal point for discussions on money laundering and
trafficking in the region. For further information on money laundering and financial crimes, we
refer you to the 2011 International Narcotics Control Strategy Report (INCSR), Volume 2,
Money Laundering and Financial Crimes: http://www.state.gov/j/inl/rls/nrcrpt/index.htm.

Regional and International Cooperation: Djibouti hosts Camp Lemonnier, the only U.S.
military site in Africa, which served as headquarters to close to 4,000 U.S. troops, including
those serving with the U.S. Africa Command’s Combined Joint Task Force-Horn of Africa. In
2011, the Government of Djibouti deployed the advance party for a battalion of troops from the
Djiboutian Armed Forces to join the African Union Mission in Somalia.

ERITREA

Overview: There was no dialogue between the Eritrea and the United States regarding
terrorism. In May 2011, for the fourth consecutive year, the U.S. Department of State
determined, pursuant to section 40A of the Arms Export Control Act, that Eritrea was not
cooperating fully with U.S. antiterrorism efforts.

The Government of Eritrea has been under United Nations Security Council (UNSC) sanctions
since December 2009. United Nations Security Council Resolution (UNSCR) 1907 demanded
that Eritrea “cease arming, training, and equipping armed groups and their members, including
al-Shabaab, that aim to destabilize the region.” In December, UNSCR 2023 was adopted, which
condemned the Eritrean government’s violations of UNSCRs and prohibits Eritrea from using
the “Diaspora Tax” to destabilize the Horn of Africa region and to violate the sanctions regime.
 (See http://www.un.org/News/Press/docs/2011/sc10471.doc.htm for further information on
UNSCR 2023.)

The Government of Eritrea has cooperated in providing over-flight clearance to U.S. military
aircraft engaged in regional security missions. However, it has linked broader cooperation to the
unresolved border dispute with Ethiopia.

Legislation and Law Enforcement: Security was strengthened on the Eritrean/Ethiopian
border, but it appeared this was only to deter citizens from fleeing Eritrea. The Government of
Eritrea has a shoot-to-kill order for Eritreans trying to flee their country by crossing the border
with Ethiopia. Eritrean troops regularly chased escapees into Sudan to try to capture them and
bring them back to Eritrea.

Countering Terrorist Finance: There was very little transparency and disclosure by the
banking and financial sector in Eritrea. For further information on money laundering and
financial crimes, we refer you to the 2011 International Narcotics Control Strategy Report


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(INCSR), Volume 2, Money Laundering and Financial Crimes:
http://www.state.gov/j/inl/rls/nrcrpt/index.htm.

ETHIOPIA

Overview: The Government of Ethiopia viewed instability in Somalia as a critical national
security threat and maintained a defensive military presence along the Somali border to stem
potential infiltration of extremists into Ethiopia. It also remained concerned about domestic
groups such as the Ogaden National Liberation Front (ONLF) and the Oromo Liberation Front
(OLF). Despite the Ethiopian government’s peace agreement with the United Western Somali
Liberation Front (UWSLF) and a faction of the ONLF in 2010, elements from both groups, as
well as the OLF, continued their attempts to target Ethiopian government officials and
infrastructure. This included a foiled attempt by OLF elements to attack Addis Ababa during the
African Union (AU) Summit in January 2011. The Ethiopian government cooperated with the
U.S. government on military, intelligence, and security issues.

Legislation and Law Enforcement: Ethiopia's National Intelligence and Security Service
(NISS), with broad authority for intelligence, border security, and criminal investigation, is
responsible for overall counterterrorism management. The Ethiopian Federal Police (EFP)
worked in conjunction with NISS on counterterrorism.

The Ethiopian government used its sweeping antiterrorism legislation to arrest dozens of people,
many of them journalists and opposition figures charged under provisions of the 2009 Anti-
Terrorism Proclamation (ATP). The Ethiopian government charged those arrested with either
material or “moral” support for terrorist activity, or both. On December 21 the Federal High
Court found two Swedish journalists guilty of “rendering support” to the ONLF, and handed
down sentences to each of 11 years in prison.

The Ethiopian Parliament issued a proclamation in May that declared five groups to be outlawed
terrorist organizations. The groups include OLF and ONLF, violent domestic ethnic-based
groups; Ginbot 7, a diaspora-based group that has called for the violent overthrow of the ruling
party of Ethiopia; the Ethiopian People’s Revolutionary Democratic Front; al-Qa’ida; and al-
Shabaab.

The Ethiopian government introduced the Personal Identification Secure Comparison and
Evaluation System (PISCES) biometric security measures at immigration enforcement stations at
Bole and Dire Dawa International Airports, as well as other points of entry throughout the
country. Ethiopia continued its participation in the Department of State’s Antiterrorism
Assistance program.

Countering Terrorist Finance: Ethiopia is not a member of a Financial Action Task Force
(FATF)-style regional body, but has obtained observer status in the Eastern and Southern Africa
Anti-Money Laundering Group in preparation for membership. Ethiopia was publicly identified
as being under review by the FATF International Cooperation Review Group in February 2010.
In June 2011, Ethiopia was downgraded to the FATF Public Statement for its failure to make


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sufficient progress on its Action Plan. However, in 2011 Ethiopia made progress in developing
its Financial Intelligence Unit (FIU), but it was not operational at the end of the year.

In Ethiopia, terrorist financing is criminalized, but prosecutions are rare. Although the Ethiopian
government froze and confiscated assets, delays sometimes existed because of technical issues,
chiefly the lack of an operational FIU, meaning that the confiscation has to be done by the
National Bank of Ethiopia. The Government of Ethiopia’s Charities and Societies Agency had
general responsibility for monitoring NGOs, but had no real expertise in the area of terrorist
financing.

For further information on money laundering and financial crimes, we refer you to the 2011
International Narcotics Control Strategy Report (INCSR), Volume 2, Money Laundering and
Financial Crimes: http://www.state.gov/j/inl/rls/nrcrpt/index.htm.

Regional and International Cooperation: Ethiopia is a member state of the Inter-
Governmental Authority on Development (IGAD) and participated actively in its Capacity
Building Program Against Terrorism, which aims to bolster the capacity of IGAD member states
to mitigate, detect, and deter advances by terrorists. Ethiopia was an active participant in the
AU’s counterterrorism efforts and participated in its Center for Study and Research on Terrorism
and in meetings of the Committee of Intelligence and Security Services of Africa.

Countering Radicalization and Violent Extremism: Largely in response to attacks by
fundamentalist Muslims on Protestant churches near the city of Jimma in March, as well as a
sense that fundamentalist sentiment was growing among some parts of the Muslim population, in
July the Ministry of Federal Affairs began a controversial nationwide training program for
religious leaders to counter violent extremism. To encourage tolerance, the Ethiopian
government additionally hung posters near the site of the March attacks showing an embrace
between a Muslim, an Orthodox Christian, and an Evangelical Protestant.

KENYA

Overview: The Kenyan government demonstrated increased political will to secure its borders,
apprehend suspected terrorists, and cooperate with regional allies and the international
community to counter terrorism. On October 16, in response to a series of kidnappings of
Westerners, Kenya initiated military action in Somalia against al-Shabaab militants. Al-Shabaab
responded to the Kenyan incursion into Somalia by threatening retaliation against civilian targets
in Kenya. Arms smuggling, reports of extremist recruiting within refugee camps and Kenyan
cities, and increased allegations of terrorist plotting enhanced recognition among government
officials and civil society that Kenya remained vulnerable to terrorist attack. The government
increased security along the Kenya/Somalia border in an effort to stem the flow of armed
militants crossing into Kenya; however, al-Shabaab’s continued dominance of most of southern
Somalia provided a permissive environment for a small number of al-Qa’ida operatives to
conduct training and terrorist planning with other violent extremists.

2011 Terrorist Incidents: No terrorist group claimed responsibility for the following attacks:


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       On October 14, two Spanish nationals working for a non-governmental organization were
        kidnapped in Dadaab refugee camp, in northeastern Kenya, where they remained in
        captivity at year’s end.
       In the early morning of October 24, a hand grenade was tossed into a night club in
        downtown Nairobi, injuring 14 Kenyan patrons. Later that day, another grenade
        exploded at a crowded bus stop, killing one and injuring 16 others.
       On October 27, in the northeast, a vehicle carrying officials from the Ministry of
        Education was attacked, leaving four dead.
       On October 28, a police vehicle was heavily damaged after driving over an explosive
        device.
       On November 5, suspected al-Shabaab militants hurled grenades into a Pentecostal
        church in Garissa town, killing two people and seriously injuring five others. The same
        day, a police vehicle escorting a UN convoy to the Dadaab refugee camp sustained
        minimal damage when it hit an improvised explosive device.
       On November 22, two police officers were injured when their vehicle was ambushed by
        suspected al-Shabaab militants near Liboi (near the Somali border).
       On November 24, a military truck patrolling on the outskirts of Mandera struck a land
        mine, killing one soldier and seriously wounded five others. Later on the same day, a
        hotel and a shopping center in the northern town of Garissa were attacked with hand
        grenades, killing five and injuring several others.
       On November 26, suspected al-Shabaab fighters raided a police post near Mandera
        seizing weapons and burning a mobile phone transmission mast. There were no injuries
        or deaths reported in the attack.

Legislation and Law Enforcement: Kenya’s lack of counterterrorism legislation hindered its
ability to detain terrorist suspects and prosecute them effectively, and because there was no
counterterrorism legislation, terrorist suspects were often prosecuted under other offenses, such
as murder and weapons possession. With assistance from the United States, Kenya agreed to
expand its Personal Identification Secure Comparison and Evaluation System (PISCES) border
control system to additional ports of entry and upgrade it to capture biometric information.

Kenya remained a critical partner for the Department of State’s Antiterrorism Assistance (ATA)
program; the Kenya program was of a relatively large size and scope. It focused on
strengthening border security, enhancing investigative capacity, and building critical incident
response capacity through training, mentoring, advising, and equipping Kenyan counterterrorism
focused law-enforcement agencies.

Countering Terrorist Finance: Kenya is a member of the Eastern and Southern Anti-Money
Laundering Group, a Financial Action Task Force (FATF)-style regional body. Kenya was
publicly identified by the FATF in February 2010 for strategic anti-money laundering/
counterterrorist finance deficiencies. Kenya developed an action plan with the FATF to address
these deficiencies, but in June 2011 was identified in the FATF Public Statement for its failure to
make sufficient progress on this action plan.

Kenya has not passed or enacted any law criminalizing terrorist financing. Kenya does not have
in place sufficient laws, regulatory structures, or the institutional capacity to track, seize, and

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confiscate the assets of al-Shabaab and other terrorist groups. The Proceeds of Crime and Anti-
Money Laundering Act (POCAMLA) came into operation in 2010, yet key policies and
structures have not been implemented, and Kenya’s Financial Intelligence Unit (FIU) had not
been established eighteen months after the POCAMLA was promulgated. Kenya made some
progress, however, with the August 26 appointment of the Anti-Money Laundering Advisory
Board, the oversight body that will guide the creation of the Financial Reporting Center (Kenya’s
FIU). While government representatives touted this action as a significant achievement and a
demonstration of Kenya’s commitment to combating financial crimes, they acknowledged the
slow pace of implementation.

For further information on money laundering and financial crimes, we refer you to the 2011
International Narcotics Control Strategy Report (INCSR), Volume 2, Money Laundering and
Financial Crimes: http://www.state.gov/j/inl/rls/nrcrpt/index.htm.

Regional and International Cooperation: Kenya is a member of the African Union, the Inter-
Governmental Authority on Development, the Community of Eastern and Southern Africa, and
the East African Community, and coordinated with these groups significantly during its military
and diplomatic campaign against al-Shabaab militants in Somalia. Kenyan law enforcement
agencies worked closely with the international community to increase their counterterrorism
abilities, secure porous land borders, and improve maritime security. The ATA program also
provided support for Kenya’s regional antiterrorism training center, encouraging both East and
West African nations to increase their cooperation on regional counterterrorism initiatives.

Kenya and the United States signed a memorandum of intent with the objectives of consolidating
and securing especially dangerous pathogens and enhancing the Kenyan government’s capability
to prevent the sale, theft, diversion, or accidental release of biological weapons-related materials,
technology, and expertise.

MALI

Overview: Al-Qa’ida in the Islamic Maghreb (AQIM) maintained encampments in remote parts
of northern Mali during 2011, principally as rear bases for its activities in neighboring countries.
Mali reaffirmed its support for activities countering AQIM and has been an advocate for
enhanced regional cooperation. Mali-U.S. counterterrorism cooperation was strong in 2011.
U.S.-led Joint Combined Exercises and Trainings have built the capacity of Malian mobile units
called Echelons Tactiques Inter-armes, and the 33rd Paratrooper Regiment to conduct effective
patrols and interrupt the activities of AQIM. Mali has participated in the multinational military
exercise, FLINTLOCK, since its inception. Malian National Police, Gendarmerie, and National
Guard have benefitted from Anti-Terrorism Assistance programs.

2011 Terrorist Incidents: Mali experienced a significant uptick in terrorist activity during
2011, including kidnappings and hostages held on Malian soil. In the past year, AQIM has
expanded its area of operation to southern Mali, particularly along Mali's northern border with
Mauritania.




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       On January 5, Bechir Sinoun, a Tunisian national who had received training in AQIM
        camps in the north of Mali, repeatedly fired a handgun and attempted to detonate an
        improvised explosive device in front of the main gate of the French Embassy in Bamako.
        He was eventually overcome by a Malian pedestrian and was subsequently arrested.
       On October 23, an AQIM-affiliated group kidnapped three aid workers – two Spanish
        and one Italian – from a Polisario-run refugee camp near Tindouf. AQIM are suspected
        of holding the hostages on Malian soil.
       On the night of November 23-24, armed individuals possibly affiliated with AQIM
        kidnapped two French nationals in Hombori, Mopti Region, and reportedly delivered
        them to AQIM, which is believed to be holding them on Malian soil. Malian security
        forces arrested two suspects involved in the kidnapping; investigations continued at
        year’s end.
       On November 25, armed assailants possibly affiliated with AQIM kidnapped three
        European tourists and killed a fourth in Timbuktu city, Timbuktu Region. The hostages –
        Dutch, Swedish, and South African/British nationals – were reportedly being held on
        Malian soil; the individual who was killed, a German national, died while resisting the
        kidnapping attempt. Malian security forces reportedly arrested two of the assailants. The
        investigation continued at year’s end.

Legislation and Law Enforcement: Mali’s law enforcement efforts have increased over the
past year, including the arrest of Bechir Sinoun for the attempted bombing of the French
Embassy in Bamako, the detention of two individuals affiliated with AQIM in Bamako, and the
arrest of two individuals implicated in the Hombori kidnapping. The Malian judiciary tried and
convicted Bechir Sinoun, sentencing him to death on November 29; however, the Malian
government subsequently repatriated Sinoun to Tunisia at the request of the Tunisian
government so he could be tried there. Mali continued to participate in the Department of State’s
Antiterrorism Assistance program.

Countering Terrorist Finance: Mali is a member of the Inter-Governmental Action Group
against Money Laundering in West Africa, or GIABA, a Financial Action Task Force (FATF)-
style regional body. Mali's Financial Intelligence Unit, the Cellule Nationale de Traitement des
Informations Financières (CENTIF), organized training in November for bank employees, key
civil servants, and judicial officials in Kayes Region, which received one of the highest volumes
of remittances in Mali. Following Mali's accession to the Egmont Group in July, CENTIF
personnel attended an Egmont-sponsored Counterterrorist Finance seminar in Bamako on August
16-19. CENTIF also participated in a workshop sponsored by the United Nations Office of
Drugs and Crime in Dakar, Senegal on March 9-11 related to freezing assets belonging to
individuals suspected of money laundering or terrorist finance. The main impediments to
improving law enforcement response to terrorist finance were a lack of coordination between
CENTIF and the law enforcement community as well as insufficient judicial capacity to
transform CENTIF investigations into effective prosecutions.

Mali lacked the capacity to trace informal networks and money/value transfer systems including
hawala. Like most West African countries, Mali relies on cash for virtually all daily
transactions. While businesses were technically required to report cash transactions over
approximately U.S. $10,000, most do not.

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For further information on money laundering and financial crimes, we refer you to the 2011
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Financial Crimes: http://www.state.gov/j/inl/rls/nrcrpt/index.htm.

Regional and International Cooperation: Mali has significantly increased its cooperation with
regional partners both politically and operationally. Mali has been a member of the Combined
Operational General Staff Committee (CEMOC), based in Tamanrasset, Algeria, since its
creation in 2010. It chaired the CEMOC for the year ending November 21, at which time the
chairmanship passed to Mauritania. Mali has hosted ministerial level conferences including a
summit of foreign ministers as well as periodic meetings of the armed forces chiefs of staff of the
CEMOC partner countries. Mali also participated in joint operations with Mauritania, driving
AQIM elements out of the Ouagadou Forest region for a period of time. Malian military
elements were reported to be training with Algerian military counterparts in Kidal Region in
December.

In addition to the United States, Mali continued to work closely with other international partners
including Canada, France, the European Union, and United Nations (UN) Agencies. Mali’s
security forces have benefitted from French counterterrorism and UN Office on Drugs and Crime
training.

Countering Radicalization and Violent Extremism: Malian officials and prominent religious
leaders routinely condemned violent extremist ideology and terrorist acts. In general, violent
extremist ideologies have not found a receptive audience among Malians. In September, the
Malian government secured funding and began work on the Special Program for Peace, Security
and Development in the North. The program’s overarching goal is to reestablish state authority
in northern Mali, but it also provides development assistance and a communications program that
may have a countering violent extremism component.

MAURITANIA

Overview: The Government of Mauritania continued to address terrorism threats proactively.
Al-Qa’ida in the Islamic Maghreb (AQIM) remained a threat, which was most visibly
demonstrated by the group's attempt to mount a coordinated attack in the capital in February.
Mauritania applied effective measures to counter terrorist activity and enhanced initiatives
launched in 2010. The government continued to prosecute terrorists, supported efforts to
reinforce regional cooperation, allocated additional resources to the national de-radicalization
program, and continued training with its partners to enhance border security and law
enforcement capacity. Significantly, improved coordination between Mauritania and Mali led to
successful joint operations in areas close to the shared border and increased the ability of both
countries to counter the transnational threat posed by AQIM.

Under the framework of the Trans-Sahara Counterterrorism Partnership, U.S. training of small
infantry and support units continued in 2011. Mauritania also participated in the Department of
State’s Antiterrorism Assistance program.


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2011 Terrorist Incidents: On December 20, AQIM abducted a gendarme from his post in Adel
Bagrou, approximately 1,700 kilometers east of Nouakchott near the border with Mali. The
abduction followed a series of successful Mauritanian military operations against AQIM.

On July 5, the Mauritanian military successfully repelled an AQIM attack led by a 17-vehicle
convoy against a garrison in Bassiknou, near the southeastern border with Mali, and killed six
terrorists. AQIM stated the strike on the outpost was planned as retaliation for a joint
Mauritanian-Malian raid on June 26 in Mali, known as Operation Benkan, which killed 15
AQIM members and left two Mauritanian soldiers dead.

While these events occurred in the border zone with Mali, Nouakchott was the target of a foiled
truck-bombing plot on February 1-2. The Mauritanian military successfully interdicted three
vehicles attempting to attack the French Embassy and assassinate President Aziz. Mauritanian
forces captured one vehicle containing 1.2 tons of explosives, munitions, and logistics equipment
roughly 200 kilometers south of Nouakchott, along with two of the three individuals involved.
The Mauritanian military then neutralized a vehicle-borne improvised explosive device (VBIED)
12 kilometers southeast of Nouakchott, killing both terrorists involved. This was the third
attempted suicide attack in Mauritania after AQIM attacked the military barracks in Nema by
VBIED in August 2010, and a lone suicide bomber targeted the French Embassy in Nouakchott
in August 2009.

Legislation and Law Enforcement: After passing a new counterterrorism law in July 2010,
Mauritania continued to revise legislation, vigorously prosecute individuals suspected of
terrorism, and train security forces and judicial officials. On May 5, Mauritania launched an
initiative to modernize identity documents and enroll Mauritanian citizens and foreign residents
in a national electronic database. The impetus for the development of secure identity documents
stemmed from a desire to replace the current, non-machine readable, handwritten passports with
state of the art biometric technology and accurately identify individuals at ports of entry. The
new government agency charged with executing this project, the National Agency of the
Population Register and Secure Documents, under the Ministry of Interior, has verified the
identity of 100,000 individuals since it was established.

The EU signaled the priority it accords to assisting Mauritanian border security with a ceremony
held on September 18, along with the Spanish Civil Guard, to mark the U.S. $2.6 million
investment in Project Western Sahel, which will introduce new technology for border screening
and training programs for border control personnel.

Mauritania continued its efforts to convict major terrorist suspects in judicial proceedings. The
significant terrorism trials of May 2010 were followed by several high-profile trials and
convictions in 2011. On March 20, four individuals were sentenced to death and one individual
to two years in prison and a U.S. $1,700 fine for their role in the September 2008 attack against
Mauritanian soldiers in Tourine. On March 21, one Mauritanian and two Malian citizens
received prison terms ranging from two to five years for the December 2009 kidnapping of an
Italian couple near the Malian border. The Mauritanian judiciary convicted 33 terrorists in 2011,
bringing the number of convictions to a total of 140 since 2009.



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On October 17, the Ministry of Justice and the United Nations Office on Drugs and Crime
launched a four-day training seminar with 20 local magistrates to discuss the judicial framework
for fighting terrorism and organized crime. In early October, Mauritanian security service
personnel participated in the Trans-Sahara Security Symposium sponsored by the U.S. Embassy
in Nouakchott.

Mauritania cooperated closely with the United States to resolve the case of an American citizen
killed in June 2009 by AQIM in Nouakchott. On March 15, three terrorists were convicted for
the murder. Mohamed Abdallahi Ould Mohamed Salem Ould H'Mednah (Abou Anas), Sidi
Mohamed Ould Bezeid (Abou Qotada), and Mohamed Mahmoud Ould Ahmed Salem were
charged with pre-meditated murder and unlawful membership in an illegal organization.
H'Mednah, who was accused as the shooter in the death of the American citizen, received the
death penalty and was fined US $19,000; Bezeid was sentenced to 12 years in prison, and Salem
received a three-year prison term. The public prosecutors lodged an appeal after the trial seeking
harsher sentences; the appeal was pending at year’s end.

Countering Terrorist Finance: Mauritania is a member of the Middle East and North Africa
Financial Action Task Force (MENAFATF), a Financial Action Task Force-style regional body.
Mauritania’s Financial Intelligence Unit, the Financial Information Analysis Commission,
includes representatives of the Mauritanian Ministries of Finance and Justice, as well as the
customs authority, national police, and Gendarmerie working together to identify, investigate,
prevent, and prosecute financial crimes linked to narcotics and terrorist finance networks.
Although there is legislation regulating money or value transfer systems, Mauritania did not have
the resources to monitor the sizable flow of funds through hawala or other money/value transfer
systems.

For further information on money laundering and financial crimes, we refer you to the 2011
International Narcotics Control Strategy Report (INCSR), Volume 2, Money Laundering and
Financial Crimes: http://www.state.gov/j/inl/rls/nrcrpt/index.htm.

Regional and International Cooperation: Mauritania was committed to enhancing regional
cooperation across the Sahel. A founding member of the Global Counterterrorism Forum and
Combined Operational General Staff Committee (CEMOC), Mauritania assumed CEMOC’s
rotating chairmanship on November 21 from Mali. Nouakchott hosted a summit for chiefs of
defense on November 15 and for defense ministers on December 11 under the framework of the
5+5 Defense Initiative drawing together Mauritania, Algeria, Morocco, Tunisia, Libya, France,
Spain, Italy, Portugal, and Malta. At the December 11 5+5 meeting, Mauritanian Defense
Minister Radhi led the call for an end to the practice of paying ransoms to hostage-takers.

On December 1, Mauritania signed a cooperation agreement with Saudi Arabia to strengthen
cooperation in the fight against terrorism, crime, and drug trafficking. A high-level Mauritanian
delegation attended the 10th Mauritanian-Algerian Monitoring Committee on November 15 in
Algiers. Mauritania’s Foreign Minister Hamadi hosted bilateral talks with his Malian
counterpart in Nouakchott July 28-29 following the regional meeting to reinforce regional
cooperation held in Bamako on May 20 between Mauritania, Mali, Algeria, and Niger.



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An important example of improved regional cooperation, particularly between Mauritania and
Mali, was demonstrated in the aftermath of the failed February 1-2 truck-bomb plot when the
Malian authorities identified the leader of the attack in their territory and extradited him and
others to Mauritania. In addition to the joint Operation Benkan mentioned above, Mauritania
carried out air strikes against AQIM elements in the Ouagadou forest area in Mali in October.

Mauritania co-sponsored the UNGA Resolution passed in November condemning the Iranian
plot against the Saudi ambassador to the United States.

Countering Radicalization and Violent Extremism: Mauritania continued its rehabilitation
program for repentant extremists. It provided 35 former prisoners with U.S. $7,000 each as seed
capital for revenue-generating enterprises to encourage their reintegration. Mauritanian
authorities confirmed that among the original 52 extremists granted amnesty last year, one was
involved in the February 1-2 truck-bomb attack and was killed during the counterterrorist
operation. While two others have returned to terrorist training camps and four others are
missing, these recidivist rates compare favorably with other programs.

NIGER

Overview: Al-Qa’ida in the Islamic Maghreb (AQIM) continued to exploit undergoverned
space in Nigerien territory and conducted kidnap for ransom operations there. Porous borders
and the huge expanse of Niger not under full government control provided opportunities for
terrorists to move about the area. Niger worked with other regional partners and organizations to
support its counterterrorism efforts, including the Algerian-led General Staff Joint Operations
Committee (CEMOC) that also included Mali and Mauritania.

The presence of Boko Haram (BH) in northern Nigeria also posed a threat. Niger was
committed to fighting AQIM and BH, but without external support and greater regional
cooperation, Niger will likely remain vulnerable to terrorist activity.

2011 Terrorist Incidents: Niger was a victim of AQIM attacks, kidnappings, and anti-
government operations. On January 7, two French citizens were kidnapped from a restaurant in
Niamey. The two hostages died during an immediate rescue attempt by French and Nigerien
forces near the Malian border. On February 24, AQIM released two Africans and a female
French national who had been kidnapped in Arlit in September 2010. Four male French
nationals taken in the same incident remained in AQIM captivity at year’s end.

Legislation and Law Enforcement: On January 27, the government adopted Law 2011-11,
amending the law organizing and defining the competence of jurisdictions in Niger to include a
special chamber within the Court of Appeals charged with investigating, prosecuting, and
punishing all acts of terrorism. In December, the Minister of Defense announced that new
counterterrorism and rapid-response units had been positioned along borders with Mali, Algeria,
and Libya, and that military patrols along the Libyan border had seized weapons, explosives,
ammunition, communications equipment, money, and drugs. Niger established a
Counterterrorism Unit and a Counterterrorism Fusion Center to merge the intelligence and


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operations of its disparate law-enforcement agencies. Niger also continued to participate in the
Department of State’s Antiterrorism Assistance program.

On several occasions from June through November, Nigerien security forces clashed with armed
men who possibly were affiliated with AQIM, crossing through the northern region of the
country. On June 12, they arrested one trafficker and recovered explosives, detonators, arms,
military uniforms, and cash. On December 7, four alleged members of BH were arrested in
Maine-Soroa and transferred to Kollo Prison near Niamey.

Countering Terrorist Finance: Niger is a member of the Inter-Governmental Action Group
against Money Laundering in West Africa, or GIABA, a Financial Action Task Force-style
regional body. Niger’s means to fight money laundering and terrorist financing was limited and
no new anti-money laundering legislation was passed in 2011. However, Niger’s Financial
Intelligence Unit, the National Center for the Treatment of Financial Information, came under
new leadership in October. For further information on money laundering and financial crimes,
we refer you to the 2011 International Narcotics Control Strategy Report (INCSR), Volume 2,
Money Laundering and Financial Crimes: http://www.state.gov/j/inl/rls/nrcrpt/index.htm.

Regional and International Cooperation: Niger continued to work with Mali, Algeria, and
Mauritania through the CEMOC center in Tamanrasset, Algeria. In May, the four governments
met in Bamako to discuss regional security and agreed to train up to 75,000 troops within the
next 18 months to counter AQIM and other militants.

NIGERIA

Overview: Nigeria experienced a steady increase in terrorist attacks in 2011, particularly in the
northern states of Borno, Yobe, Bauchi, Gombe, Plateau, and Kaduna as well as in the Federal
Capital Territory (FCT). Nigeria-based extremists, collectively known as Boko Haram (BH),
participated in many of these attacks. BH suspects killed Nigerian government and security
officials, Muslim and Christian clerics, a journalist, and numerous civilians.

The Nigerian government worked to improve coordination, communication, and cooperation
domestically and internationally on counterterrorism matters. Authorities intensified military
operations – often heavy-handed – in northeast Nigeria to counter the BH-led terrorist activities.
Nigerian efforts to address northern grievances, a key catalyst of the violence, have lagged
behind the military campaign against BH. The United States called on the Government of
Nigeria to accelerate implementation of its plan to address these issues.

No terrorist attacks occurred in the southern states of Nigeria. Nigerian-U.S. counterterrorism
cooperation continued in 2011, particularly following the June attack on the Abuja headquarters
of the Nigerian police force.

President Goodluck Jonathan created the position of counterterrorism coordinator and in
September replaced its first coordinator, a former ambassador, with a well-respected army
general. In practice, the National Security Advisor (NSA) retained the lead as coordinator of the
Nigerian government strategy to counter terrorism. The National Focal Point on terrorism – an

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interagency task force formed in 2007 that includes the State Security Service (SSS), Nigerian
Customs Service, the Ministry of Foreign Affairs (MFA) and Immigration – did not actively
operate in 2011.

2011 Terrorist Incidents: Elements of BH increased the number and sophistication of attacks
in six northern states and the FCT, including two vehicle-borne improvised explosive device
(VBIED) suicide bombings in Abuja. In the latter half of the year, the lethality, capability, and
coordination of suspected BH attacks rose steadily. Incidents included:

       On January 28, five suspected BH gunmen killed the Borno State All Nigerian People's
        Party (ANPP) gubernatorial candidate and six others, including two plain clothes
        policemen and the younger brother of the incumbent governor of Borno state.
       On May 12, unidentified gunmen kidnapped two engineers (British and Italian nationals)
        from their residence in the city of Birnin Kebbi (Kebbi state), about 30 miles from the
        international border with Niger. A German employee of an Italian construction company
        managed to escape the same attack. BH had not released these hostages at year’s end.
       On May 31, three suspected BH gunmen killed the younger brother of the Shehu of
        Borno at his residence in Maiduguri. (The Shehu of Borno serves as the second-ranking
        traditional ruler in Nigeria after the Sultan of Sokoto.) The armed men attacked from a
        motorcycle with automatic rifles.
       On June 16, a terrorist detonated VBIED in the parking lot of the Nigeria Police Force
        (NPF) headquarters in Abuja, killing a police officer, the driver of the car that exploded,
        and at least two others. The blast damaged at least 50 vehicles and shattered windows on
        the south side of the NPF headquarters building.
       On August 26, a terrorist rammed two exit gates of the United Nations (UN) headquarters
        compound in Abuja and crashed into the lobby of the building before detonating his
        VBIED, killing 24 persons and injuring over 120 persons. BH claimed responsibility via
        BBC-Hausa radio.
       On October 16, suspected BH members killed one policeman during a pre-dawn bomb
        attack on the 34th mobile police force base in Gombe state. Assailants burned 15
        vehicles, destroyed a building, and looted an armory that police had recently re-stocked
        with weapons and ammunition.
       On October 24, assailants with assault rifles and sophisticated explosives launched a
        coordinated attack that destroyed a police station and a bank in Saminaka, Kaduna state,
        killing a policeman and a security guard. The assailants stole assault rifles and a reported
        U.S. $106,000.
       On November 4, multiple VBIED and improvised explosive device (IED) attacks in
        Yobe and Borno states targeted security force offices, including the NPF, SSS, and the
        Military's Joint Task Force (JTF) offices, as well as several markets and 11 churches. At
        least six attacks occurred in Yobe and four in Borno, including a failed VBIED attempt at
        the JTF headquarters in Maiduguri. Terrorists killed over 100 people, including nearly
        70 bystanders at a major traffic circle in the center of Damaturu, Yobe state.

Legislation and Law Enforcement: The following developments occurred in the legislative
and law enforcement areas:


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       In May, the Nigerian National Assembly passed the Terrorism Prevention Act of 2011.
        On June 3, President Goodluck Jonathan signed the bill into law. The act was modeled
        on international standards, including UN guidelines. The law, however, did not clearly
        delineate which police or security agency serves as the lead agency to investigate
        suspected terrorist crimes.
       The Nigerian government arrested, tried, and sentenced Ali Sanso Konduga (also known
        as Usman al-Zawahiri), an ex-spokesperson of BH, to three years in prison after he pled
        guilty November 22 to charges of sending threatening text messages to government
        officials. On October 14, authorities arrested Senator Ali Mohammed Ndume (Borno
        state; ruling People’s Democratic Party) and subsequently charged him with four counts
        under Nigeria’s Terrorism Prevention Act of 2011 for collaborating with Konduga. At
        years' end, Senator Ndume had posted bond and was awaiting trial.
       In the wake of the unsuccessful attempt by Nigerian national Umar Abdulmutallab to
        detonate an explosive aboard a flight bound for Detroit, Michigan, on December 25,
        2009, Nigeria cooperated closely with the U.S. Department of Homeland Security, the
        U.S. Federal Aviation Administration, and the International Civil Aviation Organization.
        On October 14, 2011, the Nigerian suspect pled guilty to all charges against him in U.S.
        federal court in Michigan.

The Department of State’s Antiterrorism Assistance program and Federal Bureau of
Investigation (FBI) programs provided training to bolster the capacity of Nigeria's law
enforcement agencies to address terrorist incidents.

Countering Terrorist Financing: Nigeria is a member of the Inter-Governmental Action
Group against Money Laundering in West Africa, or GIABA, a Financial Action Task Force
(FATF)-style regional body. Nigeria was publicly identified by the FATF in February 2010 for
strategic anti-money laundering/combating terrorist financing (AML/CTF) deficiencies. Nigeria
committed to an action plan with the FATF to address these weaknesses, but in October 2011
was identified in the FATF public statement for its failure to make sufficient progress on this
action plan. Nigeria enacted into law the Terrorism Prevention Act of 2011, which included
provisions prohibiting terrorist financing and providing for the seizure of funds and property held
by individual terrorists or terrorist organizations. The act covers the provision or collection of
funds used to carry out terrorist acts, including property and funds used by individuals or terrorist
organizations. In addition, the Economic and Financial Crimes Commission Act includes money
laundering and terrorist financing provisions. However, it should be noted that there are some
outstanding concerns that the criminalization of terrorist financing may not be fully in line with
international standards. The Nigerian government did not prosecute terrorist financing crimes
under either of these laws in 2011.

For further information on money laundering and financial crimes, we refer you to the 2011
International Narcotics Control Strategy Report (INCSR), Volume 2, Money Laundering and
Financial Crimes: http://www.state.gov/j/inl/rls/nrcrpt/index.htm.

Regional and International Cooperation: The Nigerian government was a founding member
of the Global Counterterrorism Forum (GCTF); Nigeria’s Foreign Minister Olugbenga Ashiru


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attended Secretary Clinton’s launch of the GCTF in New York in September and the working
group on Justice and Rule of Law in November in Washington.

The Nigerian government hosted and fully participated in the development of Economic
Community of West African states’ (ECOWAS) “counterterrorism strategy and implementation
plan.” Nigeria also helped to develop the ECOWAS “political declaration against terrorism.”
The May counterterrorism strategy planning and review meeting occurred at the ECOWAS
headquarters in Abuja. Nigeria sent representatives to the November 2011 “Global Initiative to
Combat Nuclear Terrorism” meeting in Morocco.

Countering Radicalization and Violent Extremism: The MFA, through its Institute for Peace
and Conflict Resolution, had ongoing initiatives to address radicalization and counter violent
extremism. The Institute’s programs included early warning detection for secular or religious
violence, teaching tolerance of other religious viewpoints, and deploying mediators to conflict-
prone areas to resolve inter-religious disagreements.

RWANDA

Overview: In 2011, a series of grenade attacks targeted Rwandans in public areas. The
Government of Rwanda continued security cooperation and information sharing with the
Government of the Democratic Republic of the Congo (DRC) to combat ongoing mutual threats.
Counterterrorism training for border control officials, police, military, and security forces
remained a priority.

2011 Terrorist Incidents: There were at least six reports of grenade explosions or attacks in
Kigali or along Rwanda’s border with the DRC in January, March, and July. The grenade
attacks typically targeted areas where Rwandans congregated, such as transportation hubs and
markets, resulting in up to 61 people injured and two killed.

       January 28-29: Two separate explosions occurred in Kigali. The first grenade attack
        injured 26, eight critically, and killed two others. The Rwanda National Police (RNP)
        took four suspects into custody at the scene. The second explosion occurred in a heavily
        populated residential area; no injuries or casualties were reported.
       March 1: An unknown assailant threw a grenade at a passenger minibus on a crowded
        road in Kigali in the early evening hours. Ten people sustained injuries, two critical;
        however, there were no deaths reported. The RNP arrested three suspects.
       July 10-12: Three attacks struck Rwanda’s western border with the DRC. The first
        reported grenade explosion occurred close to the border with Bukavu, DRC, at the south
        end of Lake Kivu. Two separate attacks occurred in Gisenyi/Rubavu near the DRC
        border with Goma at the north end of Lake Kivu, and targeted the homes of local leaders
        using gunfire and grenades. There were no reports of injuries or casualties.

Legislation and Law Enforcement: There was no new legislation related to terrorism passed in
2011. The security situation in the eastern DRC put pressure on Rwanda’s western border area,
and the Government of Rwanda continued to work to improve border control measures. The
Rwandan Defense Forces, the National Intelligence and Security Services, and the RNP received

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training from the U.S. government to counter terrorism and violent extremism. The Government
of Rwanda began prosecuting more than 100 people detained on suspicions of terrorism and
accused of being involved in previous grenade attacks. The prosecution tried suspects in three
separate tranches; all three trials were ongoing at year’s end.

Countering Terrorist Finance: Rwanda does not belong to a Financial Action Task Force-
style regional body. It continued its efforts to implement the 2009 law on the “Prevention and
Suppression of Money Laundering and Financing of Terrorism.” For further information on
money laundering and financial crimes, we refer you to the 2011 International Narcotics Control
Strategy Report (INCSR), Volume 2, Money Laundering and Financial Crimes:
http://www.state.gov/j/inl/rls/nrcrpt/index.htm.

Regional and International Cooperation: The Government of Rwanda sought to strengthen
regional cooperation and counter cross-border threats through increased information sharing with
the DRC. It also worked to increase border cooperation and security with its neighbors in the
East African community. The Government of Rwanda hosted security and terrorism-focused
conferences held under the auspices of regional organizations like the International Conference
on the Great Lakes Region and the Economic Community of the Great Lakes Countries.

SOMALIA

Overview: In 2011, with the assistance of the African Union Mission in Somalia (AMISOM)
and Somalia’s neighbors, the Transitional Federal Government (TFG) made significant gains in
degrading al-Shabaab capability and liberating areas from al-Shabaab administration. However,
foreign fighters and al-Shabaab members remained in many parts of south and central Somalia
and continued to mount operations within Somalia and against neighboring countries.

A multi-front offensive commencing in February by the TFG, AMISOM, and TFG-allied forces
against al-Shabaab resulted in significant territorial gains in the capital city of Mogadishu and
key cities of southern and central Somalia. Ethiopia, Kenya, and associated Somali forces
liberated areas from al-Shabaab control in the Gedo, Lower Juba, and Hiraan regions of
Somalia. In August, al-Shabaab withdrew from many Mogadishu districts, leaving the TFG and
AMISOM in control of the majority of districts in Somalia’s capital for the first time since the
Ethiopians left in 2009. By the end of 2011, the TFG and its allies were poised to make further
territorial advances against al-Shabaab in southern and central Somalia.

Al-Shabaab remained in control of much of southern and central Somalia, however, providing a
permissive environment for al-Qa’ida operatives to conduct training and terrorist planning with
other sympathetic violent extremists, including foreign fighters. The capability of the TFG and
other Somali local and regional authorities to prevent and preempt al-Shabaab terrorist attacks
remained limited.

Al-Shabaab’s withdrawal from conventional fighting in and near Mogadishu resulted in a change
of al-Shabaab tactics to asymmetrical attacks against AMISOM and the TFG. These attacks
resulted in the increased use of Improvised Explosive Devices (IEDs) that became more


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advanced. In late 2011, al-Shabaab with increasing frequency employed IEDs against Kenyan
and anti-al-Shabaab Somali forces in South/Central Somalia.

A severe drought across the Horn of Africa led to a July UN famine declaration for six regions in
southern and central Somalia, affecting four million Somalis out of the estimated population of
seven million. The Office for the Coordination of Humanitarian Affairs subsequently declared
that 750,000 people were at immediate risk of starvation because, in part, al-Shabaab had
prohibited the delivery of assistance. A significant number of Internally Displaced Persons
(IDPs) sought assistance in Mogadishu. Other IDPs found themselves unable to access their
homes in al-Shabaab controlled areas of southern and central Somalia although numerous others
sought refuge in neighboring Kenya and Ethiopia.

2011 Terrorist Incidents: Al-Shabaab leaders maintained a number of training camps in
southern Somalia for young national and international al-Shabaab recruits. In these camps, AQ-
affiliated foreign fighters often lead the training and indoctrination of the recruits. For further
information on al-Shabaab, please see Chapter 6, Foreign Terrorist Organizations.

In 2011, al-Shabaab and other violent extremists conducted suicide attacks, remote-controlled
roadside bombings, kidnappings, and assassinations of government officials, journalists,
humanitarian workers, and civil society leaders throughout Somalia. Al-Shabaab also threatened
UN and other foreign aid agencies and their staff. Two examples of high-profile al-Shabaab
terrorist attacks included a truck bomb that detonated in Mogadishu on October 4, killing over
seventy, including many students waiting outside the Ministry of Education, and the December 5
assassination of a prominent Islamist scholar, Ahmed Hadji Abdirahman, in Bossaso, Puntland.

In addition to high-profile attacks, al-Shabaab routinely terrorized local populations into
compliance with al-Shabaab edicts. There were frequent reports of al-Shabaab carrying out
amputation of limbs for minor thievery offenses, stoning for suspected adultery, and forced
conscription of child soldiers. Al-Shabaab leaders frequently ordered beheaded corpses to be left
in streets as an object lesson to local communities. Al-Shabaab bombings targeted secondary
schools admitting female students. Al-Shabaab forces also engaged in widespread rape and
violence against women.

In Mogadishu before August 6, al-Shabaab conducted almost daily attacks against the TFG and
AMISOM. On June 10, the TFG Minister of Interior was killed at his residence when an al-
Shabaab-affiliated family member detonated a suicide vest. After withdrawing from Mogadishu
on August 6, al-Shabaab increased the use of asymmetric attacks in Mogadishu. In the last week
of August, Shabaab beheaded 12 youths suspected of being spies in the Huriwaa and Dayniile
districts of Mogadishu. Near-daily IEDs, grenade attacks, and assassinations targeting TFG
security forces and AMISOM also led to the deaths of hundreds of civilians.

On August 4, Somali TFG President Sheikh Sharif declared in a letter to the UN, “The main
cause of the famine has been al-Shabaab, who has denied the Somali people the stability
necessary to be self-sufficient in terms of food security.” TFG leaders noted that they were
compiling evidence of crimes against humanity by al-Shabaab leaders, including denial of
passage for humanitarian assistance to starving populations. NGOs and media reported that al-

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Shabaab had engaged in forced re-settlement of IDPs, sometimes for the purpose of cultivating
cash crops that could be used to buy weapons. On November 28, al-Shabaab imposed an
indefinite ban on 16 humanitarian organizations working in al-Shabaab controlled territory,
reducing access to humanitarian relief for communities in those areas.

Legalization and Law Enforcement: The TFG and regional administrations continued to
pursue al-Shabaab suspects throughout the year. On June 10 in Mogadishu, TFG personnel
killed AQ senior leader and al-Shabaab trainer Fazul Abdullah Mohammed, aka Harun Fazul,
when he attempted to breach a checkpoint. Harun Fazul was one of several AQ leaders federally
indicted for carrying out the 1998 bombings of the U.S. embassies in Kenya and Tanzania.

The TFG also requested governments to assist in the enforcement of a long-standing national ban
on charcoal exports which are used to finance al-Shabaab activities. On May 3, the TFG passed
an anti-terrorism law, and in July, Puntland followed with similar legislation establishing special
courts to try terrorism suspects. Somaliland has not passed any such laws.

Somalia received leadership and management training for senior law enforcement officials from
Somalia’s Transitional Federal Government (TFG), as well as from Somaliland and Puntland,
through the Department of State’s Antiterrorism Assistance program.

Countering Terrorist Finance: Terrorist financing in Somalia is directly related to the terrorist
organization al-Shabaab. Existing laws in Somalia – anti-money laundering (AML) and
counterterrorism finance (CTF) – were unenforceable, given the limited area of control of the
government and its lack of capacity. Somaliland authorities cited the main obstacle to fighting
terrorism, including terrorist financing, as a lack of legal framework. Somalia does not have a
formal banking sector and although there are a couple entities that provide financial banking
services throughout Somalia, they operate in an unregulated environment. Hawala (money
transmittal firms) that transfer funds into Somalia from abroad must comply with regulations in
the foreign countries from which the transfers originate and therefore do have a degree of
transparency and oversight.

Al-Shabaab derived its funding in part through taxation of businesses and private citizens,
customs and other revenue from Kismayo port, and financial donations from Somali and non-
Somali sympathizers both inside Somalia and abroad. Somalia has one of the longest land
borders as well as the longest coastline in Africa. The TFG, and the regional Puntland and
Somaliland administrations, have limited control over their borders and many goods flow into
and out of Somalia with no government knowledge. In areas controlled by al-Shabaab, the
terrorist group may “tax” goods’ movements, including some humanitarian shipments. The TFG
has called on regional governments to help stem the flow of terrorist financing, requesting local
governments trace, freeze, and seize al-Shabaab financing.

The TFG did not have an independent system or mechanism for freezing terrorist assets. The
government lacked capacity and no government entities were charged with or capable of
tracking, seizing, or freezing illegal assets. There was no mechanism for distributing information
from the government to financial institutions (principally hawala), and the central government
enforced no suspicious transaction or large currency transaction reporting requirements on banks

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or other financial institutions. However, many institutions operating in Somalia had international
offices, and therefore adhered to minimum international standards, including freezes on terrorist
entities’ finances. Money remittance companies, for example, almost all use electronic anti-
money laundering systems which flagged names listed on the UN 1267 Sanctions Committee’s
consolidated list. Somalia is a signatory to the 2001 UN International Convention for the
Suppression of the Financing of Terrorism. Somalia is not a member of any Financial Action
Task Force-style regional bodies and does not have any mechanisms in place under which to
share information related to terrorist financing with the United States or with other developed
countries.

For further information on money laundering and financial crimes, we refer you to the 2011
International Narcotics Control Strategy Report (INCSR), Volume 2, Money Laundering and
Financial Crimes: http://www.state.gov/j/inl/rls/nrcrpt/index.htm.

Regional and International Cooperation: The TFG’s efforts have focused on trying to build
and maintain support within Somalia rather than bolstering external cooperation. However, the
TFG is a member of the African Union, Intergovernmental Authority on Development, the
League of Arab States, and the Organization of Islamic Cooperation. The TFG also works
closely with AMISOM. The TFG worked with international and regional partners, including
Kenya and Ethiopia, to degrade and eliminate al-Shabaab. The TFG and regional governments
cooperated fully with U.S. law enforcement on numerous occasions.

Countering Radicalization and Violent Extremism: The TFG has become more adept at
proactively countering al-Shabaab’s violent extremist messaging. This was demonstrated
through programs on Radio Mogadishu and the state-owned television station, as well as through
press releases. For example, within hours of the October 4 bombing of government buildings
that killed over 70 people, the TFG released a press statement condemning the attack. The
TFG’s Ministry of Information continued the Islamic Lecture Series, a one-hour call-in radio
program begun in 2010, designed to undercut al-Shabaab’s efforts to acquire religious legitimacy
for its violent extremist ideology. Respected clerics and sheikhs from Mogadishu presented
original lectures on a particular subject – for example, suicide bombing – and discussed how the
issue is viewed within Islam. The scripts were read out live on Sundays and rebroadcast on
Tuesdays and Thursdays. Following each broadcast, listeners called in and debated the topic
with the presenting cleric or sheikh. Members of al-Shabaab have responded to the messages
from the show and have attempted to debate them. The messaging is overwhelmingly critical of
al-Shabaab, and there was an emerging narrative that al-Shabaab was neither authentically
Islamic nor Somali in its actions and objectives.

SOUTH AFRICA

Overview: Continuing its efforts to counter international terrorism in 2011, South Africa
took measures to address border security vulnerability and document fraud which, in the past,
hindered the government's ability to pursue counterterrorism initiatives. With an ongoing
attempt to centralize all intelligence and security activities under the umbrella of the South
African State Security Agency (SSA, formed in 2009), new protocol procedures were placed on
counterterrorism coordination and information exchanges. Although the South African Police

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Service-Crime Intelligence (SAPS-CI) unit has traditionally been the most responsive on
counterterrorism matters, the SSA stipulated that any counterterrorism-related coordination
should occur directly through the SSA/foreign branch (SSA/FB) and it will determine which
other entities within SSA will be involved. As a result, coordination on counterterrorism-related
issues suffered from a lack of communication and coordination between SSA/FB and SAPS-CI,
which directly affected responsiveness to U.S. requests for information. Also, the SSA has noted
up front that it will not provide any information related to South African entities to the United
States, even if it relates to counterterrorism matters.

2011 Terrorist Incidents: Beginning in July 2010, Brian Patrick Roach, a 63 year old South
African citizen, attempted to extort the British government by threatening to release hoof and
mouth disease among the livestock in the United Kingdom. He further threatened that if his
demands were not met by the British, he would infect livestock in the United States with the
same disease. Roach conducted all of this activity from within South Africa and was considered
a terrorist by the South African government. This matter was investigated jointly by the South
African national prosecuting authority, the South African Police service, New Scotland Yard,
and the FBI. On February 12, 2011, the subject was arrested and in June he pled guilty to
terrorism charges.

Legislation and Law Enforcement: The South African Revenue Service (SARS) has a
Customs and Border Protection (CBP) Container Security Initiative team in Durban that works
with SARS to screen containers entering and leaving the port for contraband, currency, nuclear
materials, and other WMD. SARS is a member of the World Customs Organization and worked
closely with the Department of Homeland Security CBP to develop the SARS’ Customs Border
Control Unit, which is modeled after the CBP’s antiterrorism contraband enforcement team.
South Africa continued to participate in the Department of State’s Antiterrorism Assistance
program.

Countering Terrorist Finance: South Africa did not share information related to terrorist
financing with the United States. As a member of the Financial Action Task Force (FATF) and
the Eastern and Southern Africa Anti-Money Laundering Group, a FATF-style regional body,
South Africa largely complied with FATF standards for anti-money laundering and
counterterrorist finance, and had a functioning Financial Intelligence Unit, the Financial
Intelligence Centre (FIC). Those required to report to the FIC included banks, financial
institutions, car dealers, attorneys, gold dealers, gambling establishments, real estate agents,
foreign exchange dealers, securities traders, money lenders (including those who lend against
shares, e.g., brokers), entities selling travelers checks, and Johannesburg stock exchange-
registered people and companies. South Africa's FIC is a member of the Egmont group.

For further information on money laundering and financial crimes, we refer you to the 2011
International Narcotics Control Strategy Report (INCSR), Volume 2, Money Laundering and
Financial Crimes: http://www.state.gov/j/inl/rls/nrcrpt/index.htm.

Regional and International Cooperation: South Africa is a founding member of the Global
Counterterrorism Forum. South Africa was elected to its second two-year term as a non-



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permanent member of the United Nations Security Council (2011-2013) and played a leading
role in the African Union Peace and Security Council.

SOUTH SUDAN

Overview: South Sudan attained independence on July 9, 2011, becoming the world’s newest
country. Counterterrorism efforts and counterterrorist finance legislation remained a work in
progress. The Lord’s Resistance Army (LRA) represented the main terrorist threat to South
Sudan.

2011 Terrorist Incidents: The LRA was responsible for about twenty-five incidents in South
Sudan in 2011, chiefly in Western Equatoria and Western Bahr El Ghaza.

Legislation and Law Enforcement: A brand new country, the Government of South Sudan has
not yet passed counterterrorism legislation, and it suffers from multiple institutional weaknesses
that included insufficient policing and intelligence gathering, inadequate border controls, and
deficient aviation security and screening at the country’s two international airports in Juba and
Malakal.

Countering Terrorist Finance: South Sudan is not a member of any Financial Action Task
Force-style regional body. The Government of South Sudan has not passed anti-money
laundering/counterterrorism financing (AML/CTF) legislation, although a draft AML/CTF bill
was under review by the Ministry of Justice. A draft Banking and Foreign Exchange Business
Act was also pending approval at year’s end. For further information on money laundering and
financial crimes, we refer you to the 2011 International Narcotics Control Strategy Report
(INCSR), Volume 2, Money Laundering and Financial Crimes:
http://www.state.gov/j/inl/rls/nrcrpt/index.htm.

TANZANIA

Overview: Since the bombing of the U.S. Embassy in July 1998, Tanzania has not experienced
any major terrorist attacks. In November, Minister Shamsa Vuai Nahodha of the Ministry of
Home Affairs announced that police took custody of 10 young Tanzanians believed to have
connections with al-Shabaab, who were arrested by Kenyan immigration authorities along
Kenya's northern border with Somalia. Inter-agency representatives of Tanzania's National
Counterterrorism Center (NCTC), operated by the Tanzanian Police Force with inter-agency
representation from the military, prisons, and the Tanzania Intelligence Service, still consider
diplomatic missions, foreign investment projects, and tourist areas targets for terrorist attacks.

In October, Tanzania formalized the regulations for its Prevention of Terrorism Act passed in
2002. Progress on the regulations had previously stalled for years as a result of a change in
administration and disagreements over the responsibilities assigned in the Act. Now that the law
and associated regulations are in place, Tanzania worked to enact a national terrorism strategy to
address areas that require improvement.




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The most significant example of Tanzania-U.S. counterterrorism cooperation was the case
against the perpetrators of the 1998 U.S. Embassy bombing. In U.S. federal court in New York
in January 2011, Ahmed Ghailani was sentenced to life in prison for his involvement in the
attack. The Government of Tanzania was instrumental in assisting with the investigation and
providing the testimony that brought Ghailani to justice. The director of Tanzania’s NCTC
provided key testimony during the Ghailani trial.

The Tanzania Police Force (TPF) has been very receptive to State Department Antiterrorism
Assistance training and over 250 officers were trained in dozens of courses in 2011. The TPF
has adopted many of the U.S. guidelines, best practices, and has incorporated U.S. training into
its curricula.

Legislation and Law Enforcement: The November issuance of implementing regulations for
the 2002 Prevention of Terrorism Act represented the key development in counterterrorism
legislation this year. The NCTC reported that the United Kingdom played a central role in
assisting Tanzania with its draft regulations. Neither the NCTC nor the Financial Intelligence
Unit (FIU) reported any enforcement actions for the year, but both organizations maintained
working relationships with Tanzanian Customs and Border Security (CBS). As the NCTC was
composed of a number of inter-agency officials, the organization has access to Customs and
Border Security through its Immigration representative. The FIU was regularly in contact with
the Tanzanian Revenue Authority, which, in turn, liaised with CBS. Tanzanian Border Security
officials continued to use the Personal Identification Secure Comparison and Evaluation System
(PISCES) system, with biometric upgrades, at eight ports of entry. Tanzania also continued to
participate in the Department of State’s Antiterrorism Assistance program.

Countering Terrorist Finance: Tanzania is a member of the Eastern and Southern Africa Anti-
Money Laundering Group, a Financial Action Task Force (FATF)-style regional body. Tanzania
was publicly identified by the FATF in October 2010 for strategic anti-money laundering/
counterterrorist finance (AML/CTF) deficiencies, and committed to an action plan with the
FATF to address these deficiencies. In October 2011, the FATF determined that Tanzania’s
progress in implementing this action plan had been insufficient and that it needed to take
adequate action to address its main deficiencies. The FIU is the Tanzanian government office
most closely linked with AML/CTF efforts and it did not have the ability to conduct proactive
targeting. Since its establishment in 2007, the FIU has received a total of 40 referrals; only one
concerned terrorist finance. The staff of the FIU grew from five to 16 in 2011, as it filled out the
staffing requirements set forth by law. The FIU was also working to join the Egmont Group; it
was previously unable to apply for membership because it was not a national body; Zanzibar had
its own unit. This issue has since been resolved, and the FIU now covers Zanzibar as well.

Tanzania is largely compliant with international standards for the criminalization of terrorist
financing. Tanzania monitored formal remittance services, but the FIU said it had no means of
identifying or tracking money/value transfer services such as hawala. Non-profit organizations
must declare their assets when initially registering with the government, but their assets were not
subsequently reviewed on a regular basis. Tanzanian law does not contain a threshold transaction
amount that triggers an automatic review. FIU representatives stated that they were working to



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resolve this. Banks could receive a transfer of any amount without raising any alarm. Travelers
coming into the country may enter unimpeded with any amount of hard currency.

For further information on money laundering and financial crimes, we refer you to the 2011
International Narcotics Control Strategy Report (INCSR), Volume 2, Money Laundering and
Financial Crimes: http://www.state.gov/j/inl/rls/nrcrpt/index.htm.

Regional and International Cooperation: Tanzania is a member of the South African
Development Community and the East African Community, both of which have regular working
groups that address counterterrorism. On a regional level, the NCTC has coordinated with
Nairobi's Antiterrorism Center, and successfully extradited suspects of the 2010 Uganda
bombings to Uganda for trial.

UGANDA

Overview: The Ugandan government demonstrated increased political will to secure its borders,
apprehend suspected terrorists, and coordinate with regional allies and the United States to
counter terrorism. There were no reported terrorist attacks in Uganda in 2011, but Uganda
remained vulnerable to attacks by the Somali terrorist group al-Shabaab, which killed 76 people
including one American, in its July 2010 Kampala bombings. In addition to taking tangible steps
to track, capture, and prosecute individuals with suspected links to terrorist organizations,
Uganda began prosecuting several individuals arrested for orchestrating the July 2010 bombings.
Uganda also increased its troop contributions to the African Union Mission in Somalia
(AMISOM) and continued to pursue the Lord's Resistance Army (LRA) in coordination with the
Democratic Republic of Congo (DRC), South Sudan, and the Central African Republic (CAR).

Legislation and Law Enforcement: Uganda’s Joint Anti-Terrorism Taskforce, which is
composed of military, police, and intelligence entities and reports to the chieftaincy of military
intelligence led Uganda’s counterterrorism response, but was hampered by allegations of human
rights abuses. The Police’s Rapid Response Unit also conducted terrorist investigations, but was
disbanded in December 2011 due to allegations of human rights violations.

During the year, Uganda continued to build its counterterrorism capacity. With U.S. assistance,
Uganda continued to expand its Personal Identification Secure Comparison and Evaluation
System (PISCES) border control system to additional points of entry and upgraded this system to
capture biometric information. Uganda also continued to participate in the Department of State’s
Antiterrorism Assistance program.

In September, the Uganda High Court handed down sentences of five years and 25 years
imprisonment to two of the 2010 Kampala bombing suspects for terrorism and conspiracy to
commit terrorism. In November, Uganda also commenced prosecution of 12 other suspects
accused of orchestrating the July 2010 bombings, but the trial was placed on hold shortly
thereafter due to a legal challenge filed with the Constitutional Court. Although Uganda
significantly improved its ability to investigate terrorist acts, additional training and resources are
needed. Ugandan police, for example, replaced the outdated system of fingerprint cards with a
modern criminal records management system to identify criminal and terrorist suspects.

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Countering Terrorist Finance: Uganda is a member of the Eastern and Southern Anti-Money
Laundering Group, a Financial Action Task Force-style regional body. Uganda’s financial sector
remained vulnerable to money laundering, terrorist financing, and other illicit financial
transactions. Legal and law enforcement measures to counter terrorist financing, based on the
Anti-Terrorist Act of 2002 and the Financial Institutions Act of 2004, were inadequate and did
not meet international standards.

The Anti-Terrorist Act made terrorist financing illegal, but Ugandan authorities have not used
this law to investigate any money laundering or terrorist financing cases. Uganda also lacked the
capacity needed to effectively monitor and regulate money/value transfer services and wire
transfer data. The Bank of Uganda asked local banks to report “suspicious” transactions, but
there was no clear implementation mechanism for enforcing this or investigating potentially
suspicious activity. The Criminal Investigations Department (CID) of the Ugandan Police Force
was responsible for investigating financial crimes. However, until Parliament approves anti-
money laundering legislation, the understaffed and poorly-trained CID maintained only limited
authority to investigate and prosecute money laundering violations.

The Inspector General of Government has not investigated money laundering or terrorist
financing cases and Uganda did not prosecute any terrorist financing cases in 2011. The
Ministry of Foreign Affairs and Ministry of Finance distributed UN lists of designated terrorists
or terrorist entities to relevant Ugandan financial institutions.

For further information on money laundering and financial crimes, we refer you to the 2011
International Narcotics Control Strategy Report (INCSR), Volume 2, Money Laundering and
Financial Crimes: http://www.state.gov/j/inl/rls/nrcrpt/index.htm.

Regional and International Cooperation: Uganda is an active member of the African Union,
the Inter-Governmental Authority on Development, the Community of Eastern and Southern
Africa, the East African Community, and the International Conference on the Great Lakes
Region. During the year, Uganda worked closely with regional and international law
enforcement agencies to respond to terrorist threats. Uganda was the largest troop-contributing
nation to AMISOM. Uganda also coordinated with the DRC, CAR, and South Sudan to pursue
the LRA.

Countering Radicalization and Violent Extremism: After the July 2010 terrorist attacks,
Ugandan police increased outreach to local Muslim youth considered at-risk of recruitment by
violent extremist groups.


                               EAST ASIA AND PACIFIC

OVERVIEW

Terrorist incidents in East Asia and the Pacific in 2011 shifted from large-scale attacks such as
the 2009 Jakarta hotel bombings to attacks on domestic targets and crimes of opportunity such as

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kidnapping for ransom. Suicide bombers in Indonesia targeted a police mosque and a church,
injuring 50 people in two incidents. In each attack, the only fatalities were the terrorists, whom
the police believe were affiliated in a loose-knit network. A series of book bombs in March
unsuccessfully targeted prominent individuals and a senior police official in Indonesia. In the
southern Philippines on July 25, two U.S. citizens were kidnapped and subsequently held for
ransom by the Abu Sayyaf Group; one U.S. citizen was released on October 3 and the other
escaped on December 10.

A suspected perpetrator of the 2002 Bali bombings, Jemaah Islamiya (JI) member Umar Patek,
was captured in Pakistan and returned to Indonesia to stand trial on terrorism-related charges.
An appellate court upheld the conviction on terrorism-related charges of JI co-founder Abu
Bakar Ba’asyir. Indonesia also continued its close multilateral cooperation in Southeast Asia,
most notably through the Global Counterterrorism Forum (GCTF) and the Association of
Southeast Asian Nations (ASEAN) Defense Ministers Meeting Experts Working Group on
Counterterrorism.

Australia maintained its position as a regional leader in the fight against terrorism and worked to
strengthen the Asia-Pacific region’s counterterrorism capacity through a range of bilateral and
regional initiatives in fora such as the Asia-Pacific Economic Cooperation organization,
ASEAN, the ASEAN Regional Forum, and the Pacific Island Forum (PIF). In May, New
Zealand hosted a regional counterterrorism table-top exercise concomitant with the PIF’s annual
meeting, which was attended by the head of the United Nations Counter Terrorism Executive
Directorate, 14 member countries, and several observers, including the United States. This was
the first such exercise since 1995. The Japanese government continued to participate in
international counterterrorism efforts at multilateral, regional, and bilateral levels through the
Japan-ASEAN Integration Fund, the Sixth ASEAN-Japan Counterterrorism meeting, and the
First Japan-China Counterterrorism Consultations. Australia, Indonesia, Japan, China, and New
Zealand are also founding members of the GCTF; Indonesia and Australia volunteered to co-
chair the Forum’s Southeast Asia Working Group.

CHINA

Overview: China’s cooperation with the United States on counterterrorism issues was marginal
with little reciprocity in information exchanges. China conducted joint counterterrorism training
exercises with Pakistan, Belarus, Kyrgyzstan, Tajikistan, and Indonesia. China’s domestic
counterterrorism efforts remained primarily focused against the East Turkestan Islamic
Movement (ETIM) in the Xinjiang Uighur Autonomous Region (XUAR) of northwest China.
Domestic counterterrorism exercises were also held in southwest China. China does not always
distinguish between legitimate political dissent and the advocacy of violence to overthrow the
government, and it has used counterterrorism as a pretext to suppress Uighurs, the predominantly
Muslim ethnic group that makes up a large percentage of the population within the XUAR.
China’s government characterized Uighur discontent, peaceful political activism, and some
forms of religious observance as terrorist activity.

2011 Terrorist Incidents: In 2011 ETIM claimed responsibility for two violent acts primarily
targeting government officials. On July 18, an attack on a police station in Hotan, Xinjiang

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claimed the lives of four and left four others injured. On July 30 and 31, a series of bomb and
knife attacks in Kashgar left at least 12 dead and over 40 injured.

Legislation and Law Enforcement: The Chinese government adopted legislation to address
counterterrorism issues. On October 29, the Standing Committee of the National People's
Congress (NPC) passed the Decision on Issues Related to Strengthening Anti-Terrorism Work,
which clarified the definitions of terrorist activities, terrorist organizations, and terrorists. Vice
Minister of Public Security Yang Huanning stated in his report to the legislature on the decision
that there was previously no clear and precise definition of these terms provided in domestic law,
and the lack of clear definitions had “adversely affected the control over terrorist assets and
international cooperation in antiterrorism efforts, and the decision has been designed to fill this
gap.”

The Chinese government typically did not provide public information on law enforcement
actions in response to terrorist attacks. One exception was the publication of trial results for
those accused of participating in terrorist attacks. Four death sentences and two 19-year jail
terms were issued to individuals found complicit in the Kashgar and Hotan attacks.

U.S. law enforcement agencies sought assistance from Chinese counterparts on several cases
affecting U.S. citizens, but the Chinese government generally did not respond to these requests.
For example, in several instances China was asked to conduct joint investigations with U.S. law
enforcement and provide assistance to disrupt suspect activities and then prosecute the relevant
individuals either in the United States or China. In response, Chinese authorities took no action
beyond simply confirming information they had previously provided. No additional action was
taken to proactively assist U.S. law enforcement.

Countering Terrorist Finance: China is a member of the Financial Action Task Force (FATF)
and the Asia/Pacific Group on Money Laundering, a FATF-style regional body. The Decision
on Issues Related to Strengthening Anti-Terrorism Work, passed in October, defined the legal
scope of “terrorist activities” and “terrorist organizations” related to, among other crimes,
terrorist financing. The decision provided the legal basis for the establishment of a national
interagency terrorist asset freezing body. Regarding the monitoring of non-profit organizations,
China has a deep and far-reaching system of overall oversight; however, there were still no
identifiable measures or requirements for preventing terrorist finance abuses in this sector.

For further information on money laundering and financial crimes, we refer you to the 2011
International Narcotics Control Strategy Report (INCSR), Volume 2, Money Laundering and
Financial Crimes: http://www.state.gov/j/inl/rls/nrcrpt/index.htm.

Regional and International Cooperation: China is a founding member of the Global
Counterterrorism Forum. China provided support for three United Nations Security Council
committees (the 1267 committee, the Counterterrorism Committee (CTC), and the 1540
committee). In May, Shanghai Cooperation Organization (SCO) members China, Kyrgyzstan,
and Tajikistan staged counterterrorism exercises in Xinjiang (Tianshan-II); China and Indonesia
held their first counterterrorism exercises in June (Sharp Knife 2011); counterterrorism exercises
were held with Belarus in July; and China and Pakistan held their fourth joint counterterrorism

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military exercise in Pakistan in November. In late 2011, the Chinese government ratified the
China-Russia Cooperation Agreement on Combating Terrorism, Separatism, and Extremism,
which called for Moscow and Beijing to coordinate more closely through the G20 and the SCO.

Hong Kong

Provisions of Hong Kong's UN Anti-Terrorism Measures Ordinance (UNATMO) for the
freezing, forfeiture, seizure, or detention of terrorist assets and property came into effect in
January and further strengthened legal statutes to combat terrorist financing and acts of terrorism.
The Hong Kong Police Counterterrorism Readiness Unit provided a strong deterrent presence,
assisted police districts with counterterrorist strategy implementation, and complemented – with
tactical and professional support – the Hong Kong Police's existing specialist units, such as the
Special Duties Unit and its VIP Protection Unit.

Hong Kong is a member of the Asia/Pacific Group on Money Laundering, a Financial Action
Task Force-style regional body. In July, Hong Kong passed legislation to counter money
laundering and terrorist financing. The legislation imposed statutory supervision requirements
for money changers and remittance agents as well as legal requirements for customer due
diligence and record-keeping in the banking, securities, and insurance sectors. Terrorist
financing is a criminal offense in Hong Kong, and banks and other financial institutions are
obliged to continuously search for terrorist financing networks and screen accounts using U.S.
designations lists, as well as the UN 1267/1989 and 1988 Sanctions Committees’ consolidated
lists. Filing suspicious transactions reports irrespective of transaction amounts is obligatory, but
Hong Kong lacked mandatory reporting requirements for cross-border currency movements.

Hong Kong cooperated in counterterrorism efforts through Asia-Pacific Economic Cooperation,
INTERPOL, and other security-focused organizations, and incorporated recommendations into
its security strategy. In April, the Hong Kong Police and the Australian Federal Police signed a
memorandum of understanding to jointly address transnational challenges and to bolster capacity
building, an effort that led to an inaugural International Counterterrorism Investigators
Workshop in November. Hong Kong authorities continued their effective security and law
enforcement partnership with the United States through the Hong Kong Customs and Excise
Department’s effective joint operation of the Container Security Initiative and by participating in
U.S.-sponsored training.

Macau

Macau is a member of the Asia-Pacific Group on Money Laundering, a Financial Action Task
Force (FATF)-style regional body. Terrorist financing is a criminal offense in Macau, and banks
and other financial institutions are obliged to continuously search for terrorist financing networks
and screen accounts using U.S. designation lists, as well as the UN 1267/1989 and 1988
Sanctions Committees’ consolidated lists. Filing suspicious transaction reports irrespective of
transaction amounts was obligatory, but Macau lacks mandatory reporting requirements for
cross-border currency movements or large currency transactions. Macau is a member of the
Egmont Group of Financial Intelligence Units. In May, Macau hosted the Asia Pacific Regional



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Review Group meeting under the FATF’s International Cooperation Review Group. The U.S.
Financial Crimes Enforcement Network attended this meeting.

For further information on money laundering and financial crimes, we refer you to the 2011
International Narcotics Control Strategy Report (INCSR), Volume 2, Money Laundering and
Financial Crimes: http://www.state.gov/j/inl/rls/nrcrpt/index.htm.

INDONESIA

Overview: The Indonesian government continued to strengthen and build its capacity to counter
terrorism. Complementing strong domestic efforts, Indonesia cooperated and coordinated where
appropriate with other countries, including the United States. Indonesian counterterrorism
operations continued to disrupt efforts by terrorist organizations to use the country as a safe
haven for training and conducting attacks. Border security remained a challenge, given that
Indonesia is composed of more than 17,000 islands and has numerous points of entry by land,
sea, and air.

Terrorists in Indonesia appeared to have changed tactics in recent years from large-scale
bombings of high-profile targets to smaller, more diffuse attacks generally directed at domestic
institutions, especially those representing the central government. For the most part, explosives
used in a string of suicide bombings during the year were of poor quality and most of these
bombs were relatively small and unsophisticated. This trend likely reflects the Indonesian
government’s success in capturing or killing experienced leaders and bomb-makers since 2009.

Despite the government’s efforts to block violent extremist websites, the internet increasingly
provided a source of “inspiration” for terrorists, some of whom became radicalized after viewing
extremist websites, or banded together through participation in violent extremist social
networking websites. DVDs, distributed through terrorist networks, were also a major source of
radical information. Authorities have noted increased attempts by radical extremists to spread
their messages at public universities and secondary schools. There were also ongoing concerns
about incarcerated terrorists who spread extremist messages to other prisoners.

U.S. and Western-affiliated interests remained potential targets for terrorists, although their focus
was increasingly on attacks against local government and law enforcement entities, especially
the police.

2011 Terrorist Incidents:
    In March, a series of four “book bombs” were mailed in Jakarta to a senior police officer
      and prominent civilians. There were no fatalities, although one book bomb exploded
      while police attempted to dismantle it, injuring four people.
    On the night of April 20-21, law enforcement officials discovered and defused a series of
      bombs planted in close proximity to a gas pipeline near a church on the outskirts of
      Jakarta.
    On May 25, Jemaah Anshorut Tauhid (JAT) members associated with arrested JAT
      military leader Abu Tholut attacked a police post in Palu, Sulawesi. The terrorists killed
      two police officers, wounded a third, and stole their weapons.

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       On July 11, an explosion took place at the Umar bin Khattab Islamic Boarding School on
        the island of Sumbawa, killing the treasurer of the school whom police suspected was
        teaching bomb-making skills to students. After gaining entry, the police discovered
        bomb-making ingredients and materials, explosive devices, and extremist literature.
       Two suicide bombings, both on the island of Java, claimed the lives of both bombers.
        Each attack caused injuries but no other fatalities. On April 15, the bomber detonated
        explosives in the Cirebon police mosque in West Java during midday prayers, injuring
        nearly 30 people. On September 25, a suicide bomber in Suryakarta (also known as
        Solo), Central Java, struck at a Protestant church at the end of the morning service,
        injuring approximately 20. According to the Indonesian National Police (INP), both
        suicide bombers were affiliated with a loose-knit terrorist network with connections to
        JAT.

Legislation and Law Enforcement: The Intelligence Bill, passed on October 11 but not
implemented by year’s end, would allow the State Intelligence Agency (BIN) to intercept all
forms of communication, including electronic, after first obtaining a warrant. The Attorney
General’s Office and the INP could then introduce these intercepts into court as evidence. The
new law would also allow BIN to obtain financial records and to question individuals without
detaining or arresting them in order to prevent terrorist and other acts deemed threatening to
national security. Some sectors of civil society and civil rights groups have expressed concern
about the scope and reach of the law.

In 2011, there were 93 people arrested on terrorism charges, 121 prosecutions, and seven
pending cases involving 33 defendants. In June, radical cleric Abu Bakar Ba’asyir was
sentenced to 15 years imprisonment based upon his support for a paramilitary terrorist training
camp in Aceh that was discovered and disbanded by Indonesian National Police in 2010.

In July and August, the Medan High Court sentenced terrorists involved in a 2010 bank robbery,
conducted to finance terrorism, to sentences ranging from five to 12 years. In October, Abu
Tholut, implicated in the Aceh terrorist training camp case for training and providing weapons to
terrorists, was sentenced to an eight-year prison term. Umar Patek, a suspected explosives-
maker for the bombs used in the 2002 terrorist bombings in Bali, was arrested in Pakistan in
January and transferred to Indonesia in August.

Indonesia remained a critical partner nation in the Department of State’s Antiterrorism
Assistance program, which provided enhanced training in investigative skills for Detachment 88,
a premier Indonesian antiterrorism unit that regularly conducted major operations against
terrorists in the region.

Countering Terrorist Finance: Indonesia is a member of the Asia-Pacific Group on Money
Laundering, a Financial Action Task Force (FATF)-style regional body. Indonesia criminalizes
terrorist financing in several paragraphs of its 2003 terrorism legislation but the legislation has
been criticized as ineffective and inadequate. The Indonesian Financial Intelligence Unit,
PPATK, worked with the Ministry of Law and Human Rights to rewrite Indonesia’s terrorist
financing law to make it compliant with standards of the FATF and best global practices.


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At its October plenary, the FATF decided that Indonesia had not yet made sufficient progress on
its action plan to enact terrorist finance legislation and to develop regulations and the other legal
instruments necessary to freeze terrorist assets in accordance with the relevant United Nations
Security Council Resolutions.

The provisions under Indonesian law to seize and freeze assets were not clearly drafted and
required a criminal conviction before the seizure of assets. There was no comprehensive terrorist
financing legislation that criminalized terrorist financing in accordance with FATF and
international standards. Additionally, the mechanisms in place under Indonesian law were
difficult to implement effectively. Capacity issues and inadequate legislation hampered
Indonesia’s efforts to monitor non-profit organizations. In particular, charitable and religious
institutions remained largely unregulated, although the Indonesian government was looking at
creating an administrative process to monitor non-profit organizations.

On October 14, the National Coordination Committee adopted the National Strategy on the
Prevention and Eradication of Criminal Act of Money Laundering and Terrorist Financing for
years 2012-2016. The 12 focus areas of the National Strategy ranged from a better use of
technology to drafting new laws and implementing regulations to improve execution of current
laws and regulations. The National Strategy also included a call to enact an asset forfeiture law
and a terrorist financing law.

For further information on money laundering and financial crimes, we refer you to the 2011
International Narcotics Control Strategy Report (INCSR), Volume 2, Money Laundering and
Financial Crimes: http://www.state.gov/j/inl/rls/nrcrpt/index.htm.

Regional and International Cooperation: Indonesia is a founding member of the Global
Counterterrorism Forum (GCTF) and co-chairs the Forum’s Southeast Asia Capacity Building
Working Group with Australia. Indonesian officials participated in the GCTF’s other working
groups as well. Indonesia supported the Global Counterterrorism Strategy of the UN. With the
United States, Indonesia co-chaired the counterterrorism expert working group in the Association
of Southeast Nations Defense Ministers Meeting Plus mechanism.

Countering Radicalization and Violent Extremism: Non-governmental organizations (NGOs)
continued to play a leading role in countering violent extremism, complementing nascent efforts
by Indonesia’s year-old National Counterterrorism Agency, the organization charged with
implementing the government’s counter radicalization and disengagement programs. Civil
society and government organizations focused on both educational institutions and prisons.
Several NGOs worked on university campuses to spread messages of tolerance and respect to
dissuade young people from radicalizing. Indonesian authorities continued to express concern
about recidivism, underscoring the need to implement effective disengagement programs in
prisons. Programs in prisons aimed to disengage convicted terrorists from violent behavior,
helping to redirect them to more positive choices after release. Increasingly, efforts were made
to include the families and communities of terrorists, recognizing the important role that they
play in post-release terrorist rehabilitation.

KOREA, DEMOCRATIC PEOPLE’S REPUBLIC OF (NORTH KOREA)

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Overview: The Democratic People’s Republic of Korea (DPRK) is not known to have
sponsored any terrorist acts since the bombing of a Korean Airlines flight in 1987. On October
11, 2008, the United States rescinded the designation of the DPRK as a state sponsor of terrorism
in accordance with criteria set forth in U.S. law, including a certification that the government of
the DPRK had not provided any support for international terrorism during the preceding six-
month period and the provision by the DPRK of assurances that it will not support acts of
international terrorism in the future.

Four Japanese Red Army members who participated in a jet hijacking in 1970 continued to live
in the DPRK. The Japanese government continued to seek a full accounting of the fate of 12
Japanese nationals believed to have been abducted by DPRK state entities in the 1970s and
1980s. The DPRK has not yet fulfilled its commitment to reopen its investigation into the
abductions.

Legislation and Law Enforcement: The United States re-certified North Korea as “not
cooperating fully” with U.S. counterterrorism efforts under Section 40A of the Arms Export and
Control Act, as amended. In making the annual determination designating the DPRK as “not
cooperating fully,” the Department of State reviewed the country’s overall level of cooperation
in our efforts to fight terrorism, taking into account U.S. counterterrorism objectives with the
DPRK and a realistic assessment of its capabilities.

Countering Terrorist Finance: The Financial Action Task Force (FATF) remained concerned
about the DPRK’s failure to address the significant deficiencies in its regulatory regimes. In
January, the DPRK engaged the FATF to discuss its anti-money laundering and counterterrorist
financing regulatory regimes. While the FATF welcomed this initial engagement and said it
remained open to further engagement, there were no further contacts. In its public statement in
February, the FATF publicly urged the DPRK to immediately and meaningfully address these
deficiencies.

The DPRK’s financial system was opaque and compliance with international standards was
difficult to gauge. For further information on money laundering and financial crimes, we refer
you to the 2011 International Narcotics Control Strategy Report (INCSR), Volume 2, Money
Laundering and Financial Crimes: http://www.state.gov/j/inl/rls/nrcrpt/index.htm.

Regional and International Cooperation: In June, the UN Counter-Terrorism Committee
Executive Directorate (CTED) held consultations with the DPRK on strengthening its
implementation of United Nations Security Council Resolutions 1267/1989, 1988, and 1373.
CTED plans to continue to engage the DPRK to assist in its implementation of those resolutions.

REPUBLIC OF KOREA (SOUTH KOREA)

Overview: The Republic of Korea strengthened its counterterrorism efforts in 2011. The
Republic of Korea’s National Intelligence Service (NIS), the Korean National Police Agency
(KNP), and various intelligence entities worked in close coordination with U.S. and international


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counterparts to access and contribute to multiple counterterrorism databases. The Government
of the Republic of Korea reviewed and strengthened its emergency response plan.

In September 2011, the FBI Legal Attaché Office in Seoul worked jointly with the NIS and KNP
to investigate an international terrorism subject who had relocated to the Republic of Korea.
Subsequently, NIS and KNP provided information and monitored the subject until he departed
the country.

Legislation and Law Enforcement: In September 2005, the Republic of Korea signed the
International Convention for the Suppression of Acts of Nuclear Terrorism (ICSANT) and the
National Assembly ratified it in December 2011.

Countering Terrorist Finance: The Republic of Korea is a member of the Financial Action
Task Force (FATF) and the Asia/Pacific Group on Money Laundering (APG), a FATF-style
regional body. The National Assembly passed the “Prohibition of Financing for Offenses of
Public Intimidation Act” in September, which the Financial Intelligence Unit (FIU) had
submitted in October 2010. Prior to passing the Act, the National Assembly made important
changes to the law. In addition to criminalizing the provision, collection, and delivering of funds
and assets to terrorists and terrorist organizations, the revised act established a freezing regime
that controls the disposition and transfer of movable and immovable assets, bonds, and other
property or property rights.

In December 2010, the FIU submitted a separate bill amending the Financial Transaction Reports
Act to impose stricter penalties on financial institutions that violate reporting requirements. The
bill was pending in the National Assembly at year’s end.

For further information on money laundering and financial crimes, we refer you to the 2011
International Narcotics Control Strategy Report (INCSR), Volume 2, Money Laundering and
Financial Crimes: http://www.state.gov/j/inl/rls/nrcrpt/index.htm.

Regional and International Cooperation: South Korea is a member of the United Nations,
Asia-Pacific Economic Cooperation (APEC), the Association of Southeast Asian Nations’
(ASEAN) Regional Forum, ASEAN+3, East Asia Summit, the Asia-Europe Meeting (an
interregional forum consisting of the EC, 27 EU members and 13 members of the ASEAN Plus),
Asia Cooperation Dialogue, Forum for East Asia-Latin America Cooperation, the Organization
for Economic Cooperation and Development, the G20, and the Conference on Interaction and
Confidence-Building Measures in Asia. It is also a partner country of the Organization for
Security and Cooperation in Europe and the North Atlantic Treaty Organization.

In 2011, the South Korean government organized numerous international conferences to share
information and best practices. It hosted the Seventh Plenary Meeting of the Global Initiative to
Combat Nuclear Terrorism in June, and the Third APEC Seminar on the Protection of
Cyberspace in September. South Korea also hosted the FATF/APG workshop on Money
Laundering Typologies in December.




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The South Korean government held bilateral consultations on counterterrorism with the United
Kingdom, Japan, China, Russia, Algeria, Uzbekistan, and Israel.

MALAYSIA

Overview: Malaysia's counterterrorism cooperation with the United States has improved in
recent years and it was an important counterterrorism partner in 2011. Malaysia has not suffered
a serious incident of terrorism for several years, but was vulnerable to terrorist activity and
continued to be used as a transit and planning site for terrorists. In spite of new measures to
improve border security, weak border controls persisted in the area contiguous with Thailand in
northern Malaysia, and there were gaps in maritime security in the tri-border area of the southern
Philippines, Indonesia, and the Malaysian state of Sabah. Royal Malaysian Police (RMP)
cooperated closely with the international community on counterterrorism efforts, and RMP and
other law enforcement officers participated in capacity building training programs.

Legislation and Law Enforcement: On September 15, Malaysia’s Prime Minister Najib
announced that his government would seek the repeal of the Internal Security Act (ISA) and
Emergency Ordinances under which Malaysia has routinely detained suspected terrorists and
others without formal judicial proceedings for renewable two-year terms. By year’s end, the
Emergency Ordinances had been revoked. The ISA was still used, but new legislation to replace
it was being drafted.

To address concerns surrounding insufficient visa and immigration controls, Malaysia began
implementing a biometrics system in June that records the fingerprints of the right and left hand
index fingers at all ports of entry. The National Foreigners Enforcement and Registration
System were linked to the police's existing Biometric Fingerprint Identification System. There
were occasional glitches, but according to police, the new biometric system was successful
overall and was instrumental in the detention of an Indonesian Jemaah Islamiya (JI) operative
just days after the system was introduced. The country also began a massive effort to register
foreign workers, many of whom were undocumented. This involved the biometric registration of
more than 2.3 million foreign workers and undocumented immigrants in an overall effort to gain
better understanding and management of the country's foreign residents.

Arrests: The following arrests under the ISA took place:
    On January 4, police arrested and detained Mohamad Radzali Kassan, a Malaysian, for
       being an alleged JI operative.
    On June 6, police arrested Agus Salim, an Indonesian, for being an operative of JI. Agus
       had been arrested and deported to Indonesia in 2009, but re-entered Malaysia in 2010
       under a false name. He was detected through the new biometric National Foreigners
       Enforcement and Registration System.
    On June 8, police arrested and detained Abdul Haris bin Syuhadi, an Indonesian, for
       recruiting for JI.
    In an operation conducted from November 14 to 16, police arrested and detained 13
       people – seven Malaysians, five Indonesians, and one Filipino – in eastern Sabah. The 13
       were allegedly involved in the smuggling of weapons between the Philippines, Malaysia,
       and Indonesia to support terrorist activities.

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Malaysia continued to participate in the Department of State’s Antiterrorism Assistance program.

Countering Terrorist Financing: Malaysia is a member of the Asia/Pacific Group on Money
Laundering, a Financial Action Task Force-style regional body. Malaysia improved the
legislative framework to criminalize terrorist financing by passing the Money Service Business
Act of 2011 (MSBA), which replaced three older pieces of legislation. On December 1, the
MSBA was implemented to regulate licensed moneychangers, non-bank remittance service
providers, and the wholesale currency business under Malaysia’s Central Bank, and to increase
monitoring and control of the cross-border flow of illegal funds. In 2011, Malaysia initiated
eight new terrorist finance investigations. For further information on money laundering and
financial crimes, we refer you to the 2011 International Narcotics Control Strategy Report
(INCSR), Volume 2, Money Laundering and Financial Crimes:
http://www.state.gov/j/inl/rls/nrcrpt/index.htm.

Regional and International Cooperation: Malaysia actively participated in the Association of
Southeast Asian Nations (ASEAN) and the Asia Pacific Economic Cooperation forum.
Malaysian law enforcement officials routinely met with regional counterparts to discuss
counterterrorism issues at meetings such as the Heads of Asian Coast Guards meeting in Hanoi
in October. In May, Malaysia's Police Chief Inspector General traveled to Jakarta to discuss
coordinating counterterrorism efforts with the Indonesian National Police. Malaysia’s Assistant
Commissioner of the RMP also served as head of the ASEAN Chiefs of National Police, which
agreed in June to cooperate with the United Nations Counter-Terrorism Committee Executive
Directorate to assist ASEAN member states in their implementation of United Nations Security
Council Resolutions 1624/1989, 1988, and 1373.

In May, Malaysia's Southeast Asia Regional Center for Counterterrorism, under the Ministry of
Foreign Affairs, organized with the Japan-ASEAN Integration Fund and the ASEAN Secretariat,
a seminar on the Dynamics of Youth and Terrorism that included numerous ASEAN
participants. In October, Malaysia collaborated with the Government of France to organize and
host a three-day seminar on money laundering and terrorist finance attended by participants from
Brunei, Cambodia, Philippines, Singapore, Thailand, and East Timor.

Countering Radicalization and Violent Extremism: The RMP and the Department of Islamic
Development operated a disengagement program for terrorist suspects in Malaysia’s Kamunting
Prison. The program involved religious and social counseling and vocational training. It
employed psychologists as well as religious scholars, police officers, and family members. A
committee evaluated detainees' progress toward eligibility for release from prison. The
committee’s reports were reviewed by a panel from the detention center and also by the Home
Ministry. Upon release, former inmates were visited by parole officers and continued to face
restrictions on their activities, including curfews and limits on their travel and contacts. While
the government portrayed the disengagement program as highly successful, it lacked
demonstrable metrics for its effectiveness.

PHILIPPINES


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Overview: The Philippines maintained its strong counterterrorism cooperation with the United
States. The ability of terrorist groups, including the Abu Sayyaf Group (ASG), Jemaah Islamiya
(JI), and the Communist People’s Party/New People’s Army (CPP/NPA), to conduct terrorist
activities inside the Philippines remained constrained. Terrorist groups’ acts were generally
limited to criminal activities designed to generate revenue for self-sustainment, such as
kidnapping or extortion. Nonetheless, members of these groups were suspected to have carried
out bombings against government, public, and private facilities, primarily in the central and
western areas of Mindanao; others were linked to extortion operations in other parts of the
country.

In January, the Aquino administration began implementation of its 2011–2016 Internal Peace
and Security Plan (IPSP). The IPSP recognizes that achieving lasting peace, security, and
economic development requires a “whole of nation" approach, including increasingly
transferring internal security functions from the Armed Forces of the Philippines (AFP) to the
Philippine National Police (PNP). Joint military/police task forces and interagency operations
cells were created in the southern Philippines in Zamboanga, Sulu, and Basilan, and an anti-
kidnapping-for-ransom group was created in Marawi with military and police participation. The
PNP also established a national Crisis Action Force that combined ground, air, and marine units
into a unified terrorist/crisis first response unit. The increasing role of the police in maintaining
internal security in conflict-affected areas will permit the AFP to shift its focus to enhancing the
country's maritime security and territorial defense capabilities.

2011 Terrorist Incidents: High profile terrorist incidents included:
    On January 25, five passengers were killed and a dozen injured when a bomb detonated
      inside a commuter bus on a major highway in Makati, the business center of Manila. No
      group claimed responsibility and no suspects were arrested although President Aquino
      announced a reward of one million Philippine pesos (approximately U.S. $23,500).
    On July 12, U.S. citizen Gerfa Yeatts Lunsmann, her U.S. citizen son, and Filipino
      nephew were abducted by more than a dozen armed men who raided Tigtabon Island,
      Zamboanga City. According to media reports, involvement by the ASG was suspected.
      Mrs. Yeatts Lunsmann was freed on October 3, and both her nephew (around November
      13) and son (December 10) escaped.
    On October 3, 200 members of the CPP/NPA attacked three mines in Surigao del Norte,
      Mindanao, and destroyed trucks, heavy equipment, barges, and offices. The CPP/NPA’s
      political arm, the National Democratic Front (NDF), asserted that the attacks were aimed
      at mining companies that did not adequately protect the environment and workers. The
      Chamber of Mines of the Philippines accused the NDF of using environmental concern as
      an excuse to extort money from large-scale mining operations in the country.

Legislation and Law Enforcement: In August, Filipino witnesses traveled to the United States
to provide testimony in support of U.S. charges related to the 2009 ASG-supported bombing at
Kagay, Jolo, which resulted in the death of two U.S. servicemen and one Filipino Marine.

On September 11, President Aquino signed an executive order creating the Coast Watch System
to coordinate maritime security operations and help the country protect its maritime boundary
against transit by violent extremists.

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On November 29, the PNP’s Special Action Force group arrested Hussein Ahaddin, a suspect in
the bombing three days earlier of a hotel in Zamboanga City that killed three people and injured
27. In 2009, Ahaddin had been arrested for his alleged involvement in a 2002 bombing that
killed a U.S. Special Forces counterterrorism advisor and two Filipino civilians, but he was later
released. Ahaddin was implicated by the government as being a member of the ASG.

The extradition case continued against Abdul Baser Latip, an ASG leader wanted in the United
States to stand trial on criminal hostage-taking charges in the 1993 kidnapping of U.S. national
Charles Walton. At year’s end, the parties were awaiting a decision by the Regional Trial Court
in Manila.

The petition filed in 2010 by the Philippine Department of Justice with the Regional Trial Court
in Basilan for the proscription of the ASG as a terrorist group and 202 identified associates as
terrorists was pending action at year’s end.

The Philippines remained a critical partner nation in the Department of State’s Antiterrorism
Assistance program, which provided tactical and investigative training to support the transition
in the southern Philippines from military to civilian counterterrorism authority in Mindanao.

Countering Terrorist Finance: The Philippines is a member of the Asia/Pacific Group on
Money Laundering (APG), a Financial Action Task Force-style regional body. Legislation to
criminalize terrorist finance as a stand-alone offense was pending in the Philippines Congress at
year’s end. President Aquino formally declared the counterterrorist finance legislation “urgent”
under the Philippine Constitution to expedite the legislative process. The Philippines Financial
Intelligence Unit must obtain a court order to freeze assets, including those of terrorists and
terrorist organizations placed on the United Nations Security Council 1267/1989 and 1988
Sanctions Committee’s consolidated lists. The APG noted this requirement is inconsistent with
international standards, which call for the preventive freezing of terrorist assets “without delay”
from the time of designation. Legislation to address this issue was pending in the Philippine
Congress. For further information on money laundering and financial crimes, we refer you to the
2011 International Narcotics Control Strategy Report (INCSR), Volume 2, Money Laundering
and Financial Crimes: http://www.state.gov/j/inl/rls/nrcrpt/index.htm.

Regional and International Cooperation: The Philippines participated in the Association of
Southeast Asian Nations Defense Ministers’ Meeting Plus and supported the establishment of an
Experts’ Working Group to facilitate counterterrorism cooperation. Through U.S.-sponsored
antiterrorism training, the PNP developed contacts with law enforcement agencies in Indonesia
and Malaysia.

Countering Radicalization and Violent Extremism: The Philippine government continued its
counter-radicalization program: Payapa at Masaganang Pamayanan or PAMANA (Resilient
Communities in Conflict Affected Communities). This program, spearheaded by the Office of
the Presidential Advisor on the Peace Process, was formally launched in Mindanao during the
summer to bring peace and development to conflict-affected areas. Additionally, the Philippine
government implemented the Bayanihan Leaders Program. This program uses the Philippines’

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Internal Peace and Security Plan model to identify key stakeholders from the community
(including members of the AFP, PNP, Department of Education, Department of Social Welfare
and Development, local government, religious community, and youth) as speakers and mentors
for Filipino youth. The Bayanihan Leaders Program seeks to educate audiences about the
dangers of recruitment into extremist organizations, create interfaith dialogue, and form lasting
mentor relationships with successful individuals in communities.

SINGAPORE

Overview: Singapore continued its strong bilateral and multilateral counterterrorism
intelligence and law enforcement cooperation. As of December, Singapore held in detention 14
persons for links to terrorist groups. Detainees included 12 people with links to Jemaah Islamiya
(JI) who had plotted to carry out attacks in Singapore in the past. An additional three persons
with links to terrorist groups were newly detained in 2011. Singapore released 47 persons on
restriction orders and one on suspension direction, all of whom were monitored by the Singapore
authorities and required to report to authorities on a regular basis.

Legislation and Law Enforcement: Singapore used its Internal Security Act (ISA) to arrest
and detain suspected terrorists without trial. The ISA authorizes the minister for home affairs
(MHA), with the consent of the president, to order detention without filing charges if it is
determined that a person poses a threat to national security. The initial detention may be for up
to two years, and the MHA may renew the detention for an unlimited number of additional
periods of up to two years at a time with the president’s consent.

Law enforcement actions included:

       In January, Singapore detained JI member Jumari Kamdi. Kamdi was apprehended in
        Malaysia in 2010 and deported to Singapore in January 2011.
       In June, Singapore took JI member Samad Subari into custody. Subari was one of the
        pioneering members of the Singapore JI network, according to the MHA. He had also
        undergone terrorist training in Afghanistan with al-Qa’ida in 2001. He was arrested in
        Indonesia in June of 2009, jailed for immigration offenses, and deported to Singapore
        upon completion of his prison sentence in June.
       In September, Singapore released a member of JI, Mohamed Khalim Jaffar, on a
        suspension direction. Jaffar was detained under the ISA in January 2002.

Countering Terrorist Finance: Singapore is a member of the Financial Action Task Force
(FATF) and the Asia/Pacific Group on Money Laundering, a FATF-style regional body. There
were no assets frozen or confiscated for counterterrorist finance related crimes. For further
information on money laundering and financial crimes, we refer you to the 2011 International
Narcotics Control Strategy Report (INCSR), Volume 2, Money Laundering and Financial
Crimes: http://www.state.gov/j/inl/rls/nrcrpt/index.htm.

Regional and International Cooperation: In June, the Singapore Navy participated in the
annual Southeast Asia Cooperation Against Terrorism exercise, together with the U.S. Navy and
the navies of Brunei, Indonesia, Malaysia, the Philippines, and Thailand. In November, the

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Singapore Armed Forces conducted Exercise Northstar, a 16-day counterterrorism training
exercise with more than 700 personnel from the army, police, and the Singapore Civil Defense
Force.

Countering Radicalization and Extremism: Singapore maintained a disengagement program
that focused on countering extremist ideology. Detainees were required to undergo a program of
religious counseling with a group of volunteer religious counselors. Singapore enlisted the
support of religious teachers and scholars to study JI’s ideology, develop teachings to counter the
group’s spread within Singapore’s Muslim community, and provide counseling to detainees.
Religious counseling for detainees continued after release from detention. There were no
reported cases of recidivism among the individuals released from detention.

THAILAND

Overview: Counterterrorism cooperation with Thailand remained strong before and after the
July 3 national elections, which resulted in a change in government. Thai security forces
increased cooperation with the United States and with other countries to deny safe haven to
terrorists. Thailand remained a transit hub for international terrorists and facilitators. With
support from the United States, Thailand continued to use the Personal Identification Secure
Comparison and Evaluation System (PISCES) border security system at five airports and four
land border stations.

There was no direct evidence that international terrorist groups were directly involved in attacks
within Thailand, nor was there any evidence of operational linkages between the southern Thai
insurgent groups and international terrorist networks.

Political conflict from 2010, which produced violence resulting in 92 deaths, did not resurface in
2011 despite a significant shift in political power. Some alleged violent actors from this period
were accused of terrorism and then charged under the terrorist-based provisions of the criminal
code. A respected member of Thailand’s Truth for Reconciliation Commission termed the
accusations inflated, and discussion continued whether the charges were politically motivated or
based on substantive violent acts. Nonetheless one low-ranking former police officer was
sentenced to 38 years imprisonment on domestic terrorism and related charges in December.

Legislation and Law Enforcement: The porous nature of Thailand’s southern border with
Malaysia remained an issue of concern. At the same time, cross-border law enforcement
cooperation, based on long association between Thai and Malaysian police officers, remained
strong. With support from the United States, Thailand continued to use the Personal
Identification Secure Comparison and Evaluation System (PISCES) border security system at
five airports and four land border stations. Thailand continued to participate in the Department
of State’s Antiterrorism Assistance program.

Countering Terrorism Finance: Thailand is a member of the Asia/Pacific Group on Money
Laundering, a Financial Action Task Force (FATF)-style regional body. In 2010, the Thai
government expressed high-level political commitment to addressing deficiencies that the FATF
identified in Thailand’s Anti-Money Laundering/Counterterrorist Finance (AML/CTF) regime,

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and reported taking multiple steps to address FATF recommendations. This commitment
appeared firm throughout 2011, despite the change in political leadership. Nonetheless, an
attempt to introduce a revision of the Financing of Terrorism Act remained stalled in the
legislature at year’s end. Thailand’s new government adopted the 2010-2015 National Strategy
for Combating Money Laundering and the Financing of Terrorism originally developed by the
Anti-Money Laundering Office (AMLO), Thailand’s official Financial Intelligence Unit. The
2010-2015 National Strategy called for the legislative enactment of key CTF measures by
October 31, but this was delayed as a result of widespread flooding and political transitions.

Thailand lacked a comprehensive legal framework for monitoring and supervising non-profit
organizations. The AMLO’s 2010-2015 National Strategy for Combating Money Laundering
and the Financing of Terrorism specifically calls for enhanced measures to provide for greater
transparency and oversight of non-profit organizations by December 2014. More specifically,
the 2010-2015 National Strategy calls for implementation of appropriate licensing procedures,
supervision, monitoring, and oversight in line with international standards. This includes
ensuring that information on the operations of each non-profit organization is publicly available.
The Bank of Thailand does not have regulations that give it explicit authorization to control
charitable donations; however, the Financial Institutions Business Act and the Electronic
Payment Services Business Decree require all financial institutions and non-bank service
providers to adopt both know-your-customer rules and customer due diligence procedures for all
clients, and must meet the Anti-Money Laundering Act’s reporting requirements, which would
include transactions deriving from charitable donations.

For further information on money laundering and financial crimes, we refer you to the 2011
International Narcotics Control Strategy Report (INCSR), Volume 2, Money Laundering and
Financial Crimes: http://www.state.gov/j/inl/rls/nrcrpt/index.htm.

Regional and International Cooperation: Thailand participated in international
counterterrorism efforts through the Asia-Pacific Economic Cooperation, the Association of
Southeast Asian Nations (ASEAN), the ASEAN Regional Forum, the Asia-Europe Meeting, the
Bay of Bengal Initiative for Multi-Sectoral, Technical, and Economic Cooperation, and other
multilateral fora. Thailand, along with the U.S. Pacific Command, co-hosted 11 countries for the
annual Pacific Area Security Sector Working Group.

Countering Radicalization and Violent Extremism: A range of Thai government agencies,
including the Ministries of Interior and of Social Development and Human Security, and the
Thai military and police academies continued to organize outreach programs to ethnic Malay-
Muslims to counter radicalization and violent extremism. A small group of international non-
governmental organizations also reached out to communities in the southern provinces to provide
services and to identify the underlying causes of the area’s violence.


                                               EUROPE

OVERVIEW


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Although terrorist groups continued to plot attacks against European targets and interests, 2011
was marked by a smaller number of attacks than the previous year due in part to the efforts of
European security services, close cooperation among European countries, and the sheer technical
capabilities available to most partner countries. Nonetheless, the January 24 Domodedovo
airport suicide bombing in Moscow that killed more than three dozen people, as well as the July
22 attacks in which Anders Behring Breivik, a Norwegian citizen, bombed government buildings
in Oslo, killing eight, and then shot dead 69 people at a Labor Party youth camp on the island of
Utoya, highlighted the continuing serious threat from terrorists.

A wide range of violent extremist ideologies remained a threat. During otherwise peaceful anti-
austerity protests, anarchists in Greece continued to launch attacks against government offices,
foreign missions, and symbols of the state, although the overall level of violence was at a lower
level than in previous years. Long-active radical ethno-nationalist groups like the Kurdistan
Workers Party (known as the PKK) in Turkey and dissident Republican groups in Northern
Ireland continued their campaigns of violence.

Transatlantic cooperation on terrorism involving the sharing of intelligence and judicial
information, capacity building in non-European countries, extradition of suspects, and efforts to
counter violent extremism remained generally very good, although differing perspectives on
issues like data privacy and long-term detention sometimes complicated these efforts. A number
of European countries signed or ratified agreements with the United States on preventing and
combating serious crime, and in December the European Union’s (EU) Council of Ministers
voted to approve a U.S.-EU Agreement on the exchange of passenger name records in the field
of commercial aviation. The EU and a number of European countries served as founding
members and played leading roles in the new Global Counterterrorism Forum.

Prosecutions of suspected terrorists continued apace, with significant trials and/or convictions of
suspects taking place in Bosnia and Herzegovina, France, Germany, and Greece, among other
countries. Both the Netherlands and the UK released new and comprehensive national strategies
laying out strategic frameworks for counterterrorism, and European countries ranging from
Belgium to Italy continued to implement programs designed to counter violent extremism.

ARMENIA

Overview: Armenia made progress in improving border security. The Armenian government
worked closely with the North Atlantic Treaty Organization (NATO) and other partners to
establish and outline responsibilities for a 24-hour Situation Center within the Armenian
Ministry of Emergency Situations. The Situation Center is intended to assure effective
interagency coordination in crisis management, including in response to terrorist attacks

Legislation and Law Enforcement: In the area of border security, progress included the
addition of sensors designed to detect the movement of people and vehicles on the Georgian
border. Armenia continued to improve its export control laws and procedures, as well as its
maintenance of recently installed radiation portal alarms at all ports of entry, including the main
airport. Furthermore, the Defense Threat Reduction Agency reached an agreement to provide
support in the form of equipment and infrastructure upgrades along the Georgian border,

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including border post towers and relay stations, to improve Armenia Border Guard Service
communications. The Border Guard Service continued to optimize its use of the automated
Border Management Information System (BMIS) at all points of entry, to include a BMIS
criminal and terrorist watch list updated by the Armenian National Security Service. The
Armenian government planned to update the BMIS and bring all border crossing checkpoints
with Georgia up to European Union (EU) standards. The Armenian government began to
implement a National Integrated Border Management Strategy, to include a complete re-building
of northern points of entry over the next two to three years.

Countering Terrorist Finance: Armenia is a member of the Committee of Experts on the
Evaluation of Anti-Money Laundering Measures and the Financing of Terrorism, a Financial
Action Task Force-style regional body. Armenia is also a member of the Egmont Group of
Financial Intelligence Units. Armenia is not a regional financial center, and no cases of terrorist
financing have been discovered. Within the Armenian Central Bank, a Financial Monitoring
Center analyzed suspicious financial transactions to detect evidence of money laundering and
other financial crimes. For further information on money laundering and financial crimes, we
refer you to the 2011 International Narcotics Control Strategy Report (INCSR), Volume 2,
Money Laundering and Financial Crimes: http://www.state.gov/j/inl/rls/nrcrpt/index.htm.

Regional and International Cooperation: Armenia participated in several bilateral and
multilateral assistance, security, and training organizations and initiatives targeted at
strengthening its ability to counter terrorist financing and the smuggling of illicit and hazardous
materials. These included: the Global Initiative to Combat Nuclear Terrorism, the Nuclear
Smuggling Outreach Initiative, the Biological Threat Reduction Program, and related training
programs sponsored by the Organization for Security and Cooperation in Europe and the EU
Advisory Group.

AUSTRIA

Overview: Austria continued its efforts to strengthen its counterterrorism measures, and to
provide its law enforcement and intelligence agencies with better tools to counter terrorism.
According to Austria’s Agency for State Protection and Counterterrorism (BVT), the key
counterterrorism agency within the Ministry of the Interior, terrorism did not pose a serious or
imminent threat to Austria in 2011. Cooperation between U.S. and Austrian law enforcement
agencies was generally strong.

The pace of approving and implementing counterterrorism legislation was often slowed by
concerns over data privacy protections. Counterterrorism efforts were further complicated by a
general public perception that Austria is safe from terrorism. Nevertheless, the BVT said the
threat from violent transnational Sunni extremism remained a concern. The BVT estimated the
number of radicalized individuals among second- and third-generation Muslim immigrants and
among converts to Islam in the country has risen to approximately 500.

On January 24, two Austrian citizens were killed in a suicide attack in Russia at Moscow’s
Domodedovo airport. The Caucasus Emirate’s leader, Doku Umarov, claimed responsibility.


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Legislation and Law Enforcement: The Ministry of the Interior reintroduced to Parliament
draft legislation originally proposed in 2010 to enhance the ability of law enforcement agencies
to conduct counterterrorism investigations. In October, legislation was approved that lowered
the threshold for prosecution for the criminal act of expressing public support for terrorist acts or
activities. In November, following concerns expressed by opposition parties, the Interior
Minister temporarily withdrew from parliamentary consideration the bilateral U.S.-Austrian
Preventing and Combating Serious Crime agreement for renewed review by Austria’s Data
Privacy Council. In December, Austria abstained in the European Union (EU) Council of
Ministers’ vote that approved the U.S.-EU Agreement on Passenger Name Records.

In April, Austria passed data retention legislation in accordance with a 2006 EU counterterrorism
directive. Austria is in compliance with an EU directive (in force since May) requiring a
uniform biometric format for residence permits for non-EU nationals.

Law enforcement actions:
    In February, Austria extradited to Belgium a Chechen resident of Austria suspected of
      complicity with a terrorist network that was planning attacks on North Atlantic Treaty
      Organization facilities in Belgium.
    In June, a Vienna jury convicted three persons accused of involvement in the killing of
      Chechen exile Umar Israilov in Vienna in January 2009. Sentences handed down
      included life imprisonment for the principal suspect and terms of 19 and 16 years for the
      other suspects. The convictions were under appeal at year’s end.
    In September, the BVT disclosed arrests of a number of suspected AQ sympathizers from
      Austria and Germany who had been sent for training to the Afghanistan-Pakistan border
      and then ordered back to their home countries to recruit further sympathizers. These
      were the first such arrests using legislation passed in 2010 and implemented in 2011.
      One suspect, an Austrian citizen, was arrested in Germany in May, and a suspected
      recruiter was arrested in Austria and extradited to Germany.

Countering Terrorist Finance: Austria is an active member of the Financial Action Task Force
(FATF). In reaction to an October FATF statement on jurisdictions with anti-money-
laundering/counterterrorism financing deficiencies, the Austrian Financial Market Authority
issued a regulation mandating additional special due diligence by financial institutions doing
business with FATF-designated countries. For further information on money laundering and
financial crimes, we refer you to the 2011 International Narcotics Control Strategy Report
(INCSR), Volume 2, Money Laundering and Financial Crimes:
http://www.state.gov/j/inl/rls/nrcrpt/index.htm.

Regional and International Cooperation: Austria has security partnerships in place with
several countries in the region and the Ministry of the Interior has dispatched counterterrorism
liaison officers to a number of Austria’s embassies in southeastern Europe. Austria participates
in various regional security platforms, including the Organization for Security and Cooperation
in Europe (OSCE), the Central European Initiative, and the Salzburg Forum. Austria provides
customs administration training to Afghan customs officials under the auspices of the OSCE.




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Countering Radicalization and Violent Extremism: Austria continued its efforts to better
integrate immigrants, particularly second- and third generation Muslim immigrant youth.
Government measures included the creation of a state secretary for integration serving within the
Ministry of Interior, the drafting of a national inter-ministerial integration strategy, and initiatives
in educational institutions and at the community level. Beyond broad integration strategies,
however, there were few specific government-sponsored efforts to counter violent extremism.

AZERBAIJAN

Overview: Azerbaijan actively opposed terrorist organizations seeking to move people, money,
and material through the Caucasus. The government has had some success in reducing the
presence of terrorist facilitators and hampering their activities.

Legislation and Law Enforcement: Government law enforcement bodies pursued suspected
terrorist groups and facilitators operating in Azerbaijan and implemented measures to strengthen
border security and maritime domain awareness. The Government of Azerbaijan completed the
modernization of its Central Reference Laboratory, a state-of-the-art biosafety facility that will
make joint research on potential bioterrorism threats possible. Through the Weapons of Mass
Destruction Proliferation Prevention Program, the Azerbaijan government assumed
responsibility for the sustainment of seven radar stations along the Caspian coast used by the
Navy, Coast Guard, and State Border Service to conduct maritime surveillance and detect
smuggling threats. On border security, the State Border Service installed new portal monitors
during its upgrade at the Ganja international airport, a project assisted by the Department of
Energy's Second Line of Defense Program (SLD). Azerbaijan also launched the National
Communication System pilot project, a new SLD initiative to centralize information received
from portal monitors at various border crossings.

Countering Terrorist Finance: Azerbaijan is a member of the Committee of Experts on the
Evaluation of Anti-Money Laundering Measures and the Financing of Terrorism
(MONEYVAL), a Financial Action Task Force-style regional body. The Government of
Azerbaijan has demonstrated an increasing level of professionalism in anti-money laundering
and counterterrorist financing (AML/CTF) since 2009, when it adopted AML/CTF legislation.
Azerbaijan continued to work with MONEYVAL to address the full range of AML/CTF issues
identified in its Mutual Evaluation Report. For further information on money laundering and
financial crimes, we refer you to the 2011 International Narcotics Control Strategy Report
(INCSR), Volume 2, Money Laundering and Financial Crimes:
http://www.state.gov/j/inl/rls/nrcrpt/index.htm.

Regional and International Cooperation: Throughout 2011, working groups composed of
representatives of Azerbaijan and the other four Caspian Sea littoral states met to coordinate law
enforcement efforts aimed at countering terrorism as well as smuggling, narcotics trafficking,
and organized crime on the Caspian. This work followed up on a November 2010 security
cooperation agreement among the Caspian Sea littoral states.

BELGIUM


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Overview: Belgian authorities maintained a well-coordinated and effective counterterrorism
apparatus overseen by the Ministries of Interior and Justice. The primary actors in this apparatus
were the Belgian Federal Police, State Security Service, Office of the Federal Prosecutor, and the
inter-ministerial Coordination Unit for Threat Analysis. Belgium continued to investigate, arrest,
and prosecute terrorism suspects and worked closely with U.S. authorities on counterterrorism
matters.

Legislation and Law Enforcement: On October 28, Belgian police arrested Ventura Tome
Queiruga, a suspected member of Basque Fatherland and Liberty, who was wanted under a
European arrest warrant submitted by Spain for terrorist attacks committed in the 1980s. The
warrant was based on a 2000 Spanish judgment sentencing him to a 17-year prison sentence for
attempted murder. Queiruga was handed over to Spanish police on December 13.

On September 20, Belgium and the United States signed a Preventing and Combating Serious
Crime agreement, which was undergoing parliamentary ratification procedures at year’s end. In
late November, Minister of Justice Stefaan De Clerck signed an order to extradite convicted
terrorist Nizar Trabelsi to the United States. Trabelsi, a Tunisian national, is serving a 10-year
sentence in Belgian prison. He was arrested in Belgium in 2001 and later was convicted for
plotting an attack on the Belgian Air Force base at Kleine Brogel, where U.S. military personnel
are stationed. His lawyers filed an appeal against the extradition order with the European Court
of Human Rights.

Countering Terrorist Finance: Belgium is a member of the Financial Action Task Force. The
Belgian Financial Intelligence Unit, CTIF, directed an efficient and comprehensive interagency
effort to prevent terrorist financing. According to the CTIF, most of the criminal proceeds
laundered in Belgium are derived from foreign criminal activity. In 2011, Belgian authorities
responded to changes in money laundering patterns by accelerating the process of freezing
suspicious transactions through more efficient cooperation between different levels of the law
enforcement authorities. For further information on money laundering and financial crimes, we
refer you to the 2011 International Narcotics Control Strategy Report (INCSR), Volume 2,
Money Laundering and Financial Crimes: http://www.state.gov/j/inl/rls/nrcrpt/index.htm.

Regional and International Cooperation: Belgium participated in European Union (EU),
United Nations, and Organization for Security and Cooperation in Europe counterterrorism
efforts. As an EU member state, Belgium supported EU aid to Sahel countries for
counterterrorism capacity building.

Countering Radicalization and Violent Extremism: In 2011, the Coordination Unit for Threat
Analysis undertook further steps on the Action Plan on Radicalism. The goal of the action plan
was to develop measures to limit the impact of extremist messaging. In addition, the Ministry of
Interior continued to coordinate Belgium's effort to develop a government-wide strategy to
counter radicalization and violent extremism. In October, Belgian officials working on this
strategy visited the United States to exchange views and learn about U.S. efforts in this area.

BOSNIA AND HERZEGOVINA


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Overview: Bosnia and Herzegovina increased its counterterrorism capacity in 2011 and was a
cooperative counterterrorism partner with the United States. Bosnian law enforcement agencies
regularly interact with their U.S. and European counterparts on counterterrorism investigations.
Bosnian law enforcement and security bodies conducted searches and interrogations against
suspected terrorist actors and supporters in the aftermath of a car bombing in April and the
shooting attack against the U.S. embassy in October. The Joint Terrorism Task Force worked
towards improving coordination between the country’s many security and police agencies to
better counter potential terrorist threats and acts of terrorism, and Bosnia and Herzegovina
continued to participate in the Department of State’s Antiterrorism Assistance program. The
efforts have had mixed results due to the fragmented nature of Bosnia and Herzegovina’s
security and police sectors. Potential threats of violent extremism included religious extremist
ideological influences from Europe and the Middle East, and regional nationalist extremist
groups found in the former Yugoslavia.

2011 Terrorist Incidents: There were two incidents of note:
    On April 11, a bomb was detonated under the parked car of political representatives of
      the Croatian Democratic Union of Bosnia and Herzegovina party in Zenica in the parking
      lot of the Zenica-Doboj Cantonal government building. No one was injured. The car
      was damaged and the explosion was treated by investigators as a politically-motivated
      terrorist attack. One individual was charged with financing the attack and two others
      were charged with carrying out the bombing. Their trial began on September 29.
    On October 28, Mevlid Jasarevic, a Serbian citizen, opened fire on the U.S. Embassy in
      Sarajevo, wounding one local police officer. Local police returned fire, wounding
      Jasarevic, and ending the stand-off in front of the embassy compound. Jasarevic was
      arrested, as were three other individuals who were being investigated for providing
      support. The investigations continued, and at year’s end, indictments had not been filed
      against Jasarevic or possible accomplices. Jasarevic remained in custody.

Legislation and Law Enforcement: Following the October 28 attack at the embassy, the
Bosnian Ministry of Security established a working group to evaluate methods to improve the
coordination of police and security agencies charged with responding to terrorist incidents. The
challenge of coordination stemmed primarily from overlapping jurisdictions, particularly in
Sarajevo, where at least three distinct police forces have a role in responding to terrorist
incidents: the State Investigative and Protective Agency (SIPA), the national-level police
authority; Sarajevo cantonal police; and Federation entity police. State-level laws give SIPA a
lead role in responding to attacks and the Bosnian Prosecutor's Office the lead in investigating
and prosecuting acts of terrorism. The Ministry of Security consulted with relevant police and
security agencies to determine whether a revised legal framework could be created to facilitate
better coordination in countering terrorist threats and responding to attacks. The Joint Terrorism
Task Force, led by Bosnia's Chief Prosecutor, began operations in April and included members
of Bosnia and Herzegovina’s state and entity law enforcement agencies and the Brcko District
Police.

The Ministry of Security worked toward implementing its 2010-2013 strategy on preventing and
combating terrorism, which was adopted in 2010.


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To help improve the tracking of people entering Bosnia and Herzegovina, the Bosnian Border
Police (BP) worked to install a new computerized database and software system to support
immigration and passenger information collection. The new system will link all 50 border
crossings and all four airports (Sarajevo, Tuzla, Mostar, and Banja Luka) via the State Police
Information Network, a network developed and donated by the U.S. Department of Justice's
International Criminal Investigative Training Assistance Program (ICITAP). The new system
will provide the BP with immediate access to other supporting databases, such as the Bosnian
Ministry of Security, Bosnian Foreigner Affairs Service, and INTERPOL, to run appropriate
checks.

The Bosnian Foreigner Affairs Service (FAS) continued to build upon its capacity to maintain
long-term custody in the Immigration Center in Sarajevo of aliens who raise terrorism concerns
and have been deemed a threat to Bosnian national security. With support from ICITAP, FAS
has also been successful in conducting in-depth interviews of aliens in the custody of the
Immigration Center, and developing intelligence with this information that is made available to
other state law enforcement agencies, including the Border Police, Bosnian Ministry of Security,
and SIPA. This has strengthened the capabilities of Bosnian agencies with direct immigration
and border management enforcement responsibilities.

Bosnia and Herzegovina saw its first major conviction in a case related to terrorist planning on
November 11, when the Court of Bosnia and Herzegovina found Rijad Rustempasic and two
other defendants guilty on charges of planning a terrorist act. The indictment alleged that the
suspects were violent extremists who obtained weapons and military equipment with the intent
of carrying out a terrorist attack in the country. The conviction was being appealed at year’s end.

On March 22, the trial began of Haris Causevic and five other persons accused of carrying out
the June 27, 2010 bombing of the Bugojno police station, which killed one police officer and
injured six others.

Countering Terrorist Finance: Bosnia and Herzegovina is a member of the Committee of
Experts on the Evaluation of Anti-Money Laundering Measures and the Financing of Terrorism,
a Financial Action Task Force-style regional body. The Bosnian Parliament passed no new
counterterrorist finance laws in 2011. However, on November 9, the Bosnian Council of
Ministers passed a decision authorizing the freezing of economic resources and funds of
individuals and entities listed under relevant United Nations Security Council Resolutions. This
decision authorizes the freezing of economic resources and funds, publishing a web-based list of
those identified as falling under the resolution, restrictions against those known to associate with
persons and entities under sanction, and exchanging information with INTERPOL.

For further information on money laundering and financial crimes, we refer you to the 2011
International Narcotics Control Strategy Report (INCSR), Volume 2, Money Laundering and
Financial Crimes: http://www.state.gov/j/inl/rls/nrcrpt/index.htm.

Regional and International Cooperation: Regional cooperation with Croatia and Serbia
improved. In international organizations, Bosnia and Herzegovina supported several United
Nations General Assembly resolutions related to terrorism.

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Countering Radicalization and Violent Extremism: The main religious communities in
Bosnia and Herzegovina (Islamic, Orthodox, Catholic, and Jewish) worked together through the
Inter-Religious Council to promote tolerance and confront extremism. As part of their efforts,
they are conducting exchange programs of young theologians from three major theological
educational institutions (Catholic, Islamic, and Orthodox) and offering workshops for high
school students to promote inter-religious dialogue and tolerance. Additionally, in the wake of
the October 28 embassy attack, the head of the Islamic Community, Reis-ul-ulema Mustafa
Ceric, openly and strongly criticized extremist thought in his public sermons.

DENMARK

Overview: The Kingdom of Denmark (Denmark, Greenland, and the Faroe Islands) dedicated
resources from several government agencies to prevent and counter terrorism and violent
extremism, both domestically and abroad. Denmark is a strong and dynamic security partner that
cooperated closely with the United States and other countries on potential terrorist threats.
Denmark remained a target of terrorist groups, including al-Qa’ida (AQ), largely as a result of
cartoons depicting the prophet Mohammed that were published in a major Danish newspaper in
2006 and reprinted in 2008.

Legislation and Law Enforcement: There was no legislation exclusively pertaining to
terrorism passed in 2011, nor were there significant changes in border security. On January 21,
the Danish Prosecution Service brought charges in two cases regarding financial support to the
Revolutionary Armed Forces of Colombia and the Popular Front for the Liberation of Palestine.
On August 15, the trial against Roj-TV and its parent company, Mesopotamia Broadcast, began.
The Danish Ministry of Justice had charged the companies with promoting the activities of the
Kurdish Workers’ Party in August 2010.

Updates on prosecutions of terrorist suspects arrested in 2010:
    Attack on cartoonist Kurt Westergaard’s home in January 2010: On February 4,
      Mohamed Geele was sentenced to nine years' imprisonment following his conviction for
      attempted commission of an act of terrorism, attempted murder, and aggravated assault of
      a police officer.
    Bomb at Hotel Joergensen in September 2010: On May 31, Lors Doukaev was sentenced
      to 12 years’ imprisonment following his conviction for attempted commission of an act
      of terrorism and possession of a pistol.
    On December 29, 2010, five individuals were arrested (four in Denmark and one in
      Sweden) for conspiracy to commit terrorist crimes when planning to attack the newspaper
      Jyllands-Posten in Denmark. Four of the five individuals were Swedish citizens or
      residents. The man who was arrested in Sweden was eventually extradited to Denmark in
      April, and the Swedish authorities have closed the case. However, Danish authorities are
      scheduled to try the case in 2012.

Countering Terrorist Finance: Denmark is a member of the Financial Action Task Force. For
further information on money laundering and financial crimes, we refer you to the 2011


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International Narcotics Control Strategy Report (INCSR), Volume 2, Money Laundering and
Financial Crimes: http://www.state.gov/j/inl/rls/nrcrpt/index.htm.

Regional and International Cooperation: Denmark is a founding member of the Global
Counterterrorism Forum and actively participates in the Organization for Security and
Cooperation in Europe, the Middle Europe Conference, the Bern Club, the EU Counterterrorism
Group, and Europol (the European Police Office).

Countering Radicalization and Violent Extremism: New initiatives that address
radicalization and violent extremism included nationwide cooperation among schools, social
services, and police to identify, prevent, and counter radicalization and violent extremism; a
Freedom Fund to contribute to democratic development in North Africa and the Middle East; and
“Stop Hate Crimes,” a program and conference by the Copenhagen Police, City of Copenhagen,
Frederiksberg Municipality and the Danish Institute for Human Rights.

The Ministry of Refugee, Immigration, and Integration Affairs, in close collaboration with the
Danish Prison and Probation Service, launched the project “Deradicalization – Back on track.”
Sponsored by the EU, this multi-year project aims to develop tools to persuade convicted
terrorists and other extremists to distance themselves from extremist circles while reintegrating
back into society after serving a prison sentence. The project will focus particularly on
mentoring programs, training mentors, and involving families and networks in the reintegration
phase. After the October 3 change of government, the Ministry of Refugee, Immigration, and
Integration Affairs was abolished and the integration function was merged with the Ministry of
Social Affairs and Integration.

FRANCE

Overview: The United States and France maintained strong counterterrorism cooperation and
were partners in fostering closer regional and international cooperation. U.S. government
agencies worked closely with their French counterparts on the exchange and evaluation of
terrorist-related information. France’s security apparatus and legislation affords broad powers to
security services for the prevention of terrorist attacks, which helps mitigate the risk of home-
grown terrorist plots from developing and advancing. In 2011, two major trends tied to potential
terrorist activities heightened concerns for security officials. First, government attention to the
problem of individual radicalization through internet sites has led to increased surveillance of
extremist websites. Second, the government is concerned about the use of pre-paid credit cards
that are transferred across borders by criminal and terrorist organizations and not declared on
customs forms.

Instability resulting from the Arab Spring heightened concerns in France about the ability of
terrorists to operate and recruit in North Africa and the Middle East. Nevertheless, France was
encouraged by a more open dialogue with the governments in North Africa about al-Qa’ida (AQ)
and terrorism.

Legislation and Law Enforcement: No new legislation pertaining to terrorism was passed in
2011. However, on June 1, France implemented new police custody regulations that allow the

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presence of a lawyer during the interrogation of a suspect. This reform resulted from rulings by
the European Court of Human Rights and the French Supreme Court, which called the presence
of a lawyer at such a time an “imperative necessity.” This regulation applies with retroactive
effect, although the time period for challenging the validity of a custodial statement on these
grounds is limited. In December, a court struck down the custodial statement of a terrorism
defendant that was challenged on the basis of the new regulation. Because the judicial
investigation was largely derived from the tainted statements, the future of the prosecution was at
risk at year’s end.

France worked diligently to maintain strong border security, and implemented national and
European Union (EU) border security legislation. On November 15, the European Parliament
implemented a new law that stipulates member states are not required to use body scanners at
airports, but if they do, the scanners must comply with EU standards. For example, security
scanners cannot store, copy, print, or retrieve images, and any unauthorized access and use of the
image is prohibited. Also, for privacy reasons, the person monitoring the scanner’s image should
be in a separate location to prevent any link between the person being scanned and the image.
France began testing body scanners in two of its airports in 2010, but had not implemented their
use across the country by the end of 2011.

Several major internal threats prompted France to increase its security threat level to red (the
highest) in 2011. In January, the Ministry of the Interior declared that “French interests were
targeted by Islamic radicals.” Several threats were made against the Eiffel Tower, including a
phone threat on March 23 that reportedly resulted in the evacuation of 2,000 to 3,000 people.

According to French media and government sources, 40 people were arrested for having active
links to Islamist terrorists in the first nine months of 2011. Fifteen of the 40 were specifically
arrested for collecting funds for terrorist organizations, and for suspicious travel to and from
Afghanistan and Pakistan. The remaining 25, including seven arrested in a May sweep, were
suspected of receiving logistical support, materials, clothes, sophisticated equipment, and fake
papers from terrorist networks. Also in 2011, 32 alleged members of the Kurdish Workers Party
(PKK) were arrested in France. Among these were three “major leaders of the PKK in France”
who were arrested on June 4 and held on suspicion of extortion to fund terrorist activity. In the
first 10 months of 2011, 15 suspected members of Basque Fatherland and Liberty (ETA) were
also arrested. As of October, 144 ETA members were in prison, of which 75 were awaiting trial
at year’s end.

High profile prosecutions included:
    On April 5, Pedro Esquisabel Urtuzaga, the former head of the military arm of ETA, was
       sentenced to 17 years in prison by a jury in Paris. It was also ruled that he must remain
       on French territory for the remainder of his life.
    On December 5, Paris’ Special Court sentenced Venezuelan terrorist Ilich Ramirez
       Sanchez (Carlos the Jackal) to life in prison, with a minimum of 18 years before parole
       eligibility, for his involvement in four lethal bombings in Paris in 1982 and 1983.

Countering Terrorist Finance: In addition to being a member of the Financial Action Task
Force (FATF), France assumed one of two rotating memberships on the Committee of Experts

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on the Evaluation of Anti-Money Laundering Measures and the Financing of Terrorism, a FATF-
Style Regional Body. However, following the mutual evaluation of France by the FATF in
February, the French government dramatically expanded its counterterrorist finance (CTF)
efforts within the Ministry of Finance (MOF). The staff of the MOF’s autonomous Financial
Intelligence Unit, TracFin, was expanded from 16 to 100 people, and a newly created
counterterrorism team will serve as the focal point for all CTF bodies within the government.

For further information on money laundering and financial crimes, we refer you to the 2011
International Narcotics Control Strategy Report (INCSR), Volume 2, Money Laundering and
Financial Crimes: http://www.state.gov/j/inl/rls/nrcrpt/index.htm.

Regional and International Cooperation: France is a founding member of the Global
Counterterrorism Forum. France actively engaged with the United Nations’ (UN)
Counterterrorism Committee (CTC). In April, the Council of Europe hosted the UN CTC’s
Special Meeting with International, Regional, and Sub-regional Organizations on the Prevention
of Terrorism in Strasbourg, France. France also played a strong role on the UN Security Council
Resolution 1267/1989 Sanctions Committee. France participated in the drafting of the European
Council’s Counterterrorism Strategy action plan. The French government undertook joint
counterterrorism operations with other countries including the UK, Belgium, Germany, Italy, and
Spain. France also played an active role in efforts to support counterterrorism capacity building
in other countries both bilaterally and within the EU. On October 6, France and Turkey signed a
bilateral security accord that will permit the two countries to coordinate their efforts and
reinforce their counterterrorism cooperation.

Countering Radicalization and Violent Extremism: The French government does not have
any programs in place that specifically counter violent extremism, however, it considers its
integration programs for all French citizens and residents a major tool in countering
radicalization and extremism. Many of these integration programs target disenfranchised
communities and new immigrants. For example, the Ministry of Education works to instill
“universal values” in all French pupils, regardless of ethnic origin or country of birth. Ministry
regulations mandate that all French public schools teach civic education, and that all students
attend school until age 16. The government also offered adult vocational training for older
immigrants and minorities that never matriculated in the French school system.

GEORGIA

Overview: In 2011, the Georgian government supported global counterterrorism efforts through
a comprehensive strategy aimed at disrupting both internal and external terrorism threats. Over
the course of the year, the Georgian government prevented several terrorist-related bomb plots,
which appeared to originate in the break-away regions of Abkhazia and South Ossetia. The
Georgian government alleged Russian ties to the bombings. The Georgian government’s lack of
control of Abkhazia and South Ossetia limited its ability to counter terrorism in these regions and
secure its border with Russia.

The Georgian government continued to work closely and coordinate its counterterrorism
activities with a variety of U.S. agencies on both the tactical and strategic level. The U.S. and

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Georgian governments continued to work together to improve border security. The U.S.
government funded programs that focused on identification, investigation, and detention of
criminals at the Georgian border; the detection of nuclear or radioactive materials; the targeting
and inspection of high-risk conveyances, cargo, and travelers; detecting contraband; and
surveillance techniques. In addition, the U.S. Coast Guard provided training to Georgian
officials in maritime law enforcement and the use of the Incident Command System.

2011 Terrorist Incidents: A series of bomb plots were discovered and ultimately foiled by the
Georgian Ministry of Internal Affairs (MOIA). The attempted bombings occurred over a four-
month period from March to June. No injuries were reported and several arrests were made in
connection with these incidents. In February, two individuals were arrested for attempting to
smuggle Iridium-192, a radioactive material, through Georgia with the intent of selling it in a
third country.

Legislation and Law Enforcement: The Georgian government passed several amendments
aimed at strengthening its counterterrorism legislation and fulfilling its obligations under
relevant United Nations Security Council Resolutions (UNSCRs). In October, the Georgian
Parliament amended the Criminal Code, expanding the definition of who can perpetrate a
terrorist act to include both international organizations and foreign authorities. The amendment
went into force in November. The Georgian government also expanded the scope of what is
considered a terrorist attack to include attacks against a person or institution under international
protection.

The Georgian government continued to take steps to create a Permanent National Interagency
Antiterrorist Commission (PNIAC) through the introduction of legislation establishing the
PNIAC. Under the legislation, the minister of justice chairs the commission with the National
Security Council as the deputy chair. The Commission will be responsible for enforcing
UNSCRs and coordinating all counterterrorism activity in Georgia.

Countering Terrorist Finance: Georgia is a member of the Committee of Experts on the
Evaluation of Anti-Money Laundering Measures and the Financing of Terrorism, a Financial
Action Task Force style-regional body. In July, the Georgian Parliament amended the Criminal
Code, expanding the scope of what was considered terrorist financing to the civil aviation field
and hostage taking.

Georgia has designated an Anti-Money Laundering Counterterrorist Financing (AML/CTF) unit
within the Ministry of Justice, which works directly with the MOIA to investigate and prosecute
AML/CTF. Georgia has limited and unevenly applied oversight to nongovernmental
organizations. Additionally, the licensing requirement for money and value transfer systems was
eliminated in 2006.

For further information on money laundering and financial crimes, we refer you to the 2011
International Narcotics Control Strategy Report (INCSR), Volume 2, Money Laundering and
Financial Crimes: http://www.state.gov/j/inl/rls/nrcrpt/index.htm.




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Regional and International Cooperation: Georgia is a party to the Council of Europe
Convention on the Suppression of Terrorism. At the regional level, Georgia actively participated
in counterterrorism activities as a member of the Organization of Black Sea Economic
Cooperation and the GUAM (Georgia, Ukraine, Azerbaijan, Moldova) Organization for
Democracy and Economic Development. At the bilateral level, Georgia has signed agreements
that includ counterterrorism cooperation with 20 countries.

GERMANY

Overview: The threat from violent extremism remained elevated and terrorist groups continued
to target Germany in 2011. Authorities estimated that roughly 250 individuals, both German
nationals and permanent residents, underwent paramilitary training since the early 1990s at
terrorist training camps primarily located in the border regions of Afghanistan and Pakistan.
Approximately 135 of these individuals have returned to Germany; 10 were in custody at year’s
end. Germany investigated, arrested, and prosecuted numerous terrorist suspects and disrupted
terrorist-related groups within its borders with connections to al-Qa’ida (AQ), other radical
Islamist, Kurdish nationalist, and Nazi terrorist organizations. Authorities conducted
approximately 380 active investigations against 410 terrorists. Of these investigations, 95 were
South Central Asia-related. Throughout the year, a number of German terrorist suspects released
propaganda videos.

2011 Terrorist Incidents: On March 2, Arid Uka opened fire on U.S. airmen at Frankfurt
Airport, killing two and wounding two others. On August 31, Uka’s trial began in Germany. (In
June, U.S. prosecutors of the Southern District of New York filed a complaint against Uka.)

Legislation and Law Enforcement: In December, Parliament approved legislation to establish
a Visa Warning Database (VWD). The legislation allows the Federal Administrative Office to
cross-check the VWD with the Anti-Terror Database. On June 29, Germany renewed its
expiring post-9/11 counterterrorism laws for four more years. Federal intelligence agencies
increased access to suspects’ data in return for expanded parliamentary monitoring.

Arrests and prosecutions:
    In the months of April and December, German police arrested a total of five alleged AQ
       members and confiscated bomb-making materials.
    On May 9, courts found German citizen Rami Makanesi guilty of membership in AQ and
       sentenced him to four years and nine months’ imprisonment. Makanesi had made a full
       confession.
    On June 10, authorities granted parole to Red Army Faction member Birgit Hogefeld.
       German courts convicted Hogefeld in 1996 for the murder of a U.S. soldier and her role
       in the following bomb attack on the Rhein-Main U.S. air base in 1985. She served 15
       years of her life sentence.
    On June 27, the Federal Administrative Court granted the International Humanitarian
       Relief Organization a temporary injunction that enabled it to continue operations until the
       issuance of a final verdict on its July 2010 ban. The organization was banned for
       funneling money to Hamas.


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       On November 2, prosecutors indicted German-Afghan citizen Ahmad Wali Sidiqi, who is
        suspected of being a member of the Islamic Movement of Uzbekistan, of training and
        participating in combat in the Afghanistan/Pakistan border region.
       In November and December, police arrested five persons on charges related to the
        terrorist organization National Socialist Underground, which is considered responsible
        for ten murders from 2000 to 2007.
       Also in November and December, German courts sentenced eight members of the Global
        Islamic Media Front for spreading propaganda for AQ, al-Qa’ida in Iraq, and Ansar al
        Islam.

Countering Terrorist Finance: Germany is a member of the Financial Action Task Force and
its Financial Intelligence Unit is a member of the Egmont Group. German agencies filed 11,042
suspicious transaction reports in 2010 (2011 figures were not available), designating 124 for
suspected terrorist financing. Germany remained a strong advocate of the United Nations
Security Council Resolutions’ 1267/1989 and 1988 Taliban and AQ sanctions regimes.

On April 6, courts sentenced German citizen Fatih K. to 22 months imprisonment for supporting
the German Taliban Mujahedin with money transfers. Fatih’s confession and disassociation
from extremist ideas mitigated the sentence. On March 9, courts sentenced Filiz Gelowicz, the
wife of Sauerland Group terrorist Fritz Gelowicz, to two and a half years in prison for producing
internet propaganda for the German Taliban Mujahedin and the Islamic Jihad Union and
transferring the equivalent of U.S. $4,300 to terrorist contacts in Turkey.

For further information on money laundering and financial crimes, we refer you to the 2011
International Narcotics Control Strategy Report (INCSR), Volume 2, Money Laundering and
Financial Crimes: http://www.state.gov/j/inl/rls/nrcrpt/index.htm.

Regional and International Cooperation: Germany is a founding member of the Global
Counterterrorism Forum and continued to participate in multilateral counterterrorism initiatives.

Countering Radicalization and Violent Extremism: Germany has numerous programs to
counter violent extremism (CVE), mainly at the state level. In North-Rhine Westphalia alone,
there is the “Ibrahim Meets Abraham” community relations initiative; the Information and
Education Center against Right-Wing Extremism; the former National-Socialistic Center
Vogelsang, which is now used for cultural and civic education; the “No Racism in Schools” and
“Prevention of Extremism in Sports” efforts; as well as city programs. Dortmund has a
“Prevention of Extremism in the City of Dortmund” program. The German Soccer Federation
awards a prize to organizations and persons who use their positions to work for freedom,
tolerance, and humanity and against intolerance, racism, and hatred. Other cities, such as
Cologne, host street soccer tournaments to bring together non-governmental organizations and
at-risk youth.

The Ministry of Interior launched a security partnership between Muslims in Germany and
security authorities to increase awareness of radicalization of young people. In January, the state
of Berlin issued a pamphlet countering extremist interpretations of Islam and democracy, with
text in German, Turkish, and Arabic.

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Despite a reported lack of participants, Germany extended its HATIF (the Arab term for
telephone) program to assist Muslim violent extremists in reintegrating. The Interior Ministry
also continued a project first launched in 2001 to stop radicalization among young right-wing
offenders. The Ministry expanded the program in 2007 to function in eight states. In 2011, the
Interior Ministry also continued a project in three states to counter radicalization of young
delinquents influenced by violent extremist ideology.

GREECE

Overview: Following a series of attacks in late 2010, Greece experienced a notable drop in the
number of domestic terrorist incidents during 2011. The Greek police made major arrests of two
of the most active domestic terrorist groups, Revolutionary Struggle and Conspiracy of Fire
Nuclei. The other most active terrorist group, Sect of Revolutionaries, whose members are still
at large, did not take responsibility for any attacks in 2011.

Overall, Greek counterterrorism cooperation with U.S. law enforcement was very good, and in
regard to protection of American interests in Greece was excellent. Greek authorities worked
closely with the Embassy to help safeguard the security of American citizens and American
commercial interests in Greece.

2011 Terrorist Incidents: Large cities, especially Athens and Thessaloniki, continued to
experience regular, generally small-scale anarchist attacks, utilizing mostly unsophisticated
incendiary devices against political figures and party offices, businesses, municipal and police
buildings, and random vehicles. There was just one reported attack against Greek interests
within the country (see below) and none against Greek interests abroad by international/foreign
violent extremist groups. The more significant attempted attacks included:

       On February 2, the group Illegal Sector Informal Anarchist Federation/Conspiracy of Fire
        Nuclei claimed responsibility for an improvised explosive device (IED) sent via envelope
        and addressed to the minister of justice. Ministry personnel detected the suspicious
        device and police defused it.
       On March 23, an unidentified male called a local media outlet and said a bomb would go
        off in 25 minutes at a specific Greek tax authority office in Athens. Police found an IED
        in a bathroom of the building. The device had partially ignited but poor assembly
        prevented it from fully exploding. The group December 6 later claimed responsibility.
       On March 31, Italian terrorist group Informal Anarchist Federation claimed responsibility
        for an IED that was detected during an x-ray scan at the Korydallos Prison in suburban
        Athens. The package was addressed to the warden. The device was defused.

Legislation and Law Enforcement: The following arrests/court actions occurred in 2011:
    Thirteen suspected members of Conspiracy of Fire Nuclei were arrested.
    One suspected member of Revolutionary Struggle surrendered to authorities and was
       being held pending trial.
    In December, the trial of four suspected members of Conspiracy of Fire Nuclei began.


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       Also in December, the trial of eight suspected members of Revolutionary Struggle
        started.

Greek authorities worked closely with U.S. officials on the investigation of the 2007 attack at the
U.S. Embassy in Athens (Chancery), and in 2010, made a number of arrests of suspected
members of Revolutionary Struggle, the group that claimed responsibility. The trial of those
arrested in 2010 began in December 2011.

The Greek Parliament passed legislation necessary to implement European Union (EU) Data
Retention Directive 2006/24. The Directive requires EU member states’ telecoms and internet
service provider firms to retain customer records for 12 months. Such information can be
valuable to law enforcement in terrorism and other criminal investigations.

Countering Terrorist Finance: Greece is a member of the Financial Action Task Force
(FATF). Greece passed a new law in 2011 to expand and strengthen the capabilities of its
Financial Intelligence Unit, the National Authority for Anti-Money Laundering, Counterterrorist
Financing and Source of Funds Investigation. The latest FATF report, issued in October, was
largely positive and indicated that Greece made significant progress on issues identified in its
2007 report. An important improvement mentioned in the 2011 report was the legal change
enacted in 2011 to make the procedure for freezing internationally designated terrorist assets
more expedient. In November, the Foreign Ministry established a new Sanctions Monitoring
Unit tasked with ensuring that Greece is meeting its commitments to enforce international
sanctions, including terrorism-related sanctions, in coordination with other responsible
ministries.

For further information on money laundering and financial crimes, we refer you to the 2011
International Narcotics Control Strategy Report (INCSR), Volume 2, Money Laundering and
Financial Crimes: http://www.state.gov/j/inl/rls/nrcrpt/index.htm.

Regional and International Cooperation: Greece participated in regional information
exchange and seminars through such bodies as the EU, the Organization for Security and Co-
operation in Europe, the Southeast European Law Enforcement Center for Combating Trans-
Border Crime, and the Organization of Black Sea Economic Cooperation.

Given the tremendous problem of illegal migration to and through Greece in recent years,
primarily via the Greece-Turkey border, the country has placed ever greater emphasis on
improving border security. One of the cornerstones of this effort was the increasingly close and
beneficial cooperation between Greece and EU border security agency Frontex.

Countering Radicalization and Violent Extremism: The Greek government has initiated a
number of programs to promote integration, reduce intolerance, and prevent racist attitudes in
society. Such efforts do not yet include programs to actively counter terrorist propaganda.
General prison rehabilitation programs exist, but inmates serving sentences for terrorism-related
offences have generally refused to participate.

IRELAND

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Overview: The United States and Ireland collaborated closely in all aspects of bilateral and
regional counterterrorism, law enforcement, and information-sharing relationships. An Garda
Siochana (Irish Police at both the national and local level) has comprehensive law enforcement,
immigration, investigative, and counterterrorism responsibilities, and continued to work closely
with American counterparts. In 2011, as in 2010, violent actions committed in neighboring
Northern Ireland by members of dissident groups were traced back to support provided by
persons living in Ireland. There have been some incidents by dissident Republican groups in
Ireland, generally targeting competing Republican factions and often involving other criminal
activity. While Ireland handled these legacy issues stemming from “The Troubles,” authorities
were actively involved in dealing with transnational terrorism issues.

Legislation and Law Enforcement: The Smithwick Tribunal, begun in 2006, continued
reviewing the events surrounding the murders of Chief Superintendent Harry Breen and
Superintendent Robert Buchanan of the Royal Ulster Constabulary (RUC). The men were killed
in a Provisional IRA (PIRA) ambush near the Northern Ireland/Ireland border in March 1989 as
they returned from a cross-border security conference with senior Irish Garda officers in
Dundalk. The tribunal has focused on whether or not the PIRA received information from a
member of the Garda on the officers’ planned route. Public hearings for the tribunal began in
July and continued through the end of the year.

Countering Terrorist Finance: Ireland is a member of the Financial Action Task Force
(FATF). The Criminal Justice (Money Laundering and Terrorist Financing) Bill of 2010 enacted
the European Union’s (EU) third money-laundering directive into Irish law, giving effect to
several FATF recommendations. Ireland implemented all EU Council Regulations on financial
sanctions against listed terrorists and related directives. During 2011, a number of EU Council
Regulations on financial sanctions against listed terrorists were transposed into Irish law.

Law enforcement authorities monitored non-profits for breaches of criminal law, but Ireland has
not fully implemented the Charities Act, which addresses the misuse of funding in non-profit
organizations. Ireland is on the regular follow-up FATF list and was not yet eligible to be placed
on the biennial review list.

For further information on money laundering and financial crimes, we refer you to the 2011
International Narcotics Control Strategy Report (INCSR), Volume 2, Money Laundering and
Financial Crimes: http://www.state.gov/j/inl/rls/nrcrpt/index.htm.

Regional and International Cooperation: Ireland is a member of the Council of Europe, the
Organization for Economic Cooperation and Development, the Organization for Security and
Cooperation in Europe, and NATO’s Partnership for Peace. Ireland co-sponsored the United
Nations General Assembly Resolution passed in November condemning the Iranian plot against
the Saudi Ambassador to the United States. U.S. officials continued to work with host
government and neighboring governments on preparations for security efforts for the 2012
Olympics in London.

ITALY

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Overview: Italy aggressively investigated and prosecuted terrorism suspects, dismantled
terrorist-related cells within its borders, and maintained high-level professional cooperation with
international partners in all areas. Terrorist activity by domestic anarchists and other violent
extremists remained a threat.

2011 Terrorist Incidents: On March 31, a letter bomb sent to a barracks in Livorno seriously
wounded an army officer. On December 9, a letter bomb exploded at a Rome office of the
national tax agency, injuring its director; on December 14, a second letter bomb was intercepted
by the security office. A group called the Informal Anarchist Federation (IAF) claimed
responsibility for these incidents. The IAF also claimed responsibility for a December 7 letter
bomb delivered to the Deutsche Bank in Frankfurt that was intercepted by bank security.

Legislation and Law Enforcement: The Italian government continued to make use of
reinforced counterterrorism legislation enacted in 2005 that facilitates detention of suspects,
mandates arrest for crimes involving terrorism, and expedites procedures for expelling persons
suspected of terrorist activities.

The Italian Civil Aviation Authority (ENAC) conducted a pilot program testing the use of
Advanced Image Technology (AIT, otherwise known as body scanners) at two airports. ENAC
collaborated with the U.S. Transportation Security Administration to identify software to address
concerns about privacy and to improve operational protocols.

Law enforcement actions included:
  On January 19, Italy deported Mohamed Larbi, an Algerian man convicted in 2008 of
   providing false identity documents to the Algerian Salafist Group for Preaching and
   Combat, now known as al-Qa’ida in the Islamic Maghreb (AQIM).
  On April 21, the Ministry of Interior deported Tunisian Guantanamo detainee Adel Ben
   Mabrouk to Tunisia. On February 7, a Milan judge had given him a suspended sentence of
   two years for international terrorism partly on the ground that Ben Mabrouk had already
   been incarcerated at Guantanamo for seven and a half years and in Italy for one year and
   nine months.
  On May 17, Allam Baghdad, who had come ashore to the island of Lampedusa, was
   expelled to Algeria because he was considered a security risk. Baghdad is an alleged
   member of AQIM and had already been expelled from Italy in 2008.
  On July 4, an Algerian national, Yamine Bouhrama, was expelled by the Ministry of Interior
   after serving a six-year sentence for establishing a terrorist cell in Naples with alleged links
   to al-Qa’ida.
  On October 10, police arrested Rinat Ibraev, a French-based Chechen with alleged terrorist
   links, wanted by police in Russia for the murder of a police officer there.
  On November 15, a Milan appeals court confirmed the sentence of Mohammed Game to 14
   years in prison. Game had attempted a 2009 suicide attack against an Italian army barracks
   in Milan. His accomplice, Mahmoud Abdelaziz Kol, received a four-year sentence; another
   accomplice, Mohamed Imbaeya Israfel, received a sentence of three years imprisonment.



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   On November 21, a Rome court sentenced three members of a Red Brigade cell indicted for
    a failed 2007 terrorist attack in Livorno to prison terms between four and a half and eight
    and a half years.

Countering Terrorist Finance: Italy worked closely with the United States on anti-money
laundering and information sharing, and cooperated with other foreign governments as an active
member of the Financial Action Task Force and the Egmont Group. Italy also participated in the
United Nations Security Council Resolution 1267/1989 and 1988 designation process both as a
sponsoring and co-sponsoring nation. In June 2011, Italian Customs and Guardia di Finanza
cooperated with U.S. Immigration and Customs Enforcement in a Bulk Cash Smuggling
Initiative (Operation Terzo Volo) to interdict international bulk cash smuggling and money
laundering for purposes of organized crime and/or terrorism. In the six-day operation targeting
flights between Italy and the United States, Italian customs officers made three seizures totaling
$62,826.00 and inspected 815 passengers.

For further information on money laundering and financial crimes, we refer you to the 2011
International Narcotics Control Strategy Report (INCSR), Volume 2, Money Laundering and
Financial Crimes: http://www.state.gov/j/inl/rls/nrcrpt/index.htm.

Regional and International Cooperation: Italy is a founding member of the Global
Counterterrorism Forum and participated in all stages of its planning. Italy also supported
counterterrorism efforts through the G-8 Roma-Lyon Group (including capacity building through
the Counterterrorism Action Group), the Organization for Security and Cooperation in Europe,
the North Atlantic Treaty Organization, the United Nations, and the European Union. Italy
contributed personnel to various regional training centers, such as the South East Asia Regional
Centre on Counterterrorism in Malaysia, the Joint Centre on Law Enforcement Cooperation in
Indonesia, and the African Union's Anti-Terrorism Centre in Algeria.

Countering Radicalization and Violent Extremism: The Ministry of Justice Penitentiary
Police financed a non-governmental organization-administered counter-radicalization program
placing moderate imams in the three prisons where Muslims convicted of terrorism were
incarcerated. Local governments in Milan and Turin expanded efforts to improve relationships
with immigrant communities potentially at risk of radicalization.

KOSOVO

Overview: The Government of Kosovo cooperated with the United States on terrorism-related
issues and made progress in advancing counterterrorism legislation, including the new Criminal
Code and another package of laws that were in the Assembly at year’s end. This legislation
should enhance cooperation among Kosovo’s departments to better control its borders and
individuals entering the country as part of an integrated border management (IBM) plan. The
Kosovo Police (KP) acquired biometric information capture equipment, which will contribute to
the ability of authorities to process cross-border traffic and identify and locate individuals of
interest in Kosovo. The KP Counterterrorism Unit (CTU) shed some of its personnel and
responsibilities and was renamed the Department of Counterterrorism (DCT). The DCT was
operational on an intelligence-gathering level, but needs to develop a cooperative relationship

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with relevant government agencies and the religious communities. The security and political
situation in northern Kosovo limited the government’s ability to exercise its authority in that
area, where the NATO-led international security presence known as Kosovo Force (KFOR) and
the European Union Rule of Law Mission (EULEX) bear responsibilities for contributing to a
safe and secure environment and strengthening rule of law, including at the borders, respectively.
Kosovo and neighboring Serbia had no direct cooperation on counterterrorism issues, as Serbia
does not recognize Kosovo as an independent, sovereign country, although EULEX played an
intermediary role on some law enforcement cooperation matters.

Legislation and Law Enforcement: Kosovo made progress in advancing legislation to counter
terrorism. The Ministry of Justice, in cooperation with U.S. Department of Justice resident legal
advisors, drafted and submitted to the Kosovo Assembly a new Kosovo Criminal Code that has
several articles to address terrorist acts, terrorist financing, and support for terrorism. The new
articles substantially increase the penalties for terrorism offenses. The Kosovo Assembly also
moved forward on three laws that together will enable Kosovo authorities to better control the
country’s borders and deal with aliens who raise terrorist concerns. When passed and
implemented, the Law on Border Control will establish an IBM center to strengthen cooperation
among government departments and require advance traveler data from airlines operating in
Kosovo. The law will also promote cooperation with Kosovo’s regional partners and strengthen
the ability of the government to enforce existing laws by allowing for punitive measures against
individuals who violate Kosovo's borders. The Law on Foreigners and the Law on Asylum will
streamline the process for individuals seeking asylum or foreign resident status in Kosovo,
making it easier for the KP to establish the identity of aliens who raise terrorist concerns; these
laws will also make the system more resistant to abuse by individuals who try to enter Kosovo
illegally and then transit to a third country.

In addition, government authorities worked closely with U.S. European Command officials who
donated a number of mobile biometric information capture devices to the KP as part of an
initiative to identify known or suspected terrorists, individuals who facilitate terrorist activity,
and aliens who raise terrorist concerns. Using the devices, the Kosovo Border Policy (KBP) is
now able to capture fingerprints, iris, and facial images of individuals who are refused admission
at the Pristina airport or at a Kosovo Border Crossing Point; arrested for attempting to illegally
enter or exit Kosovo; violate customs procedures; or apply for asylum or immigration benefits.

U.S. training programs, supplemented by donations of equipment through the office of Export
and Border Related Security, improved the ability of Kosovo Customs and the KBP to control
Kosovo's borders and detect and interdict weapons and other contraband at border crossing
points.

The DCT is operational but continued to develop its capacity to fully perform functions outlined
in its mandate. In 2011, the DCT focused on intelligence gathering operations and had a good
working and information sharing relationship with regional partners and the U.S. government.
There was good coordination between the DCT and other departments within the KP, including
the KBP, and other government agencies such as Kosovo Customs and the Kosovo Intelligence
Agency. There were 20 officers assigned to the DCT in 2011. Members of the department took



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part in a number of trainings in conjunction with U.S. funded programs, the Organization for
Security and Cooperation in Europe, and European partners.

The Kosovo Assembly established the Agency for Data Protection in early 2011 and initial steps
were taken to establish the Agency during the course of the year.

Countering Terrorist Finance: The Law on the Prevention of Money Laundering and Terrorist
Financing (LPMLTF) was adopted in 2010 and implemented in 2011. The Financial Intelligence
Centre (FIC) that had operated under UNMIK auspices was recast as the Financial Intelligence
Unit (FIU), and the government made progress in transferring competencies to the new agency.
Reporting requirements on transactions above 10,000 Euros (U.S. $12,400), suspicious
transactions, structured transactions (repeated transactions below the threshold for reporting in an
effort to avoid the reporting requirements), and most of the Financial Action Task Force (FATF)
requirements were implemented. Kosovo is still working to fully implement FATF
requirements.

The U.S. Department of Treasury’s Office of Technical Assistance Economic Crimes Team
placed an advisor in Pristina in April 2010. That advisor has worked with various counterparts
to: improve the capacity of the FIU to gather financial intelligence and identify and analyze
suspected money laundering and terrorist financing; improve the capacity of the Kosovo Police
Economic Crimes and Corruption Directorate to investigate and prosecute money laundering and
other economic crimes; enhance the Gaming Department’s ability to monitor and deter potential
money laundering through casinos and other gambling houses; improve the ability of the Tax
Administration of Kosovo to promote voluntary compliance with tax law by increasing its
capacity to identify and prosecute criminal tax violations; and increase the capacity of Kosovo
Customs to identify and interdict bulk cash smuggling.

For further information on money laundering and financial crimes, we refer you to the 2011
International Narcotics Control Strategy Report (INCSR), Volume 2, Money Laundering and
Financial Crimes: http://www.state.gov/j/inl/rls/nrcrpt/index.htm.

Regional and International Cooperation: The Government of Kosovo developed a number of
initiatives to increase its cooperation within the region, most notably in connection with its
immediate neighbors on the issue of border control. The KBP actively cooperated with Albania,
Macedonia, and Montenegro to establish joint information centers and develop operational
cooperation through joint patrols of the land borders between the countries. Over the summer,
Albania and Kosovo operated a joint border crossing point at Vermica and the two governments
now have plans to operate all mutual border crossings on a joint basis. The Government of
Kosovo has also entered into discussions with the Government of Montenegro to operate a joint
border crossing. The KP also supported regional law enforcement relationships and worked with
the governments of Bulgaria and Turkey on border-related issues.

THE NETHERLANDS

Overview: The Netherlands continued to respond effectively to the global terrorist threat in the
areas of border and transportation security, terrorist financing, and bilateral counterterrorism

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cooperation. In its December quarterly terrorism threat analysis, the Dutch National Coordinator
for Counterterrorism and Security (NCTV) maintained the national threat level at “limited,”
meaning chances of an attack in the Netherlands or against Dutch interests were relatively small
but could not be ruled out entirely. According to the report, the threat of violent extremist
networks in the Netherlands remained small, and resistance to terrorism by the Dutch population
continued to be high.

In April, the government presented its National Counterterrorism Strategy 2011-2015, outlining
its four key strategic choices over the next four years: continued sharp focus on international
Islamist terrorism as the main terrorist threat for the Netherlands; measures to limit the risks
associated with immigration and prevent violent extremists from traveling to terrorist training
camps and conflict areas; priority attention to the changes and threats of technological
innovation; and further development of the system for protecting politicians, diplomats, and the
royal family.

In February, the Ministry of Security and Justice published the National Cyber Security Strategy,
under which the government and business communities will intensify cooperation to fight cyber
criminals and terrorists. As part of this strategy, the Cyber Security Council was set up in June
to advise the government and private parties about relevant developments in the field of digital
security.

Legislation and Law Enforcement: In January, the government published the first assessment
of Dutch counterterrorist measures over the past decade. The study, by the Nijmegen Radboud
University, concluded that Dutch counterterrorism policy was solid and reliable and the
measures taken were not contrary to the European Convention on Human Rights. Nevertheless,
the government decided to withdraw its previously deferred Bill on Administrative National
Security Measures, which, controversially, would have allowed the Security and Justice Ministry
to issue restraining orders prohibiting a terrorism suspect’s physical proximity to specific
locations or persons.

The Netherlands remained strongly committed to effective cooperation with the United States on
border security issues.

Law enforcement actions included:

       In February, three Moroccan-Dutch nationals arrested in Amsterdam in November 2010
        at the request of Belgian justice authorities on suspicion of engaging in international
        terrorism were extradited to Belgium.
       Also in February, the public prosecutor's office dismissed the case against the last three
        Somali terrorist suspects who had been arrested in Rotterdam in December 2010 on
        suspicion of being involved in terrorist activities. At year’s end, none of the 12 Somalis
        originally arrested had pending legal cases.
       In April, at the request of U.S. authorities, the Dutch police arrested Dutch terrorist
        suspect Sabir Ali Khan at Schiphol airport. Khan was suspected of fighting against
        International Security Assistance Force troops in Afghanistan. In October, the district
        court of Rotterdam declared Khan's extradition to the United States admissible, but

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        Khan’s attorney filed an appeal with the Supreme Court, where a verdict was pending at
        year’s end.
       In August, the Rotterdam district court released, without charge, an Iraqi national who
        was suspected by the General Intelligence Service of planning to join al-Qa'ida.
        However, the man remained a suspect, and the investigation was pending at year's end.
       Also in August, the Netherlands extradited Somali citizen Mohamud Omar to the United
        States on terrorism charges.
       In October, the District Court of The Hague imposed prison sentences of up to six years
        on five Liberation Tigers of Tamil Eelam supporters involved in raising funds for the
        group. The court found the five guilty of participating in a criminal and banned
        organization, but acquitted the five on charges of participating in an organization that
        intends to commit terrorist crimes.

Countering Terrorist Finance: The Netherlands is a member of the Financial Action Task
Force. Dutch officials cooperated with the United States in designating terrorist organizations
and interdicting and freezing their assets. In July, the Amsterdam district court annulled the
foreign minister’s decision to freeze the assets of the Netherlands International Humanitarian
Relief Organization because it did not find any evidence that the group provided financial
support to Hamas.

For further information on money laundering and financial crimes, we refer you to the 2011
International Narcotics Control Strategy Report (INCSR), Volume 2, Money Laundering and
Financial Crimes: http://www.state.gov/j/inl/rls/nrcrpt/index.htm.

Regional and International Cooperation: The Netherlands is a founding member of the
Global Counterterrorism Forum and pledged to contribute to the creation of the Forum’s Center
of Excellence for Countering Violent Extremism in the United Arab Emirates with expertise
from Dutch scholars and institutes. The Netherlands also contributed to the counterterrorism
work of the United Nations (UN) Office on Drugs and Crime.

The Netherlands continued to chair the Global Initiative to Combat Nuclear Terrorism's Nuclear
Detection Working Group. In November, the NCTV, the UN Interregional Crime and Justice
Research Institute (UNICRI), the Organization for the Prohibition of Chemical Weapons,
INTERPOL, and the Netherlands Forensic Institute organized a global exercise aimed at the
prevention of chemical terrorism (CHEMSHIELD 2011), in which more than 120 representatives
from 35 countries (including the United States) and international organizations participated. In
December, the International Center for Counterterrorism – established in The Hague in May
2010 – and UNICRI organized an international conference on prison radicalization,
rehabilitation, and reintegration of violent extremist offenders. In October, the Netherlands
hosted the civil aviation security conference AVSEC 2011 organized by the International Air
Transport Association.

In 2011, the Netherlands had counterterrorism capacity building projects in Pakistan, Yemen,
Morocco, and Algeria.




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Countering Radicalization and Violent Extremism: The Netherlands has been a leader in
countering violent extremism (CVE) thought and practice, and hosted a number of events that
helped shape international thinking on CVE, including a multilateral symposium on good
practices in the disengagement of incarcerated violent extremists and an ongoing international
dialogue on the creation of a CVE repository. According to the NCTV report, the threat of
violent extremist networks in the Netherlands remained small, and resilience by the Dutch
population to radicalization and violent extremism remained high because of special campaigns
aimed at prevention of radicalization and polarization. An evaluation of the Justice Ministry's
three-year “Netherlands against Terrorism” campaign, which ended in 2010, concluded that
confidence in the government's approach to terrorism increased strongly over the period. The
campaign intentionally did not emphasize the threat but, rather, the 200,000 professionals doing
their best to stay on top of the threat.

The Netherlands has a leading role in efforts to counter terrorist use of the internet, especially
with respect to self-regulation. The Notice-and-Take-Down code of conduct, drawn up in 2008,
is internationally recognized as a best practice in the field of self-regulation in the approach to
illegal content on the internet. The code of conduct provides companies with clarity as to
whether and how they should act against perceived illegal content hosted by them.

NORWAY

Overview: The Norwegian government continued to build its counterterrorism capacity in a
year that witnessed the worst acts of violence on Norwegian soil since World War II.
Authorities focused on new terrorism prosecutions, expanded efforts to counter violent
extremism, strengthened cyber security measures, and initiated a comment period on proposed
legislative changes to penalize individual terrorists (those not affiliated with groups) and increase
surveillance tools for the Police Security Service. The Norwegian government has created an
independent commission to carry out a broad evaluation of the response to the July 22 attacks in
Oslo and Utoya in order to identify lessons learned. In the wake of these attacks, the government
has also re-examined security measures at government buildings and increased security for
government officials.

2011 Terrorist Incidents: On July 22, Norwegian citizen Anders Behring Breivik detonated a
large bomb next to government buildings housing ministries and the prime minister's office,
killing eight persons and injuring scores. After detonating the bomb, Breivik drove to a Labor
Party youth camp on the island of Utoya outside of Oslo and shot dead 69 persons (mostly
youth), injuring many others. Shortly before the attack, Breivik posted a manifesto on the
internet in which, among other things, he accused the Labor Party of treason for encouraging
multiculturalism, feminism, and Muslim immigration.

Legislation and Law Enforcement: While the mandate of the independent July 22 commission
does not include drafting new legislation, its objective is to ensure that Norwegian society is
prepared to prevent and respond to future attacks. The commission is expected to deliver a
report to the government in August 2012.




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Norway is a part of European Union (EU) border control data sharing arrangements. Norwegian
immigration authorities also obtained biometric equipment for the fingerprinting of arrivals from
outside the Schengen area, though they have not yet implemented this program.

On November 15, prosecution commenced against three persons with Norwegian citizenship or
residency on charges of conspiracy to commit terrorist acts and acquire explosive materials.
According to open source reports, the three were born outside of Norway and are alleged to have
had al-Qa’ida connections. Two of the men, Mikael Davud and Shawan Bujak, were in custody
since their arrest in July 2010. The third man, David Jakobsen, was released from pre-trial
detention in September 2010.

On December 6, the Norwegian Court of Appeal upheld a lower court’s acquittal of Norwegian
citizen Abdirahman Abdi Osman on charges of knowingly collecting approximately U.S.
$34,000 for a terrorist organization and knowingly contributing funds to a terrorist organization.
After a nine-week proceeding in the appellate court, the jury agreed with the lower court that the
money Osman admitted transferring was not earmarked for terrorist purposes. Osman’s
conviction on the separate charge of “violating the United Nation's (UN) weapons embargo to
Somalia by transferring money to an armed group” remained under appeal at year’s end.

On July 22, police arrested Anders Behring Breivik for terrorist attacks in Oslo and on the island
of Utoya. Breivik remained in custody at year’s end as pre-trial investigations continued.

Mullah Krekar (aka Najmuddin Faraj Ahmad), the founder of Ansar al-Islam, continued to reside
in Norway. He has been arrested on several occasions in previous years by Norwegian law
enforcement. On July 11, he was indicted on violations of terrorism laws, including threatening
private individuals and a public official. If convicted, Krekar could serve up to 15 years in
prison.

Countering Terrorist Finance: Norway is a member of the Financial Action Task Force
(FATF). The Government of Norway adopted and incorporated the FATF standards and
recommendations, including the special recommendations on terrorist financing, into Norwegian
law. For further information on money laundering and financial crimes, we refer you to the 2011
International Narcotics Control Strategy Report (INCSR), Volume 2, Money Laundering and
Financial Crimes: http://www.state.gov/j/inl/rls/nrcrpt/index.htm.

Regional and International Cooperation: Norway continued its support for the UN
Counterterrorism Implementation Task Force (CTITF), contributing approximately U.S.
$486,000 to a project to implement and disseminate information about a counterterrorism
strategy in Central Asia. In September, Norway joined the EU’s Radicalization Awareness
Network, an umbrella network of practitioners and local actors involved in countering violent
extremism that is designed to enable the members to share and discuss best practices in spotting
and addressing radicalization and recruitment leading to acts of terrorism.

Countering Radicalization and Violent Extremism: On December 6, the Norwegian
government launched a website designed to encourage the public to help identify and report
signs of potential radicalization at an early stage. The website was one of 30 measures the

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government committed to undertake in its December 2010 action plan to counter extremist
ideology. The plan covers 2010 to 2013 and focuses on four priority areas: 1) increased
knowledge and information; 2) strengthened government cooperation; 3) strengthened dialogue
and involvement; and 4) support for vulnerable and disadvantaged people. On December 5, the
government held a conference to examine progress on implementing the action plan, and
published a report indicating the current status of each of the plan’s 30 measures. The
government considers that it has fully implemented eight of the measures and partially
implemented another six.

RUSSIA

Overview: Terrorist attacks stemming from instability in the North Caucasus continued to be
committed in Russia. Separatism, inter-ethnic rivalry, revenge, banditry, and/or extremist
ideology were the primary motivating factors for terrorism-related violence. Violence
originating in the North Caucasus occasionally spilled into other areas of Russia, as seen most
notably in 2011 with the bombing at Moscow’s Domodedovo airport in January, for which the
Caucasus Emirate’s leader, Doku Umarov, claimed responsibility.

Within the framework of the U.S.-Russia Bilateral Presidential Commission (BPC), the
Counterterrorism Working Group advanced bilateral cooperation on current terrorist threats;
transportation security issues, including aviation security; countering violent extremism;
information sharing; and coordination on non-proliferation of weapons of mass destruction. In
September, Foreign Minister Sergey Lavrov participated in the launch of the Global
Counterterrorism Forum (GCTF), co-chaired by the United States and Turkey. The BPC
Military Cooperation Working Group co-chairs met in Saint Petersburg, Russia in May, where
they signed a new memorandum of understanding on counterterrorism cooperation between the
U.S. Department of Defense and Russian Ministry of Defense. Several of this working group’s
military exercises also reflected a focus on counterterrorism cooperation.

Russia continued to participate in the Four-Party Counterterrorism Working Group (Federal
Security Service, the Foreign Intelligence Service, the Federal Bureau of Investigation (FBI), and
the Central Intelligence Agency). Additionally, limited operational and intelligence information
on terrorism-related threats was shared among these four agencies during the year. In
November, the director of the U.S. Terrorist Screening Center visited Moscow. Investigative
cooperation between Russia’s Federal Security Service and the FBI improved moderately over
the past year.

2011 Terrorist Incidents: The most significant attack occurred on January 24, when a suicide
bomber detonated a device inside the international arrivals area of Moscow’s Domodedovo
airport, killing 37 civilians and wounding 148 others. Also notable were the February attacks on
a ski resort near Mt. Elbrus in Khabardino-Balkaria where, over the course of several days,
terrorists assaulted a tour bus, bombed a gondola, and assassinated a town official, killing five
civilians and injuring eight. Other terrorist attacks occurred in the North Caucasus Federal
District, primarily in the republics of Dagestan, Ingushetia, North Ossetia, and Chechnya.




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On June 18, General Aleksandr Bortnikov, Director of the Federal Security Service, reported to
the president that his service had averted a “major terror act” in the Moscow region in the
preceding days. In a highly-publicized meeting with the Kremlin leader, Bortnikov said the
suspects had planned to target “crowded facilities and transport infrastructure” and that security
officers had confiscated homemade bombs, other weapons, and a map with an attack plan. The
Russian government did not provide any additional information about these planned attacks.

With the exception of the Domodedovo airport attack, most terrorist incidents occurred in the
Caucasus region and specifically targeted security services personnel.

Legislation and Law Enforcement: The National Antiterrorism Coordinating Committee,
organized in 2006, is the main government body coordinating the Russian government’s
response to the terrorist threat. Terrorism-related legislation introduced in 2011 includes:

       May 3, Establishment of Terrorist Threat Levels (Federal Law 96-FZ): This law directs
        ministries to share a common terrorist threat-level system.
       June 30, Federal Law on Amendments to Articles 73 and 81 of the Criminal Executive
        Code of the Russian Federation (Federal Law 159-FZ): This adds the following to the
        list of terrorist crimes specified in the federal codex: participation in armed formations
        previously not envisaged by federal law, the organization of extremist community, and
        organization of extremist activities.

In 2010 the Russian Federation introduced biometric passports with strong security features. The
latest version of the Russian passport is valid for ten years. Since most newly issued Russian
passports, including official and diplomatic passports, are biometric, this more secure document
is carried by an increasing proportion of Russian travelers, although many people still choose the
less expensive, less secure document. Among Russian applicants for American visas in 2011,
the majority used the new biometric passport.

Russia began implementing a major program to introduce paperless entrance and clearance
systems for cargo. This system, currently operational in one port of entry (Kashirsky),
implements automated risk management and cargo selectivity procedures. The Russian
Federation is expanding this system nationally.

Countering Terrorist Finance: Russia is a member of the Financial Action Task Force
(FATF). It is also a member of the Council of Europe Committee of Experts on the Evaluation
of Anti-Money Laundering Measures and the Financing of Terrorism and a leading member,
chair, and primary funding source of the Eurasian Group on combating money laundering and
financing of terrorism (EAG), both FATF-style regional bodies. Through the EAG, Russia
provides technical assistance and funding to improve legislative and regulatory frameworks and
operational capabilities.

Russian banks must report suspicious transactions to the Financial Monitoring Service
(Rosfinmonitoring), a Financial Intelligence Unit (FIU) whose head reports directly to the Prime
Minister. The Central Bank and the markets regulator (the Financial Markets Federal Service)


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can access these transaction reports after requesting them from Rosfinmonitoring, which is a
member of the Egmont Group of FIUs.

On November 10, President Medvedev signed into law a federal bill, “On changes to the Federal
Law, ‘On countering the legalization (laundering) of proceeds obtained illegally, and terrorism
financing,’ and the Russian Federation Code of Administrative Offenses.” The new rules and
requirements aim to enable authorized bodies, law enforcement, and intelligence agencies to
work more efficiently in countering corruption and terrorism financing. The law specifies
internal audit procedures for organizations performing monetary transactions and enumerates
their responsibilities to provide information to responsible government agencies.

For further information on money laundering and financial crimes, we refer you to the 2011
International Narcotics Control Strategy Report (INCSR), Volume 2, Money Laundering and
Financial Crimes: http://www.state.gov/j/inl/rls/nrcrpt/index.htm.

Regional and International Cooperation: Russia is a founding member of the Global
Counterterrorism Forum and is an active member of the North Atlantic Treaty Organization
(NATO)-Russia Council Counterterrorism Working Group. Together with NATO allies
Norway, Turkey, and Poland, Russia participates in the NATO-Russia Council Cooperative
Airspace Initiative (CAI), sharing airplane track data regarding civilian aircraft of concern (e.g.,
hijacked or otherwise suspicious aircraft) transiting sensitive border airspace. CAI provides a
framework for coordinating cross-border military responses to identified potential threats, and
for conducting exercises to test response coordination. In June, Poland, Turkey, and Russia
participated in CAI Vigilant Skies exercises, the first time that Russian jets have participated
with NATO counterparts in a live exercise.

Russia worked with other regional and multilateral groups to address terrorism, including the
European Union, the Cooperation Council for Arab States of the Gulf, the Shanghai Cooperation
Organization, and the Organization for Security and Cooperation in Europe.

Russia continued its cooperation with the United States as Co-Chair of the Global Initiative to
Combat Nuclear Terrorism (GICNT). Working closely with the United States and the GICNT’s
Spanish Implementation and Assessment Group Coordinator, Russia continues to help lead the
82-nation partnership in conducting multilateral activities and developing best practices in
nuclear detection, nuclear forensics, and other areas to prevent, detect, and respond to nuclear
terrorism.

Countering Radicalization and Violent Extremism: The Russian government continued to
develop constructive relations with established moderate Islamic organizations. Starting in
November 2011, as part of the latest Four-Party Counterterrorism Working Group, Russia’s
Federal Security Service and the FBI began the first of ongoing dialogues to discuss and
exchange best practices for countering domestic radicalization and violent extremism;
particularly as those issues pertain to ultra-nationalists and white supremacist movements such as
the Skinheads and Neo-Nazis.

SERBIA

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Overview: The Government of Serbia sustained its efforts to counter international terrorism.
Serbia’s law enforcement and security agencies, particularly the Ministry of Finance’s Customs
Administration, the Ministry of Interior’s Directorate of Police, and the Security Information
Agency, continued close counterterrorism cooperation with the United States. Intra-
governmental cooperation between these and other agencies also improved. Serbia has two main
police organizations that operate as counterterrorism tactical response units, the Special Anti-
Terrorist Unit and the Counterterrorist Unit. Serbian and U.S. law enforcement and intelligence
agencies also had close counterterrorism collaboration. Serbia participated in U.S. government-
funded counterterrorism training. Harmonization of law enforcement protocols with European
Union (EU) standards was a priority for the Serbian government. Serbia does not recognize
Kosovo as an independent, sovereign country, and therefore had no direct cooperation with
Kosovo on counterterrorism, but the European Union Rule of Law Mission in Kosovo (EULEX)
played an intermediary role on some law enforcement cooperation matters.

2011 Terrorist Attacks: No terrorist attacks occurred in Serbia during 2011. In October,
however, Serbian national Mevlid Jasarevic opened fire on the U.S. Embassy in Sarajevo and
wounded a police officer guarding the Embassy. Bosnia and Herzegovina authorities
immediately arrested Jasarevic. The next day, Serbian police took into custody 17 people with
suspected ties to Jasarevic in Sandzak, a Bosniak-majority region in southwest Serbia.

Legislation and Law Enforcement: The National Assembly did not amend the Law on Travel
Documents, thus non-biometric passports will not be valid past December 31, 2011. These
passports have not been valid for visa-free travel to EU countries since 2009. Serbia continued
to participate actively in the United Nations Office on Drugs and Crime (UNODC) Regional
Program to promote the rule of law and human security in South East Europe, which primarily
focused on increasing member states' counterterrorism capacities. Serbia established a working
group in charge of drafting a law on counterterrorism that would provide a legal basis for the
subsequent adoption of a counterterrorism strategy and specific action plans for relevant
ministries and agencies.

In November, U.S. Federal Bureau of Investigation agents traveled to Serbia and met with
Serbian law enforcement counterparts in conjunction with an investigation into the October
attack on the U.S. Embassy in Sarajevo.

The Export Control and Related Border Security (EXBS) Program, in coordination with other
U.S. government agencies including Customs and Border Protection, Immigration and Customs
Enforcement, the U.S. Coast Guard, and the Department of Energy, conducted nineteen border
security exercises with Serbian government agencies. These exercises focused on controlling the
movement of suspected terrorists, risk analysis, and the control of terrorism-related goods and
materials. EXBS provided training and material assistance to Serbian Customs, Border Police,
and other agencies with oversight on the manufacture and movement of strategically sensitive
commodities. Many of the activities were conducted regionally with the participation of Serbia's
neighbors.




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Countering Terrorist Finance: Serbia is a member of the Council of Europe Committee of
Experts on the Evaluation of Anti-Money Laundering Measures and the Financing of Terrorism.
Although the National Assembly did not adopt any new terrorism related legislation, Serbia’s
Administration for the Prevention of Money Laundering developed a draft law on restrictions on
property disposal with the goal of preventing terrorist financing. The Government of Serbia
asked foreign experts, including the U.S. Treasury Department, to provide comments on the draft
law. According to the Prosecutor's Office for Organized Crime, Serbian police did not arrest
anyone involved in terrorist finance activities, nor were any cases related to terrorism financing
prosecuted in 2011.

In June, the Council of Europe and the EU held a high-level conference on the Prevention of
Money-Laundering and Terrorist Financing in Serbia, as part of Serbia's efforts to meet EU
standards and advance its EU membership application. This conference initiated the Project
against Money Laundering and Terrorist Financing in Serbia (MOLI-Serbia Project), which
principally benefits the Administration for the Prevention of Money Laundering.

For further information on money laundering and financial crimes, we refer you to the 2011
International Narcotics Control Strategy Report (INCSR), Volume 2, Money Laundering and
Financial Crimes: http://www.state.gov/j/inl/rls/nrcrpt/index.htm.

Regional and International Cooperation: In July, more than 80 counterterrorism specialists
met in Belgrade for a two-day workshop organized by the UN Counter-Terrorism Executive
Directorate, the Southeast European Law Enforcement Center (formerly SECI Center), the
Regional Cooperation Council, and the UNODC. The discussion focused on terrorist financing
in southeastern Europe and the link between terrorist financing and organized crime.

SPAIN

Overview: Spain continued to confront the threat posed by the domestic terrorist group Basque
Fatherland and Liberty (ETA), as well as the transnational threat from al-Qa’ida (AQ) and its
affiliates. With sustained focused international cooperation, in particular with France, Spain
enjoyed such success in battling ETA that the weakened terrorist group announced a “definitive
cessation of armed activity.” Spain's attention also focused on the continued kidnapping threat
presented by al-Qa'ida in the Islamic Maghreb (AQIM), by increasing its cooperation with
Algeria, Mali, and Mauritania. Spain cooperated closely with the United States to counter
terrorism and was a cooperative partner in joint investigations and information sharing.

2011 Terrorist Incidents: While no terrorist attacks occurred in Spain in 2011, four Spanish
hostages were kidnapped. On October 22, two Spaniards and an Italian were taken out of the
Rabuni Sahrawi refugee camp in Tindouf, Algeria. Public reporting described the group
claiming responsibility, Jamat Tawhid Wal Jihad fi Garbi Afriqqiya, as a breakaway faction of
AQIM interested in kidnapping for ransom. On October 13, two Spaniards working with
Doctors Without Borders were kidnapped allegedly by al-Shabaab from the Dadaab refugee
camp in Kenya. The Spanish government was working on both cases with local authorities to
find their citizens at year’s end.


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Legislation and Law Enforcement: Spain continued to focus on improved security and the
detection of false documents at its borders in 2011. Spain participated in the U.S. Immigration
Advisory Program, which maintained staff at Madrid-Barajas International Airport. The
program allowed coordination between Customs and Border Protection officers, airline security
personnel, and police regarding high risk passengers traveling to the United States. Spain
continued to roll out an automated system to read European Union (EU) passports with biometric
data. Explosive trace detection equipment was also deployed at Spain’s five largest airports at
passenger checkpoints. Spain installed a network of radar stations, known as the Integrated
External Surveillance System, along its maritime borders. Spain continued its participation in
the Megaports and Container Security Initiatives.

On September 27, Spanish security forces arrested five Algerians suspected of giving logistical
and financial support to AQIM. Though released from custody by the Spanish courts for lack of
evidence, Spanish police and judicial authorities cooperated with other countries (including Italy,
France, and Switzerland) and maintained an active investigation to gather evidence in the case.
In June, Spanish security forces also arrested a Moroccan national in the Canary Islands for
terrorist recruiting activities and links to terrorists currently serving sentences in Morocco. The
Civil Guard arrested a Moroccan national, previously expelled from Jordan, for running a violent
extremist web forum and having alleged ties to AQIM members.

In cooperation with international partners, security services also arrested 52 alleged ETA
members or associates, including 29 in France and three in other countries. Key raids included:

        On January 17, Spanish National Police and the Civil Guard arrested 11 people linked to
         ETA that allegedly had received orders to rebuild a hard-line faction within the
         organization.
        On March 11, a French police raid captured ETA leader Alejandro Zobaran Arriola and
         three other suspects in a remote village near the Belgian border.
        On April 12, Spanish police seized 850 kilograms of bomb-making material from an
         ETA hideout and arrested two people. On April 14, a third arrest was made and an
         additional 750 kilograms of bomb-making material was seized. The combined total of
         1,600 kilograms was the largest ever seizure from ETA in Spain.
        On July 7, one of Spain’s most wanted ETA terrorists, Eneko Gogeaskoetxea, was
         arrested in Cambridge, UK, following a 14-year manhunt following his attempt to
         assassinate King Juan Carlos I at a 1997 event in Bilbao.

Spanish security forces and Spain’s judicial system continued investigations into allegations of
ETA training camps in Venezuela. In January, in a joint operation with French police, the Civil
Guard arrested an ETA information technology specialist who had previously traveled to
Venezuela to train ETA and Colombian Revolutionary Armed Forces (FARC) members. On
June 17, Inaki Dominguez Atxalandabaso was arrested in France, under a National Court arrest
warrant for allegedly training FARC members in Venezuela.

Countering Terrorist Finance: A longtime member of the Financial Action Task Force, Spain
continued to demonstrate leadership in the area of anti-money laundering and counterterrorist
finance. Spain enacted its current law on Preventing Money Laundering and the Financing of

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Terrorism in 2010; the law entered into force immediately. However, implementation of
regulations will not be approved until 2012. The regulations will greatly enhance authorities’
capacity to counter terrorist financing by placing greater requirements, with stiffer penalties for
non-compliance, on financial institutions and other businesses, and by strengthening monitoring
and oversight. The government diligently implemented relevant United Nations Security
Council Resolutions and had the legal authority to impose autonomous designations.

For further information on money laundering and financial crimes, we refer you to the 2011
International Narcotics Control Strategy Report (INCSR), Volume 2, Money Laundering and
Financial Crimes: http://www.state.gov/j/inl/rls/nrcrpt/index.htm.

Regional and International Cooperation: Spain is a founding member of the Global
Counterterrorism Forum and worked to advance a number of counterterrorism initiatives through
the EU, including work with the G-6 and the United States on cyber-crime. Spain continued its
leadership role in the Global Initiative to Combat Nuclear Terrorism and served as Coordinator
of its Implementation and Assessment Group, a working group of technical experts.

Spain has signed numerous bilateral agreements on police and security force cooperation,
including on January 31 with Serbia, February 18 with Morocco and Jordan, March 3 with
Bosnia and Herzegovina, October 21 with Mexico, and October 24 with Croatia. The Spanish
Ministry of Interior organized the “International Seminar on the Fight against Terrorism and
Organized Crime” on May 9-12 in the Sahel, with the participation of Spain, France, Algeria,
Mali, Mauritania, Niger, and Senegal.

Countering Radicalization and Violent Extremism: Spain participated in several international
meetings focused on countering violent extremism (CVE). Spain's inter-ministerial CVE
working group emphasized the prevention of radicalization and sought to counter radical
propaganda both online and in other arenas. In addition to promoting international cooperation
on these issues, Spanish efforts to counter radicalization were tied closely to the fight against
illegal immigration and the integration of existing immigrant communities. This strategy sought
the support of civil society and the general public in rejecting violence. In fulfillment of
applicable laws, Spanish prisons employed CVE rehabilitation programs designed to achieve the
reintegration of inmates into society.

SWEDEN

Overview: During the past few years, terrorism networks have showed an increased interest in
carrying out attacks in Sweden. According to violent extremist groups, Sweden’s military
presence in Afghanistan and Swedish artist Lars Vilks’ cartoons of the Prophet Mohammed
continued to make Sweden a potential target. Authorities estimated that there were about 20
individuals from Sweden in terrorism training camps or fighting abroad, most commonly in
Somalia but also in Pakistan. Conflict zones around the world remained one of the main sources
of inspiration for violent extremist groups in Sweden. The National Threat Advisory level in
Sweden remained “elevated” and has stayed at that level since it was first raised in October
2010.


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On November 25, a Swedish citizen visiting Mali was kidnapped together with two other
Westerners. Al-Qa’ida in the Islamic Maghreb claimed responsibility for the act in a
communiqué, and the man remained their captive at year’s end.

Legislation and Law Enforcement: In December, most Swedish political parties agreed on a
formula for legislation to allow the Swedish Security Service (SAPO) renewed access to
intelligence from the Swedish National Defense Radio Agency for the first time since 2009.

Arrests:
    On April 27, Swedish citizen Paul Mardirossian was arrested in Panama City for
       allegedly having agreed to provide military-grade weapons to Revolutionary Armed
       Forces of Colombia members in exchange for cocaine. Mardirossian was surrendered to
       the United States on May 6, and was facing charges for conspiracy to engage in narco-
       terrorism, conspiracy to provide material support to a foreign terrorist organization,
       attempting to provide material support to a foreign terrorist organization, and money
       laundering.
    On September 10, four men were arrested for preparation to commit an act of terrorism in
       Goteborg, Sweden’s second largest city. However, soon after the arrests, one of the men
       was released and the charges against the remaining three were revised to “preparation for
       murder.” The chargers were revised because the plot was aimed at one person and not
       against a population or part of a population, as required by Swedish terrorism legislation.
       The trial against the men began on December 20.
    On December 29, 2010, five individuals were arrested (four in Denmark and one in
       Sweden) for conspiracy to commit terrorist crimes when planning to attack the newspaper
       Jyllands-Posten in Denmark. Four of the five individuals were Swedish citizens or
       residents. The man who was arrested in Sweden was eventually extradited to Denmark in
       April, and the Swedish authorities have closed the domestic case. Danish authorities are
       scheduled to try the case in 2012.

Resolution and continuation of cases from 2010:
    On December 8, 2010, Goteborg District Court convicted two Swedish citizens of
       conspiracy to commit terrorist crimes and sentenced both men to four years
       imprisonment. The defendants appealed their sentences and were later released and their
       convictions were overturned by the Swedish Court of Appeal on March 2.
    The prosecutor for national security cases continued conducting a pre-investigation
       related to the December 11, 2010 suicide bombing carried out by Taimour Abdulwahab
       in Stockholm. Though the perpetrator died, the authorities were still investigating some
       of the circumstances to try to determine whether the perpetrator acted alone. Among
       other leads, the prosecutor was looking into the trips the suicide bomber undertook to
       Syria and Iraq. There was also an ongoing investigation connected to this case in
       Glasgow, Scotland, where a man was being tried for terrorist financing in connection
       with money wired to Abdulwahab.

Countering Terrorist Finance: Sweden is a member of the Financial Action Task Force
(FATF), and in its 2010 Mutual Evaluation Report, FATF recognized that Sweden had made
significant progress. For further information on money laundering and financial crimes, we refer

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you to the 2011 International Narcotics Control Strategy Report (INCSR), Volume 2, Money
Laundering and Financial Crimes: http://www.state.gov/j/inl/rls/nrcrpt/index.htm.

Regional and International Cooperation: Sweden continued to contribute to counterterrorism
capacity building projects through its development aid work carried out by the Swedish
International Development Agency as well as via funding to the United Nations Office of Drugs
and Crime-Terrorism Prevention Branch and the Office of Security and Cooperation in Europe.
Sweden also supported the European Union's (EU) work with capacity building projects in
prioritized countries and regions such as Afghanistan/Pakistan, Yemen, the Horn of Africa, the
Maghreb, and the Sahel. Sweden provided trainers to the EU Training Mission to assist with the
training of Somalia's Transitional Federal Government security forces. Sweden gave direct
funds to the UN's Counterterrorism International Task Force (CTITF), with most Swedish funds
going to the CTITF workgroup that focuses on strengthening human rights.

Countering Radicalization and Violent Extremism: In March, the Swedish government
hosted a conference on “National Action Plans against Political and Religious Extremism and
Preventive Work at the Local Level.” On December 9, the Government released its first ever
Preventing Violent Extremism plan, the “Action Plan to Safeguard Democracy against Violent
Extremism.” The plan was based on government-commissioned studies on extremism in
Sweden from the past three years and put equal focus on left wing, right wing, and Muslim
extremists. The Swedish government has allocated U.S. $9 million for the plan’s
implementation through 2014.

The action plan has six overarching aims, to:
   1) strengthen awareness of democratic values;
   2) increase knowledge about violent extremism;
   3) strengthen the structures for cooperation;
   4) prevent individuals from joining violent extremist groups and supporting exit strategies;
   5) counter the breeding grounds for ideologically motivated violence; and
   6) deepen international cooperation.

The Swedish National Police initiated a project to increase knowledge about and enhance work
methods to detect radicalization. The project is partially connected to and financed by the EU's
Community Policing, Preventing Radicalization, and Terrorism group, which has created an
education package on radicalization for police officers. The education material has been
translated into Swedish and training sessions to educate police officers will be carried out
throughout Sweden.

TURKEY

Overview: Domestic and transnational terrorist groups have targeted Turkish nationals and
foreigners in Turkey, including, on occasion, U.S. government personnel, for over 40 years.
Most prominent among terrorist groups in Turkey is the Kurdistan Workers’ Party (PKK).
Composed primarily of ethnic Kurds with a nationalist agenda, the PKK operates from areas in
southeastern Turkey and northern Iraq and targets mainly Turkish security forces. Other
prominent terrorist groups in Turkey include the Revolutionary People’s Liberation Party/Front

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(DHKP-C), a militant Marxist-Leninist group with anti-U.S. and anti-NATO views that seeks the
violent overthrow of the Turkish state, and Turkish Hizballah (unrelated to the group similarly-
named Hizballah operating in Lebanon). Public sources also highlight detentions of Islamic
Jihad Union (IJU) members as well as supporters for al-Qa’ida (AQ) and other groups. The
Turkish Workers’ and Peasants’ Liberation Army, though largely inactive, was still considered a
potential threat by the Turkish government.

2011 Terrorist Incidents: The PKK continued to demonstrate its nation-wide reach. Typical
tactics, techniques, and procedures included ambushes on military patrols in the countryside,
improvised explosive devices (IEDs) along known military or police routes, and bombings of
both security and civilian targets in urban areas. Six attacks garnered particular attention and
condemnation:

       A May attack on the prime minister’s convoy in Kastamonu, near the Black Sea, using
        small arms and a roadside IED (the prime minister was not in the convoy at the time; one
        police officer was killed).
       A July attack on Gendarmerie Personnel in Silvan using small arms and grenades that
        killed 13 Turkish security forces.
       An August attack in Hakkari province’s Cukurca district left at least nine Turkish
        security personnel dead.
       A September attack on a crowded Ankara street using a small vehicle-based IED killed
        three civilians and wounded 34. The PKK denied playing a role in the attack, though
        responsibility for the bombing was claimed by the Kurdistan Freedom Falcons (TAK), an
        organization suspected of having links to the PKK.
       A September attack in Batman killed a woman and her four-year old daughter when PKK
        attackers opened fire from a vehicle.
       In an October attack, the deadliest since 1993, the PKK killed 26 security forces in
        Hakkari province.

In July, Turkish national police arrested 15 alleged members of a Turkey-based, AQ-inspired
terrorist cell. The group was reportedly preparing a large vehicle-borne IED-type attack against
one of a small group of targets that included the U.S. embassy. Weapons, plans, photos of
possible targets, and over 600 kilograms of explosives were seized during the arrests. As of
December, one person had been released and 14 held for trial.

Turkey continued to participate in the Department of State’s Antiterrorism Assistance program.

Legislation and Law Enforcement: Counterterrorism law enforcement efforts in Turkey
remained focused on the domestic threat posed by several terrorist groups, including the PKK.
Turkey’s methodology and legislation are geared towards confronting this internal threat.
Efforts to combat international terrorism are hampered by legislation that defines terrorism
narrowly as a crime targeting the Turkish state or Turkish citizens. This definition of terrorism
posed concerns for operational and legal cooperation. A draft law before Parliament on the
Prevention of Terrorist Financing was initially intended to address the definitional issue;
however, according to the Financial Action Task Force (FATF), the current draft is insufficient
to bring this and other areas of terrorist finance legislation up to international standards.

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Separately, critics charged that Turkish authorities applied its counterterrorism laws overly
broadly to stifle political discourse, arresting hundreds of political activists, journalists, military
officials, and others over the year for crimes under Turkey’s terrorism laws. Current regulations
governing pre-trial detentions allow terrorism and other suspects to be held for up to five years
while awaiting trial. Political leaders had begun speaking openly of reforming the current
counterterrorism law, but no specific legislation had been drafted by the end of 2011.

Countering Terrorist Finance: Turkey is a member of the FATF, and in 2007, the FATF
identified Turkey as a jurisdiction with significant anti-money laundering and counterterrorist
financing (AML/CTF) vulnerabilities, chief among them Turkey’s incomplete criminalization of
terrorist financing and weak national asset-freezing mechanisms. In response, in 2010 Turkey
drafted but ultimately did not pass a law on the “Prevention of Terrorist Financing,” intended to
address all CTF deficiencies identified by the FATF. In its October 2011 review of Turkey's
status, FATF found no improvement, reiterated its concerns that Turkey still has significant
AML/CTF vulnerabilities, and included Turkey in its Public Statement. The same draft CTF law
was resubmitted to parliament in October. The draft bill moved to the International Affairs
Committee and two other parliamentary committees in November, where opposition parties have
raised privacy and other legal concerns. The bill was under review in parliamentary committees
at year’s end.

The regulation of banks is carried out by the Banking Regulatory and Supervision Agency and
regulation of financial exchange houses, insurance companies, and jewelers is carried out by the
Under Secretariat of Treasury. Stock exchanges are regulated by the Capital Markets Board.
There is little coordination or sharing of best practices among the agencies with specific regard
to AML/CTF competencies. Money/value transfer systems are illegal and as such there is no
regulatory agency that covers this area.

The nonprofit sector is not audited on a regular basis for counterterrorist finance vulnerabilities
and does not receive adequate AML/CTF outreach or guidance from the Turkish government.
The General Director of Foundations issues licenses for charitable foundations and oversees
them, but there are a limited number of auditors to cover the more than 70,000 institutions.

Turkish officials circulated U.S.-designated names to the security services for their awareness,
though only UN-listed names were subject to asset-freezes.

For further information on money laundering and financial crimes, we refer you to the 2011
International Narcotics Control Strategy Report (INCSR), Volume 2, Money Laundering and
Financial Crimes: http://www.state.gov/j/inl/rls/nrcrpt/index.htm.

Regional and International Cooperation: Turkey is a founding member of the Global
Counterterrorism Forum (GCTF) and together with the United States, co-chaired the Forum's
inaugural session in September 2011 and worked assiduously to build international support for
it. As co-chair, Turkey provided extensive secretariat support, including hosting a pre-GCTF
launch conference in Istanbul in April.



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Countering Radicalization and Violent Extremism: The Government of Turkey has two
significant programs in place to counter radicalization and violent extremism. The first,
administered by the national police, is a broad-based outreach program to affected communities,
similar to anti-gang activities in the United States. Police worked to reach vulnerable
populations before terrorists did, to alter the prevailing group dynamics, and prevent recruitment.
Police utilized social science research to undertake social projects, activities with parents and in-
service training for officers and teachers. Programs prepared trainers, psychologists, coaches,
and religious leaders to intervene to undermine radical messages and prevent recruitment.

The second program, administered by the Religious Affairs Office (Diyanet) of the Government
of Turkey, promoted a mainstream interpretation of Islam and worked to undercut the message
of violent religious extremists. In Turkey, all Sunni imams are employees of the Diyanet. In
support of its message of traditional religious values, more than 66,000 Diyanet imams
throughout Turkey conducted individualized outreach to their congregations. Diyanet similarly
worked with religious associations among the Turkish diaspora, assisting them to establish
umbrella organizations and providing them access to mainstream Hanafi instruction. Diyanet
supported in-service training for religious leaders and lay-workers through a network of 19
centers throughout Turkey.

In 2011, the Government of Turkey reiterated its intent to follow up on its 2009 “democratic
initiative” (also known as the “national unity project” or the “Kurdish opening”). The initiative
was designed to address the social and economic inequalities in Turkish society that fuel Kurdish
dissent. Concrete steps within the scope of the initiative were clearly devised to reduce the
PKK’s support, by, for example, liberalizing laws governing the use of the Kurdish language in
broadcasting, education, and state buildings; reducing the number of instances where
counterterrorism laws are applied to non-violent crimes; and providing legal incentives to bring
members of the PKK who have not engaged in violence back into civil society. To further these
objectives, Turkish officials have announced plans to shift primary responsibility for
counterterrorism efforts from the Turkish military to civilian security forces (National Police and
Jandarma).

UNITED KINGDOM

Overview: The United Kingdom (UK) continued to play a leading role in countering global
terrorism. The UK government released its updated counterterrorism strategy, CONTEST, on
July 12. This update, the first under the coalition government, set out the UK’s strategic
framework for countering the terrorist threat at home and abroad for 2011-2015. CONTEST’s
alignment with the U.S. National Strategy for Counterterrorism will help facilitate continued
close counterterrorism cooperation between the United States and the UK.

In 2011, there were no terrorist incidents in England, Scotland, or Wales. At the end of 2011,
however, the UK rated the threat level to the UK from international terrorism as “substantial”,
indicating a strong possibility of a terrorist attack.

At the close of 2011, the UK rated the threat level for Northern Ireland-related terrorism within
Northern Ireland as “severe,” meaning an attack is highly likely.

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2011 Terrorist Incidents: A number of terrorist incidents occurred in Northern Ireland.
Dissident republican groups the Real IRA (RIRA), Continuity IRA (CIRA), and Oglaigh na
hEireann (ONH) remained actively opposed to the peace settlement in Northern Ireland. In June,
the Police Service Northern Ireland (PSNI) estimated approximately 650 active members of
dissident republican groups remained at large.

Through October 31, PSNI reported one fatality in Northern Ireland due to security related
violence. On April 2, an undercar bomb exploded, killing a police constable outside of his home
near Omagh, Co Tyrone, in Northern Ireland. A dissident Republican group claiming ties to the
RIRA claimed responsibility for the attack. In July, police arrested five men in connection with
the killing as part of a raid that spanned three counties and involved over 200 officers. All five
men were subsequently released.

Legislation and Law Enforcement: The UK Terrorism Prevention and Investigation Measures
(TPims) Bill 2010-2011 became law in December. The provisions of this bill are the result of
the coalition government’s January 2011 report “Review of Counterterrorism and Security
Powers." The TPims replace the UK’s widely debated control orders, set out in the Prevention
of Terrorism Act 2005, which restricted movement and access to the internet by terrorism
suspects. According to the UK Home Office, TPims are meant to be a “less intrusive system of
terrorism prevention” that will “rebalance intrusive security powers and increase safeguards for
civil liberties.” Key changes under TPims are that they can only be enforced for a maximum of
two years, and additional measures can only be imposed if the person has reengaged in terrorism.
Judicial oversight of the system will broaden, with the high court having to grant permission to
impose the measure. In November, the bill was amended to extend the transitional period from
28 to 42 days to give law enforcement more time to prepare to transition to TPims, as TPims will
require additional human and technical surveillance measures.

As part of the UK’s “Review of Counterterrorism and Security Powers,” provided to the UK
Parliament in January, the police will no longer be able to hold terrorism suspects for up to 28
days without charge; they will now be limited to 14 days.

On November 9, UK Home Secretary Theresa May proscribed Muslims Against Crusades
(MAC), making membership in or support of the organization a criminal offence under the
Terrorism Act 2000. May said that MAC is another name for organizations already proscribed:
Al Ghurabaa, The Saved Sect, Al Muhajiroun, and Islam4UK.

The UK made several advances in border security. The UK implemented passenger biographic
data collection for all modes of travel, to include rail and vessel. The UK is also collaborating on
an intra-European Union (EU) Passenger Name Record (PNR) agreement that will allow
collection of PNR data for intra-EU flights. The UK collects limited PNR data on non-EU
arrivals. The UK also implemented biometric fingerprint collection for visa issuance at the
majority of its foreign posts. The UK continued to check biometrics at its 31 major ports of
entry.




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In response to the November 2010 cargo bomb plot that originated in Yemen, the UK
government suspended the transport of unaccompanied air freight from Yemen and Somalia.
The government also worked with the aviation industry and with the European Commission to
devise a security screening regime for cargo to better mitigate threats. Specifically, the UK
Department for Transport (DfT) designed and continued to refine a risk-based approach that
applies more robust checks for cargo from designated high-risk departure or transit points.

Arrests: The UK arrested and charged a number of individuals with a variety of terrorism
offences, ranging from facilitation and fundraising to attack planning in new and pending cases.
These included:

       In March, Ezedden Khalid Ahmed Al Khaledi appeared in Glasgow Sheriff Court to face
        three charges under the Terrorism Act and five others under immigration laws and
        banking regulations, in relation to a failed suicide attack in Stockholm, Sweden, in 2010.
        (The Stockholm bomber, Iraqi-born Taimour Abdulwahab had been living with his wife
        and children in the London suburb of Luton.) Al Khaledi is alleged to have funded al-
        Abdaly, who died in the bombing attempt and injured two other people.
       Also in March, a UK court sentenced a former British Airways software engineer to 30
        years for plotting to blow up a plane.
       In August, police charged a Manchester area couple, Mohammed Sajid Khan and Shasta
        Khan, under the Terrorism Act. The two were accused of researching improvised
        explosive devices on the internet and buying household items that could be used to make
        them between 2010 and 2011. At the end of 2011 they both remained in custody pending
        trial.
       In September, the West Midlands Police arrested seven men from Birmingham on
        terrorism charges. Police charged four of the men with preparing for an act of terrorism
        in the UK, two with failing to disclose information, and one with entering into a funding
        arrangement for the purpose of terrorism. In a related arrest in November, UK authorities
        charged four additional men from Birmingham with engaging in preparation of terrorist
        acts, contrary to the Terrorism Act 2006.
       In Northern Ireland, PSNI reported 136 persons arrested and 30 persons charged between
        January 1 and October 31.

The trial of two men, Colin Duffy and Brian Shivers, accused of killing two soldiers and injuring
four others at the Massereene Army barracks in 2009, began in November. The attacks, for
which the RIRA claimed responsibility, marked the first British military fatalities in Northern
Ireland since 1997.

In September, the Court of Appeal upheld the convictions of Paul McCaugherty and Dermot
Declan Gregory for their parts in a dissident republican gun-smuggling plot. The pair was
originally convicted in October 2010 following an MI5 sting operation. McCaugherty and
Gregory were given 20 and four year sentences, respectively.

Cooperation between the United States and the UK on counterterrorism remained robust.
Evidence provided by the United States was critical in securing the convictions in several of the
cases described above. U.S. investigators similarly relied on cooperation from UK authorities in

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obtaining evidence relating to numerous counterterrorism investigations, including the
investigation of Umar Farouk Abdulmutallab, who pled guilty in October, to the attempted
Christmas Day (2009) bombing of a flight bound for Detroit.

At the end of 2011, six U.S. terrorism prosecutions were on hold, pending decisions by the
European Court of Human Rights (ECHR), which has stayed the extradition from the UK of six
terrorism suspects wanted for trial in the United States: Abu Hamza, Babar Ahmad, Talha
Ahsan, Haroon Aswat, Adel Abdul Bary, and Khaled al-Fawwaz. UK courts have approved the
extradition requests for all six suspects. The cases of Aswat, Ahmad, and Ahsad were filed with
the ECHR in 2007; Hamza in 2008; and Bary and al-Fawwaz in 2009. The issues on appeal
include whether the potential sentence of life imprisonment without parole and U.S. prison
conditions would violate the European Convention on Human Rights.

Countering Terrorist Finance: The UK is a member of the Financial Action Task Force
(FATF) and an active participant in FATF-style regional bodies working to meet evolving
money laundering and terrorism financing threats. The UK engages in efforts to freeze the assets
of persons who commit terrorist acts, as required by the relevant United Nations Security
Council Resolutions (UNSCR). In early 2011, the UK replaced temporary asset-freezing
regulations implementing UNSCR 1373 with new legislation containing a higher standard of
proof for freezing assets. For further information on money laundering and financial crimes, we
refer you to the 2011 International Narcotics Control Strategy Report (INCSR), Volume 2,
Money Laundering and Financial Crimes: http://www.state.gov/j/inl/rls/nrcrpt/index.htm.

Regional and International Cooperation: The UK is a founding member of the Global
Counterterrorism Forum and co-chairs its Countering Violent Extremism working group. It
cooperated with other nations and international organizations to counter terrorism, including the
United Nations, EU, North Atlantic Treaty Organization, Council of Europe, G-8, International
Atomic Energy Agency, International Monetary Fund, World Bank, Global Initiative to Combat
Nuclear Terrorism, and INTERPOL.

Countering Radicalization and Violent Extremism: The UK launched its “Prevent” strategy
in 2007 to counter radicalization. Prevent is part of the government's overall CONTEST
counterterrorism strategy. In 2011, Prevent was revised to correct several perceived problems.
There had been complaints from members of Muslim organizations that all UK government
interaction with their communities was focused on security concerns. As a result, the UK
divided the responsibilities for various strands of Prevent among different government
organizations. The Department of Communities and Local Government took over responsibility
for integration work, designed to ensure that Muslim communities were receiving all the
government services to which they were entitled and that immigrants were given assistance to
integrate into British society. The Home Office will now focus on countering the ideology of
violent extremism, including the identification of at-risk-youth and their placement in de-
radicalization pre-programs. The revised strategy called for a much more focused effort to target
those most at risk of radicalization. Finally, the government has decided that organizations that
hold extremist views, even those that are non-violent, will not be eligible to receive government
funding or participate in Prevent programs.



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In February, Westminster and the Northern Ireland Executive collectively awarded the PSNI an
additional U.S. $385 million over a four year period to combat dissident republican terrorism.
The PSNI Chief Constable said the funds will be spent on “investigation, on more detectives, on
more equipment, transport, air support, in sustaining our street presence in neighborhoods.”


                        MIDDLE EAST AND NORTH AFRICA

OVERVIEW

The Near East region remained one of the most active in terms of terrorist activity in 2011.
Many countries across the region experienced increased instability as a result of the events of the
Arab Awakening, and some terrorists attempted to exploit this situation. This was of particular
concern as it related to loose munitions from Libyan stocks and the threat of terrorists obtaining
Man-Portable Air Defense Systems (MANPADS), which could pose significant risks to regional
security and civil aviation.

Multiple terrorist organizations displayed the capability and intent to strike at targets across the
region and to garner influence in states undergoing political transitions. Al-Qa’ida in the
Arabian Peninsula gained more physical territory in Yemen as the result of the political turmoil.
 Al-Qa’ida in Iraq – even with diminished leadership and capabilities – continued to conduct
attacks across Iraq, while Shia militants largely ceased attacks but continued to threaten U.S.
targets in Iraq. Al-Qa’ida in the Islamic Maghreb (AQIM) conducted attacks against Algerian
government targets and undertook kidnappings elsewhere to extort ransoms. Hizballah in
Lebanon remained a significant threat to the stability of Lebanon and the broader region. In
Israel and the Palestinian territories, several groups maintained the capability to launch attacks
and acquired sophisticated weaponry from outside the country.

Iran (see Chapter 3, State Sponsors of Terrorism), continued to be the world’s leading sponsor of
terrorist activity. In addition to engaging in its own terrorist plotting, the Iranian government
continued to provide financial, material, and logistical support for terrorist and militant groups
throughout the Middle East. Despite its pledge to support the stabilization of Iraq, Iran
continued to provide lethal support, including weapons, training, funding, and guidance, to Iraqi
Shia militant groups targeting U.S. and Iraqi forces.

Governments across the region improved their own counterterrorism capabilities despite these
persistent threats, effectively disrupting the activities of a number of terrorists. The Iraqi
government displayed increased capability and efficacy in pursuing multiple Sunni extremist
groups. Though AQIM’s presence and activity in the Sahel remains worrisome, the group’s
isolation in Algeria grew as Algeria increased its already substantial efforts to target the group.
While Saudi Arabia remained vulnerable because of the increased instability in Yemen, its
efforts to put an end to domestic terrorist activity remained resolute; the Saudi government
displayed professionalism in tactical counterterrorism operations and counterterrorist finance.
Israel and the Palestinian Authority also worked to diminish the threat posed by various
Palestinian terrorist groups and Hizballah, including stopping weapons smuggling in and around
Gaza and suicide bombers attempting to attack Israel via Gaza and the West Bank.

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ALGERIA

Overview: In 2011, al-Qa’ida in the Islamic Maghreb (AQIM) remained a significant security
threat, primarily in the mountainous areas east of Algiers and in the vast desert regions of the
south, near countries on Algeria’s southern border: Mali, Mauritania, and Niger. AQIM largely
targeted Algerian security forces, but civilians were also wounded or killed collaterally.
Algerian security forces isolated AQIM in the north and decreased the number of successful
terrorist attacks, but AQIM continued to execute suicide attacks, attacks using improvised
explosive devices (IED), and ambushes in the non-urban areas outside Algiers. Kidnapping
Westerners in remote areas continued during the year as AQIM held hostages with the goal of
receiving lucrative ransom payments. Algerian officials cited links between AQIM and other
African terrorist groups, such as al-Shabaab and Boko Haram, and also noted criminal links
between AQIM and narcotraffickers in the Sahel.

2011 Terrorist Incidents: AQIM engaged in notable terrorist activities in non-urban areas,
including the first major terrorist attack in Western Algeria since July 2009, the first kidnapping
of a foreigner in southern Algeria since 2003. The group’s repeated attempts to move weapons
from Libya into northern Mali and southern Algeria were partially stymied by joint Algerian and
Nigerien border security operations. As in years past, Algeria experienced a spike in terrorist
incidents during the summer and just prior to the start of Ramadan, which began August 1.

       On February 2, AQIM kidnapped Italian tourist Maria Sandra Mariani near Alidena,
        marking the first abduction of a foreigner by a terrorist group in southern Algeria since
        2003.
       On April 15, approximately 40 AQIM militants attacked an army post east of Algiers and
        killed 17 soldiers.
       On July 16, a pair of suicide bombings near Boumerdes signaled the start of the annual
        pre-Ramadan uptick in violence. The vehicle-borne IEDs were the first suicide bombings
        in Algeria since July 2010 and targeted a police station in a small town.
       On August 26, a double suicide bombing against the Algerian Military Academy of
        Cherchell, west of Algiers, killed at least 18 people, mostly military officers, and injured
        as many as 35. The first attacker dressed in a military uniform, and the second bomber
        targeted those who responded to the first explosion.
       On October 23, an AQIM-affiliated group kidnapped one Italian and two Spanish aid
        workers from a Polissario-run refugee camp near Tindouf. AQIM was suspected of
        holding the hostages on Malian soil.

Legislation and Law Enforcement: Algerian security forces, primarily gendarmerie troops
under the Ministry of National Defense – conducted periodic sweep operations in the Kabylie
region southeast of the capital in order to capture groups of AQIM fighters. Algerian law
enforcement agencies cooperated with the United States and other foreign governments to
prevent terrorist attacks against foreigners.

Over the course of the year, press reports indicated that security forces killed or captured
approximately 800 suspected terrorists. In April, soldiers killed seven terrorists and arrested two

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during a military operation on the southeastern border with Libya. Algeria closed that border in
September and sent thousands of security forces to secure it and prevent weapons smuggling.
Authorities recovered 11 automatic weapons from the terrorists.

Algeria continued to participate in the Department of State’s Antiterrorism Assistance program.
Plans were made to expand existing capacity building cooperation for skills in investigations,
forensics, and border security.

Countering Terrorist Finance: Algeria is a member of the Middle East and North Africa
Financial Action Task Force (MENAFATF), a Financial Action Task Force (FATF)-style
regional body, and hosted one of the 2011 plenary sessions. The Government of Algeria was
reviewing its 2005 Anti-Money Laundering/Counterterrorist Financing (AML/CTF) law to
determine amendments necessary in order to comply with FATF Recommendations. As a result,
Algeria was working on elements of an Action Plan it drafted with the FATF as part of the
International Cooperation Review Group process. Algeria has examined the deficiencies in its
Financial Intelligence Unit and is working to improve analytical and resource capacity there as
well.

In early 2011, Algeria rescinded a July 2010 presidential decree that mandated that all financial
transactions over U.S. $6,670 be conducted by credit card, check, or other non-cash method in an
effort to increase financial transparency, track illegal financing of terrorism, and reduce the
possibility of corruption.

Algeria had no specific legislation to freeze terrorist assets but maintained that its ratification of
international terrorist financing conventions gave it the authority to do so. Brokerage institutions
and insurance companies were not covered under AML/CTF law. The MENAFATF report cited
no clear legal obligation requiring financial institutions to include information on transaction
originators. The report also noted that Algeria’s Central Bank did not routinely circulate lists to
financial institutions.

For further information on money laundering and financial crimes, we refer you to the 2011
International Narcotics Control Strategy Report (INCSR), Volume 2, Money Laundering and
Financial Crimes: http://www.state.gov/j/inl/rls/nrcrpt/index.htm.

Regional and International Cooperation: Algeria is a founding member of the Global
Counterterrorism Forum (GCTF). In November, Algeria co-chaired and hosted the first meeting
of the GCTF’s Sahel Working Group; foreign ministry officials from more than 30 countries and
international organizations met and discussed border control, law enforcement, and countering
terrorist financing.

Algeria hosted a partnership conference in September for foreign ministry and defense officials
from Algeria, Mali, Mauritania, and Niger, who were joined by counterterrorism and
development officials from 20 other countries and international organizations to discuss law
enforcement and development issues in the region. The presidents of Mali and Mauritania made
state visits to Algeria in October and December, respectively, to discuss security and economic
issues.

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These efforts were in addition to the combined military command center in Tamanrasset (in
southern Algeria) and the intelligence sharing center in Algiers that housed representatives from
Algeria, Mali, Mauritania, and Niger. Algeria carried out periodic counterterrorism
consultations with the United Kingdom, Russia, Italy, Germany, the Netherlands, and the United
States through standing bilateral contact groups.

Countering Radicalization and Violent Extremism: The Algerian government enlisted
religious scholars and former terrorists to appear on its Radio Quran radio station to appeal
directly to terrorists active in the mountains. Programs featured Islamic scholars from Algeria
and Gulf countries who argued against the doctrines used by AQIM to justify terrorist
operations. Former Algerian terrorists appealed to terrorists to stop fighting and surrender to
Algerian authorities. Other radio programs instructed listeners in various aspects of Islamic law.
Algerian newspapers reported that the radio appeals played a major role in convincing scores of
terrorists to lay down their arms and take advantage of government amnesty. (Under the Charter
for Peace and National Reconciliation, the Algerian government has offered amnesty to terrorists
who surrender and who have not committed major terrorist acts.)

The government had the authority to prescreen and approve sermons before they are delivered
during Friday prayers. In practice, each province and county employed religious officials to
review sermon content. The Ministry of Religious Affairs’ educational commission is
responsible for establishing policies for hiring teachers at Quranic schools and ensuring that all
imams are well-qualified and followed governmental guidelines aimed at stemming violent
extremism. The government also has youth outreach programs through the Muslim Scouts.

BAHRAIN

Overview: Bahrain enhanced its internal capacity and active support of regional and
international counterterrorism issues against the backdrop of a turbulent year: mass protests
began in February calling for political reform and expanded civil rights for members of the Shia
majority. Bahrain was six years into a transformation program that has taken the kingdom's
security services from a colonial force focused on population control to a modern Western-style
organization capable of both preventing and responding to terrorist attacks. The government
worked to enhance border control capability, contribute manpower to international
counterterrorism operations, participate in international technical training, and realign internal
responsibilities. Bahraini-U.S. counterterrorism cooperation was strong, especially on the
investigations of several suspected domestic terrorist incidents, and Bahrain continued to
participate in the Department of State’s Antiterrorism Assistance program.

2011 Terrorist Incidents: On November 12, the Ministry of Interior announced that five
Bahraini men were arrested and accused of forming a terrorist cell that sought to target the King
Fahd (Bahrain-Saudi) Causeway, the Ministry of Interior headquarters, the Embassy of Saudi
Arabia in Manama, and prominent individuals. Four of the suspects were arrested in Qatar and
handed over to Bahraini authorities on November 4; a fifth suspect was later arrested. The
Bahraini Public Prosecutor said that investigators found evidence that the five men had been
trained and financed by Iranian groups and led by two London-based Bahraini extremists.

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On November 23, a suspected improvised explosive device (IED) was found on the side of a
road outside the royal Safriya Palace. Preliminary Ministry of Interior lab results were
inconclusive, and U.S. analysis of the device was still ongoing at year’s end. No claims of
responsibility were made.

On December 4, an IED was detonated under a vehicle in the vicinity of the British Embassy in
Manama. There were no injuries or casualties, and no claims of responsibility were made.
Bahraini, U.S., and UK authorities were investigating the incident at year’s end.

Legislation and Law Enforcement: In November, the Bahrain Independent Commission of
Inquiry released a report that found that a number of government institutions, including the
Bahrain National Security Agency (BNSA), had committed human rights abuses during political
and civil unrest in early 2011. King Hamad amended the BNSA charter to revoke the agency's
arrest and detention authorities. As a result, BNSA was no longer positioned to take aggressive
action against individuals known or suspected of involvement in terrorism. BNSA, as of the end
of the year, was in the process of establishing an agreement with Bahrain's Ministry of Interior to
conduct arrest and detention operations of designated targets.

On February 21, King Hamad suspended the trial of 25 Bahraini citizens who had been charged
under the counterterrorism law; on February 22, he ordered their release. Their arrests and
prosecutions had been criticized by local and international human rights organizations as
political in nature.

On November 13, the public prosecutor announced that five Bahraini citizens were being
charged with the formation of a terrorist group for the purpose of nullification of the provisions
of the constitution and law, in addition to other charges. However, the prosecutor did not make it
clear whether they would be specifically charged under the counterterrorism law. The
investigation was ongoing at year’s end.

Countering Terrorist Finance: Bahrain is a member of the Middle East North Africa Financial
Action Task Force, a Financial Action Task Force-style regional body. In 2011, there were no
public prosecutions of terrorist finance cases. Ministry of Interior officials from the Financial
Intelligence Unit attended a U.S.-sponsored conference in Riyadh in August and the “Gulf-
European Symposium on Combating Terrorist Financing” in Poland in November. There were
no specific timetables or plans adopted by Bahrain related to counterterrorist finance. For further
information on money laundering and financial crimes, we refer you to the 2011 International
Narcotics Control Strategy Report (INCSR), Volume 2, Money Laundering and Financial
Crimes: http://www.state.gov/j/inl/rls/nrcrpt/index.htm.

Regional And International Cooperation: Bahrain worked closely and cooperatively with
international partners throughout the region. Since formally endorsing the Global Initiative to
Combat Nuclear Terrorism in March 2008, Bahrain has proactively worked to expand air, sea,
and causeway border control points.




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Countering Radicalization and Violent Extremism: The Government of Bahrain’s efforts to
counter radicalization and violent extremism were spearheaded by the Ministry of Justice and
Islamic Affairs (MJIA). The MJIA organized regular workshops and seminars for imams from
both the Sunni and Shia sects, and expanded its international scholarship program to include
religious schools in Egypt, Jordan, and the United Arab Emirates. It also undertook an annual
review of schools' Islamic Studies curricula to evaluate interpretations of religious texts.

EGYPT

Overview: Egyptian security services wrestled with a significantly different political and
security environment and experienced some loss of capacity after the January 25, 2011
revolution, creating a potentially more permissive operating environment for terrorist groups. In
addition to reduced numbers and low morale, the security services must now operate within a
new, ill-defined legal framework. Egyptian officials expressed confidence that the new National
Security Sector (NSS), which replaced the Interior Ministry State Security (SSIS), will
adequately perform its national security function in intelligence and preventive security. Egypt’s
Northern Sinai region remained a base for smuggling arms and explosives into Gaza, as well as a
transit point for Palestinian extremists. The smuggling of humans, weapons, cash, and other
contraband through the Sinai into Israel and Gaza created criminal networks with possible ties to
terrorist groups in the region. The smuggling of weapons from Libya through Egypt has
increased since the overthrow of the Qaddafi regime. While it remained opposed to violent
extremism, the Egyptian government focused its post-revolution efforts on protecting official
installations, restoring basic security, and trying to recapture extremists and criminals who
escaped from prison.

2011 Terrorist Incidents: In January, a suicide bomber attacked a Coptic Church in
Alexandria, killing 23 people. In August, gunmen operating out of Sinai launched an attack near
Eilat, killing eight Israelis. While responding to the incident, Israeli soldiers killed six Egyptian
border police. The Sinai gas pipeline to Israel was bombed 10 times, forcing production
shutdowns. A group calling itself Ansar al-Jihad claimed responsibility for the Eilat attack and
two of the pipeline attacks. No one claimed responsibility for the Coptic Church attack.

Legislation and Law Enforcement: In September, the Supreme Council of the Armed Forces
announced that the Emergency Law would continue to be applied until June 2012 and amended
the law to include new violations such as “attacks on freedom of work,” “blocking traffic or
closing roads,” and “intentionally publishing or broadcasting false news and rumors.” The
Emergency Law allows arrest without a warrant and detention of an individual without charge
for as long as 30 days, after which a detainee may demand a court hearing in order to challenge
the legality of a detention order. A detainee may resubmit a motion for a hearing at one-month
intervals thereafter; however, there is no limit to the detention period if a judge continues to
uphold the order or if the detainee fails to exercise the right to a hearing, and there is no
possibility of bail.

Egypt maintained its strengthened airport and port security measures and security for the Suez
Canal. The United States provided technical assistance to Egypt in an effort to ensure that the


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Rafah border crossing with Israel was used only for the peaceful and legal movement of people
and goods.

In April, an Egyptian state security court released 16 members of the Zeitun cell (a group of 25
people accused of forming a terrorist cell to target tourists and Christians) and continued
prosecution of the remaining nine. In December, the court adjourned the trial until March 19,
2012. The Zeitun cell was charged with robbing and murdering a Coptic Christian jeweler to
fund terrorist activities, conducting the February 2009 Khan El Khalili bombing, and having ties
with al-Qa’ida.

Egypt continued to participate in the Department of State’s Antiterrorism Assistance (ATA)
program. ATA training and equipment grants for Egypt were tailored to meet objectives and
needs specific to Egypt amid the country’s evolving political landscape.

Countering Terrorist Finance: Egypt is a member of the Middle East North Africa Financial
Action Task Force, a Financial Action Task Force-style regional body. Egypt’s terrorist finance
regulations were in line with relevant United Nations (UN) Security Council Resolutions. Egypt
regularly informed its own financial institutions of any individuals or entities that are designated
by the UN 1267/1989 and 1988 sanctions committees, and Egypt’s Code of Criminal Procedures
and Penal Code adequately provided for the freezing, seizure, and confiscation of assets related
to terrorism. For further information on money laundering and financial crimes, we refer you to
the 2011 International Narcotics Control Strategy Report (INCSR), Volume 2, Money
Laundering and Financial Crimes: http://www.state.gov/j/inl/rls/nrcrpt/index.htm.

Regional and International Cooperation: Egypt is a founding member of the Global
Counterterrorism Forum and, together with the United States, co-chaired its Rule of Law and
Justice Committee. Egypt participated in the Arab League’s Counterterrorism Committee, and
assisted states in the Middle East, Africa, and South Asia in building counterterrorism capacity.

Countering Radicalization and Violent Extremism: The Ministry of Awqaf (Endowments) is
legally responsible for issuing guidance to imams throughout Egypt, including how to avoid
extremism in sermons. Al-Azhar University cooperated with Cambridge University on a training
program for imams that promoted moderate Islam, interfaith cooperation, and human rights.

IRAQ

Overview: Iraqi security forces made progress combating al-Qa’ida in Iraq (AQI), Sunni
insurgent organizations, and Shia extremist groups. In 2011, overall violence was down from
previous years, despite the persistent threat of car bombs, road-side bombs, and indirect fire from
armed groups and terrorists. The Iraqi government improved its ability to provide internal
security for the country, and Iraqi counterterrorism forces successfully secured multiple large
public religious gatherings and improved their ability to conduct operations without U.S.
support. The government concentrated its counterterrorism efforts against AQI and Sunni-
affiliated terrorist organizations. Security forces in the Iraqi Kurdistan Region were especially
effective in preventing terrorist attacks. Despite this progress, terrorist bombings and other
attacks continued to occur.

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The departure of U.S. military forces from Iraq continued through the last quarter of 2011, with
the last troops departing in mid-December. The drawdown poses opportunities and challenges to
Iraq’s counterterrorism efforts. Iraqi leaders sought to use the U.S. withdrawal to urge extremist
groups to renounce violence and join the political process. The departure of U.S. forces also
affects the scope of Iraq-U.S. counterterrorism cooperation, with programs now being directed
through the embassy and more narrowly focused on intelligence and technical support, as is
consistent with our relations with other countries in the region.

AQI remained capable of large-scale coordinated attacks and conducted numerous high-profile
suicide and car bombings on government and civilian targets, aiming to increase tensions among
Iraq’s diverse ethnic and sectarian elements and undercut public confidence in the government’s
capacity to provide security. AQI operated primarily in regions with majority Sunni Arab
populations, but it also conducted successful attacks in Shia-majority areas. AQI aggressively
sought to recruit members of the Sons of Iraq (SOI) forces and attacked SOI members who
refused to cooperate.

Shia extremist groups conducted multiple attacks, focusing on Iraqi and U.S. government targets,
although attacks against the United States abated beginning in June. Iran continued to provide
lethal support to a variety of Shia extremist organizations, including Kataib Hizballah (KH),
Asaib Ahl al-Haq (AAH), and the Sadrist Promised Day Brigades. These groups operated
primarily in majority-Shia regions, but they also conducted attacks in areas with mixed
populations. The Iraqi government tried to bring these groups into the political process and
urged them to renounce violence.

Jaysh Rijal al-Tariqah al-Naqshabandiyah (JRTN), a Sunni nationalist insurgent group with links
to the former Baath Party, also continued attacks during the year. JRTN largely targeted Iraqi
and U.S. forces in northern Iraq.

Inflows of foreign fighters linked to AQI and Sunni extremist groups decreased. Members of
Shia extremist groups enjoyed relative freedom of movement traveling to and from Iran.

Terrorist tactics evolved during the year. AQI continued to conduct numerous suicide bombings
and was able to mount multiple coordinated attacks on several occasions, while Shia extremist
groups used rockets and mortars to attack Iraqi and U.S. government sites. Terrorists
increasingly used assassinations to target government officials and tribal leaders. On two
occasions, KH and AAH conducted deadly attacks on U.S. sites using improvised rocket-assisted
munitions.

2011 Terrorist Incidents: Terrorist organizations conducted numerous attacks throughout Iraq.
The deadliest involved suicide bombings and targeted security forces, government buildings, and
religious gatherings.

       On January 18, a suicide bomber attacked police recruits in Tikrit, killing at least 60 and
        wounding more than 119.



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       On January 20, three suicide car bombers attacked Shia religious pilgrims in Karbala,
        killing at least 50 and wounding more than 180.
       On January 24, terrorists set off car bombs against Shia religious pilgrims in Karbala and
        Baghdad, killing 30 and wounding more than 100.
       On January 27, terrorists attacked a funeral in a mainly Shia neighborhood of Baghdad,
        killing over 45 and wounding more than 120.
       On March 29, AQI suicide bombers and gunmen assaulted the Provincial Council
        building in Tikrit, taking hostages. The attack left over 56 dead and nearly 100 wounded.
       On May 22, terrorists set off a series of car bombs throughout Baghdad, killing at least 19
        and wounding more than 80.
       On June 21, a suicide bomber attacked the Provincial Governor’s compound in
        Diwaniyah, killing at least 27 and wounding more than 30.
       On July 5, AQI conducted a double bombing against a government building in Taji,
        killing at least 37 and wounding more than 54.
       On August 15, during the Muslim holy month of Ramadan, AQI executed a series of
        coordinated suicide bombings, car bombs, and small-arms attacks throughout Iraq, killing
        at least 70 and wounding more than 180.
       On August 28, a suicide bomber attacked Baghdad’s largest Sunni mosque after evening
        prayers, killing at least 24, including a parliamentarian, and wounding more than 30.
       On October 12, terrorists conducted multiple car and roadside bomb attacks against
        police stations around Baghdad, killing at least 28 and wounding more than 55.
       On October 27, terrorists set off twin bomb blasts in a mainly Shia neighborhood of
        Baghdad, killing at least 38 and wounding more than 78.
       On December 5, during the Shia religious commemoration of Ashura, terrorists
        conducted a series of bomb attacks against pilgrims throughout central Iraq, killing at
        least 30 and wounding nearly 100.
       On December 22, AQI conducted a wave of coordinated suicide and vehicle bombings
        across Baghdad, striking at least 14 neighborhoods, killing at least 63, and wounding
        more than 194.

Legislation and Law Enforcement: The Government of Iraq took several steps to improve
border security. Iraq continued to install, repair, and improve inspection equipment at ports of
entry. The government also expanded the number of ports of entry with the Personal
Identification Secure Comparison and Evaluation System (PISCES) biometric data capture, but
continued to face challenges linking border security systems. Iraq, with U.S. support, took initial
steps to implement the International Maritime Organization’s International Ship and Port Facility
Security code to improve security for seaports and offshore oil terminals. Iraq also remained an
important partner nation in the Department of State’s Antiterrorism Assistance program, which
began to shift its focus from training Iraqi Federal Police and Kurdish Regional Government
officers in protection of national leadership skills to a broader set of counterterrorism goals.

Iraq’s major counterterrorism organizations made progress in investigating cases and arresting
terrorists but continued to suffer from a lack of interagency coordination and inadequate
cooperation between investigators, prosecutors, and the judiciary. The Major Crimes Task
Force, which was composed of U.S. criminal law enforcement agencies, helped train Iraqi


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government criminal justice and counterterrorism entities to improve their ability to respond to
terrorism and violent criminal cases.

Iraq continued to face significant challenges moving criminal cases from arrest to trial. The
government carried out few investigations of alleged sectarian-based crimes. While Iraqi
security forces made numerous high-profile public arrests of suspected terrorists during the year,
arrests following a murder or other crimes remained rare. Iraqi law enforcement officials, with
U.S. training support, improved their investigative skills such as forensic evidence collection.

On October 26, an Iraqi court convicted a former Iraqi army sergeant and sentenced him to life
for the 2007 murder of two U.S. soldiers. Despite political pressure, the investigative judge
conducted a thorough investigation and took ballistics evidence and the testimony of U.S.
witnesses into account.

Political influence over the judiciary remained a challenge. Judges investigating and
adjudicating terrorism cases faced threats to their personal safety and that of their families.
Some terrorism cases were dismissed due to actual or implied threats, and it was reported that
some judges made politically motivated decisions.

Countering Terrorist Finance: Iraq’s Anti-Money Laundering/Counterterrorist Finance
(AML/CTF) legislation is Coalition Provisional Order Number 93. There has never been a
prosecution under this statute. Iraq continued to track and identify overseas assets belonging to
members of the former regime and linked to terrorist financing. As of December, Iraq had seized
and recovered over U.S. $200 million of these funds since 2003. The Iraqi government
continued to improve its ability to track and identify funds stolen and transferred outside Iraq.

Although money exchangers and transmitters were required to be licensed by the Central Bank
of Iraq (CBI), the level of supervision and enforcement was minimal. Money exchangers and
transmitters were not required to report suspicious transactions to the CBI. The CBI provided
inadequate AML/CTF training to regulators and operators of money exchangers and
transmitters. The Iraqi Money Laundering Reporting Office did not have the capacity to oversee
and train banks and money exchangers and transmitters on AML/CTF issues. In 2011, Iraq
implemented a non-governmental organization (NGO) statute that the legislature passed in
2010. The law provides for the auditing of NGOs and specifies financial reporting
requirements. However, the law only requires NGOs to submit an annual “detailed description
of the sources of funds” and does not specifically provide for oversight of NGO financing to
detect money laundering or terrorist finance.

For further information on money laundering and financial crimes, we refer you to the 2011
International Narcotics Control Strategy Report (INCSR), Volume 2, Money Laundering and
Financial Crimes: http://www.state.gov/j/inl/rls/nrcrpt/index.htm.

Regional and International Cooperation: Iraq, Turkey, and the United States continued a
trilateral security dialogue as part of ongoing efforts to combat the Kurdistan Workers’ Party
(PKK) in the region. Iraqi leaders, including those of the Iraqi Kurdistan Region, held multiple
meetings with Turkish counterparts to discuss counter-PKK cooperation.

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Countering Radicalization and Violent Extremism: In public statements, Iraqi leaders
routinely denounced terrorism. The Iraqi government took steps to bring certain Shia extremist
groups into the political process. Within the Iraqi correctional system, a few individual prison
wardens successfully implemented localized de-radicalization and reintegration programs for
detainees. However, the government did not have a centralized terrorist rehabilitation program.

ISRAEL, WEST BANK, AND GAZA

Overview: Israel was a resolute counterterrorism partner in 2011. Israel faced terrorist threats
from Hamas, the Popular Resistance Committees, and Palestinian Islamic Jihad (PIJ),
particularly from Gaza but also from the West Bank, and from Hizballah in Lebanon. Gaza-
based Palestinian terrorist organizations continued rocket and mortar attacks into Israeli territory,
and skirmished along the security fence surrounding Gaza. The Government of Israel responded
to these terrorist threats with operations directed at terrorist leaders, infrastructure, and activities
such as rocket launching. Arms smuggling increased from Iran through Egypt into Gaza to
Palestinian terrorist organizations. Israeli officials were concerned about the smuggling of
weapons from Libya into Gaza. Israeli law enforcement agencies and courts arrested and
sentenced a number of terrorist suspects. An August 18 series of shooting and suicide attacks on
cars and buses in southern Israel by terrorists who entered Israel from the Sinai killed eight,
injured approximately 40, and were the most significant acts of terrorism since 2008.

Israeli government officials continued to assert that Operation Cast Lead in Gaza in December
2008-January 2009 helped achieve a level of deterrence, as the number of rocket and mortar
launches decreased in comparison with years prior. However, the number of rocket and mortar
launches in 2011 increased significantly from the number of launches in both 2009 and
2010. The rocket attacks demonstrated technological advancements, allowing groups to
indigenously manufacture and stockpile rockets at a low cost. In addition, Iran increased the
provision of medium-range rockets and unsuccessfully tried to smuggle an anti-ship cruise
missile into Gaza. Israeli experts maintained that Hamas successfully smuggled long-range
rockets from the Sinai Peninsula through tunnels into Gaza and subsequently began producing
rockets in Gaza capable of striking Tel Aviv suburbs. The Government of Israel deployed the
Iron Dome missile defense system in Israel’s south, and it successfully intercepted some
projectiles launched from Gaza.

Northern Border: Israeli security officials remained concerned about the terrorist threat posed to
Israel from Hizballah and its Iranian patron, arguing that Iran, primarily through the efforts of the
Islamic Revolutionary Guard Corps-Qods Force (IRGC-QF), continued to transfer arms to
Hizballah in Lebanon. Also, in light of the unrest in Syria, Israeli officials were concerned about
proliferation of conventional and non-conventional weapons from Syria to terrorist
organizations. Israeli politicians and security officials pointed to Hizballah's efforts to rebuild
and re-arm following the 2006 Lebanon War as evidence that Hizballah remained a threat to
Israel. Israeli government officials indicated Hizballah possessed as many as 45,000 rockets and
missiles, some of which were capable of striking Israeli population centers, including Tel Aviv.
On November 29, three rockets were fired from Lebanon into northern Israel, causing moderate
damage but no injuries.

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West Bank: The Israel Defense Forces (IDF) and Israel Securities Authority (ISA) continued to
conduct operations in the West Bank, in part to maintain pressure on Palestinian terrorist
organizations and their supporters. Overall, Israeli security services continued the trend of
relaxing movement and access measures in the West Bank.

2011 Terrorist Incidents: Israel faced a variety of terrorist attacks and threats in 2011,
including shootings, stabbings, a suicide bombing, rocket and mortar fire from Gaza, and
skirmishes along the security fence surrounding Gaza. Rocket and mortar fire emanating from
Gaza was the most prevalent form of attack by Palestinian terrorist organizations and continued
throughout 2011. The two most intense periods of fire were from April 8-11, when Palestinian
groups launched approximately 140 rockets and mortars at Israel, and from August 18-25, when
groups fired approximately 400 rockets and mortars, killing one and injuring 27. The
Government of Israel held Hamas, as the dominant organization in effective control of Gaza,
responsible for all rocket and mortar attacks emanating from Gaza, although the majority of such
attacks were conducted by PIJ, the Popular Resistance Committees, and other groups inside
Gaza. Following such attacks, the Israeli government forces targeted sites where terrorists were
launching indirect-fire attacks against Israeli civilians and security forces. Terrorist
organizations continued to target Israel with rocket and mortar fire from various locales
throughout Gaza. From January 1, 2011 to November 15, 2011, 716 projectiles fired from Gaza
landed in Israel, according to the Israeli government.

Terrorist incidents included:

       On April 7, terrorists fired a guided anti-tank weapon from Gaza at a school bus in
        southern Israel, killing a 16-year-old boy and wounding the driver.
       On August 29, an Israeli Arab carjacked a taxi in Tel Aviv, rammed it into a police
        roadblock protecting a crowded night club, and subsequently stabbed police and
        bystanders, injuring eight.
       On October 3, a mosque was set on fire in Tuba-Zangariya and defaced with Hebrew
        graffiti.
       On October 29, a rocket fired from Gaza struck the city of Ashqelon, killing one.
       In addition to rocket and mortar attacks, several terrorist-related incidents took place near
        the security fence surrounding Gaza. These incidents included attempts to place bombs
        and improvised explosive devices along the fence or infiltrate Israeli territory, exchanges
        of fire, and rocket-propelled grenade attacks.

Legislation and Law Enforcement: In February, the Knesset passed a bill that withholds the
salary and pensions of any Knesset member suspected or convicted of committing a terrorist
attack. In March, the Knesset passed Amendment 40 to the Budget Principles Law, which
mandates the reduction or denial of state funding to an organization that practices incitement to
terrorism, or supports armed struggle or terrorism against Israel. In August, the Knesset passed
Amendment 40 to the Prison Ordinance of 2011, which empowers courts to suspend attorney
access to a terrorist suspect for up to 12 months in cases where suspicion exists that the meeting
between the attorney and suspect might be used to coordinate a terrorist attack. The former law


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authorized suspension of attorney access to a detained suspect for several periods of 21 days up
to a maximum total period of three months.

On the law enforcement front, the ISA and Israel National Police (INP) continued to cooperate
with U.S. law enforcement agencies on cases involving U.S. citizens killed in terrorist attacks, as
well as other counterterrorism initiatives of mutual interest.

The Israel Airports Authority implemented a biometric security system for outbound passengers
at Ben Gurion International Airport.

Countering Terrorist Finance: Israel had active observer status in the Council of Europe’s
Select Committee of Experts on the Evaluation of Anti-Money-laundering Measures, a Financial
Action Task Force-style regional body. The Israeli Financial Intelligence Unit, known as the
Money-Laundering Prohibition Authority, is a member of the Egmont Group. Israel’s
counterterrorist finance regime continued to improve, and the well-regulated Israeli banking
industry worked to address suspected terrorist activity. Financing of Hamas through charitable
organizations remained a concern for Israeli authorities, as did funding Hizballah through
charities and criminal organizations.

For further information on money laundering and financial crimes, we refer you to the 2011
International Narcotics Control Strategy Report (INCSR), Volume 2, Money Laundering and
Financial Crimes: http://www.state.gov/j/inl/rls/nrcrpt/index.htm.

Regional and International Security Cooperation: In February, Israel signed a two-year
agreement with the Organization of American States’ Inter-American Committee Against
Terrorism (CICTE) to cooperate on counter-radicalization, counterterrorist financing, and
aviation security. In implementation of the agreement, Israel held an aviation security seminar in
September for CICTE in the Bahamas. In March, Israel participated in the UN Counter-
Terrorism Implementation Task Force conference in Ethiopia. Through the UN Counter-
Terrorism Executive Directorate, Israel worked with Kenya and Uganda promoting such issues
as border security, countering radicalization, and the “safe cities“ concept (a network of cameras
sending live footage to a 24-hour monitoring center). Israel also explored areas of
counterterrorism cooperation with the Central Asian republics and the Economic Community of
West African States.

Israel joined North Atlantic Treaty Organization’s (NATO) Partnership Action Plan against
Terrorism, and was active in the NATO crisis response, consequence management, and civil
emergency planning working groups. Israel participated in the European Union (EU) Security
Research Initiative to promote technological developments for counterterrorism purposes. Israel
also engaged with the EU on transportation and aviation security efforts, including container
security. Israelis participated in the Organization for Security and Cooperation in Europe Action
against Terrorism Unit, the Global Initiative to Combat Nuclear Terrorism, the Megaports
Initiative, and was an observer in the Gaza Counter Arms Smuggling Initiative.

Israel conducted strategic dialogues, including counterterrorism discussions, with Germany,
Canada, Australia, France, Italy, India, Russia, and the United States. Bilaterally, Israel

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participated in the annual U.S.-Israel Joint Counterterrorism Group. Israel conducted
counterterrorism workshops in Kenya, Uganda, and Ethiopia tailored to those countries’ needs
and capabilities.

Countering Radicalization and Violent Extremism: The Israeli government condemned an
October 3 attack on a mosque in Tuba-Zangariya, which was set on fire and defaced with
Hebrew graffiti. On October 4, President Peres visited the mosque and stressed the importance
of religious tolerance.

The Palestinian Territories: West Bank and Gaza

Overview: The Palestinian Authority (PA) continued its counterterrorism efforts. Hamas,
Palestinian Islamic Jihad (PIJ), the Popular Front for the Liberation of Palestine (PFLP), and the
al-Aqsa Martyrs Brigade remained present in the West Bank, although the improved capacity of
PA Security Forces (PASF) constrained those organizations' ability to carry out attacks inside or
from the West Bank.

Palestinian militants killed Israelis in several attacks inside the West Bank. Militants also
launched indiscriminate rocket and mortar attacks against Israel from the Hamas-controlled
Gaza. Attacks by extremist Israeli settlers against Palestinian residents, property, and places of
worship in the West Bank continued.

The primary PASF operating in the West Bank were the Palestinian Civil Police, the National
Security Force, the Preventive Security Organization, the General Intelligence Service, the
Presidential Guard, and the Civil Defense. Based on the payroll numbers available, PASF forces
numbered approximately 28,000 in total. Much of the PASF were under the interior minister’s
operational control and followed the prime minister’s guidance, while others reported directly to
the PA president. Israeli authorities, among others, noted continuing improvements in the
capacity and performance of PASF as a leading contributor to the improved security
environment in the West Bank. According to IDF statistics, there was a 96 percent reduction in
the number of terrorist incidents in the West Bank over the past five years.

PA President Mahmoud Abbas and Prime Minister Salam Fayyad consistently reiterated their
commitment to nonviolence, recognition of the State of Israel, and acceptance of previous
agreements and obligations between the parties. They continued to support a security program
involving disarmament of fugitive militants, arresting members of terrorist organizations, and
gradually dismantling armed groups in the West Bank.

In September, during rallies throughout the West Bank in support of the Palestinian bid for
membership in the United Nations (UN), PASF were on high alert for terrorists or other spoilers
who could have upset the peaceful nature of the protests. Despite a turnout numbering in the
tens of thousands, events remained largely peaceful, although some clashes occurred between
Palestinians and Israeli settlers in the West Bank.

In December, well-publicized Israeli settler attacks on IDF personnel and an IDF military base in
the West Bank sparked a public debate in Israel on the phenomena of settler violence; political

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and security officials pledged to implement several steps to curb and punish these violent attacks.
Israeli Defense Minister Ehud Barak labeled settler acts as having “the characteristic of
homegrown terror;” several months earlier, IDF Head of Central Command Avi Mizrahi labeled
attacks against Palestinians and their property in the West Bank as “terror” and ordered the
administrative deportation of a dozen Israeli settlers from the West Bank settlement of Yitzhar.
In 2011, a total of ten Palestinian mosques in the West Bank and Jerusalem were vandalized or
set on fire in attacks that Israeli authorities believed were perpetrated by settlers, up from six
such incidents in 2010 and one in 2009.

Hamas continued to consolidate its control over Gaza, eliminating or marginalizing potential
rivals. Hamas and other armed groups in Gaza continued to smuggle weapons, cash, and other
contraband into Gaza through an extensive network of tunnels from Egypt. Gaza remained a
base of operations for several terrorist organizations besides Hamas, such as PIJ; Salafist splinter
groups, such as Jund Ansar Allah and the Army of Islam; and clan-based criminal groups that
engaged in or facilitated terrorist attacks. In October, Israel and Hamas announced the
conclusion of a deal which saw the release of 1,027 Palestinian prisoners from Israeli jails in
exchange for the release of Israeli soldier Gilad Shalit. Some Palestinians perceived the terms of
the release as a victory for Hamas and a defeat for the strategy of negotiations and non-violence.

2011 Terrorist Incidents: There were multiple acts of violence conducted by different sub-state
actors in the West Bank, both Israeli and Palestinian. Palestinian militants launched
indiscriminate rocket and mortar attacks at Israel from the Hamas-controlled Gaza. Attacks
included:
     On March 11, two Palestinian men affiliated with the PFLP stabbed to death five
        members of the Fogel family, including three young children, in the West Bank
        settlement of Itamar, near Nablus.
     On March 23, a British national was killed and 50 others were wounded when a bomb
        exploded at a telephone booth near the Jerusalem Central Bus Station. In September,
        Israeli officials announced the arrest of several Hamas militants suspected to be involved
        in the bombing.
     On April 24, a member of the PASF opened fire on Israeli worshippers visiting Joseph’s
        Tomb in Nablus, killing one and injuring six others. This attack was characterized by the
        Israeli government as a terrorist incident, while the PA characterized it as a violation of
        the PASF rules of engagement.
     On October 29, a rocket fired from Gaza struck the city of Ashqelon, killing one.
     On November 10, at the Mamilla Cemetery in Jerusalem, vandals sprayed “price tag”
        graffiti in Hebrew on four Muslim graves.
     On December 14, unknown vandals burned a mosque in Jerusalem and sprayed anti-Arab
        graffiti (e.g., “A Good Arab is a Dead Arab,” “Mohammed is Dead”).
     On December 15, Israeli settlers attacked a mosque in the village of Burqa in the
        Ramallah governorate, setting it afire and defacing it with “price tag” graffiti.

Legislation and Law Enforcement: PASF detained terrorists in the West Bank, and PA
authorities tried some detainees in military courts. Despite factional reconciliation talks between
Hamas and Fatah, PASF personnel continued to detain Hamas elements in operations often
protested by Hamas officials.

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       In January, PASF arrested 15 Hamas operatives in overnight raids in the West Bank
        districts of Nablus and Jenin; two senior Hamas officials were separately detained by the
        PA in Haloul and in Nablus. Also in January, PA security forces conducted sweeps
        throughout the West Bank, detaining dozens of members of the Hizb al-Tahrir Salafist
        Islamist group.
       In February, the PA arrested 11 Hamas operatives in overnight operations in Palestinian
        villages near the West Bank city of Hebron.
       In March, PA security forces arrested seven Hamas operatives in an overnight sweep in
        the West Bank cities of Jenin, Nablus, and Hebron.
       In May and June, the PA arrested more than 80 Hamas operatives across the West Bank
        and tried seven on security-related offenses.
       In July, the PASF arrested 22 Hamas members near Nablus.
       In August, PA security personnel detained the son of a prominent Hamas activist on
        suspicion of being involved in armed activities; several dozen other Hamas operatives
        were detained by the PA in the Nablus-area villages of Aqraba and Awarta, and in the
        West Bank cities of Tulkarem, Ramallah, and Hebron.
       In September, PASF detained 20 Hamas operatives in the West Bank cities of Salfit,
        Hebron, and Nablus over a 48-hour period, and issued court summons to several hundred
        others.
       In December, PASF arrested 26 members of Hamas and five members of PIJ. Hamas
        accused the PASF of an “escalating arrest campaign of its supporters” and organized a
        youth rally in Hebron to protest the continued arrests.

No progress was made in apprehending, prosecuting, or bringing to justice the perpetrators of the
October 2003 attack on a U.S. embassy convoy in Gaza that killed three U.S. government
contractors and critically injured a fourth.

The primary limitation on PA counterterrorism efforts in Gaza remained Hamas’ continued
control of the area and the resulting inability of PASF to operate there. Limitations on PA
counterterrorism efforts in the West Bank included restrictions on the movement and activities of
PASF in and through areas of the West Bank for which the Israeli government retained
responsibility for security under the terms of Oslo-era agreements. The limited capacity of the
PA’s civilian criminal justice system also hampered PA counterterrorism efforts.

The PA continued to lack modern forensic capability. The Canadian International Development
Agency, through the UN Office on Drugs and Crime, announced a multi-year project to initiate
forensic criminal capacity within Palestinian law enforcement.

Countering Terrorist Finance: In 2011, the PA increased its capacity to detect, analyze, and
interdict suspicious financial activity. The Palestinian equivalent of a Financial Intelligence
Unit, known as the Financial Follow-up Unit, continued to build its capacity. The Palestinian
Monetary Authority (PMA) maintained a staff of roughly 80 in Gaza to conduct on-site bank
examinations, including audits of bank compliance with the PA’s 2007 Anti-Money Laundering
decree. The PMA is an observer to the Middle East North Africa Financial Action Task Force, a
Financial Action Task Force-style regional body, and was working to become a member of both

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that organization and the Egmont Group. It was also drafting criminal terrorist financing
legislation, although a non-functioning legislative branch made it difficult to pass counterterrorist
financing laws. The PA Interior and Awqaf and Religious Affairs Ministries monitored the
charitable sector for signs of abuse by terrorist organizations.

For further information on money laundering and financial crimes, we refer you to the 2011
International Narcotics Control Strategy Report (INCSR), Volume 2, Money Laundering and
Financial Crimes: http://www.state.gov/j/inl/rls/nrcrpt/index.htm.

Countering Radicalization and Violent Extremism: The PA continued its efforts to monitor
and control the content of Friday sermons delivered in mosques in the West Bank to ensure that
they did not endorse incitement to violence.

JORDAN

Overview: In 2011, Jordan remained a steadfast counterterrorism partner. In addition to its
diplomatic and political assistance to the Israel-Palestinian peace process, Jordan assisted the
Palestinian Authority’s continued development of state institutions through its law enforcement
training programs at the Jordan International Police Training Center (JIPTC). JIPTC-trained
forces continued to earn the respect of regional actors for their success in maintaining security in
the West Bank.

The Jordanian government further developed its counterterrorism capabilities and improved its
capacity. At the same time, the political reform process in Jordan has initiated an open
discussion of the country’s security institutions, and Jordan wrestled with the challenge of
making its security organizations more transparent while maintaining their effectiveness.

Legislation and Law Enforcement: Jordan remained committed to securing its borders and to
denying terrorists safe haven within the country for attacks against its neighbors. Jordan
completed the first phase of the Jordan Border Security Program (JBSP), a sophisticated package
of sensors and barriers to help improve situational awareness and prevent illicit infiltration into
Jordan or unauthorized transit out of the country. The JBSP was placed along the country’s
northern border with Syria, an area that has historically proven highly vulnerable to terrorist and
criminal infiltration.

Jordan remained a critical partner nation in the Department of State’s Antiterrorism Assistance
(ATA) program, which also supported an expansion of the capacity of the JIPTC to provide
tactical skills training courses for up to 40 ATA partner nations.

Although they faced steady domestic demonstrations throughout the country, Jordanian security
services remained alert to potential terrorist threats and quickly countered identified threats. As
a result of their vigilance, several planned attacks were disrupted prior to execution.

The State Security Court (SSC) is Jordan’s primary judicial body for addressing national security
threats. The SSC was the topic of intense public discussion and parliamentary debate because
SSC proceedings were closed to the public, and some civil society organizations consider their

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procedures opaque. Although there was discussion of restricting the court’s purview, which
included certain financial and narcotics offenses, the court has retained its jurisdiction over
terrorism issues. Several significant cases were adjudicated during the course of the year; for
example:

       In July, Isam Mohamed Taher al Barqawi (AKA Abu Mohamed Al Maqdisi), a leader,
        writer, and ideologue of considerable stature within the global terrorist movement, was
        convicted of providing material support to a terrorist organization, in this case the
        Taliban. Al Maqdisi’s conviction was upheld on appeal, but those of two alleged
        accomplices were overturned.
       In March, the Court of Cassation upheld the SSC’s October 2010 conviction of ten men
        on charges of plotting to attack Jordanian and U.S. targets. One plotter was sentenced to
        life imprisonment and the other nine received 15-year prison terms.

The Arab Awakening encouraged Sunni extremist elements in Jordan to demonstrate openly and
publicly express their political positions; their main demand has been the release of imprisoned
members of the movement, and the Jordanian government did grant various forms of amnesties
or pardons to a number of movement members. In April, Sunni extremist marchers clashed with
police in the city of Zarqa, resulting in dozens of injuries, primarily to the unarmed police
officers monitoring the initial protest march. This was followed by a crackdown that resulted in
the arrests of over 170 people who were accused of either direct participation in the violence or
of having ordered the confrontation with the authorities. At year’s end, charges had been
reduced or dismissed against many of those initially detained, but several dozen participants
were still detained pending charges in the State Security Court.

Countering Terrorist Finance: Jordan is a member of Middle East North Africa Financial
Action Task Force, a Financial Action Task Force-style regional body, and actively volunteers to
host training events and activities. For further information on money laundering and financial
crimes, we refer you to the 2011 International Narcotics Control Strategy Report (INCSR),
Volume 2, Money Laundering and Financial Crimes:
http://www.state.gov/j/inl/rls/nrcrpt/index.htm.

Regional and International Cooperation: Jordan is a founding member of the Global
Counterterrorism Forum.

Countering Violent Extremism: Jordan has sought to confront and weaken the violent
ideology that underpins al-Qa'ida and other radical organizations. Jordanian prisons have a
religiously-based de-radicalization program that seeks to engage extremist inmates and bring
them back into the peaceful mainstream of their faith. Based upon the individual needs of the
inmate, this program can include basic literacy classes, employment counseling, and theological
instruction.

The Royal Aal al-Bayt Institute for Islamic Thought, under the patronage of Prince Ghazi bin-
Mohammad, is Jordan’s most important center promoting religious tolerance and coexistence.
This institute continued its sponsorship of a series of ecumenical events promoting interfaith
dialogue, which are known collectively as the “A Common Word” series (after the letter written

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by Prince Ghazi to Pope Benedict XVI and signed by hundreds of moderate Islamic scholars and
imams).

KUWAIT

Overview: Kuwait lacked legal provisions that dealt specifically with terrorism and terrorist
financing, although the government sought to counter terrorism and violent extremism, notably
through other legal statutes and official statements.

On July 16, Kata’ib Hizballah (KH) in Iraq threatened to attack workers building Mubarak al-
Kabir port on Bubiyan Island. In subsequent public threats, the KH also named the Kuwaiti
National Assembly building in Kuwait City as a possible target for rocket attacks.

Legislation and Law Enforcement: As a result of the Government of Kuwait’s lack of a clear
legal framework for prosecuting terrorism-related crimes, it often resorted to other legal statutes
to try suspected terrorists, which hampered enforcement efforts.

In April, the government introduced biometric fingerprinting at Kuwait International Airport,
and announced plans to extend the system to land and sea entry points. On July 18, the Ministry
of Interior announced plans to install retina-scanning capabilities at ports of entry and to create a
system to link border crossing information to visa submissions at embassies abroad.

On April 27, Kuwait's criminal court reaffirmed the 2005 guilty verdict against Ahmad Abdullah
Mohammad al-Otaibi for his participation in the murder of two security officers during a January
2005 clash between the Peninsula Lions violent extremist group and security forces.

On July 18, United Nations Security Council Resolution (UNSCR) 1267 designee Mubarak al-
Bathali was sentenced to three years in prison for threatening to kill a Shia member of
parliament, incitement, and other charges. On September 5, an appeals court upheld that
conviction but reduced the sentence to six months. While serving that sentence, al-Bathali was
convicted on September 25 over remarks made on Twitter against Shia Muslims and was
sentenced to three months hard labor. On November 28, the second sentence was upheld but the
sentence reduced to one week, to be served concurrently with the July 18 sentence.

On November 27, local media reported that security services had arrested three Kuwaiti military
officials on suspicion of links with a terrorist cell plotting to attack embassies in Bahrain and
Qatar, as well as the King Fahd Causeway connecting Bahrain and Saudi Arabia.

Countering Terrorist Finance: Kuwait is a member of the Middle East North Africa Financial
Action Task Force, a Financial Action Task Force (FATF)-style regional body, and hosted a
plenary meeting of that body in 2011. Kuwait’s 2011 mutual evaluation report found Kuwait
deficient in 37 of FATF’s Forty plus Nine Recommendations. Kuwait lacked legislation that
criminalized terrorist financing. While Kuwait has an anti-money laundering law and has had
some successful money laundering prosecutions, numerous attempts to pass a comprehensive
anti-money laundering/counterterrorist finance law have failed in Parliament. The entity that


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Kuwait calls its Financial Intelligence Unit is not an autonomous national entity responsible for
receipt, analysis, and dissemination of reports.

The Ministry of Social Affairs and Labor (MoSAL) and Ministry of Foreign Affairs (MFA)
continued monitoring and supervising charities, including enforcing the ban on cash donations,
except during Ramadan, implementing an enhanced receipt system for Ramadan cash donations,
and coordinating closely with the Ministry of Islamic Affairs to monitor and prosecute fraudulent
charities. During its 2011 Ramadan audit, MoSAL reported no violations, and despite more
stringent collection regulations, reported an increase in donations. MFA and MoSAL also
worked closely with recipient governments, conducting foreign site visits and audits of selected
foreign projects funded by Kuwaiti charities. MoSAL suspended registering additional family-
based charities (mabara) as it prepared additional regulations for those entities.

For further information on money laundering and financial crimes, we refer you to the 2011
International Narcotics Control Strategy Report (INCSR), Volume 2, Money Laundering and
Financial Crimes: http://www.state.gov/j/inl/rls/nrcrpt/index.htm.

Regional and International Cooperation: As in previous years, the Kuwaiti Armed Forces,
National Guard, and the Ministry of Interior conducted a number of exercises aimed at
responding to terrorist attacks, including joint exercises with regional and international partners.

Countering Radicalization and Violent Extremism: Kuwaiti officials used the occasion of
Usama bin Ladin’s death as an opportunity to reiterate Kuwait’s commitment to fighting
terrorism. Prominent politicians said the event was a chance for Muslims to retake the message
of Islam from terrorist organizations, who had distorted religious teachings, and instead promote
moderation and tolerance. Responding to limited calls to eulogize the terrorist leader, the
Ministry of Islamic Affairs instructed mosques that no such funerary events should be held.

LEBANON

Overview: The Lebanese government – despite the continuous political crisis, the formation of a
new government dominated by the Syria/Hizballah-aligned March 8 coalition, and the looming
threat of a spillover of sectarian violence from Syria – continued to build its counterterrorism
capacity and to cooperate with U.S. counterterrorism efforts. Lebanese authorities increased
efforts to disrupt suspected Sunni terrorist cells before they could act, arrested numerous
suspected al-Qa’ida (AQ)-affiliated militants and Palestinian violent extremists, and uncovered
several weapons caches. The Lebanese Armed Forces (LAF), in particular, were credited with
capturing wanted terrorist fugitives and containing sectarian violence.

On January 12, Hizballah and its March 8 allies withdrew their ministers from then-Prime
Minister Saad Hariri’s national unity cabinet and forced its collapse over issues related to the
Special Tribunal for Lebanon (STL), which is investigating the February 14, 2005 assassination
of former Prime Minister Rafik Hariri. Hizballah continued to object to the STL, which indicted
four Hizballah members in July for collaborating in the killing of Hariri and 22 other
individuals. In August, Lebanese authorities notified the STL that they were unable to serve the
accused with the indictments or personally arrest them. On November 30, Prime Minister Mikati

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announced that the government had paid $32 million to the STL, thereby meeting its funding
obligations towards the Tribunal through 2011.

Hizballah, with deep roots among Lebanon’s Shia community, remained the most prominent and
influential terrorist group in Lebanon. Several other terrorist organizations remained active in
Lebanon. Hamas, the Popular Front for the Liberation of Palestine, the Popular Front for the
Liberation of Palestine General Command (PFLP-GC), Asbat al-Ansar, Fatah al-Islam, Fatah al-
Intifada, Jund al-Sham, the Ziyad al-Jarrah Battalions, Palestinian Islamic Jihad, and several
other splinter groups all operated within Lebanon's borders, though primarily out of Lebanon’s
12 Palestinian refugee camps. The LAF did not have a daily presence in the camps, but it
occasionally conducted operations in the camps to combat terrorist threats. In November, United
Nations Interim Forces in Lebanon (UNIFIL) reported that there has been no progress in efforts
to dismantle military bases maintained by the PFLP-GC and Fatah al-Intifada; all but one of
these bases are located along the Lebanese-Syrian border.

Over the course of the year, reports surfaced of weapons smuggling into Syria from Lebanon,
and from Syria and Iran to Hizballah and other militant groups in Lebanon.

2011 Terrorist Incidents: Unlike recent years, there were no high-profile killings by terrorist
groups in 2011. Hizballah and other extremist groups maintained weapons outside the control of
the Lebanese government, and there were reports of armed clashes between its members and
those of other groups. Incidents included:

       On March 23, seven Estonian bicyclists were kidnapped by an extremist group in the
        Bekaa valley and later released on July 14.
       On May 27, July 26, and December 9, roadside bombs targeted European contingents of
        UNIFIL in southern Lebanon, the last of which was blamed on Hizballah.
       In August, armed militants failed in an assassination attempt to target the military
        commander of Fatah in Lebanon.
       On November 29, unknown armed extremists launched two rockets from southern
        Lebanon into northern Israel. There were no reports of casualties.
       On December 7, unknown assailants attempted to assassinate Fatah military leader Sobhi
        Arab in Ain el-Hilweh refugee camp.
       On December 9 and 11, rockets were launched from southern Lebanon aiming for Israel;
        in both cases rockets landed in Lebanon, injuring civilians.
       On December 14, unknown assailants assassinated Ashraf Al Kadri, a bodyguard to a
        Palestinian group leader in Ain el-Hilweh Palestinian camp.

Legislation and Law Enforcement: There were no new laws passed in 2011 exclusively
pertaining to terrorism. Lebanon has a Megaports and Container Security Initiative program, and
participated in six Export Control and Related Border Security programs. Lebanon also
continued to participate in the Department of State’s Antiterrorism Assistance program.
Lebanon did not have biometric systems in place at points of entry into the country. Lebanese
passports were machine readable, and the government was considering the adoption of biometric
passports. The Directorate of General Security, under the Ministry of Interior, controls
immigration and passports and uses an electronic database to collect biographic data of travelers

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at all points of entry. The government maintained bilateral agreements for information sharing
with Syria. Corruption was a factor influencing all aspects of society, including law
enforcement.

In August, nine members of Fatah al-Islam, who had never been officially charged, were
released from Roumieh prison after being captured during the 2007 clashes with the LAF at Nahr
el-Bared.

In September, Internal Security Forces (ISF) conducted an operation against the kidnappers of
the Estonian cyclists, killing two and arresting four suspects of the kidnapping. In November,
Syrian caught the alleged kingpin behind the kidnapping who was trying to flee Lebanon and
handed him to Lebanese security officials.

Lebanese authorities maintained that the amnesty for Lebanese individuals involved in acts of
violence during the 1975-90 civil wars prevented the government from prosecuting terrorist
cases of concern to the United States.

Countering Terrorist Finance: Lebanon is a member of the Middle East and North Africa
Financial Action Task Force, a Financial Action Task Force-style regional body. Lebanon’s
Financial Intelligence Unit is the Special Investigation Commission (SIC), an independent legal
entity empowered to investigate suspicious financial transactions, lift banking secrecy, and
freeze assets. The SIC is a member of the Egmont Group. Between December 2010 and
October 2011, the SIC investigated 151 allegations of money laundering and terrorist finance
activities and sent seven allegations to the Office of the Prosecutor General for prosecution. The
ISF received 22 INTERPOL and 49 SIC requests to investigate money laundering and terrorist
financing activities but made no subsequent arrests or prosecutions. Although the number of
filed suspicious transaction reports and subsequent money laundering investigations coordinated
by the SIC steadily increased over the years, prosecutions and convictions were still lacking.
The SIC referred requests for designation or asset freezes regarding Hizballah and affiliated
groups to the Ministry of Foreign Affairs, but the Lebanese government did not require banks to
freeze these assets, because it does not consider Hizballah a terrorist organization.

The SIC issued a number of circulars amending the regulations on the control of financial and
banking operations for countering money laundering and terrorist finance; all deal with exchange
institutions and/or transactions with exchange institutions, or the cross-border transportation of
cash, metal coins, and bullion. Exchange houses were allegedly used to facilitate money
laundering, including by Hizballah. Financial institutions are required to keep records of
transactions for five years.

In principle, the Ministry of Interior is responsible for monitoring the finances of all registered
Non-Governmental Organizations (NGOs), but it was inconsistent in the application of its
controls, particularly in cases involving politically sensitive groups such as Hizballah. The SIC
and the Banking Control Commission (BCC), an independent authority that has oversight over
banks and financial institutions, maintained an additional and generally more effective layer of
scrutiny for those NGOs that utilize the Lebanese banking system. Although they do not
regulate, monitor, or supervise NGOs and non-profit organizations directly, they exercised

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control over their finances by monitoring their transactions and transfers to and from their
accounts. This level of scrutiny only applied to NGOs that utilize the Lebanese banking system;
however, several NGOs have acquired non-financial institution licenses from the Central Bank,
which also places them under the supervision of the BCC and the SIC.

For further information on money laundering and financial crimes, we refer you to the 2011
International Narcotics Control Strategy Report (INCSR), Volume 2, Money Laundering and
Financial Crimes: http://www.state.gov/j/inl/rls/nrcrpt/index.htm.

Regional and International Cooperation: Lebanon continued to voice its commitment to
fulfilling relevant United Nations Security Council Resolutions, including 1559, 1680, and 1701.
Lebanon is a member of the Organization of Islamic Cooperation (OIC) and subscribes to the
OIC’s Convention on Combating International Terrorism. In January, Lebanon participated in
an OIC conference in Saudi Arabia on the role of the Internet in countering terrorism and
extremism. The LAF conducted counterterrorism training exercises with the Jordanian Armed
Forces in Jordan.

Countering Radicalization and Violent Extremism: Lebanon worked with donor countries
and international organizations to provide development assistance in Palestinian refugee camps
and to provide economic and social opportunities to counter extremism in the camps. The LAF
expanded public relations campaigns to bolster its presence and counter Hizballah propaganda
throughout the country, particularly in southern Lebanon. There were no programs to
rehabilitate and/or reintegrate terrorists into mainstream society.

LIBYA

Overview: Fighting between the Qadhafi loyalists and the rebels consumed most of the country
throughout 2011. Loose munitions from Libyan stocks – in particular, the threat of terrorists
obtaining Man-Portable Air Defense Systems (MANPADS), which could pose significant risks
to regional security and civil aviation, become a significant international issue. The United
States funded civilian technical specialists to work in Libya to account for MANPADS stock, but
it was unclear how many MANPADS remained and where they were located. Press accounts
indicated that al-Qa’ida (AQ) leader Zawahiri dispatched AQ fighters to eastern Libya.

Legislation and Law Enforcement: In previous years, Libya maintained long-standing
legislation that was used to counter terrorism and terrorist financing; however, the government
was not fully operable during the reporting period. The interim government has expressed its
support to maintain existing legislation in the realm of terrorism and sought to cooperate with the
international community on information sharing and border security.

Countering Terrorist Finance: Libya is a member of the Middle East and North Africa
Financial Action Task Force, a Financial Action Task Force-style regional body. However,
Libya has yet to undergo a mutual evaluation assessment. (Libya’s mutual evaluation
assessment was scheduled for March 2011, but was cancelled because of the conflict.) After the
fall of the Qadhafi regime, there was little information or reliable data on the scope of Libya’s
anti-money laundering/counterterrorist finance countermeasures, including investigations, asset

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forfeiture, prosecutions, and convictions. Libya’s Financial Intelligence Unit was set up under
the Qadhafi regime and has retained its Qadhafi-era Director.

For information on money laundering and financial crimes, we refer you to the 2011
International Narcotics Control Strategy Report (INCSR), Volume 2, Money Laundering and
Financial Crimes: http://www.state.gov/j/inl/rls/nrcrpt/index.htm.

MOROCCO

Overview: The Moroccan government continued its comprehensive counterterrorism strategy of
vigilant security measures, regional and international cooperation, and counter-radicalization
policies. The investigation of the April Marrakech bombing and indications from Moroccan
authorities’ disruptions and investigations of other groups supports previous analysis that
Morocco’s terrorist threat stemmed largely from the existence of numerous small independent
extremist cells. These groups remained isolated from one another, small in size, limited in
capabilities, and had limited international connections. The Government of Morocco’s
counterterrorism efforts have effectively reduced the threat, but the Marrakech bombing
underscored the need for continued vigilance.

2011 Terrorist Incidents: On April 28, Morocco suffered its worst terrorist attack since
2003, when Adil el-Atmani detonated a 15 kilogram explosive device at the Argana Restaurant
in Marrakech. The attack at the café, popular among tourists, killed 15 foreign nationals and two
Moroccans, and injured more than 25 others. El-Atmani used an ammonium-based explosive
device that he detonated with a cell phone. Hakim el-Dah and seven others helped el-Atmani
plan and carry out the attack. The cell was not connected to any organized terrorist groups, but
the Ministry of Interior described el-Atmani as a Salafist and an admirer of al-Qa'ida (AQ).

Legislation and Law Enforcement: Morocco aggressively targeted and dismantled terrorist
cells within the kingdom by leveraging intelligence collection and police work, and collaborating
with regional and international partners. Morocco continued to participate in the Department of
State’s Antiterrorism Assistance program. Morocco's counterterrorism efforts led to the
following disruptions of alleged terrorist cells:

       In January, the Moroccan security services arrested 27 members of a terrorist group
        linked to al-Qa'ida in the Islamic Maghreb (AQIM). According to the Ministry of
        Interior, this cell had stockpiled weapons in Western Sahara and was planning suicide
        and car bomb attacks against Moroccan and foreign security forces.
       In September, Moroccan authorities arrested a three-member cell called the “Battar
        Squadron,” who planned to receive training from AQIM outside of Morocco with the
        goal to return and attack Western targets. According to the Moroccan National Police,
        the leader of the cell had ties to al-Qa’ida in Iraq (AQI), and the group had been in close
        communication with AQ members in Syria, Turkey, Yemen, and Somalia.
       In October, security services arrested a five-member cell that was communicating with
        AQ elements through the Internet. The group had also been in communication with el-
        Atmani, the Marrakech bomber, and planned to carry out attacks against tourist sites and
        Western targets.

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       Also in October, Moroccan authorities arrested an individual in Casablanca for suspected
        terrorism-related activities. The man, reportedly in contact with AQ, had bomb-making
        materials in his home and planned to attack sensitive sites within Morocco.
       In December, the national police arrested an individual for his involvement with a
        Moroccan terrorist cell that was dismantled in 2010. Authorities accused this individual
        of recruiting volunteers in Afghanistan, Iraq, and Somalia.

While there were diminishing reports of Moroccans either preparing to go or going to
Afghanistan, Iraq, and Somalia to receive training from AQ-linked facilitators and/or to conduct
attacks, the government remained concerned about veteran Moroccan terrorists returning from
Iraq, Afghanistan, and Libya to conduct terrorist attacks at home, and about Moroccans who
were radicalized during their stays in Western Europe, such as those connected with the 2004
Madrid train bombings.

The Government of Morocco made public commitments that the struggle against terrorism
would not be used to deprive individuals of their rights and emphasized adherence to human
rights standards and increased law enforcement transparency as part of its approach.
Demonstrating this commitment, the government's investigation of the April bombing was
conducted professionally and transparently. In contrast with its response to the 2003 Casablanca
bombings, security services did not carry out mass arrests, and the Ministry of Interior granted
the media unprecedented access to cover the aftermath of the attack.

In addition, the Moroccan government continued to provide more access for defense lawyers and
more transparent court proceedings than in previous years. Moroccan counterterrorism laws
were effective in leading to numerous convictions and the upholding of convictions of multiple
terrorism suspects, as noted below:

       In April, the Moroccan terrorism court sentenced four men to 20 years in prison each for
        planning to commit terrorist acts in Morocco and send violent extremists to Afghanistan,
        Iraq, and Somalia. Three others were sentenced to 10 years each for their involvement.
       In May, Moroccan police, acting on an INTERPOL Red Notice, arrested an individual
        who was wanted for making terrorist threats. The Moroccan Ministry of Justice deported
        the individual in October.
       Also in October, Adel el-Atmani was sentenced to death for his role in the Marrakech
        bombing. His accomplice Hakim el-Dah received a life sentence. Four others involved
        in this crime were given four years each, and three others received two-year sentences.

Countering Terrorist Finance: Morocco is a member of the Middle East and North Africa
Financial Action Task Force, a Financial Action Task Force (FATF)-style regional body, and in
July, joined the Egmont Group. In January, Morocco adopted legislation to strengthen the
definition of the terrorist financing provisions of the criminal code. The new law extended
courts’ powers to prosecute money laundering crimes committed within the country and abroad,
and expanded the list of people and organizations obliged to report on suspicious financial
activities. Morocco was publicly identified by the FATF in February 2010 for strategic anti-
money laundering/counterterrorism finance deficiencies. Morocco committed to an action plan
with the FATF to address these deficiencies and has made significant progress.

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For further information on money laundering and financial crimes, we refer you to the 2011
International Narcotics Control Strategy Report (INCSR), Volume 2, Money Laundering and
Financial Crimes: http://www.state.gov/j/inl/rls/nrcrpt/index.htm.

Regional and International Cooperation: Morocco is a founding member of the Global
Counterterrorism Forum (GCTF). Morocco maintained cooperative relationships with European
and African partners by sharing information, conducting joint operations, and participating in
training maneuvers. Morocco was also a partner nation in the Global Initiative to Counter
Nuclear Terrorism (GICNT) and hosted a GICNT radiological response exercise in March and
an Africa outreach meeting in November. Morocco was a Mediterranean Dialogue partner of the
European Union’s (EU) Barcelona Process and a major non-NATO ally.

While Morocco and Algeria are members of the Trans-Sahara Counterterrorism Partnership and
GCTF, the level of bilateral cooperation on counterterrorism between the two countries did not
improve. Algeria and Morocco's political disagreement over the Western Sahara remained an
impediment to deeper counterterrorism cooperation.

Countering Radicalization and Violent Extremism: In the past decade, and specifically
following the Casablanca (2003) and Madrid (2004) terrorist bombings, Morocco has
increasingly focused on countering youth radicalization, upgrading places of worship,
modernizing the teaching of Islam, and strengthening the Ministry of Endowments and Islamic
Affairs (MEIA). The MEIA has developed an educational curriculum for Morocco’s nearly
50,000 imams to advance tolerance and anti-extremism, which are inherent to the Maliki rite of
Sunni Islam (the dominant form of Islam in the country). Additionally, the Moroccan Council of
Ulema for Europe and the Minister Delegate for Moroccans Living Abroad also worked to
promote a tolerant, peaceful Islam among Moroccan expatriate communities in Europe.

To counter what the Government of Morocco perceived as the dangerous importation of violent
extremist ideologies, it has developed a multi-component strategy aimed at strengthening the
theological and intellectual credibility of Morocco's tolerant Maliki Islamic legal tradition. In
addition, Morocco has accelerated its rollout of education and employment options for youth and
expansion of legal rights and political empowerment for women. The U.S. Agency for
International Development and the U.S. Department of State both fund a suite of programs aimed
at establishing better governance of Moroccan prisons, improving prison conditions, and
rehabilitating and reintegrating convicts into society.

Annually during Ramadan, the king hosts a series of religious lectures, inviting Muslim speakers
from around the world to promote moderate and peaceful religious interpretations.

OMAN

Overview: Oman is an important regional counterterrorism ally and was actively involved in
preventing terrorists from conducting attacks and using the country for safe haven or transport.
Several suspected violent extremists continued to attempt to cross the border illegally into Oman
from Yemen. The Omani government actively sought training and equipment from the United

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States and other militaries, and relevant commercial entities to support its efforts to control its
land and maritime borders. Oman used U.S. security assistance to enhance nighttime operational
capabilities on its maritime and land borders.

Legislation and Law Enforcement: In 2011, the Government of Oman procured 18 sets of
biometrics equipment for the Royal Oman Police Coast Guard and Royal Army of Oman units
that patrol Oman's borders and coastline. In addition, Export Control and Related Border
Security (EXBS) training included a legal and regulatory advisor to Muscat, who consulted with
members of the Omani government and the private sector on the best route for Oman to take to
adopt comprehensive strategic trade controls in accordance with international standards. EXBS
also offered training for Omani Customs and Airport Security Officials on identifying
contraband hidden in air cargo and identifying smugglers of contraband. Oman participated in
the Department of State’s Antiterrorism Assistance program.

Countering Terrorist Finance: Oman is a member of the Middle East North Africa Financial
Action Task Force, a Financial Action Task Force-style regional body. Its mutual evaluation
report on its Anti-Money Laundering/Counterterrorist Finance regime was adopted and
published in July. On October 23, Royal Decree 104/2011 was issued, and Oman then ratified
and became party to the International Convention for Suppression of the Financing of Terrorism.

For further information on money laundering and financial crimes, we refer you to the 2011
International Narcotics Control Strategy Report (INCSR), Volume 2, Money Laundering and
Financial Crimes: http://www.state.gov/j/inl/rls/nrcrpt/index.htm.

QATAR

Overview: The United States continued to seek improved counterterrorism cooperation and
information sharing with the Government of Qatar. In December, the U.S. Department of
Homeland Security signed an agreement with Qatar’s Interior Ministry on aviation security to
facilitate legitimate travel by Qataris to the United States. Cooperation with U.S. authorities on
counterterrorist finance has improved, with Qatar taking some initial steps to implement and
enforce its anti-money laundering/counterterrorist financing legislation. Still, Qatar’s oversight
of possible terrorist financing by private individuals and charitable associations fell short of
international standards, both inside and outside its borders. Qatari government figures
maintained relations with top-ranking Hamas political leaders, who often travel to Doha.

Legislation and Law Enforcement: As a result of a stringent visa and sponsorship regime,
Qatar regularly refused entry to and deported foreign residents suspected of extremist
sympathies. Qatari authorities implemented biometric scans for most immigration entries and
exits.

Countering Terrorist Finance: Qatar was a member of the Middle East and North Africa
Financial Action Task Force (MENAFATF), a Financial Action Task Force-style regional body.
It received positive MENAFATF reaction to improvements made in its banking/financial sector
and regulatory and enforcement framework in early 2011. Qatar had a Financial Information
Unit (FIU) in its Central Bank, and local banks worked with the Central Bank and the FIU.

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However, significant work remains to fully implement laws and policies regarding freezing
terrorist assets without delay, financial regulation, and the investigation and prosecution of
terrorist financers. Qatari authorities recorded several prosecutions for money laundering but
none for terrorist finance. The Government of Qatar has made progress on strengthening its
oversight of foreign financial activities of Qatari non-governmental organizations.

For further information on money laundering and financial crimes, we refer you to the 2011
International Narcotics Control Strategy Report (INCSR), Volume 2, Money Laundering and
Financial Crimes: http://www.state.gov/j/inl/rls/nrcrpt/index.htm.

Regional and International Cooperation: Qatar is a founding member of the Global
Counterterrorism Forum.

Countering Radicalization and Violent Extremism: Qatari government authorities were
recognized as regional leaders in improving educational standards and curricula, which included
civic instruction that criticized violent extremist views.

SAUDI ARABIA

Overview: The Government of Saudi Arabia continued to build and augment its capacity to
counter terrorism and extremist ideologies. Saudi authorities launched a number of public trials
of suspected terrorists, supporters, and financiers; arrested numerous other suspected terrorists,
including those aligned with al-Qa’ida (AQ); disrupted alleged terrorist plots; and continued to
implement improved border security measures. Senior Saudi leaders – including members of the
royal family, government officials, and religious figures – made public comments condemning
terrorist acts and criticizing extremist ideology.

Saudi security officials indicated that terrorist groups continued to plan attacks inside the
Kingdom against targets of Western interest and residential compounds, as well as targets of oil,
transport, aviation, and military importance. Al-Qa’ida in the Arabian Peninsula (AQAP) was
the primary terrorist threat against the Kingdom. Many of AQAP’s activities and efforts have
been thwarted by aggressive Saudi government counterterrorism programs. Efforts to combat
the terrorist threat have been complicated by ongoing instability in Yemen, which has provided
AQAP an opportunity to recruit members, solicit funds, and plan attacks on Saudi Arabia. Saudi
Arabia maintained a robust counterterrorism relationship with the United States.

Legislation and Law Enforcement: Saudi Arabia continued its efforts to track, arrest, and
prosecute terrorists within the Kingdom. In January, Saudi authorities announced the arrest of
765 people during the previous Hijri year (between December 18, 2009, and December 6, 2010)
for involvement in terrorist activities. According to the governmental Human Rights
Commission, 4,662 suspected terrorists remained in detention as of December 25. The Ministry
of Interior improved border security measures, including installation of biometric scanners at
entry points throughout the Kingdom; thermal imaging systems; motion detectors and electronic-
sensor fencing along the borders with Iraq, Yemen, and Jordan; and a dedicated 15,000-troop
armed border patrol.


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Starting in May, special criminal courts conducted trials of a number of suspected terrorists;
media and local human rights observers were allowed to observe proceedings in these first-ever
public terrorism trials. In October, one of the special criminal courts sentenced a Saudi woman
to 15 years in prison for providing shelter to terrorists; dubbed “Lady al-Qa’ida” by the local
press, the defendant was the first Saudi woman to be convicted for links to AQ. In November,
another special criminal court convicted a group of 16 men of terrorism, sedition, and other
crimes, and sentenced the defendants to prison terms ranging from five to 30 years. At the end
of the year, trials were ongoing in the case of 11 defendants accused of participating in a 2004
terrorist attack on the Red Sea port of Yanbu, and in the case against 85 defendants belonging to
the AQAP-affiliated Dandani cell (named after founder Turki al-Dandani and believed to be
responsible for establishing terrorists cells throughout the country). The 85 defendents were
accused of planning and executing attacks on residential compounds in Riyadh in 2003.

Countering Terrorist Finance: Saudi Arabia is a member of the Middle East North Africa
Financial Action Task Force, a Financial Action Task Force-style regional body. The Saudi
Arabian Financial Intelligence Unit, or SAFIU, is a member of the Egmont Group. The Saudi
Arabian government provided special training programs for bankers, prosecutors, judges,
customs officers, and other officials from government departments and agencies. The Saudi
Arabian Monetary Agency, the main coordination point on anti-money laundering and
counterterrorist finance, issued standing instructions to all Saudi financial institutions to comply
with international standards. For further information on money laundering and financial crimes,
we refer you to the 2011 International Narcotics Control Strategy Report (INCSR), Volume 2,
Money Laundering and Financial Crimes: http://www.state.gov/j/inl/rls/nrcrpt/index.htm.

Regional and International Cooperation: Saudi Arabia is a founding member of the Global
Counterterrorism Forum. The Saudi government pledged U.S. $10 million over the next three
years to help fund the UN Center for Counter Terrorism. Saudi Arabia is a partner nation in the
Global Initiative to Combat Nuclear Terrorism and the Proliferation Security Initiative. It is also
a member of the Gulf Cooperation Council (GCC), itself a member of the FATF.

Saudi government officials issued statements encouraging enhanced cooperation among GCC
and Arab League states on counterterrorism issues, and the Saudi government hosted
international counterterrorism conferences on subjects ranging from countering extremist
ideology to counterterrorist financing.

Saudi security professionals regularly participated in joint programs throughout the world,
including in Europe and the United States. The Naif Arab University for Security Sciences
(based in Riyadh) and the Arab League’s Council of Interior Ministers jointly organized a course
in Tunisia on countering terrorism, covering topics such as terrorist cells, the contradiction of
justifications for terrorism with Islamic law, and the Saudi experience in counterterrorism. Saudi
Arabia has security-related bilateral agreements including counterterrorism cooperation with the
United States, Italy, the United Kingdom, India, Iran, Turkey, Senegal, Pakistan, Tunisia, Oman,
Morocco, Libya, Yemen, Iraq, Jordan, and Sudan.

Countering Radicalization and Violent Extremism: The Saudi government focused on public
awareness campaigns and conducted outreach, counter-radicalization, and rehabilitation

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programs. Some of these efforts involved seminars that refuted radical Islamic interpretation and
ideology. Public awareness campaigns were aimed at reinforcing the values of the Islamic faith
and educating Saudi citizens about the dangers of extremism and terrorism. Methods used
included advertisements and programs on television, in schools and mosques, and at sporting
events. The government also issued statements condemning individual terrorists and denouncing
terrorist attacks across the world, including attacks in Alexandria, Egypt; and in Marrakech,
Morocco; in January and May, respectively.

As part of its outreach program, neighborhood police units engaged and worked directly with
community members, encouraging citizens to provide tips and information about potential
terrorist activity. The Saudi government offered rewards for information on suspected terrorists,
which resulted in multiple arrests of AQAP militants and supporters.

The Ministry of Islamic Affairs continued to re-educate imams, prohibiting them from
incitement, and monitored mosques and religious education. We refer you to the Department of
State’s International Religious Freedom Report (http://www.state.gov/j/drl/rls/irf/) for further
information on Saudi Arabia’s educational curricula, including textbooks used in religious
training.

TUNISIA

Overview: The principal focus of Tunisian government counterterrorism efforts was on
securing its territory, especially in light of the armed conflict in neighboring Libya and the
potential for infiltration of extremists based in Algeria. Since the fall of the Qadhafi regime in
September, the transitional Libyan government has struggled to impose order on its side of the
Tunisian border. Competing militia elements – some of which engaged in banditry – vied for
control of border posts and on several occasions exchanged fire with Tunisian security forces. A
flow of small arms from Libya into Tunisia in autumn 2011 raised particular concern. In
addition, there were numerous arrests by Tunisian security forces of Libyans who possessed guns
and ammunition apparently intended for sale inside Tunisia. Such instability along the border
prompted the Tunisian government to close it to entry from Libya on November 30, pending an
assertion of authority by the Libyan Transitional National Council. Tunisia reopened the border
on December 22.

Along with the reemergence after the Tunisian revolution of moderate Islamist groups, hard-line
Salafist groups, although numerically small, have made their presence felt with aggressive
demonstrations. Some of the demonstrations included violent incidents, such as the fire-
bombing of the home of the owner of a TV station in retaliation for the station’s broadcast of an
allegedly blasphemous film and the storming of a progressive café and theater in downtown
Tunis.

On January 31, arsonists attacked a Jewish burial and pilgrimage site in southern Tunisia, which
was widely reported in the press as an attack on a synagogue. The Tunisian government and
Jewish community leaders condemned the attacks against Tunisia's Jewish community. Tunisian
President Marzouki has reached out to the Christian and Jewish communities.


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Legislation and Law Enforcement: The January revolution that toppled the Ben Ali regime
precipitated unprecedented challenges for Tunisia's security forces. In the immediate aftermath
of the revolution, Tunisia's police and National Guard, viewed by the public as compromised by
their role as enforcers for Ben Ali, came under acute strain. In rural areas and in city centers,
Tunisia’s military stepped in to back up the police and the National Guard, and to fill the security
void left by Ben Ali's departure. New demands on the security forces drew resources away from
the established border-protection regime. The escalation of the conflict in Libya, and the inflow
of significant numbers of Libyans and third-country nationals seeking shelter in Tunisia, further
augmented demands on security forces across Tunisia.

Tunisia restarted its participation in the Department of State’s Antiterrorism Assistance (ATA)
program in June 2011; it had last participated in the ATA program in 2005. ATA training and
equipment grants for Tunisia were tailored to meet objectives and needs specific to Tunisia amid
the country’s evolving political landscape.

Security on Tunisia's western border with Algeria was degraded, and several violent incidents
apparently involving Algerians linked to al-Qa’ida in the Islamic Maghreb (AQIM) occurred in
Tunisia. On the eastern border, armed Libyan rebels fighting the Qadhafi regime frequently
moved across the frontier and were occasionally pursued into Tunisia by pro-Qadhafi forces.

Human rights groups assessed that terrorism trials under the previous regime relied on excessive
pretrial detainment, denial of due process, and weak evidence. Thousands of prisoners, some
convicted of terrorism charges, benefitted from a government amnesty intended for political
prisoners in the first half of the year. Senior members of the Ben Ali regime, including the
former interior minister and chief of presidential security, were detained and awaiting trial on
various charges.

Arrests included:
    On May 11, a Libyan man was arrested in southern Tunisia while transporting
       Kalashnikov ammunition; another man of Algerian origin was arrested for transporting
       hand grenades. Both were traveling away from Libya.
    On May 14, two men of Libyan and Algerian origin, carrying Afghan identity papers and
       suspected of being members of AQIM, were arrested in the southeastern town of Nekrif,
       while transporting explosive belts and bombs.
    On August 22, Tunisian authorities arrested Libyan Army officer Abdul Razik Alrajhi,
       who described how the Qadhafi regime had provided him explosives with instructions to
       attack the Embassy of Qatar in Tunis.
    On September 21, the Tunisian army clashed with armed militants driving 4x4 vehicles,
       possibly AQIM members, in a desert area 300 miles southwest of Tunis, near Algeria.
       The Tunisian army destroyed seven of the vehicles and stopped the remaining two.
    On October 28, a Libyan national departing Tunis for Tripoli was arrested at the Tunis-
       Carthage airport after an inspection revealed ammunition in his luggage. The airport
       subsequently heightened screening procedures.
    On October 31, a Libyan national in possession of an explosive device was arrested in
       Hammamet.


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       On November 29, six men of Libyan origin were arrested in Djerba and found in
        possession of rocket propelled grenades.

Countering Terrorist Finance: Tunisia is a member of the Middle East and North Africa
Financial Action Task Force, a Financial Action Task Force-style regional body. Tunisia’s
interagency Financial Intelligence Unit, the Tunisian Financial Analysis Commission (CTAF), is
headed by the governor of the Central Bank and includes representation from the Ministry of
Finance, Customs General Directorate, National Post Office, Council of Financial Markets,
Insurance General Committee, Ministry of Interior, and “an expert specialized in the fight
against financial infringements.” These interagency representatives are not analysts, and CTAF
suffered from a general shortage of analytical staff as well as a lack of training for staff already
in place. For further information on money laundering and financial crimes, we refer you to the
2011 International Narcotics Control Strategy Report (INCSR), Volume 2, Money Laundering
and Financial Crimes: http://www.state.gov/j/inl/rls/nrcrpt/index.htm.

Regional and International Cooperation: In December, Tunisia participated in a Maghreb-
European defense meeting of the “5 plus 5” group that focused on AQIM activities, including
weapons-smuggling activities from the recent conflict in Libya and AQIM’s abduction of
European hostages in the Sahel region of the Sahara.

UNITED ARAB EMIRATES

Overview: The United Arab Emirates (UAE) government improved border security measures
and renewed its efforts to counter terrorist financing. In December, the UAE agreed to
implement the U.S. Customs and Border Protection's Immigration Advisory Program at Abu
Dhabi Airport. Prominent officials and religious leaders continued to publicly criticize extremist
ideology.

Legislation and Law Enforcement: The UAE participated in the Megaports and Container
Security Initiative (CSI); on average, approximately 250 bills of lading were reviewed each
week, resulting in about 25 non-intrusive inspections per month of U.S.-bound containers.
Examinations were conducted jointly with Dubai Customs officers, who shared information on
transshipments from high-risk areas, including those originating in Iran.

In 2011, memoranda of cooperation signed in 2010 between the UAE Ministry of Interior and
the Abu Dhabi Customs Authority with U.S. Immigration and Customs Enforcement (ICE) went
into effect. These agreements facilitated ICE assistance to provide technical support and
instruction in the establishment of two separate training academies to further build Emirati
Customs and Police capacity. The Abu Dhabi Customs Academy established last year now hosts
six retired ICE and Customs and Border Protection instructors. The academies trained nearly a
thousand personnel in 2011.

Countering Terrorist Finance: The UAE continued efforts to strengthen its institutional
capabilities to counter terrorist financing, but challenges remain. It is a member of the Middle
East North Africa Financial Action Task Force, a Financial Action Task Force-style regional
body, and chairs the Training Working Group. Its Financial Intelligence Unit, the Anti-Money

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Laundering and Suspicious Cases Unit (AMLSCU) in the Central Bank of the United Arab
Emirates, is a member of the Egmont Group. The Mutual Evaluation Report recommended that
authorities amend the federal anti-money laundering law and increase dedicated resources
available to the AMLSCU, which has supervisory authority over hawala. Although the UAE has
taken important steps to address hawala remittances and was in the process of implementing a
new hawala law that will monitor remittances performed through alternative channels, the
AMLSCU staff was overwhelmed by the number of remittances. Additionally, the UAE has not
yet mandated formal registration with the Central Bank for hawala.

The UAE Central Bank provided training programs to financial institutions on money laundering
and terrorist financing. The United States and the UAE continued working together to
strengthen efforts to combat bulk cash smuggling (BCS), in particular from countries at higher
risk of illicit finance activity, and have stressed the importance of countering BCS to other
countries in the region. However, BCS to the UAE remains a serious problem.

For further information on money laundering and financial crimes, we refer you to the 2011
International Narcotics Control Strategy Report (INCSR), Volume 2, Money Laundering and
Financial Crimes: http://www.state.gov/j/inl/rls/nrcrpt/index.htm.

Regional and International Cooperation: The UAE is a founding member of the Global
Counterterrorism Forum (GCTF). At the GCTF launch in September, the UAE indicated its
intention to open the first-ever international center for training, dialogue, research and collaboration
on countering violent extremism (CVE) in Abu Dhabi in the fall of 2012. The UAE and United
Kingdom co-chair the GCTF CVE Working Group.

In December, law enforcement agencies from over 20 countries attended a Global Police Chiefs
Symposium hosted by the UAE.

Countering Radicalization and Violent Extremism: In order to prevent extremist preaching in
UAE mosques, the General Authority of Islamic Affairs and Endowments provided guidelines
for all Friday sermons and monitored compliance. The UAE worked to keep its education
system free of radical influences and emphasized social tolerance and moderation. Also, the
UAE has a cyber-crime law criminalizing the use of the Internet by terrorist groups to “promote
their ideologies and finance their activities.”

YEMEN

Overview: Yemen experienced significant political instability throughout the year, which
reduced the Yemeni government’s ability to address potential terrorist safe havens. Yemeni
security forces struggled to project power beyond Sanaa and other major cities, which allowed
al-Qa’ida in the Arabian Peninsula (AQAP) and other extremist groups to expand their influence
in Yemen.

AQAP suffered significant losses in 2011, including the deaths of AQAP leader Anwar al-
Aulaqi, Samir Khan, Ammar al-Wa’ili, and hundreds of militants and their commanders in
Abyan. The Yemeni government launched large-scale operations against AQAP in the country’s

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south, including the deployment of U.S.-trained and equipped counterterrorism forces. Despite
successes in disrupting some operations, AQAP has continued to carry out attacks against
Yemeni government targets, foreigners, and the Houthi movement in the north.

2011 Terrorist Incidents: AQAP carried out attacks throughout Yemen, using improvised
explosive devices (IEDs), ambushes, and car bombs against government, civilian, and foreign
targets, particularly in the south. The list below does not include all of the almost daily
engagements that began in May between entrenched AQAP fighters in and around the Abyan
governorate cities of Zinjibar and Ja’ar, and Yemeni security forces. Attacks included:

       On January 2, three soldiers were injured when AQAP fighters used heavy weapons to
        attack the Central Security Forces headquarters in Shabwa governorate’s Ataq district.
       On January 7, AQAP militants ambushed two military convoys en route to Lawder in
        Abyan governorate. The militants fired rocket-propelled grenades (RPGs) and machine
        guns, killing an estimated 15 to 20 soldiers, including the Lawder brigade commander.
        On January 17, suspected AQAP militants in Shabwa’s Azzan district assassinated
        Colonel Atiq al Amri, a high-ranking security officer in the Ministry of the Interior’s
        Criminal Investigation Division.
       On February 17, suspected AQAP militants assassinated Colonel Mohamed al Ezzy,
        Yemen’s Political Security Organization’s Deputy Director for Hadramaut, as he drove
        through the city of Mukalla.
       On March 5, AQAP militants killed four Yemeni soldiers during an ambush in the al
        Rudha district of Marib. On the same day, suspected AQAP militants also assassinated
        Colonel Abdulhamid al Sharaabi in Zinjibar and Colonel Shayef al Shuaibi in Sayun,
        Hadramawt.
       On March 8, Yemeni intelligence officer Mohammed Ali Samegha survived an
        assassination attempt carried out by suspected AQAP militants in Abyan.
       On March 27, Islamist militants seized an arms factory outside of Jaar in Abyan
        governorate. The next day, a large explosion in the factory killed an estimated 150
        people.
       In late March, an IED was detonated on a road in Hadramaut, targeting a passing car
        containing an expat employee of a Western company. No one was injured.
       On April 11, two suspected AQAP militants on a motorcycle shot and killed Yemeni
        intelligence officer Colonel Hussein Gharma in Lawder.
       On April 27, suspected AQAP militants used RPGs to attack a military vehicle at the
        Masameer checkpoint near Zinjibar, killing two Yemeni soldiers and wounding five
        others. On the same day, suspected AQAP militants kidnapped an intelligence officer in
        Lawder.
       On May 2, in Sayun, Hadramawt, at least four soldiers were killed and four more
        wounded when suspected AQAP militants attacked a government patrol guarding the
        regional telecommunications headquarters. In Zinjibar, three soldiers were killed and
        five others injured when suspected AQAP militants attacked a government complex.
       In late May, AQAP fighters and affiliated militants entered Zinjibar and quickly took
        control of much of the city.
       In late May, three French aid workers based in Sayun, Hadramaut, were kidnapped by
        AQAP members. They were eventually released in mid-November.

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       On June 7, a heavily armed suspected AQAP member shot and killed a colonel and a
        sergeant of the Saudi border guards and injured another during an attempt to illegally
        cross into Saudi Arabia’s Najran province from Yemen’s Sa’ada governorate. The
        AQAP suspect was killed after he opened fire on the Saudi border guards when they tried
        to stop him.
       On June 15, a police officer was killed and six others were wounded when dozens of
        suspected AQAP militants attacked security and government buildings at dawn in the
        town of Huta in Lahij governorate.
       On July 20, a UK citizen working as a maritime security contractor was killed when his
        booby-trapped car exploded in the Mu’alla neighborhood of Aden. AQAP was suspected
        in the attack, marking the first AQAP victim from outside the region since the killing of
        South Korean tourists in Hadramaut in early 2009.
       On August 15, AQAP members bombed a Houthi meeting in the town of Matama in al
        Jawf governorate. AQAP claimed responsibility for the attack in a statement issued on
        September 12.
       On October 5, suspected AQAP militants planted a roadside bomb near a checkpoint
        controlled by pro-government tribesmen in Lawder, killing two tribesmen and injuring
        seven others.
       On October 15, AQAP fighters attacked the liquid natural gas (LNG) pipeline that links
        the gas fields in Marib to a LNG plant in the city of Belhaf in Shabwah. The attack
        disrupted the gas flow and caused a large fire.
       On October 28, Colonel Ali al Hajji, a leading counterterrorism official in Aden, was
        killed by an IED.
       On November 9, suspected AQAP gunmen riding on a motorbike opened fire on a
        security patrol, killing at least two policemen and injuring three others on a coastal road
        in Mukalla. On the same day, Said Ashal, a Yemeni political activist and outspoken critic
        of AQAP, was the target of a VBIED attack while he was shopping in Mudiyah, Abyan.
        He survived the attack.
       On November 10, a landmine planted by suspected AQAP militants exploded, killing two
        soldiers from the 119th brigade in Zinjibar.

Legislation and Law Enforcement: The opposition walked out of Parliament in November
2010, and the body did not reconvene until December 2011. Accordingly, no progress was made
on a package of counterterrorism laws first introduced in 2008. As a result, the Yemeni
government lacked a clear legal framework for prosecuting terrorism-related crimes, often
having to resort to charging suspects with “membership in an armed gang,” which hampered law
enforcement efforts.

The Yemeni government continued to face legal, political, and logistical hurdles, hindering
effective detention and rehabilitation programming for Guantanamo returnees. The government
also lacked a legal framework to hold former Guantanamo detainees for more than a short period
of time.

There were a number of arrests of terrorist suspects in 2011, primarily in the south of Yemen.
However, the almost complete paralysis of the Yemeni justice system during the political unrest


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that gripped the country for most of the year, left many traditional law enforcement
counterterrorism responsibilities to the Yemeni military.

With support from the United States, the Yemeni government approved steps to improve and
upgrade its Personal Identification Secure Comparison and Evaluation System (PISCES) border
security system, including biometric features. Yemen also continued to participate in the
Department of State’s Antiterrorism Assistance program.

Countering Terrorism Finance: Yemen is a member of the Middle East and North Africa
Financial Action Task Force, a Financial Action Task Force (FATF)-style regional body. In
January 2010, Yemen enacted its first comprehensive anti-money laundering and counterterrorist
financing (AML/CTF) law, however little progress was made with its implementation, because
of political instability. As a result, the overall regulatory environment hindered AML/CTF work,
with 11 different ministries involved in the issue and limited coordination between them. Yemen
was publicly identified by the FATF in February 2010 for strategic AML/CTF deficiencies and
committed to an action plan with the FATF to address these weaknesses. In October 2011, the
FATF determined that Yemen’s progress in implementing this action plan had been insufficient
and that it needed to take adequate action to address its main deficiencies. There were concerns
about bulk cash smuggling, because of lax enforcement by custom officials of the Yemeni law
requiring travelers to report any amount of money over U.S. $15,000 brought into or out of the
country. There were also reliable reports of Yemeni banks shipping suitcases of money out of
the country on commercial flights because they were unable to make wire transfers to regional
banks.

For further information on money laundering and financial crimes, we refer you to the 2011
International Narcotics Control Strategy Report (INCSR), Volume 2, Money Laundering and
Financial Crimes: http://www.state.gov/j/inl/rls/nrcrpt/index.htm.

Regional and International Cooperation: The Government of Yemen was largely focused on
internal political issues and did not match its past limited regional and international engagement
on counterterrorism.

Countering Radicalization and Violent Extremism: Official media published messages from
President Saleh and other high-level officials and opinion leaders denigrating violent extremism
and AQAP. At the same time, opposition figures, some of whom are now members of the new
National Consensus Government, also publicly discussed their commitment to combating AQAP
and other violent extremist groups. However, Yemeni government messaging often intentionally
blurred the line between terrorist organizations and political opposition groups, regularly making
unsubstantiated claims that the opposition, particularly the Islamist Islah party, had ties to
AQAP. The government also often identified the Hirak or Southern Mobility Movement and the
Houthi movement in the north as “violent extremist” organizations.


                             SOUTH AND CENTRAL ASIA

OVERVIEW

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The al-Qa’ida (AQ) core was significantly degraded by the death of Usama bin Ladin and other
key terrorist operatives in 2011. However, AQ remains a threat, and it has looked to consolidate
power by forging closer ties with other terrorist organizations in the region – for example Tehrik-
e Taliban Pakistan (TTP) and the Haqqani Network (HQN). These alliances have at times
provided the group with additional resources and capabilities.

Despite increased pressure on al-Qa’ida leadership in the tribal areas of Pakistan, violent
extremist groups continued to find refuge within that country. Terrorist organizations such as the
Afghan Taliban, Lashkar e-Tayyiba (LeT), and HQN plotted regional attacks while groups such
as TTP struck Pakistan-based targets. The Pakistani military took action against violent
extremist groups such as AQ and TTP and suffered numerous casualties. However, Pakistani
action was not as strong against other groups, including HQN and LeT.

Afghanistan has experienced more aggressive and coordinated attacks by the Taliban, HQN, and
other AQ-affiliated insurgent elements in anticipation of the 2014 withdrawal of Coalition
forces. More than 50 terrorist attacks were reported in Kabul from January to November 2011,
and additional attacks were thwarted by Afghan and Coalition Forces. The number of
improvised explosive devices (IED) and resultant casualties increased in 2011 compared to 2010.
Most casualties in Afghanistan are caused by IEDs, which will continue to represent a significant
risk to Coalition Forces, the Afghan military and police force, as well as the civilian population,
which is most vulnerable to this threat.

A majority of the IEDs used in Afghanistan are constructed from materials, such as calcium
ammonium nitrate (CAN) fertilizer and potassium chlorate, which are licitly manufactured in
Pakistan. The Government of Afghanistan banned the use, transportation, and import of CAN in
2011. Additionally, the Government of Pakistan adopted a National Counter-IED Strategy in
June 2011. Pakistan also seized illegal shipments of CAN and took some measures to restrict the
illicit flow of CAN and other IED precursors into Afghanistan.

Although the level of terrorist violence was lower than in previous years, India experienced a
number of serious terrorist incidents. The Government of India, in response, increased its own
counterterrorism capabilities and expanded its cooperation and coordination with the
international community and regional partners, including the United States, with which it
launched a new Homeland Security Dialogue.

Bangladesh, an influential partner in the region, cooperated with U.S. law enforcement agencies
on several cases related to domestic and international terrorism. The government’s ongoing
counterterrorism efforts have made it more difficult for transnational terrorists to operate in
Bangladeshi territory. In addition, Bangladesh and India improved and expanded their bilateral
counterterrorism cooperation.

A number of violent incidents in Central Asia appeared to be the work of terrorists, including
several in Kazakhstan in which law enforcement officers were killed. Concerns persisted about
the potential threat to the region posed by terrorist elements based in Afghanistan and parts of
Pakistan with ties to Central Asia. Governments faced the challenge of responding to such

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threats effectively while respecting human rights, including civil and political rights and freedom
of religion.

AFGHANISTAN

Overview: While the U.S. mission in Afghanistan is transitioning primary security
responsibility to Afghan National Security Forces, the United States plans to remain politically,
diplomatically, and economically engaged in Afghanistan as a strategic partner for the long term.
The United States fully supports the ambitious agenda set out by Afghan president Hamid
Karzai, which focuses on democracy, reintegration, economic development, improving relations
with Afghanistan’s regional partners, and steadily increasing the security responsibilities of
Afghan security forces.

In 2011, the United States and others in the international community provided resources and
expertise to Afghanistan in a variety of areas, including democratic institution building,
humanitarian relief and assistance, capacity building, security needs, counter-narcotic programs,
and infrastructure projects.

The Government of Afghanistan’s response to the September 20 assassination of former
President Professor Burhanuddin Rabbani, Head of the High Peace Council, is likely to have had
an impact on the ability of terrorists to attack or operate successfully. After this event, the
Government of Afghanistan improved security procedures for senior Afghan officials and high-
level interactions, including turban searches and increased Presidential Palace security.

2011 Terrorist Incidents: Major population centers across Afghanistan saw coordinated,
complex suicide attacks against Coalition forces, and international and Afghan government
facilities. Hotels and other venues frequented by Westerners were also targeted. Numerous
high-profile Afghan Government officials were assassinated in 2011, specifically in Kabul City
and Kandahar. The Taliban, HQN, and other insurgent elements demonstrated their ability to
adapt to security procedures and plan attacks accordingly. In keeping with past patterns, the
greater number of attacks took place over the summer months, with a steady decline as the
winter season approached. Helmand and Kandahar remained the most dangerous provinces for
Coalition forces.

High profile attacks that occurred in 2011 included:
    On February 19, multiple suicide bombers attacked the Kabul Bank in Jalalabad City in
       Nangarhar Province, resulting in nine Afghan National Security Forces killed, 26
       civilians killed, and another 70 injured.
    On May 30, insurgents conducted two suicide attacks against the Provincial
       Reconstruction Team and city center in Herat City. Four people were killed and at least
       37 were wounded.
    On June 28, 11 individuals were killed when seven suicide bombers attacked the
       Intercontinental Hotel in Kabul.
    On July 27, Kandahar City Mayor Ghulam Haider Hamidi was assassinated outside his
       office by a lone suicide bomber with a turban-borne IED.


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       On August 19, the Taliban conducted a suicide attack against the British Council office in
        Kabul, killing 12.
       On September 13, HQN attacked the U.S. embassy and International Security Assistance
        Force (ISAF) compounds. Four Afghan civilians and a South African national working
        for the Kabul Embassy Security Force were injured on the embassy compound.
        Insurgents engaged the compounds with small arms fire and rocket propelled grenades
        from a building under construction approximately 900 meters east of the chancery
        building.
       On September 20, a lone suicide bomber killed the head of the High Peace Council and
        former Afghan President Burhanuddin Rabbani in his home in Kabul City.
       On September 25, a member of the Afghan National Guard – employed at the U.S.
        Embassy Annex – opened fire on the Annex compound and killed one U.S. citizen
        employee.
       On October 27, four insurgents attacked Camp Nathan Smith in Kandahar City
        (Provincial Reconstruction Team Compound), resulting in two local nationals killed and
        15 U.S. service members wounded.
       On December 6, terrorists conducted bombings in Kabul, Mazar-e Sharif, and Kandahar
        on the Shia holy day of Ashura. The combined death toll in these attacks was estimated
        to be 80, while over 160 more were injured.

Legislation and Law Enforcement: As a result of the year-long Parliament impasse due to
disputed election results, Parliament did not pass any counterterrorism legislation in 2011. From
December 18 to 21, the Afghan government hosted a workshop focused on final drafts of a
modern Criminal Procedure Code and an improved Law on the Structure and Jurisdiction of the
Attorney General’s Office. If enacted, these reforms will codify the structure and funding of the
existing Anti-Terrorism Protection Directorate in the Attorney General’s Office and permit the
investigation and prosecution of terrorist and national security cases using internationally-
accepted methods and evidentiary rules.

Afghanistan continued to process travelers on entry and departure at major points of entry with
the Personal Identification Secure Comparison and Evaluation System (PISCES). With support
from the United States, Afghan authorities have expanded PISCES installations at additional
locations. Afghanistan remained a critical partner nation in the Department of State’s
Antiterrorism Assistance program, which began to shift its focus from the Presidential Protective
Service to the Afghan government’s Detachment 10 security organization, to build broader self-
sustaining capacities to protect national leadership and government facilities.

The Governments of Afghanistan and the United States investigated a variety of criminal acts,
including kidnappings, assassinations, contracting corruption and fraud, and other crimes against
military and security forces, non-governmental organizations, and civilians. U.S. government
law enforcement bodies regularly passed actionable information to the Ministry of Interior and
the National Directorate of Security and Afghan authorities, who then took actions to disrupt and
dismantle terrorist operations and prosecute terrorist suspects. In 2011, the Attorney General’s
Office investigated a total of 2,087 cases of crimes such as armed looting, taking hostages,
kidnapping, treason, and membership in violent extremist armed groups, and aiding and abetting


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them. Of these cases, 1,427 related to provinces and 660 to Kabul. By year’s end, 1,269 persons
were arrested in these cases.

A number of incidents involving terrorist acts directed at U.S. citizens and facilities in 2011 were
investigated by Afghan authorities.

Countering Terrorist Finance: The Asia/Pacific Group on Money Laundering (APG), the
Financial Action Task Force-style regional body to which Afghanistan belongs, released a report
in June from its first assessment of Afghanistan. The report identified a number of areas that the
government needs to address to bring Afghanistan in compliance with international standards.
The Government of Afghanistan worked with the APG to develop an action plan. Terrorist
financing investigations in Afghanistan were hampered by a lack of capacity, awareness, and
political commitment, particularly involving prosecutors and the courts. Another finding from
the APG’s mutual evaluation indicated that although there were over 1,600 non-profit
organizations (NPOs) registered and active in Afghanistan, no cases have been brought before
the courts. According to Afghan law enforcement agencies, there have been documented
instances of NPOs being used to finance terrorism. The Ministry of Economy, the primary
oversight body of the NPO sector in Afghanistan, lacked sufficient resources to conduct its
functions effectively.

For further information on money laundering and financial crimes, we refer you to the 2011
International Narcotics Control Strategy Report (INCSR), Volume 2, Money Laundering and
Financial Crimes: http://www.state.gov/j/inl/rls/nrcrpt/index.htm.

Regional and International Cooperation: Afghanistan consistently emphasized the need to
strengthen joint cooperation to fight terrorism and extremism in a variety of bilateral and
multilateral fora, including the Afghanistan-Pakistan Joint Commission for Peace, the U.S.-
Afghanistan-Pakistan Core Group Trilateral, the September Afghanistan-Russia-Tajikistan-
Pakistan quadrilateral summit, the November Istanbul Conference, and the November South
Asian Association for Regional Cooperation Summit. At the November Istanbul Conference,
Afghanistan was the key driver for launching the “Istanbul Process,” a regional framework that
includes specific counterterrorism-related confidence-building measures. Afghanistan also co-
chaired the December Bonn Conference, which brought together 100 delegations and over 1,000
delegates to call for results-oriented regional cooperation to counter terrorism. In September, the
Project Global Shield (PGS) partnership focused on monitoring and curtailing the illicit diversion
of 14 precursor chemicals used in the production of IEDs and reported an expansion from 60 to
71 participant countries to include the World Customs Organization and 11 international law
enforcement organizations. The PGS-targeted precursors were used in insurgent IED attacks
targeting civilian, Afghan, and ISAF elements in Afghanistan.

Afghanistan also continued to work with its NATO-ISAF partners as well as its regional
neighbors to improve training, capacity, and counterterrorism collaboration, for example,
pursuing strategic partnership agreements with a number of countries that would provide for
security cooperation to counter terrorism. Afghanistan supported the United Nations General
Assembly Resolution establishing the UN Centre for Counterterrorism as part of the Counter-
Terrorism Implementation Task Force.

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Countering Radicalization and Violent Extremism: Afghanistan has implemented a number
of programs to address violent extremism and has focused on religious engagement programs.
The majority of Afghan mosques and madrassas operate outside of government oversight and
some transmit extremist ideology. The Ministry of Education and Ministry of Hajj and Religious
Affairs have both undertaken projects to register all mosques and madrassas in Afghanistan, with
limited success. President Karzai has directed the Afghan National Security Council to expand
oversight of unregistered madrassas. The Government of Afghanistan planned to establish an
inter-agency working group to address the issue.

The Government of Afghanistan established the Afghanistan Peace and Reintegration Program
(APRP), which targeted low and mid-level insurgents for reintegration back to their communities
provided they renounce violence, abandon their alliance with al-Qa’ida, and abide by all
provisions of the Afghan constitution, which includes respect for women’s and minority rights.
APRP worked on designing a comprehensive one-month disengagement training curriculum to
counter common misperceptions among ex-combatants through a series of basic citizenship
lessons, dispute/grievance resolution training, and general Islamic studies.

BANGLADESH

Overview: Since coming into power in January 2009, the Awami League-led government has
remained strongly committed to combating domestic and transnational terrorist groups. The
government's counterterrorism efforts made it harder for transnational terrorists to operate in or
establish safe havens in Bangladesh. Bangladesh and India improved their bilateral
counterterrorism cooperation in 2011.

Legislation and Law Enforcement: The government passed the Anti-Terrorism Act of 2009
and is in the process of fully implementing the law, which included Bangladesh’s first
counterterrorist finance provisions. The government has made numerous well-publicized
seizures and arrests of persons alleged to be associated with terrorist organizations including
Harakat ul-Jihad-i-Islami, Harakat ul-Jihad-i-Islami/Bangladesh, Jamaat-ul Mujahideen
Bangladesh, Hizb Ut Towhid, and Lashkar e-Tayyiba, but few convictions resulted from those
arrests. The judiciary moved slowly in processing terrorism and other criminal cases in general.
Bangladesh cooperated with the United States to further strengthen control of its borders and
land, sea, and air ports of entry. Bangladesh continued to be a good partner in the Department of
State’s Antiterrorism Assistance program.

Countering Terrorist Finance: Bangladesh is a member of the Asia/Pacific Group (APG) on
Money Laundering, a Financial Action Task Force (FATF)-style regional body. The Bangladesh
Bank (the central bank) and its Financial Intelligence Unit/Anti-Money Laundering (AML)
Section lead the government's effort to comply with the international sanctions regime. In 2011,
the Government of Bangladesh acted to address further areas for legislative improvements in
response to international peer review and the FATF International Cooperation Review Group
process. During the week of June 19, the Bangladesh Cabinet approved in principle the draft
AML law. At a subsequent meeting on July 11, the Cabinet approved, in principle, the draft
Counterterrorist Finance (CTF) law. Both steps were an effort to improve the existing

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AML/CTF regime and bring Bangladesh into further compliance with FATF international
financial crimes standards. Following these Cabinet actions, the Bangladesh government worked
with international partners to seek additional improvements in order to address remaining areas
of concern regarding Bangladesh’s efforts to meet international standards. In November, the
Cabinet gave final approval to the AML law.

For further information on money laundering and financial crimes, we refer you to the 2011
International Narcotics Control Strategy Report (INCSR), Volume 2, Money Laundering and
Financial Crimes: http://www.state.gov/j/inl/rls/nrcrpt/index.htm.

Countering Radicalization and Violent Extremism: The Bangladesh Ministry of Religious
Affairs, the Islamic Foundation, and USAID cooperated on Bangladesh’s Leaders of Influence
(LOI) project. LOI, a four-year program that ended in 2011, was designed to enhance the
capacity of religious and secular leaders to contribute to national development and democratic
reform efforts. In so doing, LOI set out to preserve and promote values of democracy, tolerance,
diversity, social harmony, and understanding in Bangladeshi society. Under this program, at
least 20,000 leaders, including approximately 10,000 imams, received training in programs that
included democracy and governance, gender equality, health, nutrition, family planning,
HIV/AIDS, employment generation, and disaster management. While not CVE-specific, the
basic assumption underpinning the LOI program was that knowledge of different issues gained
through training and exposure would help leaders of influence increase tolerance. USAID and
Embassy Dhaka, in cooperation with the Bangladesh Ministry of Interior, successfully continued
to implement the Community Policing Initiative, which was designed to improve police-civilian
relations and reduce the appeal of extremist groups in two major provinces.

INDIA

Overview: In 2011, India increased its counterterrorism capacity building efforts and
cooperation with the international community, including the United States. Two important
exchanges took place between the Indian and U.S. governments – the U.S.-India
Counterterrorism Joint Working Group meetings in March and the launch of the U.S.-India
Homeland Security Dialogue in May. To deter threats from terrorist groups such as Lashkar-e-
Tayyiba (LeT), the Homeland Security Dialogue in May – led by the U.S. secretary for
homeland security and the Indian home minister – focused on ways to cooperate on a broad basis
to exchange information and best practices with a view toward preventing attacks in both
countries.

While the number of deaths attributable to terrorist violence was lower than in 2010, the loss of
over 1,000 lives (civilian, security forces, and terrorists) still made India one of the world’s most
terrorism-afflicted countries and one of the most persistently targeted countries by transnational
terrorist groups such as LeT. Terrorist strikes during 2011 in Mumbai and Delhi, as well as
Maoist/Naxalite violence in other parts of the country, further underscored the fact that India is a
target for terrorist attacks. The Maoists/Naxalites, whom Prime Minister Singh has called
India’s greatest internal security threat, continued to be active, especially in the eastern part of
the country. Indians living in Naxalite areas were often caught between the demands of both the
Maoists and the security forces. Sporadic violence in Kashmir and attempted infiltrations from

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Pakistani territory across the Line of Control (the border along Jammu and Kashmir) also
remained serious concerns for the Indian government. The trade talks with Pakistan provided
hope for reduced tensions between the two countries, but terrorist opponents of better Indian-
Pakistan relations, such as the LeT, have long planned to derail any progress by launching new
attacks.

2011 Terrorist Incidents: The Government of India reported a marked decline in the number of
violent civilian and security force deaths by insurgents in the northeastern part of the country.
There were also far fewer violent incidents in Jammu and Kashmir. Maoist/Naxalite violence
also declined. Through November 2011, there were over 1,550 incidents involving Naxalites
that resulted in over 500 deaths as compared to 2010, when 2,006 incidents involving Naxalites
resulted in over 93 deaths. Significant terrorist attacks included:

       On July 13, three serial bomb blasts in the span of 10 minutes ripped through three of the
        busiest hubs in Mumbai – Zaveri Bazar, Opera House, and Dadar – killing 17 people and
        injuring 131 others.
       On September 7, at least 12 people were killed and approximately 91 others injured in a
        powerful blast outside the Delhi High Court.
       On November 30, a suspected separatist bomber was killed when an explosive device he
        was carrying to plant at a festival in Manipur exploded, just days ahead of Prime Minister
        Singh’s visit there. Authorities reported that two persons were injured.
       On October 12, a suspected terrorist plot was foiled in Ambala, Haryana, with the
        recovery of over five kilogram explosives and detonators from a car parked outside the
        city's Cantonment railway station.

Legislation and Law Enforcement: As part of the strategy to increase border security, the
Ministry of Home Affairs Department of Border Management is building fences and roads and
installing floodlights along the Indo-Pakistan and Indo-Bangladesh borders.

Throughout 2011, Indian authorities arrested many suspected terrorists. In February, the
Bombay High Court upheld the death sentence imposed by the trial court on Mohammad Ajmal
Amir Kasab, the lone surviving Pakistani gunman of the 2008 Mumbai terrorist attacks, who had
previously confessed his involvement. In October, the Supreme Court temporarily stayed his
execution to obtain the amicus curiae opinion (a brief from a “friend of the court”) from a court-
appointed advisor. In addition to the assistance already provided in the investigation, the United
States provided Indian authorities extensive access to convicted terrorist David Headley to assist
them with their prosecutions of other Mumbai suspects.

In August, the Supreme Court upheld the death sentence imposed on LeT member Mohammad
Arif, aka Ashfaq, for the December 2000 attack at the Red Fort, in which three army personnel
were killed. Also in August, a trial court in Mumbai convicted and sentenced two persons to ten
years’ imprisonment for carrying out an explosion and planting explosives in theaters in different
cities of Maharashtra in 2008.

The Ministry of Home Affairs (MHA) continued its initiatives to strengthen the national security
apparatus and meet the challenges posed by international terrorism. The Cabinet Committee on

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Security gave approval in principle to establish the National Intelligence Grid, a platform for
information-sharing between law enforcement, intelligence services, and other government
agencies. The government established a new National Investigative Agency (NIA) branch office
in Assam, one of the states in the northeast. MHA also completed the design and development
core software for the Crime and Criminal Tracking and Network System, bringing the system for
tracking criminal records one step closer to operational status. India continued to participate in
the Department of State’s Antiterrorism Assistance program.

Countering Terrorist Finance: India is a member of both the Financial Action Task Force
(FATF) and the Asia/Pacific Group on Money Laundering, a FATF-style regional body. In
December, the NIA developed a Terror Funding Template and circulated it to law enforcement
officials throughout the country to assist in gathering information on the sources of terrorist
funding when interviewing terrorist suspects. For further information on money laundering and
financial crimes, we refer you to the 2011 International Narcotics Control Strategy Report
(INCSR), Volume 2, Money Laundering and Financial Crimes:
http://www.state.gov/j/inl/rls/nrcrpt/index.htm.

Regional and International Cooperation: India is a founding member of the Global
Counterterrorism Forum and was active on international counterterrorism issues in its capacity as
a non-permanent member of the United Nations (UN) Security Council and as Chair of the UN
Counter-Terrorism Committee.

The Indian and Bangladeshi governments signed the India-Bangladesh Coordinated Border
Management Plan in July, which aims to synergize the efforts of both countries' border security
forces for more effective control over cross-border illegal activities. India also signed a
Memorandum of Understanding on Combating International Terrorism with the Maldives and a
Mutual Legal Assistance Treaty in Criminal Matters with Indonesia. During the 17th South
Asian Association for Regional Cooperation summit held in November in the Maldives, India
and Pakistan had constructive discussions, with Islamabad assuring New Delhi that the terrorists
behind the 2008 Mumbai terrorist attacks would be brought to justice soon.

Countering Radicalization and Violent Extremism: India’s counter radicalization and violent
extremism efforts are mostly directed by state and local authorities; under the Indian Constitution
police and public order issues are state functions. The Indian government has programs that
attempt to rehabilitate and integrate various groups, mostly insurgents, back into the mainstream
of society, such as the “Scheme for Surrender cum-Rehabilitation of militants in North East.”
While not a counter radicalization scheme per se, it is directed at disaffected members of Indian
society who support separatist and at times violent movements.

KAZAKHSTAN

Overview: In the wake of violent incidents reportedly linked to religious extremists, Kazakhstan
intensified its efforts to counter violent extremism and took tangible steps to improve
cooperation and information sharing with various countries and international organizations. In
late September, President Nazarbayev signed a package of amendments on “religious activities”
that tightened government control over religious organizations. While ostensibly aimed at

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countering violent religious extremism, the amendments severely restricted the peaceful practice
of religion in Kazakhstan. Commentators linked negative reaction to the new amendments to the
law on religion with violent acts committed in October and November. All attacks appeared to
have been directed at representatives of the state's security organs, including the police, the
Ministry of Internal Affairs (MVD), and the Committee for National Security (KNB). We refer
you to the Department of State’s Annual Report to Congress on International Religious Freedom
(http://www.state.gov/j/drl/irf/rpt/index.htm) for further information.

2011 Terrorist Incidents: Incidents with potential links to terrorism included:

       On May 17, a man blew himself up at the KNB regional headquarters in Aktobe. The
        police revised its initial pronouncement that the suspect was simply a criminal and later
        claimed that he and his wife were members of an extremist group.
       On July 1, gunmen fired at a police post in the village of Shubarshy, located in the center
        of the Aktobe region, and killed two policemen. Although multiple local media outlets
        reported that the criminals were members of a radical Islamist movement, the MVD
        dismissed the group's connection to extremism, and maintained that their motives were
        purely criminal.
       On July 2, one Special Forces officer was killed and three wounded during a police action
        to detain additional suspects in the Shubarshy shooting. On July 9, in the Kenkiyak
        village, police killed nine armed men suspected in the Shubarshy incident, while one
        Special Forces officer was killed. Police arrested two more suspects on July 11.
       On October 31, two explosions took place, possibly targeting official buildings in Atyrau.
        An explosive device detonated in a trash can behind the regional governor's office.
        Shortly thereafter, another explosion occurred in a vacant lot surrounded by apartment
        buildings, 40-50 meters away from the regional procurator's office. The man who
        allegedly made the explosive device was the only casualty.
       The Kazakh Procurator General's Office claims that members of a terrorist group called
        Jund al-Khilafah (Soldiers of the Caliphate, JAK) were responsible for the October 31
        bombings in Atyrau. JAK allegedly is a militant organization formed by three Kazakh
        nationals. On October 24, the group threatened the Kazakhstani government and
        demanded the immediate repeal of the amendments to the religion law. Publicly claiming
        responsibility for the October 31 explosions in Atyrau, JAK emphasized that the
        suspected bomber accidentally detonated the bomb, which had not been intended to cause
        casualties. On November 30, the spokesperson of the Kazakh Procurator General's
        Office declared JAK a terrorist organization and prohibited its activities on the territory
        of Kazakhstan.

Legislation and Law Enforcement: On November 30, President Nazarbayev signed
amendments to several legislative acts related to countering organized criminal, terrorist, and
extremist activities. The new versions of these laws provide stricter punishments for terrorism-
and violent extremism-related crimes.

Kazakh authorities made numerous arrests on terrorism-related charges:
    A July 11-16 operation, in connection with May explosions in Aktobe and Astana and
       July attacks in Shubarshy, led to the arrest of over 200 suspects.

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       On September 23, the Aktau regional procurator announced the arrest of 29 persons on
        the suspicion of planning terrorist acts in Kazakhstan.

On December 3, police killed five alleged terrorists in Boralday of the Almaty region.
According to the Kazakh Procurator General's Office, the group murdered two policemen in
Almaty on November 3 and intended to conduct additional operations. The heavily-armed group
resisted the police and killed two officers of the Arystan Special Forces unit of the KNB during
the operation. Erik Ayazbayev, the alleged leader of this group, was killed December 29 in
Kyzylorda after resisting arrest and firing at police.

Kazakhstan continued to participate in the Department of State’s Antiterrorism Assistance
program.

Countering Terrorist Finance: Kazakhstan is a member of the Eurasian Group on combating
money laundering and financing of terrorism (EAG), a Financial Action Task Force-style
regional body. As part of a significant effort to enhance the government's ability to counter
possible terrorist financing, Kazakhstan adopted a law “On Combating Money-Laundering and
Financing of Terrorism” in March. EAG's mutual evaluation report of Kazakhstan's anti-money
laundering/countering terrorist finance (AML/CTF) regime was adopted in June. The report
indicated the necessity to further improve legislation in order to harmonize it with international
standards. In July, Kazakhstan's Financial Intelligence Unit (FIU) joined the Egmont Group,
expanding its ability to informally exchange information related to terrorist financing and
money-laundering crimes with other FIUs. Kazakhstani agencies were working on the national
risk assessment on AML/CTF to determine priority areas that they should target to strengthen the
regime.

For further information on money laundering and financial crimes, we refer you to the 2011
International Narcotics Control Strategy Report (INCSR), Volume 2, Money Laundering and
Financial Crimes: http://www.state.gov/j/inl/rls/nrcrpt/index.htm.

Regional and International Cooperation: Kazakhstan, having served as the 2010 Chairman-
in-office of the Organization for Security Cooperation in Europe (OSCE), continued to play an
active role in the OSCE’s activities to counter transnational threats, including hosting a regional
workshop on the implementation of United Nations (UN) Security Council Resolution 1540.

On April 19, Kazakhstan ratified an agreement to participate in counterterrorism training
programs for Shanghai Cooperation Organization (SCO) member states. Security Council
Secretaries of the SCO countries and the heads of the SCO’s counterterrorism body met in
Astana on April 29 to discuss ways to ensure security and stability. On November 30, a group of
Central Asian states, including Kazakhstan, approved the Central Asia implementation plan for
the UN global counterterrorism strategy.

KYRGYZSTAN

Overview: Kyrgyz security forces conducted continual special operations against alleged
terrorist organizations throughout the year, and captured individuals possessing explosive

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devices and extremist literature. The Kyrgyz government was involved in numerous
international cooperative counterterrorism efforts, and Kyrgyzstan also continued its
participatition in the Department of State’s Antiterrorism Assistance program.

2011 Terrorist Incidents: In October, a man who reportedly had hijacked a bus was
killed by Kyrgyz police at a checkpoint in the south of the country while allegedly
resisting arrest. According to the head of the State Committee for National Security, the
dead man was a citizen of Tajikistan and a member of a terrorist cell operating in the
Kyrgyz Republic.

Legislation and Law Enforcement: In 2011 Kyrgyzstan brought its Law on Terrorism into
conformity with the new Constitution. The State Committee on National Security (GKNB)
claimed to have eliminated the group Jamat Kyrgyzstan Jaish al-Mahdi, which conducted several
small-scale attacks in late 2010. The GKNB killed two members of the group, arrested 10, and
said that three members were still at large. In October 2011, Kyrgyz security forces seized 90
kilos of ammoniates and special compounds for explosive devices and extremist literature from
two citizens in Naryn connected to an alleged violent extremist organization. In November,
security forces seized homemade explosives and weapons in Uzgen from an individual allegedly
connected to an international terrorist group.

Countering Terrorist Finance: Kyrgyzstan is a member of the Eurasian Group on combating
money laundering and financing of terrorism, a Financial Action Task Force-style regional body.
Its Financial Intelligence Unit (FIU) belongs to the Egmont Group of FIUs. For further
information on money laundering and financial crimes, we refer you to the 2011 International
Narcotics Control Strategy Report (INCSR), Volume 2, Money Laundering and Financial
Crimes: http://www.state.gov/j/inl/rls/nrcrpt/index.htm.

Regional and International Cooperation: Kyrgyzstan participated in activities with the
Organization for Security and Cooperation in Europe, the Shanghai Cooperation Organization,
and the Commonwealth of Independent States Anti-Terrorist Center. On November 30, a group
of Central Asian states, including Kyrgyzstan, approved the Central Asia implementation plan
for the UN’s global counterterrorism strategy.

MALDIVES

Overview: Maldives is a strategically located series of atolls in the heart of the Indian Ocean.
The government believes that hundreds of young Maldivians attended madrassas in Pakistan and
Saudi Arabia, and was concerned that these students were bringing home radical ideology. The
Government of Maldives has partnered with the United States to strengthen its law enforcement
capacity and to conduct community outreach to counter violent extremism.

Legislation and Law Enforcement: The Department of Immigration and Emigration signed an
agreement with Malaysia’s Nexbis Limited in November 2010 to install a new border-control
system with an integrated database. However, alleged corruption concerns and subsequent legal
proceedings made it unclear when the system would be installed.


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There were no successful prosecutions of individuals promoting violent extremism and terrorism
in 2011, as existing laws severely limited the ability of law enforcement agencies to prosecute
such cases. Two Maldivians, in separate instances in March and October, were arrested in Sri
Lanka on charges linked to terrorism. Their cases were pending at year’s end.

Maldives became a new partner nation in the Department of State’s Antiterrorism Assistance
program, which focused its initial programs on building capacity in counterterrorism leadership
and management, critical target protection, and regional cooperation.

Countering Terrorist Finance: Maldives is a member of the Asia/Pacific Group on Money
Laundering, a Financial Action Task Force-style regional body, and has submitted annual status
reports. Maldives underwent a mutual evaluation conducted by the International Monetary Fund
(IMF), and the final evaluation report was adopted by the members in July 2011. Maldivian law
does not criminalize money laundering apart from a small provision in the Drugs Act. The
Maldives Financial Intelligence Unit took the lead in drafting an Anti-Money Laundering and
Combating Financing of Terrorism act with assistance from the IMF. The draft bill was sent to
the Attorney General’s Office in July 2010 and was sent back to the Maldives Police Services
and the Prosecutor General for review and comment. In July 2011, Maldives Financial
Transactions Reporting came into effect, which aims to safeguard Maldives financial and
payment systems from being used to promote acts of terrorism and money laundering, and to
protect financial services and products from being used to conceal the proceeds of crime. The
UN 1267/1989 and 1988 consolidated lists for individuals and entities associated with the
Taliban and al-Qa’ida were sent to the Ministry of Foreign Affairs for forwarding to the
Maldives Monetary Authority, which then instructed banks and creditors to take action and
report back within a specified time period.

For further information on money laundering and financial crimes, we refer you to the 2011
International Narcotics Control Strategy Report (INCSR), Volume 2, Money Laundering and
Financial Crimes: http://www.state.gov/j/inl/rls/nrcrpt/index.htm.

Countering Radicalization and Violent Extremism: The Government of Maldives recognized
that counter radicalization efforts form a critical component to long-term success against violent
extremism, and has pursued initiatives to counter violent extremism. The Ministry of Islamic
Affairs implemented a program designed to mobilize religious and social leaders to work against
all forms of violence in society, including religious extremism that leads to violence. The
Ministry conducted over 15 seminars and workshops for religious leaders, educators, and local
government officials. Several of these workshops included participants from across the country.

NEPAL

Overview: Nepal has taken several steps to bring its laws into compliance with international
standards. However, government corruption, poorly regulated trade, weak financial sector
regulation, and a large informal economy made Nepal vulnerable to money laundering and
terrorist finance. The most significant challenges were the lack of resources and capacity to
enforce laws, and a lack of awareness on processes and reporting requirements. The government
did not have the needed expertise and skills in the responsible agencies, particularly in

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investigation techniques. It also lacked a comprehensive counterterrorism law, further
complicating enforcement efforts. Nepal experienced no significant acts of international
terrorism in 2011.

2011 Terrorist Incidents:
    On September 28, a pressure cooker bomb went off in Siddhanath Furniture Factory
      located at Chauraha and another bomb was found at an oil store in Chatakpur. The Terai
      People's Liberation Front, formed in 2004 as a split of the Communist Party of Nepal
      (Maoist), claimed responsibility for planting these two improvised explosive devices
      (IEDs).
    On November 22, a small, pipe bomb-style IED detonated at the offices of a Christian
      humanitarian organization, United Mission to Nepal, in Kathmandu. Police found
      literature for the extremist group Nepal Defense Army (NDA) at the site, but the
      organization has not claimed responsibility. No one was injured.
    On December 26, the Nepal Army bomb squad defused and disposed of two bombs
      planted at the office of the Udayapur District Development Committee in Gaighat. The
      Khambuwan Rastriya Mukti Morcha Samyukta, a militant group active in the Eastern
      districts, claimed responsibility for planting the explosives.

Legislation and Law Enforcement: Nepal improved its security monitoring capabilities at
official border crossings along the southern border with India and at Kathmandu's Tribhuvan
International Airport. The government also increased the Armed Police Force and Nepal Police
presence at several border crossings along the southern border with India. There were no arrests
or prosecutions of known terrorists. Nepal participated in the State Department’s Antiterrorism
Assistance Program.

Countering Terrorist Finance: Nepal is a member of the Asia/Pacific Group (APG) on Money
Laundering, a Financial Action Task Force (FATF)-style regional body. The Government of
Nepal has taken a number of steps to bring its legislation into compliance with international
standards, as outlined in the mutual evaluation by the APG and in the Nepal Action Plan agreed
to as part of the FATF’s International Cooperation Review Group process. These steps included
passing the national strategy on Anti-Money Laundering/Counterterrorist Finance (AML/CTF),
amending the AML/CTF law to include enhanced enforcement provisions, and establishing a 25-
person AML enforcement department under the Ministry of Finance to investigate AML/CTF
charges.

The Government of Nepal implemented UNSCRs 1267/1989, 1988, and 1373 through Directives
issued by the Nepal Rastra Bank to the banking and financial sector. The government approved
a five-year AML/CTF national strategy to address these deficiencies and was developing new
legislation with technical assistance from the International Monetary Fund.

For further information on money laundering and financial crimes, we refer you to the 2011
International Narcotics Control Strategy Report (INCSR), Volume 2, Money Laundering and
Financial Crimes: http://www.state.gov/j/inl/rls/nrcrpt/index.htm.

PAKISTAN

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Overview: Counterterrorism efforts in Pakistan continued to have wide-ranging regional and
global implications. Pakistan remained a critical partner on counterterrorism efforts, actively
engaging against al-Qa’ida (AQ) and the Tehrik-e Taliban Pakistan (TTP). However, its
cooperation regarding other terrorist groups, such as Lashkar-e-Tayiba (LeT), was mixed. A
series of events, including the May 2 Abbottabad raid that killed Usama bin Ladin, sparked
intense international and domestic scrutiny of Pakistan’s security establishment and strained the
U.S.-Pakistan relationship and bilateral counterterrorism efforts. Cooperation began to recover
slightly, as evidenced by the Pakistan military’s September announcement marking the capture
of senior AQ leader Younis al-Mauritani in a joint U.S.-Pakistan operation. However, progress
stalled following a fatal November cross-border NATO/International Security Assistance Force
(ISAF) incident that killed 24 Pakistani soldiers. Despite strained ties, Pakistani officials
publicly reiterated that cooperation between the United States and Pakistan was in the best
interest of both countries.

In addition to Pakistan’s counterterrorism efforts, a deluge of politically and ethnically-motivated
targeted killings in Karachi consumed the attention of Pakistan’s Parliament, Supreme Court, and
law enforcement agencies during the summer months.

Extremist groups also attempted to incite violence against reformers of Pakistan’s blasphemy
law. Elements of the TTP released statements praising the January assassination of Punjab
Governor Salmaan, who had publicly spoken against the blasphemy law as divisive, encouraged
Pakistanis to be more tolerant of other religions and cultures, and denounced extremism. In
March, Pakistan’s Minister of Minority Affairs, Shahbaz Bhatti, was also assassinated for
speaking out against extremists. Bhatti encouraged Pakistani religious leaders to publicly
denounce extremism and was a vocal critic of Pakistan’s blasphemy law, which he saw as a tool
for justifying extremist intolerance and violence. TTP claimed responsibility for Bhatti’s death.
Finally, in September, Sunni extremists conducted execution-style attacks on Shia pilgrims in
Balochistan, evidencing a disturbing escalation of sectarian violence.

2011 Terrorist Incidents: Over 2500 civilians and 670 law enforcement personnel died in
terrorist-related incidents, and the presence of AQ, Taliban, and indigenous militant sectarian
groups continued to pose potential danger to U.S. citizens throughout Pakistan. The TTP
claimed responsibility for the majority of Pakistan’s almost daily attacks that targeted civilians
and security personnel, with incidents occurring in every province. These included:

       On March 9, a suicide bomber killed at least 43 and injured 52 in an attack on the funeral
        procession for the wife of a local tribal militia member in Peshawar.
       On May 13, two suicide bombers killed at least 90, including 17 civilians, at a Frontier
        Corps training center in Khyber Pakhtunkhwa. The TTP claimed responsibility and
        called the attack retaliation for Usama bin Ladin’s death.
       On May 16, militants shot dead a Saudi diplomat in Karachi; the TTP claimed
        responsibility.
       On May 20, the TTP attacked a U.S. Consulate General vehicle in Peshawar, killing one
        person and injuring one dozen, including two U.S. Consulate General employees.


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       On May 22, a gun battle with militants at Pakistan Naval Station Mehran in Karachi
        killed ten military personnel. The TTP claimed responsibility and again designated the
        attack as retaliation for bin Ladin’s death.
       On June 11, twin bomb blasts killed at least 39 and injured 88 in a supermarket near
        Peshawar. The TTP denied responsibility stating that foreign agencies were attempting
        to malign the group.
       On August 13, a U.S. citizen was kidnapped from his residence in Lahore. On December
        1, AQ leader Ayman al-Zawahiri claimed to be holding the citizen and issued a list of
        demands in exchange for his release.
       On September 7, twin suicide attacks targeting the Deputy Inspector General (DIG) of the
        Frontier Corps’s residence in Quetta killed at least 26 and injured 60. The DIG’s forces
        were involved in the arrest of al-Mauritani. The TTP claimed responsibility.
       On September 13, TTP militants attacked a school bus in a suburb of Peshawar, killing
        four children and the driver.
       On September 20, Lashkar-e-Jhangvi militants in Balochistan ordered Shia pilgrims off a
        bus, lined them up, and opened fire on them, killing 29.

Legislation and Law Enforcement: In June, President Zardari signed the “Action in Aid of
Civil Power Regulation, 2011,” which provides a new framework for the detention of insurgents
in the Federally and Provincially Administered Tribal Areas. The regulation provides a legal
framework for security forces to take, hold, and process detainees captured during conflict.
Human rights organizations have criticized the regulation because it gives broad powers to the
Pakistan military and these groups allege it is inconsistent with Pakistan’s international human
rights obligations. However, the Regulation establishes a legal framework that did not
previously exist, and provides for detainee transfer to civilian custody for potential prosecution
under Pakistan’s criminal law. Media reports indicated that Pakistani authorities began
implementing the regulation in November and that some transfer of detainees from military to
civilian custody began before year’s end.

Despite calls by the Prime Minister to move forward, Pakistan’s legislature did not approve
legislation aimed at strengthening its Anti-Terrorism Act. The acquittal rate for terrorist cases
remained as high as 85 percent.

In November, biometric screenings at land border crossings began on the Afghan and Pakistani
sides of the border.

Pakistani security forces conducted substantial counterterrorism operations in Kurram,
Mohmand, Orakzai, South Waziristan Agencies, and in Khyber Pakhtunkhwa Province that
resulted in the death or detention of thousands of militants. Law enforcement entities reported
the capture of large caches of weapons in urban areas such as Islamabad and Karachi. In May,
the Pakistani military significantly disrupted AQ’s Karachi network by arresting senior
commander Muhammad Ali Qasim Yaqub. Pakistani authorities captured Umar Patek, a key
suspect in the 2002 Bali bombings, and returned the suspect to Indonesia for prosecution.

Trial proceedings continued against seven alleged 2008 Mumbai attack conspirators, including
alleged LeT commander Zaki-ur Rehman Lakhvi. While most of the proceedings focused on

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procedural issues, during high-level bilateral meetings Indian leadership agreed to allow a
Pakistani judicial commission visit India to record statements from key prosecution witnesses.

Pakistan remained a critical partner nation in the Department of State’s Antiterrorism Assistance
program, which provided tactical and investigative training at the Federal and Provincial levels.

Countering Terrorist Finance: Pakistan is a member of the Asia/Pacific Group on Money
Laundering, a Financial Action Task Force (FATF)-style regional body. Pakistan has been under
review by the FATF because of deficiencies in its Anti-Money Laundering/Countering Terrorist
Finance regime. In 2011, the FATF, in consultation with Pakistani authorities, added additional
items to Pakistan’s 2009 action plan, including a requirement that the government respond to
third-party information requests.

UN-designated terrorist organizations were able to evade sanctions by reconstituting themselves
under different names and gained access to the financial system.

For further information on money laundering and financial crimes, we refer you to the 2011
International Narcotics Control Strategy Report (INCSR), Volume 2, Money Laundering and
Financial Crimes: http://www.state.gov/j/inl/rls/nrcrpt/index.htm.

Regional and International Cooperation: Pakistan is a founding member of the Global
Counterterrorism Forum and supported the September inaugural meeting of its Coordinating
Committee. In his address at the South Asian Association for Regional Cooperation (SAARC)
Interior Ministers Conference, Pakistani Minister Rehman Malik recommended that SAARC
create an inter-policing agency modeled after INTERPOL to better coordinate efforts to counter
terrorism and money laundering.

Pakistan, Afghanistan, and Turkey signed a Memorandum of Understanding to work together to
control money laundering and smuggling, eliminate terrorism, and share information in real
time. In November, Pakistan hosted an Afghan delegation investigating allegations that the
Pakistani-based Quetta Shura was responsible for the September assassination of former Afghan
President Burhanuddin Rabbani.

Countering Radicalization and Violent Extremism: Pakistan took some steps to support both
public and private sector initiatives to counter violent extremism. This included offering support
for the United Arab Emirates’ new International Center of Excellence on Countering Violent
Extremism, launched at the GCTF. On a local level, the Ministry of Information and
Broadcasting developed a public awareness campaign. In Swat, Pakistan’s army hosted a
national seminar on de-radicalization for journalists, academics, and international donors to
showcase its facilities in the region.

SRI LANKA

Overview: In 2009, the Government of Sri Lanka militarily defeated the Liberation Tigers of
Tamil Eelam (LTTE), which was seeking an independent homeland for Sri Lanka's Tamil
people. The Sri Lankan government’s comprehensive and aggressive stance of countering

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terrorism is a direct result of its experience in the 30-year long conflict. In 2011, there were no
incidents of terrorism in Sri Lanka. The government cooperated with other countries on regional
counterterrorism issues. Counterterrorism cooperation and training with the United States was
minimal due, in part, to statutory and policy restrictions based on concerns about alleged past
human rights abuses committed by Sri Lankan security forces.

The Government of Sri Lanka remained concerned that the LTTE’s international network of
financial support still functions; most counterterrorism activities undertaken by the government
targetted possible LTTE finances. The possible resurgence of domestic militant Tamil groups is
not an immediate concern, but efforts were underway to address possible growing Tamil
radicalism in the north and east. The Sri Lankan government has used the fear of the possible re-
emergence of the LTTE to maintain a strong military presence and role in the post-conflict areas,
although the military's continued heavy presence in the north feeds Tamil resentment.

Legislation and Law Enforcement: Counterterrorism legislation in Sri Lanka has focused on
eliminating the remnants of the LTTE and enforcing general security throughout the island. The
Sri Lankan government continued to implement the Prevention of Terrorism Act (PTA) of 1978
(Act no.48), which was made a permanent law in 1982 and remained in force. The Prevention
and Prohibition of Terrorism and Specified Terrorist Activities Regulations No. 7 of 2006, which
is the most recent version of Emergency Regulations, were allowed to lapse in September. On
August 29, the day before the Emergency Regulations lapsed, the President issued new
regulations under the PTA incorporating into it aspects of the Emergency Regulations that the
PTA did not already include. Such regulations included proscribing the LTTE as a terrorist
organization and keeping surrendered persons under rehabilitation.

The Terrorism Investigation Division of the Police has the primary responsibility for
investigating terrorist activity. In March, Sri Lankan authorities arrested a suspected Maldivian
terrorist carrying multiple passports. INTERPOL issued a statement that he was arrested for
questioning in connection with the 2007 Sultan Park bombing, in the Maldives. The Sri Lankan
government cooperated with both India and Maldives to gather proof in that case, but the suspect
was released for lack of evidence. In October, the Sri Lankan police arrested an al-Qa’ida-
affiliated Maldivian traveling on a forged Pakistani passport. Sri Lankan authorities were
cooperative and assisted U.S. investigators following the arrest.

Countering Terrorist Finance: Sri Lanka is a member of the Asia/Pacific Group on Money
Laundering (APG), a Financial Action Task Force (FATF)-style regional body. The
Government of Sri Lanka amended the Prevention of Money Laundering Act and the Convention
on the Suppression of Terrorist Financing Act in September 2011. The main objective was to
strengthen the respective legal regimes to remove deficiencies identified by the FATF in 2010
and the APG in 2006. The FATF had urged Sri Lanka to criminalize money laundering and
terrorist financing and establish and implement adequate procedures to identify and freeze
terrorist assets. In addition, the Sri Lankan government has placed into effect the UN
Convention for the Suppression of the Financing of Terrorism, as well as created a specialized
branch of the Central Bank – the Financial Intelligence Unit – to track possible terrorist
financing.



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 Although the LTTE has been militarily defeated, the Government of Sri Lanka asserts that
sympathizers and organizational remnants have continued to fund-raise in many countries. The
LTTE had used a number of non-profit organizations for terrorist financing purposes, including
the Tamil Rehabilitation Organization. The Sri Lankan government actively searched for other
financial links to the LTTE and remained suspicious of non-governmental organizations, fearing
they would be used by the LTTE.

For further information on money laundering and financial crimes, we refer you to the 2011
International Narcotics Control Strategy Report (INCSR), Volume 2, Money Laundering and
Financial Crimes: http://www.state.gov/j/inl/rls/nrcrpt/index.htm.

Regional and International Cooperation: The Sri Lankan government remained committed to
the counterterrorism efforts of international bodies such as the United Nations. The Sri Lanka
Army held its “Seminar on Defeating Terrorism: The Sri Lankan Experience" May 31 to June 2,
to discuss counterterrorism lessons learned. Forty-one countries attended the seminar, including
South Asian Association for Regional Cooperation members, China, Russia, Japan, and the
United States.

TAJIKISTAN

Overview: In 2011, Tajikistan corrected weaknesses in its counterterrorism strategy and
demonstrated its ability to conduct effective counterterrorism operations. Tajikistan's
counterterrorism policies focused on marginalizing radical Islamist elements and on increasing
the capacity of Tajikistan's military and law enforcement community to conduct tactical
operations through bilateral and multilateral assistance programs. However, government policies
sometimes targeted the peaceful practice of religion and resulted in violations of the human
rights of citizens, including freedom of religion and association.

Legislation and Law Enforcement: There have been many successful prosecutions under the
Law on Combating Terrorism. However, a corrupt judicial system and misuse of
counterterrorism statutes to suppress legitimate political opposition hampered the effectiveness
of the government’s counterterrorism efforts.

While Tajikistan made progress in improving border security with bilateral and multilateral
assistance, the challenge of effectively policing the remote and rugged border with Afghanistan
continued to exceed the capabilities of the government.

Law Enforcement Actions:
    On January 4, former opposition commanders Ali Bedaki Davlatov and several of his
      supporters were captured. Davlatov and another former commander, Mullo Abdullo,
      reportedly commanded a contingent of foreign and Tajik fighters that had slipped into
      Tajikistan from Afghanistan to exploit anti-government sentiment and conduct attacks.
      Local press reported that Bedaki was killed by government forces on January 4, 2011.
    On April 15, government forces killed Mullo Abdullo (Abdullo Rahimov) and several of
      his supporters in Gharm.


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Tajikistan continued to participate in the Department of State’s Antiterrorism Assistance
program.

Countering Terrorist Finance: Tajikistan is a member of the Eurasian Group on combating
money laundering and the financing of terrorism, a Financial Action Task Force (FATF)-style
regional body. Tajikistan’s terrorist finance laws were not comprehensive and did not meet
international standards. The government participated in the FATF International Cooperation
Review Group process, which resulted in an Action Plan. By year’s end, Tajikistan had not
implemented the Action Plan or otherwise resolved identified deficiencies.

Tajikistan’s inadequate criminalization of money laundering and terrorist financing and its
inability to effectively identify and investigate suspicious transactions was of concern. Anti-
money laundering and counterterrorist finance deficiencies included: inadequate criminalization
of money laundering, inadequate procedures for confiscation of criminal proceeds, lack of
requirements for comprehensive customer due diligence, lack of adequate record keeping, and
the lack of an effective Financial Intelligence Unit.

For further information on money laundering and financial crimes, we refer you to the 2011
International Narcotics Control Strategy Report (INCSR), Volume 2, Money Laundering and
Financial Crimes: http://www.state.gov/j/inl/rls/nrcrpt/index.htm.

Regional and International Cooperation: Tajikistan participated in regional counterterrorism
exercises with Shanghai Cooperation Organization partner nations in September. Through its
field mission in Dushanbe, the Organization of Security Cooperation in Europe worked with the
Government of Tajikistan on programs to counter violent extremism, border security, and police
reform projects during 2011.

Countering Radicalization and Violent Extremism: Stemming violent extremism and
radicalization was a top priority for the Tajik government. Many of the government's measures,
however, restricted basic religious freedom. Critics claimed that these heavy-handed
government tactics, by driving the practice of religion underground, could ultimately contribute
to the growth of violent extremism. We refer you to the Department of State’s Annual Report to
Congress on International Religious Freedom (http://www.state.gov/j/drl/irf/rpt/index.htm) for
further information.

State’s Bureau of International Narcotics and Law Enforcement Affairs successfully
implemented its Community Policing Initiative in numerous Tajik communities, which is
designed to improve police-civilian relations and reduce the appeal of extremist groups.

TURKMENISTAN

Overview: Turkmenistan continued its efforts to improve border security, increased its
participation in regional efforts to counter terrorism, and took steps to strengthen its capacity to
counter money laundering and terrorist financing. No terrorist incidents were reported in
Turkmenistan in 2011. Turkmenistan's border guards, customs service, and law enforcement
agencies lacked adequate personnel and remained in need of further training. Continued

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cooperation with international organizations to improve the quality of law enforcement, as well
as government efforts to raise the standard of living of the general population could further
constrain the ability for terrorist groups to operate in the country.

Legislation and Law Enforcement: The Turkmenistan State Border Service (SBS) continued
an aggressive infrastructure improvement program in 2011. The government opened three new
checkpoints on the border with Uzbekistan, expanded an existing check point on the border with
Afghanistan, and took steps toward the construction of at least three more outposts along
Turkmenistan's southern borders with Iran and Afghanistan. Turkmenistan continued to
participate in the Department of State’s Antiterrorism Assistance program.

Countering Terrorist Finance: Turkmenistan is a member of the Eurasian Group on
combating money laundering and the financing of terrorism, a Financial Action Task Force
(FATF)-style regional body. As a participant in the FATF International Cooperation Review
Group process, Turkmenistan has worked to improve deficiencies and made progress in line with
its Action Plan. Turkmenistan amended its Law on Countering Money Laundering and Terrorist
Financing and took steps to improve the capacity of the Ministry of Finance's Financial
Intelligence Unit. Turkmenistan did not prosecute any terrorist financing cases in 2011.

For further information on money laundering and financial crimes, we refer you to the 2011
International Narcotics Control Strategy Report (INCSR), Volume 2, Money Laundering and
Financial Crimes: http://www.state.gov/j/inl/rls/nrcrpt/index.htm.

Regional and International Cooperation: Turkmenistan hosts the United Nations Regional
Center for Preventive Diplomacy in Central Asia and hosted a conference on regional
implementation of the UN global counterterrorism strategy at its headquarters in Ashgabat. At
that conference, Turkmenistan signed an action plan with other Central Asian states committing
to a wide range of activities to prevent and counter terrorism.

In April, Turkmenistan hosted the 65th Session of the Council of the Commonwealth of
Independent States Border Forces Commanders, and actively participated in the Council's
activities. In September, the government sent senior representatives from the State Border
Service to a forum in Kyrgyzstan sponsored by the European Union-UN Development Program
Border Management Program in Central Asia to discuss regional cooperation in border
management.

Countering Radicalization and Violent Extremism: Government efforts ostensibly intended
to suppress violent extremism have reportedly resulted in violation of the human rights of
citizens, including freedom of religion, expression, association, and assembly. We refer you to
the Department of State’s Annual Report to Congress on International Religious Freedom
(http://www.state.gov/j/drl/irf/rpt/index.htm) for further information.

UZBEKISTAN

Overview: The Government of Uzbekistan ranked counterterrorism among its highest security
priorities. Sharing a land border with Afghanistan, the Government of Uzbekistan continued to

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express concern about a potential “spillover effect of terrorism” especially with the United States
scheduled to withdraw troops by the end of 2014.

Legislation and Law Enforcement: Law enforcement and judicial bodies used charges of
terrorism and alleged ties to extremist organizations not only as grounds to arrest, prosecute, and
convict suspected terrorists and extremists, but also to suppress legitimate expression of political
or religious beliefs.

For example, in October, local courts reportedly sentenced three men who had been extradited
from Kazakhstan in June to between four and 13 years in prison on charges related to organizing
illegal religious gatherings or circulating religious materials likely to threaten security and public
order. As with many cases like this, it is difficult to determine if the convictions were truly
terrorist- or extremist-related, or simply used to jail opponents of the regime.

As part of an end-of-year amnesty of prisoners announced by the Senate in early December, the
Government of Uzbekistan included a group of prisoners identified as “individuals who were
convicted for the first time of participation in banned organizations and the commission of
crimes against peace and security or against public security and who have firmly stood on the
path to recovery.” However, the decree also declared that prisoners considered to be
“dangerous” – a term used in the past for prisoners convicted of violent extremism – who were
about to complete their sentence, would be excluded from those being released.

The Government of Uzbekistan began issuing biometric passports in November. According to
news reports, all citizens of Uzbekistan are expected to have biometric passports by the end of
2015. By late November only 93 biometric passports had been issued.

Countering Terrorist Finance: Uzbekistan is a member of the Eurasian Group (EAG) on
combating money laundering and the financing of terrorism, a Financial Action Task Force-style
regional body. In December, the Government of Uzbekistan ratified the Agreement of the EAG
on Combating Money Laundering and Financing of Terrorism. The Uzbek government did not
report any efforts to seize terrorist assets in 2011. For further information on money laundering
and financial crimes, we refer you to the 2011 International Narcotics Control Strategy Report
(INCSR), Volume 2, Money Laundering and Financial Crimes:
http://www.state.gov/j/inl/rls/nrcrpt/index.htm.

Regional and International Cooperation: Uzbekistan is a member of several regional
organizations that address terrorism, including the Collective Security Treaty Organization and
the Shanghai Cooperation Organization (SCO). The Government of Uzbekistan also worked
with several multilateral organizations such as the Organization for Security and Cooperation in
Europe (OSCE) and the United Nations Office of Drugs and Crime on general security issues,
including border control. In November, counterterrorism officials attended an OSCE-sponsored
seminar on anti-money laundering and counterterrorist financing. In December, the Government
of Uzbekistan ratified the SCO's Convention Against Terrorism.

Countering Radicalization and Violent Extremism: Official government media continued to
produce documentaries, news articles, and full-length books about the dangers of religious

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extremism and joining terrorist organizations. Some of these use, as examples, the stories of
“reformed extremists.” The message is generally targeted to the 15- to 40-year-old male
demographic, which the Government of Uzbekistan considered the most susceptible to terrorist
recruitment. One full-length movie addressed the radicalization of women. Some non-
governmental religious experts suggested that greater freedom to circulate moderate religious
materials could prove more effective in countering extremism than the current government-
produced material.


                               WESTERN HEMISPHERE

OVERVIEW

Overall, governments in the region took modest steps to improve their counterterrorism
capabilities and tighten border security, but corruption, weak government institutions,
insufficient interagency cooperation, weak or non-existent legislation, and a lack of resources
limited progress. Most countries made efforts to investigate possible connections between
transnational criminal organizations and terrorist organizations.

At the same time, Iran sought to expand its activities in the Western Hemisphere. The most
disturbing manifestation of this was the Iranian plot against the Saudi Ambassador to the United
States; the plot involved enlisting criminal elements from a transnational criminal organization to
assassinate the Saudi Ambassador by bombing a restaurant in Washington, DC. Regular
exchange of intelligence and information between Mexican and U.S. officials through pre-
established protocols and institutional channels was crucial in thwarting the plot. Iran also began
a public relations campaign aimed at Latin America and the Caribbean by announcing the
impending kickoff of a Spanish-language version of Iranian television to be broadcast in the
region.

The majority of terrorist attacks within the Western Hemisphere in 2011 were committed by two
U.S.-designated Foreign Terrorist Organizations in Colombia – the Revolutionary Armed Forces
of Colombia and the National Liberation Army – and other radical leftist Andean groups
elsewhere. The threat of a transnational terrorist attack remained low for most countries in the
Western Hemisphere.

There were no known operational cells of either al-Qa’ida or Hizballah in the hemisphere,
although ideological sympathizers in South America and the Caribbean continued to provide
financial and ideological support to those and other terrorist groups in the Middle East and South
Asia. The Tri-Border area of Argentina, Brazil, and Paraguay continued to be an important
regional nexus of arms, narcotics, and human smuggling, counterfeiting, pirated goods, and
money laundering – all potential funding sources for terrorist organizations.

ARGENTINA

Overview: Argentina and the United States cooperated closely in analyzing possible terrorist
threat information. Argentina continued to focus on the challenges of policing its remote

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northern and northeastern borders – including the Tri-Border Area (TBA), where Argentina,
Brazil, and Paraguay meet – against such threats as illicit drug and human trafficking, contraband
smuggling, and other forms of transnational crime. Training and other forms of bilateral law
enforcement cooperation were curtailed, however, following the February 10 confiscation by
Argentine authorities of sensitive U.S. military equipment at the international airport in Buenos
Aires that was intended to support a previously approved U.S. Special Forces training exercise
with the Argentine Federal Police's counterterrorism unit.

2011 Terrorist Incidents:
    On November 29, an improvised explosive device (IED) detonated at the main police
      station in the Buenos Aires city suburb of Avellaneda, damaging the building and nearby
      businesses, but causing no injuries. Police found pamphlets from an anarchist group
      calling itself the “Eduardo Maria Vazquez Aguirre Anti-Prison Insurgent Cell” at the
      scene. Eduardo Maria Vazquez Aguirre was a Spanish anarchist who reportedly killed
      the Chief of the Argentine Police in a 1909 bombing. The pamphlet stated that the
      bombing was in retaliation for the deaths of six named individuals shot by Buenos Aires
      Provincial Police officers.
    On December 21, an IED detonated 100 meters from the Security Ministry headquarters
      in downtown Buenos Aires, damaging nearby cars and buildings, but causing no injuries.
      A group calling itself “the Nucleus of Conspirators for the Extension of Chaos” claimed
      credit for the attack via a statement posted to the internet and indicated that it would soon
      conduct more attacks. Media reported that the design of this IED was similar to many of
      the bombs used in a 2010 series of bombings that targeted ATMs.

Legislation and Law Enforcement: On March 9, the Argentine Federal Police transferred
control over the issuance of Argentine passports to the National Registry of Persons
(RENAPER). This shift was part of an ongoing Argentine government effort to improve both
the security measures governing the issuance and distribution of Argentine travel and
identification documents, and the security mechanisms embedded in these documents. The
Argentine passports issued via RENAPER conform to the standards established by the
International Civil Aviation Organization. In addition, the Government of Argentina took steps
to improve integration of data-bases controlled by several government ministries to ensure that
Argentine travel documents were not provided to wanted persons.

The Argentine government continued its efforts to bring to justice those suspected in the July 18,
1994 terrorist bombing of the Argentine-Jewish Mutual Association in Buenos Aires that killed
85 and injured more than 150 people. The Argentine government appeared to shift its stance
with respect to engagement with Iran over that government's alleged links to the crimes. At the
September United Nations (UN) General Assembly, for example, Argentine President Cristina
Fernandez de Kirchner indicated Argentina's willingness to enter into a dialogue with the Iranian
government despite its refusal to turn over the Iranian suspects, which include Iran’s current
Defense Minister, wanted in connection with this bombing.

Countering Terrorist Finance: Argentina is a member of the Financial Action Task Force
(FATF) and the Financial Action Task Force on Money Laundering in South America, a FATF-
style regional body. On December 22, Argentina passed Law 26.734, which modified the penal

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code, broadened the definition of terrorism, and increased monetary fines and prison sentences
for crimes linked to counterterrorist financing (CTF). The law, which generated controversy in
some sectors for being overly broad and subject to potential misapplication, closed several
loopholes in the 2007 CTF legislation. It empowered the Argentine Financial Intelligence Unit
to freeze assets and criminalized the financing of terrorist organizations, individuals, and acts.

On October 17, Argentina passed Decree 1642/11, which created the National Program for
Monitoring the Implementation of Policies for the Prevention of Money Laundering and the
Financing of Terrorism. The program, under the jurisdiction of the Ministry of Justice and
Human Rights, includes coordination of national activities, projects, and programs to evaluate
and set strategies. The program will also oversee monitoring and advancing Argentine
government compliance with FATF recommendations.

For further information on money laundering and financial crimes, we refer you to the 2011
International Narcotics Control Strategy Report (INCSR), Volume 2, Money Laundering and
Financial Crimes: http://www.state.gov/j/inl/rls/nrcrpt/index.htm.

Regional and International Cooperation: Argentina participated in meetings of the
Organization of American States’ Inter-American Committee Against Terrorism and the
Southern Common Market Special Forum on Terrorism. Argentina, Brazil, and Paraguay, via
their “Trilateral Tri-Border Area Command” coordinated law enforcement efforts in the TBA.

BOLIVIA

Overview: There were no domestic or international terrorist incidents in Bolivia in 2011, and
the threat of terrorism remained relatively low.

Legislation and Law Enforcement: In September, the Bolivian government passed a law that
punishes supporting or participating in a terrorist group with prison sentences of 15-20 years.
Bolivia also expanded its issuance of biometric passports to its citizens although it lacks
biometric capabilities at its ports of entry.

In 2011, there were two reported arrests of individuals linked to the Peru-based terrorist group
Sendero Luminoso (Shining Path or SL):

       On June 27, a member of SL who had escaped from prison in Peru was arrested in
        Antaquilla, Bolivia. He was captured with five other Peruvians and a Bolivian involved
        in drug trafficking, all of whom were disguised in counternarcotic police uniforms. He
        was subsequently extradited to Peru.
       On August 2, four persons with alleged SL links were arrested in El Alto after
        distributing pamphlets allegedly speaking out against Evo Morales and encouraging
        militant Marxist doctrine. Three of the individuals were extradited to Peru and one
        remained in Bolivia as a political refugee.

Countering Terrorist Financing: In September, the government passed new legislation
criminalizing the intentional “direct or indirect collection, transfer, delivery, possession or

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management of funds, property, or resources” for the purposes of terrorism, punishable by 15-20
years in prison. This law also made terrorist financing a crime independent of related offenses.

There was one ongoing investigation regarding alleged terrorist financing. On July 21, the
Bolivian government expanded the 2009 Rozsa terrorism investigation to include possible
financiers. The Government of Bolivia suspected 15 people of providing financial support to an
alleged terrorist group based in Santa Cruz, and maintained that the group was trying to
assassinate President Morales and divide the country. Opposition leaders denounced the
investigation as politically motivated because a number of opposition leaders were named in the
indictment. The investigation continued at year’s end.

There was no law that expressly called for the monitoring of Non-Governmental Organizations’
(NGO) finances. Banks were also required to report suspicious transactions, including those of
NGOs.

For further information on money laundering and financial crimes, we refer you to the 2011
International Narcotics Control Strategy Report (INCSR), Volume 2, Money Laundering and
Financial Crimes: http://www.state.gov/j/inl/rls/nrcrpt/index.htm.

Regional and International Cooperation: The Government of Bolivia cooperated with Peru,
Colombia, and surrounding countries on counterterrorism. Bolivia is a member of the Southern
Common Market and participated in meetings of the Organization of American States’ Inter-
American Committee Against Terrorism.

BRAZIL

Overview: The Brazilian government continued to support counterterrorism-related activities,
including investigating potential terrorist financing, document forgery networks, and other illicit
activity. Brazilian security services cooperated with U.S. authorities and other regional partners
to counter terrorist threats. Operationally, security forces of the Brazilian government worked
with U.S. officials to pursue investigative leads provided by U.S. authorities regarding terrorist
suspects. Brazil's security services were concerned that terrorists could exploit Brazilian
territory to support and facilitate terrorist attacks, whether domestically or abroad, and have
focused their efforts in the areas of Sao Paulo;the Tri-Border Areas of Brazil, Argentina, and
Paraguay, and Brazil, Peru, and Colombia; and along the Colombian and Venezuelan borders.

Legislation and Law Enforcement: The Chamber of Deputies (the lower house of Brazil’s
National Congress) was considering two counterterrorism bills pending in committee. One bill
would deny visas to persons convicted or accused of a terrorist act in another country, and the
other would give the Brazilian government the authority to investigate and prosecute terrorist
organizations. Brazilian authorities continued to work with other concerned nations, particularly
with the United States, to combat document fraud. In particular, U.S. authorities began training
Brazilian airline employees to identify fraudulent documents. Since 2009, multiple regional and
international joint operations with U.S. authorities have successfully disrupted a number of
document vendors and facilitators, as well as related human-trafficking infrastructures.


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The work of the Container Security Initiative in Santos, Brazil has continued since 2005. Brazil
has achieved visible results from investments in border and law enforcement infrastructure
undertaken to control the flow of goods - legal and illegal - through the Tri-Border Area (TBA)
of Argentina, Brazil, and Paraguay, the proceeds of which could be diverted to support terrorist
groups. In particular, the inspection station at the Friendship Bridge in the TBA, completed by
the Brazilian customs agency (Receita Federal) in 2007, continued to reduce the smuggling of
drugs, weapons, and contraband goods along the Paraguayan border.

In light of Brazil’s plans to host the upcoming 2014 World Cup and the 2016 Olympics, a key
focus for the Department of State’s 2022 Antiterrorism Assistance program to Brazil was major
event security management.

Countering Terrorist Finance: Brazil is a member of the Financial Action Task Force (FATF)
and the Financial Action Task Force on Money Laundering in South America, a FATF-style
regional body (FSRB). The Brazilian government made implementation of FATF
recommendations a top priority and created a working group chaired by the Ministry of Justice to
incorporate these recommendations into legislation and regulation. Brazil sought to play an
active leadership role in its FSRB and has offered technical assistance to Argentina to implement
FATF recommendations.

Brazil has not criminalized terrorist financing in a manner that is consistent with the FATF
Special Recommendation II. On October 26, the Chamber of Deputies passed an updated money
laundering bill establishing stricter penalties, but a specific terrorist financing provision was not
included.

Brazil monitored domestic financial operations and effectively used its Financial Intelligence
Unit, the Financial Activities Oversight Council (COAF), to identify possible funding sources for
terrorist groups. The Brazilian government has generally responded to U.S. efforts to identify
and block terrorist-related funds. Terrorist financing is not an autonomous offense in Brazil, but
it is a predicate offense to money laundering. COAF does not have the authority to unilaterally
freeze assets without a court order. The FATF has recommended that COAF create a standard
operating procedure for freezing funds, which COAF has prioritized but not completed.

For further information on money laundering and financial crimes, we refer you to the 2011
International Narcotics Control Strategy Report (INCSR), Volume 2, Money Laundering and
Financial Crimes: http://www.state.gov/j/inl/rls/nrcrpt/index.htm.

Regional and International Cooperation: Brazil is a member of the Organization of American
States, the Union of South American Nations, and the Southern Common Market's working
group on terrorism and sub-working group on financial issues, the latter of which focuses on
terrorist financing and money laundering. Brazil participated in meetings of the Organization of
American States’ Inter-American Committee Against Terrorism.

CANADA




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Overview: Canada remained one of the United States' closest counterterrorism partners. In
October, Public Safety Minister Vic Toews said the Canadian government “is committed to
ensuring that Canada remains at the forefront of global efforts to counter terrorism.” Canada and
the United States cooperated bilaterally through the Cross Border Crime Forum Sub-group on
and the Bilateral Consultative Group on Counterterrorism.

On December 7, President Barack Obama and Prime Minister Stephen Harper announced action
plans for the Beyond the Border (BTB) and Regulatory Cooperation Council (RCC) initiatives,
designed to deepen border management partnership and enhance security. The complementary
plans promote transparency, efficiency, security, and the accelerated flow of people and trade
across the U.S.-Canada border.

The BTB action plan specifically seeks to create policy guidelines for addressing threats as early
as possible and to coordinate screening through an integrated U.S.-Canada entry and exit system.
Additional BTB priorities include cooperating on efforts to counter violent extremism,
improving information sharing to leverage limited resources, and augmenting the ability of
governments and communities to respond to both natural and man-made threats, including
natural disasters and health security threats.

Legislation and Law Enforcement: The Canadian government passed one counterterrorism-
related bill and introduced a second that remained under consideration.

       On March 23, C-42, the Strengthening Aviation Security Act, which provides legal
        authority for Canadian officials to share information with the United States for the
        purposes of the Secure Flight program, received Royal Assent (head of state approval) in
        the 40th Parliament and entered into force immediately.
       C-10, the Safe Streets and Communities Act, rolled together nine draft crime and national
        security bills from the 40th Parliament into one omnibus crime bill. It includes the
        former S-7, “An Act to deter Terrorism and Amend the State Immunity Act,” that would
        allow terrorism victims to sue terrorists and terrorist entities – and in some cases foreign
        states that have supported terrorist entities – for loss or damage suffered as a result of
        their acts. At year’s end, C-10 had passed the House of Commons and had been referred
        for Committee study in the Senate.

Legal actions:
    On March 4, Shareef Abdelhaleem, a member of the so-called Toronto 18 who was
       convicted for his participation in a bomb plot in 2006, was sentenced to life in prison
       with no chance of parole for ten years. Abdelhaleem is the last of the eleven members
       tried to be sentenced. (The Toronto 18 planned to bomb several Canadian targets,
       including Parliament Hill, Royal Canadian Mounted Police (RCMP) headquarters, and
       nuclear power plants).
    On March 29, authorities arrested Mohamed Hersi at Toronto's Pearson International
       Airport. Hersi was allegedly en route to Somalia to join al-Shabaab. Police charged him
       with attempting to participate in terrorist activity and counseling terrorist participation.
       Hersi was freed on bail.


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       On June 30, the Supreme Court granted leave to Piratheepan Nadarajah and Suresh
        Sriskandarajah to appeal their extradition to the United States to stand trial on charges of
        attempting to purchase surface-to-air missiles and other weaponry in the United States for
        the Liberation Tigers of Tamil Eelam. Authorities released the men on bail in January
        pending their application to the Supreme Court. The Supreme Court had not specified a
        date to hear the appeal.

Cooperation sought during the previous five years in the investigation or prosecution of an act of
international terrorism against U.S. citizens or interests, included:

       On January 19, Canadian authorities arrested Canadian-Iraqi citizen Faruq Khalil
        Muhammad in response to U.S. charges that he helped coordinate Tunisian terrorists
        believed responsible for separate suicide attacks in Iraq in 2009 that killed five U.S.
        soldiers outside a U.S. base and seven people at an Iraqi police complex. Faruq’s appeal
        regarding his extradition continued at year’s end.
       On November 3, the Supreme Court rejected a federal government application for a
        hearing to extradite Canadian citizen Abdullah Khadr, brother of Guantanamo detainee
        Omar Khadr and eldest son of Usama bin Ladin-associate Ahmed Khadr. The decision
        effectively upheld a lower-court ruling that had prevented Khadr's extradition to the
        United States. According to usual practice, the court gave no reasons for dismissing the
        application.

Countering Terrorist Finance: Canada is a member of the Financial Action Task Force
(FATF) and the Asia/Pacific Group on Money Laundering, a FATF-style regional body; and is a
supporting nation of the Caribbean Financial Action Task Force. Canada was also an observer in
the Council of Europe's Select Committee of Experts on the Evaluation of Anti-Money
Laundering Measures and the Financial Action Task Force on Money Laundering in South
America, another FATF-style regional body.

The Charities Directorate of the Canada Revenue Agency (CRA) revoked the charitable status of
the World Islamic Call Society of Canada (WICS-Canada) and the International Relief Fund for
the Afflicted and Needy (IRFAN). The CRA uncovered that WICS-Canada operated under the
direction of, and received its funding from, WICS-Libya, an organization founded by former
Libyan ruler Muammar Gaddafi and funded through allocations made by Gaddafi from the
“Jihad Fund.” CRA also found IRFAN-Canada provided significant financial support to Hamas,
a designated terrorist organization in Canada.

The Financial Transactions and Reports Analysis Centre of Canada (FINTRAC), Canada's
Financial Intelligence Unit (FIU), reported a record 777 case disclosures in fiscal year 2010-
2011. Of those cases, 151 were related to terrorist financing and other threats to Canada's
security. FINTRAC signed eleven new bilateral agreements with foreign FIUs that allowed for
the exchange of money laundering and terrorist financing information.

On March 21, the British Columbia Court of Appeals ruled that the six-month sentence handed
to Prapaharan Thambirthurai in 2010 for knowingly raising US $2,600 to benefit the Liberation


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Tigers of Tamil Eelam was appropriate. The federal government appealed the sentence, arguing
that it did not properly reflect the seriousness of the terrorist financing charge.

For further information on money laundering and financial crimes, we refer you to the 2011
International Narcotics Control Strategy Report (INCSR), Volume 2, Money Laundering and
Financial Crimes: http://www.state.gov/j/inl/rls/nrcrpt/index.htm.

Regional and International Cooperation: Canada is a founding member of the Global
Counterterrorism Forum and co-chaired its Sahel Regional Capacity Building Group. Canada is
an active member of the Organization for Security and Cooperation in Europe, the United
Nations, the G8, Asia-Pacific Economic Cooperation, Association of Southeast Asian Nations
(ASEAN)/ASEAN Regional Forum, the International Civil Aviation Organization, the
International Maritime Organization, and the Organization of American States.

Canada’s Counterterrorism Capacity Building Program, created in 2005, provided training,
funding, equipment, and technical and legal assistance to states enabling them to prevent and
respond to terrorist activity in seven areas:
    1. Border security;
    2. Transportation security;
    3. Legislative, regulatory and legal policy development, legislative drafting, and human
       rights and counterterrorism training;
    4. Law enforcement, security, military and intelligence training; chemical/biological/
       radiological/nuclear and explosives terrorism prevention, mitigation, preparedness,
       response and recovery;
    5. Combating terrorism financing;
    6. Cyber security, and
    7. Critical infrastructure protection.

Countering Radicalization and Violent Extremism: The RCMP's National Security
Community Outreach program promoted interaction and relationship-building with communities
at risk of radicalization. The Department of Public Safety's (DPS) Cross-Cultural Roundtable on
Security fostered dialogue on national security issues between the government and community
leaders. In its 2011-2012 priorities, the DPS articulated its intention to work with other
government departments to develop policy responses to strengthen Canada's domestic capacity to
counter violent extremism. The government also worked with non-governmental partners and
concerned communities to deter violent extremism through preventative programming and
community outreach.

CHILE

Overview: The Government of Chile continued its efforts to counter domestic terrorism, a
phenomenon mainly composed of local anarchist groups carrying out small-scale bomb attacks.
U.S. and Chilean officials collaborated on several counterterrorism projects throughout the year,
including investigating whether an international smuggling network had any nexus to terrorism
and carrying out several training programs that strengthened Chile's ability to prevent and
counter terrorism.

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2011 Terrorist Incidents: There were approximately 23 improvised explosive devices (IEDs)
that were detonated, deactivated, or found, the vast majority of which were located in Santiago.
Officials believed that these IEDs were tied to anarchist activity. The typical modus operandi
was to place IEDs composed of gunpowder inside of a fire extinguisher in front of businesses;
banks were most frequently targeted. The majority of the IEDs were crudely built, characterized
as “noise bombs,” were used late at night, and did not appear to be designed to kill or injure
people. However, they did have the potential to injure passersby in the immediate vicinity. The
only casualty in 2011 occurred when one of the anarchists was severely burned and lost his
hands when the device he planted detonated prematurely.

On March 21, a small explosive device detonated outside the U.S. Binational Center in Vina del
Mar. The explosion caused minor damage, but no one was injured. The bombing occurred
hours prior to President Barack Obama’s arrival. No group claimed responsibility for the attack.

Two IEDs detonated at a memorial to former Chilean political figure Jaime Guzman, directly
across the street from the U.S. Embassy. Neither caused injuries nor was aimed at U.S. citizens.
The first IED detonated on August 14; the second was used on August 16.

Anarchists targeted high-profile areas, such as the National Cathedral, Grupo Copesa
headquarters (a major media publisher), and a Public Prosecutor's office following the October 4
release of 13 terrorists accused of planting bombs following a court decision to dismiss evidence
it determined was obtained illegally.

Chilean law enforcement agencies also confronted sporadic low-level violence throughout the
year related to indigenous land disputes. The Coordinadora Arauco Malleco, a domestic group
primarily operating in the Biobio and Araucania regions of Chile that seeks recovery of former
indigenous lands – sometimes through violent means – claimed responsibility for several of the
attacks.

Legislation and Law Enforcement: The U.S. Federal Bureau of Investigation finalized an
agreement with the Chilean Investigative Police to exchange biometric information under the
South American Fingerprint Exchange program. U.S. officials collaborated with the Servicio
Medical Legal (Chile's official forensic service) to implement the latest version of the Combined
DNA Indexing System, certify the laboratory, and ensure that laboratory personnel receive
appropriate training. Chile is the only country in South America using this version, and as such,
is a regional leader in biometrics. Chile participated in the Department of State’s Antiterrorism
Assistance program.

Countering Terrorist Finance: Chile is a member of the Financial Action Task Force on
Money Laundering in South America, a Financial Action Task Force-style regional body and the
Egmont Group. In 2011, a bill was introduced that would modify and establish specific roles for
the Financial Analysis Unit in tracking the financing of terrorist activities. Chile has a large and
well-developed banking and financial sector with an established Anti-Money Laundering/
Counterterrorism Financing regime. All banks, financial institutions, and companies involved in
money transfers were required to report suspicious transactions. Chile used a “list” approach to

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identify predicate offenses for money laundering, which include narcotics trafficking, terrorism
in any form, the financing of terrorist acts or groups, illegal arms trafficking, kidnapping, fraud,
corruption, child prostitution, pornography, and some instances of adult prostitution.

For further information on money laundering and financial crimes, we refer you to the 2011
International Narcotics Control Strategy Report (INCSR), Volume 2, Money Laundering and
Financial Crimes: http://www.state.gov/j/inl/rls/nrcrpt/index.htm.

Regional and International Cooperation: Chile is actively involved in both multilateral and
regional organizations, including the United Nations (UN), Organization of American States
(OAS), and Asia Pacific Economic Cooperation (APEC), and incorporated their
recommendations into its security strategy. Chile also collaborated on bilateral and sub-regional
activities to prevent terrorism through the Southern Common Market, and participated in
international initiatives such as the Global Initiative to Combat Nuclear Terrorism.

During the year, the Chilean government was involved in UN discussions on the framework of
the Global Counterterrorism Strategy, and also participated in programs carried out by the
Executive Secretariat of the OAS’ Inter-American Committee Against Terrorism and the
Terrorism Working Group of APEC's Counterterrorism Task Force.

COLOMBIA

Overview: Colombia has struggled for nearly half a century with a number of extremely violent
and complex terrorist organizations working to overthrow or destabilize the national government.
Overall, the number of attacks and casualties rose, as the Revolutionary Armed Forces of
Colombia (FARC) reverted to hit and run attacks rather than large unit encounters, while the
number of known and suspected terrorists killed, captured, or surrendered fell. The Colombian
Ministry of Defense and National Police (CNP) succeeded in striking several major blows
against terrorist forces, however, most notably the November 4 killing of FARC Supreme
Commander Guillermo Leon Saenz Vargas, alias “Alfonso Cano.”

2011 Terrorist Incidents: Colombia experienced a large number of terrorist attacks by the
FARC and the National Liberation Army (ELN). Still, the manpower and mobility of both
groups were significantly reduced in the last decade, forcing them to adopt more traditional
guerilla tactics. Nevertheless, the FARC and ELN continued to pose a serious threat to
Columbia’s security. The frequency of incidents increased in September, as illegal armed groups
attempted to disrupt public order during the run-up to the October 30 elections. The increased
frequency of attacks continued through November, partly in reprisal for the killing of Alfonso
Cano earlier that month. There were no significant terrorist incidents specifically targeting U.S.
citizens or U.S. government facilities.

Notable terrorist incidents:
    On February 3, 30 CNP personnel were wounded in an ambush on an Explosive
       Ordinance Disposal unit in Puerto Rondon, a small town on the Venezuelan border. The
       unit and other officers had been summoned to investigate a report of a possible
       improvised explosive device in the middle of the road.

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       On February 11 in San Miguel, Putumayo, a home-made mortar device fired by
        suspected FARC terrorists landed near a CNP post, killing five civilians, including a
        child, and wounding two other children.
       On June 25, suspected ELN rebels attacked a CNP outpost in Colon Genova, Narino,
        with explosives and small-arms fire, killing eight civilians and wounding four.
       On September 18, home-made mortars launched towards the Colombian Army base in La
        Macarena, Meta Department, injured several civilians.
       On the day of the October 30 elections, suspected ELN terrorists in Arauca Department
        opened fire on the armored convoy of Albeiro Vanegas, Vice President of the House of
        Representatives. Vanegas was unharmed, but his driver was killed.

Legislation and Law Enforcement: Overall law enforcement cooperation between Colombia
and the United States was outstanding. Colombia extradited more people to the United States
than any other country, with 119 alleged criminals in 2011. Unlike previous years, none of the
119 cases were blocked by the Colombian high courts. Evidence sharing and joint law
enforcement operations also occurred in a fluid and efficient manner.

Colombian authorities were exceptionally helpful in assisting U.S. authorities on approximately
20 kidnapping and homicide cases involving U.S. citizens, and the CNP also provided judicial
and investigative assistance in a handful of terrorism cases involving non-Colombian
international terrorist organizations.

Colombia continued to participate in the Department of State’s Antiterrorism Assistance (ATA)
program. ATA provided Colombia with anti-kidnapping, computer forensics, dignitary
protection, and leadership training to enable Colombia to expand its role as a regional provider of
counterterrorism-related training to other countries in the Western Hemisphere.

Countering Terrorist Finance: Colombia is a member of the Financial Action Task Force of
South America Against Money Laundering, a Financial Action Task Force-style regional body.
Colombia continued to cooperate with the United States to block terrorists' assets and Colombian
authorities and police carried out several operations during the year to arrest and charge financial
support networks of the FARC. Aerial and manual eradication of illicit drugs in Colombia, key
to targeting terrorist group finances, destroyed approximately 117,000 hectares of illegal coca
crops and 288 hectares of poppy plants as of December 19, thus depriving terrorist groups of
significant revenue streams. All Colombian financial institutions immediately closed drug
trafficking and terrorism-related accounts on Colombian government orders or in response to
sanctions designations by the U.S. Departments of State and Treasury.

For further information on money laundering and financial crimes, we refer you to the 2011
International Narcotics Control Strategy Report (INCSR), Volume 2, Money Laundering and
Financial Crimes: http://www.state.gov/j/inl/rls/nrcrpt/index.htm.

Regional and International Cooperation: Colombia is a founding member of the Global
Counterterrorism Forum, and was actively involved in the United Nations (UN), Organization of
American States (OAS), and the Union of South American Nations. The Colombian government
frequently integrated the recommendations of the UN and OAS into its security decisions.

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Colombia also chaired the Iran Sanctions Committee of the UN Security Council. The CNP
recently assumed responsibility for coordinating with INTERPOL and maintained an
INTERPOL office of approximately 70 analysts, agents, and support staff.

Colombia continued to provide training to its regional partners. In the past three years, the CNP
has provided training to over 11,000 police officers from 21 Latin American and African
countries, as well as Afghanistan. Colombia has provided basic and advanced helicopter pilot
training to Mexican, Honduran, Guatemalan, and Salvadoran counterparts, and provided
advanced counterterrorism training to members of Special Forces units from around the world.

Countering Radicalization and Violent Extremism: Colombia employed a robust and modern
multi-agency approach to countering radicalization and extremism aimed at encouraging
members and entire units of the FARC and ELN to demobilize and reintegrate with society. The
Colombian armed forces and police used a number of fixed and mobile radio transmitters to
broadcast strategic messaging to potential deserters. Such messaging can also be seen in print,
television, and a number of creative alternative media. Colombian rebels and paramilitaries who
choose to demobilize are entered into a formalized process of debriefing, counseling, relocation,
and job placement assistance. Recidivism rates were moderate to low.

ECUADOR

Overview: Ecuador's greatest counterterrorism and security challenge remained the presence of
Colombian terrorist groups in the extremely difficult terrain along its porous 450-mile border
with Colombia. Ecuador continued to respond to this threat but it faced resource constraints and
limited capabilities. The Correa administration, while still maintaining that the Colombian
conflict was mainly Colombia's responsibility, repeated its opposition to encroachments by
armed groups across its borders and increased its military presence in the north to discourage
incursions by these groups. Ecuador's security forces continued limited operations against
Revolutionary Armed Forces of Colombia (FARC) trafficking, training, and logistical resupply
camps along the northern border.

2011 Terrorist Incidents: Ecuador experienced a rash of pamphlet bombings (which involves
using explosives under a large number of pamphlets in order to physically disseminate them)
towards the end of 2011.

       On November 17, an improvised explosive device (IED) exploded inside the Ministry of
        Labor in Quito. On November 22, an IED exploded inside a provincial health clinic in
        Guayaquil and a separate IED exploded near a Guayaquil restaurant. The perpetrators
        used the three bombs to deliver pamphlets protesting the “unconstitutional” firing of
        government employees. The Guerilla Army of the People N-15 (this group claimed
        responsibility for bombing a television station in 2009) and the heretofore unknown
        Revolutionary Insurgent Armed Forces of Ecuador claimed responsibility for the first two
        bombs. No group claimed responsibility for the third.
       On December 19, three separate pamphlet bombs exploded in front of a business building
        in Guayaquil and in public parks in Quito and Cuenca between 10:15 and 10:30 am.
        Although not identical, the pamphlets had a common theme protesting the official visit of

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       Colombian President Juan Manuel Santos, who arrived earlier that morning. No group
       claimed responsibility.

Although the intent of these bombs was to gain attention for political positions and none of the
bombs resulted in serious injury or structural damage, the November 17 bomb used enough
explosive to cause significant injuries and could have been fatal.

Legislation and Law Enforcement: Active alien smuggling rings in Ecuador continued to raise
concerns about the transit of individuals with terrorism connections, particularly as it continued
to allow visa-free entry to all but nine countries. Ecuadorian law enforcement dismantled one
such ring involving 66 foreign nationals on March 10.

On December 14, Ecuador announced that it would increase the Plan Ecuador budget, an agency
organized under the Ministry of Security to stabilize the border, from about $4 million to $13
million. The Ecuadorian military conducted more than 200 operations to help secure the
northern border area against illegally armed groups between January and October, seizing small
arms and munitions, drugs, and disrupting illicit trafficking. In November, an Ecuadorian soldier
died in a confrontation with alleged petroleum smugglers with FARC ties. The Ecuadorian
government captured FARC 48th front deputy commander Andres Guaje Chala (alias Danilo) in
June and handed him over to the Colombian government.

Many acts associated with social protest, such as blocking roads, protesting without a permit, or
encouraging protest, can fall under the rubric of “terrorism” and “sabotage,” vaguely-defined
crimes against public welfare or the interests of the state under Ecuadorian law. In some cases,
human rights advocates and opposition leaders argued that the government brought charges of
terrorism against persons for participating in legitimate forms of social protest. Ecuador's
judicial institutions remained weak, susceptible to corruption, and heavily backlogged with
pending cases. While the military and police made numerous arrests, the judicial system had a
poor record of achieving convictions in all types of criminal cases.

Ecuador continued to participate in the Department of State’s Antiterrorism Assistance program.

Countering Terrorist Finance: Ecuador is a member of the Financial Action Task Force of
South America Against Money Laundering, a Financial Action Task Force-style regional body.
Ecuador's anti-money laundering law, in effect since 2010, criminalized the financing of acts
listed as “crimes of sabotage and terrorism” in the penal code. The breadth and effectiveness of
the new law are still unclear. While Ecuador has regulations to confiscate property used in
terrorism or the financing of terrorism, Ecuador lacked adequate procedures for the freezing of
assets and has a lengthy criminal process for confiscating terrorists' assets.

For further information on money laundering and financial crimes, we refer you to the 2011
International Narcotics Control Strategy Report (INCSR), Volume 2, Money Laundering and
Financial Crimes: http://www.state.gov/j/inl/rls/nrcrpt/index.htm.

Regional and International Cooperation: Ecuador and Colombia exchanged ambassadors
following their 2010 restoration of diplomatic relations. Security cooperation has resumed and

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improved. Colombian and Ecuadorian defense ministries signed an agreement June 14 to
exchange border security training and intelligence that included provisions to combat illegal
mining, weapons smuggling, money laundering, and construction of drug smuggling submarines.
Ecuador is a member of the Organization of American States (OAS) and participated in meetings
of the OAS’ Inter-American Committee Against Terrorism.

MEXICO

Overview: The Mexican government remained vigilant against domestic and international
terrorist threats. It increased law enforcement and counterterrorism cooperation with the United
States and other neighbors and took steps to enhance control of its northern and southern
borders. No known international terrorist organization had an operational presence in Mexico
and no terrorist group targeted U.S. citizens in or from Mexican territory. There was no
evidence of ties between Mexican criminal organizations and terrorist groups, nor that the
criminal organizations had political or territorial control, aside from seeking to protect and
expand the impunity with which they conduct their criminal activity.

Legislation and Law Enforcement: The Mexican government continued to improve the
abilities of its security forces to counter terrorism. The United States supported these efforts by
providing training and equipment to Mexican law enforcement and security agencies, sharing
information, and promoting interagency law enforcement cooperation. The United States also
supported Mexican efforts to address border security challenges along its southern and northern
borders and its ports. The U.S. and Mexican governments implemented programs to share
information and jointly analyze transnational threats; promote information and intelligence
sharing; deploy enhanced cargo screening technologies; and strengthen passenger information
sharing. U.S. and Mexican officials also continued coordinated efforts to prevent the transit of
third country nationals who may raise terrorism concerns. On the U.S.-Mexico border, officials
increased coordination of patrols and inspections and improved communications across the
border. On the Mexico-Guatemala-Belize border, Mexico deployed additional security forces
and implemented biometric controls. Mexico remained a critical partner nation in the
Department of State’s Antiterrorism Assistance program, which began to shift its focus from
protection of national leadership training to border security, preventing safe havens, and
protecting critical targets.

The Mexican government aided U.S. efforts to disrupt an Iranian plot to assassinate the Saudi
ambassador to the United States. U.S. officials arrested Iranian-American Manssor Arbabsiar in
New York on September 29 after the Mexican government denied him entry to Mexico and he
was returned to the starting point of his journey. Arbabsiar had planned to contact a Mexican
criminal organization on behalf of elements of the Iranian government.

Countering Terrorist Finance: Mexico is a member of the Financial Action Task Force
(FATF) and the Financial Action Task Force of South America Against Money Laundering, a
FATF-style regional body. As a result of the announcement of a National Strategy for the
Prevention and Elimination of Money Laundering and Financing for Terrorism in 2010, Mexico
issued a number of Anti-Money Laundering/Counterterrorist Finance (AML/CTF) regulations
that strengthen reporting requirements and expand the range of financial entities covered under

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AML/CTF provisions. In April, the government proposed to amend the Federal Criminal Code
to expressly establish that corporate entities are liable for crimes, including cases of terrorist
financing, committed by their legal representatives.

For further information on money laundering and financial crimes, we refer you to the 2011
International Narcotics Control Strategy Report (INCSR), Volume 2, Money Laundering and
Financial Crimes: http://www.state.gov/j/inl/rls/nrcrpt/index.htm.

Regional and International Cooperation: Through the Organization of American States’
Inter-American Committee Against Terrorism and the Central American Integration System,
Mexico has led regional efforts to strengthen capacities to increase security and prevent terrorism
by promoting consultation, increasing law enforcement cooperation, and strengthening border
controls.

PANAMA

Overview: The most direct terrorism threat to Panama was the persistent presence of a small
unit of the Revolutionary Armed Forces of Colombia (FARC), which used the remote Darien
Region as a safe haven. Through the annual PANAMAX exercise, a multinational security
training exercise tailored to the defense of the canal, and the exemplary stewardship of the
Panama Canal Authority, the Panama Canal remained secure. The Panamanian National Frontier
Service (SENAFRONT) undertook several operations against the FARC. Panama took
additional steps to cooperate with Colombia and Costa Rica to secure its borders.

Legislation and Law Enforcement: The Government of Panama continued its efforts to
exercise its sovereignty in the Darien through more aggressive patrolling by security forces. In
January, SENAFRONT raided a FARC camp that contained explosives material as well as radios
and other militarily useful items. In October, SENAFRONT captured two Colombian FARC
members near the village of Matucanti, one after an exchange of fire with eight suspected FARC
guerillas. Another operation in late October destroyed a guerilla camp near the town of Alto
Tuira, 18 kilometers from the Colombian border. On December 13, another clash occurred in the
same area after SENAFRONT discovered hideaways of food and supplies in the area.

In the fall, U.S. Customs and Border Protection installed elements of the Advance Passenger
Information System at Tocumen Airport to collect data to target potentially dangerous and
criminal passengers on all flights in and out of Panama. The system was operating on a limited
basis at year’s end. Mobile security teams at the airport supported by the United States seized
numerous illicit bulk cash transfers.

Panama continued its participation in the Container Security Initiative at Balboa and Manzanillo,
and the Evergreen Colon Container Terminal, and also continued to participate in the
Department of State’s Antiterrorism Assistance program. The U.S. Southern Command-
sponsored Combating Terrorism Fellowship Program has supplemented instructional training
and professional development with Mobile Training Teams and conferences.




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Panama also took steps to improve security on the Costa Rican border. In October, Panama
inaugurated a new border checkpoint station at San Isidrio and has remodeled several of its
SENAFRONT outpost stations on the Costa Rican border.

Countering Terrorist Finance: Panama is a member of the Financial Action Task Force of
South America against Money Laundering, a Financial Action Task Force-style regional body.
Panama had an adequate legal and regulatory framework for countering terrorist finance. One
issue in the regulatory framework, the existence of bearer share corporations, was partially
addressed through the passage of legislation (Law 2 of 2011) requiring lawyers to know their
clients, conduct due diligence on the beneficial ownership of corporations they establish, and
share that information with the authorities upon request. Uneven enforcement of the existing
anti-money laundering and terrorist finance controls, however, coupled with the weak judicial
system, remained a problem. Moreover, the Colon Free Zone, the second largest free zone in the
world, is viewed as particularly vulnerable to abuse for illicit finance. In addition to passage of
Law 2, the Government of Panama took steps to continue to improve the legislative framework
governing financial sector transparency by negotiating and signing 13 Double Taxation Treaties
with Organization of Economic Cooperation and Development (OECD) members, and ratifying
the Tax Information Exchange Agreement with the United States, thus achieving removal from
the OECD’s gray list of tax havens. The Government of Panama cooperated fully in searching
for assets of persons and entities on the UN terrorist finance lists.

For further information on money laundering and financial crimes, we refer you to the 2011
International Narcotics Control Strategy Report (INCSR), Volume 2, Money Laundering and
Financial Crimes: http://www.state.gov/j/inl/rls/nrcrpt/index.htm.

Regional and International Cooperation: The United States and Panama continued to plan for
incidents that could potentially shut down transit through the Panama Canal. In August, Panama
co-hosted the annual PANAMAX exercise, a multinational security training exercise initiated in
2003 that focuses on canal security. The exercise replicated real-world threats and included
specific exercises designed to counter terrorist attacks. Several U.S. government agencies as
well as 17 partner nations participated in the exercise.

Panama participates in United Nations and regional security initiatives, such as the Organization
of American States’ Inter-American Committee Against Terrorism. Panama has a well-
established border commission with Colombia that has been energized since the election of
President Martinelli in 2009. On September 9, 2011, Panama and Costa Rica signed an
agreement to create a Costa Rica-Panama Binational Border Security Commission (Combifront
Panama-Costa Rica) to improve cooperation at the strategic, operational, and tactical levels. In
June, Minister of Security Jose Raul Mulino met with his Mexican counterparts to discuss
forming a similar binational commission.

Countering Radicalization and Violent Extremism: The United States and Panama worked
together to create opportunities for the residents of the Darien region to deter local recruitment
by the FARC. Local youth received vocational and technical training to better prepare them to
find jobs or start their own businesses, while indigenous entrepreneurs obtained assistance to



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improve marketing of their crafts. Community facilities have been constructed along with sports
fields to give members of the community places to meet and come together.

PARAGUAY

Overview: Although Paraguay enhanced counterterrorism efforts, it remained hampered by
ineffective immigration, customs, and law enforcement controls along its porous borders,
particularly the Tri-Border Area (TBA) with Argentina and Brazil. Limited resources, sporadic
interagency cooperation, and corruption within customs, the police, the public ministry, and the
judicial sector impeded Paraguay's law enforcement initiatives.

Continued activity by internal insurgent groups and the resulting public demands for
governmental response kept terrorism in the policy forefront. The Congress passed legislation in
October allowing the government to freeze terrorist financing-related assets. Following terrorist
attacks on police stations in September and October, President Fernando Lugo responded by
mobilizing the military from November to December.

2011 Terrorist Incidents: Since 2008, the leftist Paraguayan People's Army (EPP) has been
active in the northern departments of Paraguay abutting the Brazilian border. The EPP was
believed to be a small, decentralized group operating mainly in Concepcion Department.
Estimates of membership ranged from 20-100 members. It engaged in kidnappings, placing
improvised explosive devices (IEDs), and multiple shootouts with the police and military. For
all of the events below, where responsibility was not claimed by another group, it was widely
suspected that the EPP was responsible:

       In January, an IED exploded at a radio tower in Asuncion. There were no injuries and a
        second IED located nearby was destroyed by police.
       Also in January, the EPP claimed responsibility for an IED attack on a police patrol
        vehicle in Horqueta (a city in north-central Paraguay that has been the site of much of the
        EPP's activity) that injured four officers.
       On September 18, a motorcycle passenger threw an IED at a building in Horqueta that
        housed the prosecutor's office. No one was injured in that attack. Three days later,
        however, eight armed attackers killed two members of the Paraguayan National Police at
        a police outpost 15 km from Horqueta. The attackers used a diversion to lure the police
        outside where they proceeded to use small arms fire and grenades to execute their attack.
       On October 5, EPP snipers attacked a police roadblock established near the same police
        station, wounding a police officer. Two days later the residence of the Chief of Police in
        Horqueta was shot at by unknown assailants.
       On October 24, a sniper attacked the police station in Hugua Nandu wounding two
        officers.

Legislation and Law Enforcement: No significant steps were undertaken specifically to
address border security issues, particularly with respect to Paraguay’s large and generally
unprotected borders with Argentina and Brazil. The minimal police or military presence along
these borders allowed for a virtual free flow of people and contraband along the frontier.


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Following the EPP attacks in September and early October, the Congress proposed, and
President Lugo ratified, a 60-day “state of exception” (similar to a state of emergency), with the
goal of apprehending members of the EPP to reassure the populace, but there were no arrests.
President Lugo then deployed the military to two Paraguayan departments. The EPP's small
size, scattered membership, and location in areas lacking a strong security presence hindered law
enforcement efforts against it.

Paraguay continued to participate in the Department of State’s Antiterrorism Assistance
program.

Countering Terrorist Finance: Paraguay is President Pro Tempore member of the Financial
Action Task Force of South America Against Money Laundering, a Financial Action Task
Force-type regional body. In October, Paraguay passed a law allowing the Secretariat for the
Prevention of Money Laundering to freeze assets related to terrorist financing for a finite period
of time. The new legislation provides better tracking, reporting, and enforcement powers, which
makes it a more effective entity to assist prosecutors in securing convictions for terrorist
financing. There were no convictions for terrorist financing cases in Paraguay in 2011.

Paraguay did not monitor and regulate alternative remittance services, however, the Central Bank
was analyzing how it could monitor and regulate money or value transfer systems, such as
transfer services via cell phones. Paraguay did not monitor non-profit organizations to prevent
misuse and terrorist financing, nor were there any known plans to begin this regulation. For
further information on money laundering and financial crimes, we refer you to the 2011
International Narcotics Control Strategy Report (INCSR), Volume 2, Money Laundering and
Financial Crimes: http://www.state.gov/j/inl/rls/nrcrpt/index.htm.

Regional and International Cooperation: Paraguay is a member of the Organization of
American States and participated in border protection initiatives with the Southern Common
Market and the Union of South American Nations.

PERU

Overview: Peru’s primary counterterrorism concern remained Sendero Luminoso (SL or
Shining Path). Although Peru nearly eliminated SL in the 1990s, the organization is well-
entwined with narcotics trafficking and remained a threat. The Upper Huallaga Valley (UHV)
faction of SL was largely reduced, and in December the faction’s leader publicly acknowledged
defeat. Separately, the much larger and stronger rival SL faction in the Apurimac and Ene River
Valley (VRAE) maintained its influence in that area. The two SL factions combined are
believed to have several hundred armed members, while the number of its supporters in the
urban areas is unknown. Although SL demonstrated less revolutionary dogmatism in its tactics
than in the past, leaders continued to use Peruvian variations of Maoist philosophy to justify their
illicit activities. Involvement in drug production and trafficking provided SL with funding to
conduct operations, improve relations with local communities in remote areas, and recruit new
members.




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Government efforts to improve interagency cooperation, especially in intelligence, and to
strengthen prosecutorial capacity were somewhat successful. Police units specializing in
counterterrorism and counternarcotics conducted several joint operations with the Peruvian
Army in the UHV. SL in the UHV did not conduct any major attacks against law enforcement or
the military, but did kill five civilians it accused of being informants.

The Peruvian government’s position has long been that prosecution of Artemio for terrorism and
narcotics trafficking charges, upon his capture, would be non-negotiable, and this was reiterated
on December 8, when the Ministers of Defense and Interior publicly stated the Humala
government “would not negotiate” terms of surrender.

The Revolutionary Armed Forces of Colombia (FARC) continued to use remote areas along the
Colombian-Peruvian border to regroup and to make arms purchases. Peruvian government
experts believed the FARC continued to fund coca cultivation and cocaine production among the
Peruvian population in border areas, including instances of forced labor or killings related to
cocaine production or trafficking.

2011 Terrorist Incidents: Together, the two factions of SL carried out 74 terrorist acts that
killed five civilians in the UHV, and 14 members of the military in the VRAE. For the first time
since 2003, there were no police casualties. The attacks included:

UHV Faction:
   On January 7, SL killed a 43-year-old civilian and his 19-year-old son in Santo Domingo,
     Huacaybamba Province, Huanuco Region. The bodies were found with a sign written in
     red ink reading, “This is how informants die. Long Live President Gonzalo.”
   SL abducted a civilian from a party in Jose Crespo y Castillo, Leoncio Prado Province,
     Huanuco Region, took him to a bridge, and shot him. His body was found May 2 with a
     sign written in red ink reading, “This is how informants die, and delinquents who act in
     the name of the Party.” The victim had reportedly been charging fines from people in the
     area and claiming to be collecting funds for SL.

VRAE Faction:
   On July 27, SL intercepted and shot a 65-year-old civilian on a motorcycle in Jose Crespo
     y Castillo, Leoncio Prado Province, Huanuco Region. His body was found with a sign
     written in red ink reading, “This is how informants/traitors die. Long live the Peruvian
     Communist Party – Huallaga Base.”
   On December 12, SL conducted two apparently coordinated attacks. In the first attack,
     SL fired shots on a convoy. The driver of a military truck lost control and flipped his
     vehicle, dying from the impact. Four other soldiers were injured in the vehicle, and
     another soldier suffered bullet wounds. In the second attack, SL fired shots on a
     helicopter landing about 10 kilometers from the first site, wounding the pilot.

Legislation and Law Enforcement: President Humala continued reauthorizing 60-day states of
emergency in parts of seven regions in the UHV and the VRAE where SL operated, giving the
armed forces additional authority to maintain public order.


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Authorities collected no biometrics information, and citizens of neighboring countries were
allowed to travel to Peru by land using national identification cards only. There was no visa
requirement for citizens of most countries in Western, Central, and Eastern Europe.

Police killed one and detained 162 suspected terrorists during the year.

SL founder and leader Abimael Guzman and key accomplices remained in prison serving life
sentences on charges stemming from crimes committed during the 1980s and 1990s. About 550
people remained in prison in connection with terrorism convictions or charges. Many others
have been released in recent years, having completed their sentences or been released on parole
after serving three-fourths of their sentence. In October 2009, the Peruvian Congress passed
legislation eliminating parole benefits for convicted terrorists, and in September, the
Constitutional Tribunal, Peru’s highest court, began reviewing a claim brought by the Movement
for Amnesty and Fundamental Rights that the 2009 law was unconstitutional.

Peru participated in the Department of State’s Antiterrorism Assistance program.

Countering Terrorist Finance: Peru is a member of the Financial Action Task Force of South
America Against Money Laundering, a Financial Action Task Force-style regional body. In
May, the Government of Peru announced a “National Plan to Combat Money Laundering and
Terrorist Financing,” which the International Monetary Fund supported. Following the
inauguration of the Humala Administration on July 28, the Prime Minister and the
Superintendent of Banks, Insurance, and Pension Funds (SBS) expressed commitment to
implement this National Plan and to cooperate with the United States to fight financial crimes.

The Government of Peru has not established terrorist finance as a crime under Peruvian
legislation in a manner that would conform to international standards. SBS advocated that
Congress pass a bill to criminalize terrorist financing.

The U.S. Financial Crimes Enforcement Network in April suspended cooperation with the SBS’
Financial Intelligence Unit because of a leak of sensitive information published in the Peruvian
press.

For further information on money laundering and financial crimes, we refer you to the 2011
International Narcotics Control Strategy Report (INCSR), Volume 2, Money Laundering and
Financial Crimes: http://www.state.gov/j/inl/rls/nrcrpt/index.htm.

Regional and International Cooperation: Peru is an active member in the Organization of
American States (OAS), the Union of South American Nations, the Andean Community, and
participated in the OAS’s Inter-American Committee Against Terrorism (CICTE) training and
other events.

VENEZUELA




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Overview: In May, for the sixth consecutive year, the U.S. Department of State determined,
pursuant to section 40A of the Arms Export Control Act, that Venezuela was not cooperating
fully with U.S. antiterrorism efforts. On September 8, pursuant to the Foreign Narcotics Kingpin
Designation Act, the U.S. Department of Treasury designated four senior Venezuelan officials as
acting for or on behalf of the Revolutionary Armed Forces of Colombia (FARC), in direct
support of the group's narcotics and arms trafficking activities.

Venezuela and Colombia continued the dialogue they began in 2010 on security and border
issues. On several occasions during the year, President Chavez said, in reference to the FARC
and National Liberation Army (ELN), that the government would not permit the presence of
illegal armed groups in Venezuelan territory. Venezuela captured and returned four lower-level
FARC and ELN members to Colombia in 2011.

Venezuela maintained its economic, financial, and diplomatic cooperation with Iran as well as
limited military related agreements. On May 24, the U.S. Department of State announced
sanctions against Venezuela's state-owned petroleum company (PDVSA) for delivering at least
two cargoes of reformate (the product of a hydrocarbon reforming process; an intermediate in the
production of fuels such as gasoline) to Iran worth approximately $50 million in violation of the
Iran Sanctions Act, as amended. On May 23, the U.S. Department of State re-imposed sanctions
against the Venezuela Military Industries Company under the Iran, North Korea, and Syria Non-
Proliferation Act because of credible information that it had transferred to or acquired from Iran,
North Korea, or Syria, equipment and technology listed on multilateral export control lists. The
Banco Internacional de Desarrollo C.A., a subsidiary of the Banco de Desarrollo y Exportacion
de Iran, continued to operate in Venezuela despite its designation in 2008 by the U.S. Treasury
Department under Executive Order 13382 (“Blocking Property of Weapons of Mass Destruction
Proliferators and their Supporters").

There were credible reports that Hizballah sympathizers and supporters engaged in fundraising
and support activity in Venezuela.

Legislation and Law Enforcement: In October, Venezuela installed biometric equipment to
register photos and fingerprints of all those entering Margarita Island. The Venezuelan
government said the equipment was intended to help authorities detect criminals or wanted
suspects.

Venezuela did not respond to a second request from the Spanish government for the extradition
of Arturo Cubillas Fontan, a naturalized Venezuelan citizen and employee of the Venezuelan
government, who was wanted in connection with an ongoing investigation regarding alleged
links between the FARC and Basque Fatherland and Liberty (ETA). The second request
included the additional charge that Fontan was an ETA member and leader. Spanish security
forces and Spain’s judicial system continued investigations into allegations of ETA training
camps in Venezuela. In January, in a joint operation with French police, the Civil Guard arrested
an ETA information technology specialist who had previously traveled to Venezuela to train
ETA and Colombian Revolutionary Armed Forces (FARC) members. On June 17, Inaki
Dominguez Atxalandabaso was arrested in France, under a National Court arrest warrant for
allegedly training FARC members in Venezuela.

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Countering Terrorist Finance: Venezuela is a member of the Caribbean Financial Action Task
Force, a Financial Action Task Force-style regional body; the Inter-American Drug Abuse
Control Commission Anti-Money Laundering Group; and the Egmont Group. In 2011,
Venezuela passed a series of counterterrorist financing regulations affecting insurance
companies, securities brokerages, notaries, public registration offices, and operators of casinos,
bingo halls, and slot machines. The regulations required these entities to adopt measures to
assess money laundering and terrorist financing risks and to implement more rigorous controls
for high-risk customers. Venezuela created a special office in the Public Ministry to prosecute
money laundering, financial, and economic crimes. There is no information available regarding
the enforcement of the new regulations or any prosecutions, convictions, or asset seizures related
to terrorist financing. The Venezuelan Constitution prohibits the automatic freezing of assets
and requires a legal process before such action can be taken. For further information on money
laundering and financial crimes, we refer you to the 2011 International Narcotics Control
Strategy Report (INCSR), Volume 2, Money Laundering and Financial Crimes:
http://www.state.gov/j/inl/rls/nrcrpt/index.htm.

Regional and International Cooperation: Venezuela is a member of the Organization of
American States. On December 2-3, Venezuela hosted the inaugural summit of the Community
of Latin American and Caribbean States.




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CHAPTER 3
STATE SPONSORS OF TERRORISM

In order to designate a country as a State Sponsor of Terrorism, the Secretary of State must
determine that the government of such country has repeatedly provided support for acts of
international terrorism. Once a country has been designated, it continues to be a State Sponsor of
Terrorism until the designation is rescinded in accordance with statutory criteria. A wide range
of sanctions are imposed as a result of a State Sponsor of Terrorism designation, including:

       A ban on arms-related exports and sales.
       Controls over exports of dual-use items, requiring 30-day Congressional notification for
        goods or services that could significantly enhance the terrorist-list country’s military
        capability or ability to support terrorism.
       Prohibitions on economic assistance.
       Imposition of miscellaneous financial and other restrictions.

More information on State Sponsor of Terrorism designations may be found online at
http://www.state.gov/j/ct/c14151.htm.

CUBA

Cuba was designated as a State Sponsor of Terrorism in 1982. Current and former members of
Basque Fatherland and Liberty (ETA) continue to reside in Cuba. Three suspected ETA
members were arrested in Venezuela and deported back to Cuba in September 2011 after sailing
from Cuba. One of them, Jose Ignacio Echarte, is a fugitive from Spanish law and was also
believed to have ties to the Revolutionary Armed Forces of Colombia (FARC). Reports
suggested that the Cuban government was trying to distance itself from ETA members living on
the island by employing tactics such as not providing services including travel documents to
some of them. Press reporting indicated that the Cuban government provided medical care and
political assistance to the FARC. There was no indication that the Cuban government provided
weapons or paramilitary training for either ETA or the FARC.

The Cuban government continued to permit fugitives wanted in the United States to reside in
Cuba and also provided support such as housing, food ration books, and medical care for these
individuals.

The Financial Action Task Force (FATF) has identified Cuba as having strategic AML/CFT
deficiencies. Despite sustained and consistent overtures, Cuba has refused to substantively
engage directly with the FATF. It has not committed to FATF standards and it is not a member
of a FATF-style regional body, although in 2011 it did attend a Financial Action Task Force on
Money Laundering in South America meeting as a guest and prepared an informal document
describing its anti-money laundering/counterterrorist financing system.

IRAN



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Designated as a State Sponsor of Terrorism in 1984, Iran remained an active state sponsor of
terrorism in 2011 and increased its terrorist-related activity, likely in an effort to exploit the
uncertain political conditions resulting from the Arab Spring, as well as in response to perceived
increasing external pressure on Tehran. Iran also continued to provide financial, material, and
logistical support for terrorist and militant groups throughout the Middle East and Central Asia.
Iran was known to use the Islamic Revolutionary Guard Corps-Qods Force (IRGC-QF) and
terrorist insurgent groups to implement its foreign policy goals, provide cover for intelligence
operations, and support terrorist and militant groups. The IRGC-QF is the regime’s primary
mechanism for cultivating and supporting terrorists abroad.

In 2011, the United States discovered that elements of the Iranian regime had conceived and
funded a plot to assassinate Saudi Arabia’s Ambassador to the United States in Washington D.C.
Mansour Arbabsiar, an Iranian-born U.S. dual-national working on behalf of the IRGC-QF, was
arrested in September 2011 for his role in the plot; also indicted in the case was an IRGC-QF
officer who remains at large. Arbabsiar held several meetings with an associate whom Iranian
officials believed was a narcotics cartel member. This associate, in fact, was a confidential
source for U.S. law enforcement. The thwarted plot underscored anew Iran’s interest in using
international terrorism – including in the United States – to further its foreign policy goals.

Despite its pledge to support the stabilization of Iraq, Iran continued to provide lethal support,
including weapons, training, funding, and guidance, to Iraqi Shia militant groups targeting U.S.
and Iraqi forces, as well as civilians. Iran was responsible for the increase of lethal attacks on
U.S. forces and provided militants with the capability to assemble explosives designed to defeat
armored vehicles. The IRGC-QF, in concert with Lebanese Hizballah, provided training outside
of Iraq as well as advisors inside Iraq for Shia militants in the construction and use of
sophisticated improvised explosive device technology and other advanced weaponry.

Qods Force provided training to the Taliban in Afghanistan on small unit tactics, small arms,
explosives, and indirect fire weapons, such as mortars, artillery, and rockets. Since 2006, Iran
has arranged arms shipments to select Taliban members, including small arms and associated
ammunition, rocket propelled grenades, mortar rounds, 107mm rockets, and plastic explosives.
Iran has shipped a large number of weapons to Kandahar, Afghanistan, in particular, aiming to
increase its influence in this key province.

During the wave of pro-democracy demonstrations in Syria, Iran provided weapons and training
to assist the Asad regime in its brutal crackdown that has resulted in the death of more than 5,000
civilians. Iran also continued to provide weapons, training, and funding to Hamas and other
Palestinian terrorist groups, including the Palestine Islamic Jihad and the Popular Front for the
Liberation of Palestine-General Command. Since the end of the 2006 Israeli-Hizballah conflict,
Iran has assisted in rearming Hizballah, in direct violation of United Nations Security Council
Resolution 1701. Iran has provided hundreds of millions of dollars in support of Hizballah in
Lebanon and has trained thousands of Hizballah fighters at camps in Iran.

In 2011, Iran remained unwilling to bring to justice senior AQ members it continued to detain,
and refused to publicly identify those senior members in its custody. It also allowed AQ



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members to operate a core facilitation pipeline through Iranian territory, enabling AQ to carry
funds and move facilitators and operatives to South Asia and elsewhere.

Since 2009, the Financial Action Task Force (FATF) has called for its members and the
international community to institute countermeasures to protect their respective financial sectors
as well as the global financial system from the risks – in particular the terrorist financing threat –
posed by Iran. In October 2011, the FATF strengthened its language and again called for
countermeasures against Iran. Iran has had some limited engagement regarding anti-money
laundering/counterterrorist finance and has responded to overtures by multilateral entities such as
the UN’s Global Programme against Money Laundering, but it has failed to criminalize terrorist
financing and require that financial institutions and other obliged entities file suspicious
transaction reports. It has not engaged with FATF and is not a member of a FATF-style regional
body.

SUDAN

Sudan was designated as a State Sponsor of Terrorism in 1993. In 2011, Sudan was a
cooperative counterterrorism partner of the United States.

Elements of several designated terrorist groups including al-Qa’ida (AQ)-inspired terrorist
groups remained in Sudan. The Government of Sudan has reportedly taken steps to limit the
activities of these organizations and worked to disrupt foreign fighters' use of Sudan as a
logistics base and transit point for violent extremists going to Iraq and Afghanistan. However,
gaps remained in the Government of Sudan's knowledge of and ability to identify and capture
these individuals. There was some evidence to suggest that former participants in the Iraqi
insurgency have returned to Sudan and are in a position to use their expertise to conduct attacks
within Sudan or to pass on their knowledge. There was also evidence that Sudanese extremists
participated in terrorist activities in Somalia, activities that the Government of Sudan has also
reportedly attempted to disrupt.

In addition, Palestinian Islamic Jihad (PIJ) and Hamas maintained a presence in Sudan and
Hamas has increased its presence there since late 2011. Hamas leader Khaled Meshaal visited
Khartoum in November 2011, and Hamas political chief Ismail Haniyeh led a delegation of
Hamas officials to Khartoum in late December during a regional tour. In addition, Haniyeh was
President Bashir’s guest of honor at the Sudanese independence celebrations on December 31.
With the exception of Hamas, whose members the Government of Sudan does not consider to be
terrorists, the government does not openly support the presence of terrorist elements within its
borders.

Khartoum also has maintained a relationship with Iran. In 2011, President Bashir and the
Sudanese Ambassador to Iran both met with Iranian President Mahmoud Ahmadinejad to discuss
bolstering political and economic ties between Khartoum and Tehran.

In June of 2010, four Sudanese men sentenced to death for the January 1, 2008 killing of U.S.
diplomat John Granville and his Sudanese driver, escaped from Khartoum’s maximum security
Khobar Prison. That same month Sudanese authorities confirmed that they recaptured one of the

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four convicts and a second escapee was reportedly killed in Somalia in May 2011. The
whereabouts of the other two convicts remained unknown.

Two cases stemmed from the murder of the two U.S. Embassy employees: in the first, the
Sudanese Supreme Court was deliberating on an appeal filed by defense attorneys for the three
surviving men convicted of the two murders requesting that their death sentences be commuted.
The second case was the trial against five people allegedly involved in the escape of the four
convicts from Khobar prison. The last court session on this case was held on November 22.

Sudan is a member of the Middle East North Africa Financial Action Task Force, a Financial
Action Task Force (FATF)-style regional body. Through the FATF’s International Cooperation
Review Group process, Sudan has made significant progress in the establishment and
development of its Anti-Money Laundering/Counterterrorist Finance (AML/CTF) regime.
Toward the end of 2011, Sudan introduced an inspection program for banks. Sudan has not yet
implemented adequate procedures for identifying and freezing terrorist assets, or ensured an
effective supervisory program for AML/CTF compliance. Sudan’s Financial Intelligence Unit is
not fully functional.

SYRIA

Designated in 1979 as a State Sponsor of Terrorism, Syria continued its political support to a
variety of terrorist groups affecting the stability of the region and beyond, even amid significant
internal unrest. Syria provided political and weapons support to Hizballah in Lebanon and
continued to allow Iran to resupply the terrorist organization with weapons. The external
leadership of Hamas, the Palestine Islamic Jihad (PIJ), the Popular Front for the Liberation of
Palestine (PLFP), and the Popular Front for the Liberation of Palestine-General Command
(PFLP-GC), among others, were based in Damascus and operated within Syria's borders though
Hamas began leaving the country in late 2011 over disagreements regarding Syria’s use of
violence against protestors. Statements supporting terrorist groups like Hamas and Hizballah
consistently permeated government speeches and press statements.

There was a decline in the number of foreign fighters entering northern Iraq from Syria in 2011.

President Bashar al-Asad continued to express public support for Palestinian terrorist groups as
elements of the resistance against Israel. Damascus provided exiled individuals safe haven in
Syria.

Added to the terrorist operatives calling Damascus home, Iraqi Baathists continued to congregate
in the Syrian capital with some of them calling for violence against the Iraqi government, Iraqi
civilian targets, and American and coalition forces within Iraq. Al-Rai Television, a television
station owned by wanted international fugitive and U.S. Specially Designated National (SDN)
Iraqi Baathist Mishaan al-Jaburi, broadcast from a suburban Damascus location, and transmitted
violent messages in support of terrorism in Iraq throughout the year.

Syria was mired in significant civil unrest for most of 2011. Terrorist attacks have gradually
increased on Syrian soil during this period, culminating in twin suicide attacks in Damascus on

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December 23. On April 29, armed assailants fired upon three police officers in the city of Homs,
killing one and wounding two. On August 2, an attack in Idlib Province killed a political figure.

In none of these instances did any group claim responsibility. These and other attacks during the
period of unrest have elicited responses from the government pointing toward al-Qa’ida
involvement in Syria. As part of a broader strategy during the year, the regime has attempted to
portray Syria as a victim of terrorism rather than a purveyor of it.

Syria has laws on the books pertaining to counterterrorism and terrorist financing, but it largely
used these legal instruments against opponents of the regime, including political protesters and
other members of the growing oppositionist movement. Furthermore, these laws were not
enforced against Hamas, Hizballah, or the various Palestinian rejectionist groups based in
Damascus.

Syria continued its strong partnership with fellow state sponsor of terrorism, Iran. Asad
continued to be a staunch defender of Iran's policies. Iran also exhibited equally energetic
support for Syrian regime efforts to put down the growing protest movement within Syria.

Syria remained a source of concern regarding terrorist financing. Industry experts reported that
60 percent of all business transactions were conducted in cash and that nearly 80 percent of all
Syrians did not use formal banking services. Despite Syrian legislation that required money-
changers to be licensed by the end of 2007, many money-changers in 2011 continued to operate
illegally in Syria's vast black market, estimated to be as large as Syria's formal economy.
Regional hawala networks remained intertwined with smuggling and trade-based money
laundering and were facilitated by notoriously corrupt customs and immigration officials. This
raised significant concerns that some members of the Syrian government and the business elite
were complicit in terrorist finance schemes conducted through these institutions.

Syria is a member of the Middle East North Africa Financial Action Task Force, a Financial
Action Task Force (FATF)-style regional body. It has been in the FATF International
Cooperation Review Group process, under which it has made progress on its Anti-Money
Laundering/Counterterrorist Finance (AML/CTF) regime. In 2011, Syria was named in the
FATF Public Statement for its lack of progress on implementing adequate procedures for
identifying and freezing terrorist assets, ensuring that financial institutions are aware of and
comply with their obligations to file suspicious transaction reports in relation to AML and CTF
and ensuring that appropriate laws and procedures are in place to provide mutual legal
assistance.




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CHAPTER 4
THE GLOBAL CHALLENGE OF CHEMICAL, BIOLOGICAL,
RADIOLOGICAL, OR NUCLEAR (CBRN) TERRORISM

Nonproliferation efforts have been a top U.S. priority for decades, reducing the amount of
chemical, biological, radiological, or nuclear (CBRN) material produced and stored by states,
restricting the diversion of materials and expertise for illicit use, and preventing the trafficking of
CBRN weapons and related material. Yet CBRN materials and expertise remain a significant
terrorist threat based on: terrorists’ stated intent to acquire and use these materials; the nature of
injury and damage these weapons can inflict; the ease with which information on these topics
now flows; and the dual-use nature of many relevant technologies and precursors, making them
difficult to control. While efforts to secure CBRN material across the globe have been largely
successful, the illicit trafficking of these materials persists, including instances involving highly
enriched uranium in 2010 and 2011. These examples suggest that caches of dangerous material
may exist on the black market and that we must complement our efforts to consolidate CBRN
materials and secure facilities with broader efforts to detect, investigate, and secure CBRN
materials that have fallen outside of proper control. We must remain vigilant if we hope to
prevent terrorist groups from obtaining the means and methods for generating CBRN weapons.

A number of international partnerships have either the explicit or the implicit purpose to combat
the CBRN threat from terrorists. Organizations and initiatives concerned with chemical and
biological weapons use international conventions and regulations to reduce stockpiles of
material, regulate the acquisition of dual-use technology, and eliminate trade of specific goods.
Nuclear and radiological initiatives and programs focus on promoting peaceful uses of nuclear
material and energy, safeguarding against diversion, and countering the smuggling of radioactive
and nuclear material. U. S. participation within, and contribution to these groups is vital to
ensure our continued safety from the CBRN threat.

The Proliferation Security Initiative (PSI): Announced in 2003, the PSI has increased
international capability to address the challenges associated with interdicting Weapons of Mass
Destruction, their related components, and their means of delivery. The PSI remains an
important tool in the global effort to combat CBRN material transfers to both state and non-state
actors of proliferation concern. As of December 31, 2011, 98 states have endorsed the PSI
Statement of Interdiction Principles, by which states commit to undertake specific actions to halt
the trafficking of WMD and related materials. In 2011, the PSI countries engaged in the
following activities:

       The Department of State led Ship Boarding Agreement bilateral workshops with
        Mongolia, Colombia, and St. Vincent and the Grenadines;
       U.S. Africa Command sponsored maritime security Exercise Phoenix Express;
       U.S. Southern Command sponsored Panama Canal security exercise PANAMAX;
       U.S. Pacific Command sponsored Critical Capabilities and Practices (CCP) Workshop, a
        Regional Operational Experts Group (OEG) meeting in Hawaii, and a Global OEG
        meeting hosted by Germany in Berlin.



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The Global Initiative to Combat Nuclear Terrorism (GICNT): The GICNT, which is co-
chaired by the United States and Russia, is an international partnership of 83 nations and four
official observer organizations dedicated to strengthening individual and collective capacity to
prevent, detect, and respond to a nuclear terrorist event. Partners engage in multilateral activities
and exercises designed to share best practices and lessons learned on a wide range of nuclear
security and terrorism issues. To date, partners have conducted nearly 50 multilateral activities,
and 7 senior-level meetings, in support of these nuclear security goals. In 2011, eight activities
occurred to promote the sharing of best practices on the topics of nuclear forensics, nuclear
detection, crisis messaging, and emergency preparedness and response.

Nuclear Trafficking Response Group (NTRG): The NTRG is an interagency group focused
on coordinating the U.S. government response to incidents of illicit trafficking in nuclear and
radioactive materials overseas, including radiation alarms. The NTRG works with foreign
governments, and the international facilities where diversions occurred, to secure smuggled
nuclear material, prosecute those involved, and develop information on smuggling-related threats
including potential links between smugglers and terrorists. The Department of State chairs the
NTRG, which includes representatives from the nonproliferation, law enforcement, and
intelligence communities.

Nuclear Smuggling Outreach Initiative (NSOI): The NSOI seeks to enhance partnerships
with key countries around the world to strengthen capabilities to prevent, detect, and respond to
incidents of nuclear smuggling. It relies upon bilateral partnerships to improve these capabilities
and on donor partnerships for financial support. The NSOI has completed Joint Action Plans and
developed anti-nuclear smuggling cooperative projects with nine countries, including completion
of new joint action plans with Moldova and Slovakia. The NSOI has also developed donor
partnerships with 12 countries and three international organizations resulting in foreign
contributions of more than $51 million to anti-nuclear smuggling projects.

Preventing Nuclear Smuggling Program (PNSP): The U.S. Preventing Nuclear Smuggling
Program (PNSP) works closely with the NSOI and other U.S. programs to address critical gaps
in countries at risk for illicit trafficking of nuclear and radioactive materials. The PNSP looks
for opportunities to leverage foreign funding, or for situations in which no other assistance is
available, to improve partner capabilities to respond to nuclear smuggling. The PNSP leads a
U.S. effort aimed at developing specialized counter nuclear smuggling teams for foreign partners
that integrate layers of response expertise including law enforcement, intelligence, prosecution,
and technical capabilities. To coordinate each layer of response expertise, PNSP helps partner
countries develop and exercise national response plans. The PNSP also works to promote
international nuclear forensics cooperation, a priority identified in the 2010 Nuclear Security
Summit Work Plan.

Export Control and Related Border Security Program (EXBS): Through the EXBS
Program, the Department of State leads the interagency effort to build independent capabilities to
detect, deter, interdict, investigate, and prosecute illicit transfers of Weapons of Mass
Destruction (WMD), WMD-related items, and advanced conventional arms in over 60 countries.
EXBS delivered over 500 training activities in 2011, promoting the adoption, implementation,
and enforcement of comprehensive strategic trade controls. These trainings improve the

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capability of partner states to prevent transfers of dual-use items to end-users for purposes of
proliferation or terrorism. EXBS is also actively involved in efforts to combat WMD smuggling
through enhanced border security and has provided equipment and training to develop the ability
to detect, deter, and interdict illicit smuggling of radioactive and nuclear materials, WMD
components, and other weapons-related items at ports of entry and across borders. In 2010-11,
EXBS conducted over 50 bilateral and regional training activities, and delivered detection and
identification equipment to bolster border security in 35 countries. EXBS works in harmony
with, and complements, the Department of Homeland Security Container Security Initiative, the
Department of Energy International Nonproliferation Export Control Program, the Second Line
of Defense Program, the Megaports Initiative, and other international donor assistance programs.
EXBS programs improve the ability of partner nations to combat WMD proliferation threats and
fulfill important U.S. and international commitments, including UN Security Council Resolution
1540, the Proliferation Security Initiative, and the Global Initiative to Combat Nuclear
Terrorism.

Second Line of Defense (SLD): Under its SLD Program, the Department of Energy’s National
Nuclear Security Administration (DOE/NNSA) cooperates with partner countries to provide
radiation detection systems and associated training to enhance their capabilities to deter, detect,
and interdict illicit trafficking of special nuclear and radiological materials across international
borders. The SLD Program provides mobile radiological detection equipment to selected
countries for use at land borders and internal checkpoints and includes two components: the Core
Program and the Megaports Initiative. The Core Program began with work in Russia, and has
since expanded to include former Soviet states in the Caucasus, Eastern Europe, and other key
regions, providing equipment for land border crossings, feeder seaports, and international
airports.

Global Threat Reduction (GTR): GTR programs work to prevent terrorists from acquiring
CBRN expertise, materials, and technology across the globe. By engaging scientists,
technicians, and engineers with CBRN expertise, GTR seeks to prevent terrorist access to
knowledge, materials, and technologies that could be used in a CBRN attack against the U.S.
homeland. In 2011, GTR was actively engaged in front line countries including Pakistan, Iraq,
Yemen, and Afghanistan. GTR programs have expanded to meet emerging CBRN proliferation
threats worldwide and focus on promoting biological, chemical, and nuclear security in those
countries where there is a high risk of CBRN proliferation.

Biological Weapons Convention Inter-Sessional Work Program: An agreement was reached
at the December 2011 Five-Year Review Conference to restructure work for the next five years
to include:
      Standing agenda items on strengthening national implementation measures, which are
        critical to nonproliferation, promoting public health, and combating bioterrorism;
      Identifying and responding to relevant developments in science and technology and steps
        to guard against the misuse of science; and
      Promoting greater cooperation and assistance, particularly in countering and responding
        to outbreaks of infectious disease.




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National Strategy for Countering Biological Threats: In November 2009, President Obama
approved a new national strategy to provide greater policy cohesion and coordination for U.S.
efforts to prevent state or non-state actors from acquiring or using biological weapons. While
efforts to mitigate the consequences of the use of biological weapons are dealt with through other
policy and strategic frameworks, federal agencies have developed detailed implementation plans
and are actively coordinating efforts in support of the Strategy’s seven key objectives:

   1.   Promote global health security
   2.   Reinforce norms of responsible/beneficent conduct
   3.   Obtain timely/accurate insight on current/emerging risks
   4.   Take reasonable steps to reduce potential for exploitation
   5.   Expand capability to disrupt, apprehend and attribute
   6.   Communicate effectively with all stakeholders
   7.   Transform international dialogue on biological threats




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CHAPTER 5
TERRORIST SAFE HAVENS (UPDATE TO 7120 REPORT)

                            1.a TERRORIST SAFE HAVENS

Terrorist safe havens described in this report include ungoverned, under-governed, or ill-
governed physical areas where terrorists are able to organize, plan, raise funds, communicate,
recruit, train, transit, and operate in relative security because of inadequate governance capacity,
political will, or both.

AFRICA

Somalia. With its long unguarded coastline, porous borders, continued political instability, and
proximity to the Arabian Peninsula, Somalia provided opportunities for terrorist transit and
remained a major safe haven in 2011. Terrorists were able to organize, plan, raise funds,
communicate, recruit, train, and operate in relative security in these areas because of inadequate
security, justice, and governance capacity at all levels. With the assistance of the African Union
Mission in Somalia (AMISOM) and Somalia’s neighbors, the Transitional Federal Government
(TFG) made significant gains in degrading al-Shabaab capability and liberating areas from al-
Shabaab administration. However, foreign fighters and al-Shabaab members remained in many
parts of south and central Somalia and continued to mount operations within Somalia and in
Kenya. The TFG cooperated with U.S. counterterrorism efforts.

Al-Shabaab leaders have established and supported a number of training camps in southern
Somalia for young Somali and foreign recruits to al-Shabaab. In some camps, AQ-affiliated
foreign fighters often led the training and indoctrination of the recruits. Many al-Shabaab
fighters, however, are clan-based militias primarily interested in defeating the TFG and
AMISOM forces.

According to independent sources and non-governmental organizations engaged in demining
activities on the ground, there was little cause for concern for the presence of WMDs in Somalia.

The Trans-Sahara. The primary terrorist threat in this region was al-Qa’ida in the Islamic
Maghreb (AQIM). Though its leadership remained primarily based in northeastern Algeria,
AQIM factions also operated from a safe haven in northern Mali, from which they transited to
other areas in the Maghreb and Sahel, such as Libya, Niger, and Mauritania. In 2011, AQIM
continued to conduct small scale ambushes and attacks on Algerian security forces in
northeastern and southern Algeria. Most of AQIM’s recent terrorist activities have been kidnap-
for-ransom operations in the Sahel region.

Mali. Mali cooperated with U.S. counterterrorism efforts but lacked the capacity to control
much of the vast, sparsely populated northern regions; however, it has shown increased political
will to deny AQIM and other criminal organizations safe haven, as demonstrated by Operation
Benkan, an increased military presence in the north, and arrests of AQIM-affiliated individuals.



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Although the Special Program for Peace, Security and Development in the North, whose
overarching goal was to reestablish state authority in northern Mali, was well underway, the
return of Tuareg rebels from Libya and the fourth Tuareg rebellion have complicated this effort
and caused a withdrawal from the region by Malian government forces. Significant challenges
remained and were exacerbated by the rebellion, including dealing with long-existing smuggling
activities integral to the local economy, controlling long and porous international borders, and
winning the hearts and minds of local populations, who have shown a proclivity for enabling
AQIM's presence for financial gain as well as conflict avoidance rather than ideological affinity.

AQIM factions based in northern Mali used the area to conduct kidnappings – some of which
have resulted in the murder of Western hostages – and limited attacks on Algerian, Nigerien, and
Mauritanian security personnel. While regional governments took steps to counter AQIM
operations, there remains a need for foreign assistance in the form of law enforcement and
military capacity building.

SOUTHEAST ASIA

The Sulu/Sulawesi Seas Littoral. The numerous islands in vicinity of the Sulawesi Sea and the
Sulu Archipelago make it a difficult region for authorities to monitor, and a range of licit and
illicit activities that occur there, including worker migration, tourism, and trade, pose additional
challenges to identifying and countering the terrorist threat. Indonesia, Malaysia, and the
Philippines have improved efforts to control their shared maritime boundaries, including through
the U.S.-funded Coast Watch South radar network, which is intended to enhance domain
awareness in the waters south-southwest of Mindanao. Nevertheless, the expanse remained
difficult to control. Surveillance was improved but remained partial at best, and traditional
smuggling and piracy groups have provided an effective cover for terrorist activities, such as
movement of personnel, equipment, and funds. The United States has sponsored the Trilateral
Interagency Maritime Law Enforcement Working Group (TIAMLEW) since 2008 and this has
resulted in better coordination of Malaysia, Indonesia, and the Philippines on issues of
interdiction and maritime security.

WMD trafficking, proliferation, and the spread of WMD-applicable expertise have been
concerns in this region, given the high volume of global trade that ships through the region as
well as the existence of proliferation networks looking to exploit vulnerabilities in states’ export
controls.

The Southern Philippines. Terrorist operatives have sought safe haven in areas of the southern
Philippines, specifically in the Sulu archipelago and Mindanao. Philippine government control
and the rule of law in this area are weak due to rugged terrain, poverty, and local Muslim
minority resentment of central governmental policies. Jemaah Islamiya fugitives and the Abu
Sayyaf Group constituted the primary terrorist presence in the southern Philippines, although the
New People’s Army also maintained a presence there.

THE MIDDLE EAST



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Iraq. In 2011, the Government of Iraq was aware of the extent of terrorist activities occurring in
its territory, and Iraqi leaders and security forces expended considerable effort to counter terrorist
groups. However, the level of counterterrorism pressure exerted by security forces varied by
region. Al-Qa’ida in Iraq (AQI) is no longer supported by many in the Sunni community. Iraqis
in Baghdad, Anbar, and Diyala Provinces, and elsewhere, continued to oppose the group. Iraq
cooperated with U.S. counterterrorism efforts.

The Iraqi government has made progress in preventing the proliferation and trafficking of WMD
both within and across its borders. The United States is working with Iraq to implement
comprehensive strategic trade controls and improve security at facilities that house biological
and chemical materials. The United States provided border security assistance focused on
detecting and interdicting strategic goods to Iraqi enforcement agencies. Furthermore, Iraq has
established a radioactive source regulatory infrastructure, the Iraq Radioactive Source
Regulatory Authority (IRSRA). The United States has an ongoing program to assist IRSRA with
securing dangerous radioactive sources used in medical oncology programs. The U.S.
Department of Energy has also provided Iraq with hand detection devices that are being used to
detect radiological material at border crossings in a program established by IRSRA.

Lebanon. The Lebanese government does not exercise complete control over all regions in the
country or its borders with Syria and Israel. Hizballah militias control access to parts of the
country by Lebanon’s security services, including the police and army, which allowed terrorists
to operate in these areas with relative impunity. Palestinian refugee camps were also used as
safe havens by Palestinian armed groups and are used to house weapons and shelter wanted
criminals.

The Lebanese security services conducted frequent operations to eliminate Palestinian safe
havens and to capture terrorists, but they did not target or arrest Hizballah members. The
Lebanese Armed Forces (LAF) and Internal Security Forces (ISF) continued to participate in
U.S. counterterrorism training programs and have improved in their ability to conduct successful
operations.

Lebanon is not a source country for WMD components, but the primary concern is that
Lebanon’s porous borders will make the country vulnerable to being used as a
transit/transshipment hub for proliferation-sensitive transfers. LAF, ISF, Customs, and other
ministries participated in Export Control and Related Border Security training programs with the
objective of preventing the trafficking of weapons of mass destruction and establishing a
comprehensive strategic trade control program. Hizballah’s continued ability to receive
sophisticated munitions via Iran and Syria requires that we continue to aggressively monitor this
issue.

Yemen. Yemen cooperated with U.S. counterterrorism efforts in 2011. Yemen’s long-term
challenges of lack of governmental presence in much of the country and porous borders were
exacerbated in 2011 by political instability, allowing AQAP to retain existing safe havens in
Yemen and establish new ones. In a tactical change, AQAP captured territory in and around the
Abyan governorate cities of Ja’ar and Zinjibar, near Aden, in spring 2011. The Yemeni
government was well-aware of this development and its security forces have engaged in daily

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skirmishes with AQAP and affiliated fighters through the end of the year, in an attempt to regain
control of the city. At the end of 2011, AQAP controlled about half of Zinjibar and continued to
have a presence throughout Abyan.

AQAP also had a significant presence in Azzan in Shabwah and Wadi ‘Abidah in Ma’rib, as well
as in the governorates of Al Bayda, Al Jawf, Sa’dah, and Hadramawt, all of which represented
potential safe havens, which the government of Yemen has been unable to eliminate for various
reasons. These include logistics, morale, and leadership problems prevalent throughout the
Yemeni military, as well as the past year’s strong focus on the political crisis in Sanaa.

Yemen’s political instability makes the country vulnerable for use as a transit point for WMD-
related materials. In the past three years, progress in developing strategic trade controls has been
undermined by ongoing civil unrest, protests, and economic problems.

SOUTH ASIA

Afghanistan. The Government of Afghanistan, in concert with the International Security
Assistance Force and the international community, continued its efforts to eliminate terrorist safe
havens and build security, particularly in the country’s south and east where insurgents
threatened stability. The Taliban, the Haqqani Network, Hezb-e-Islami Gulbuddin, al-Qa’ida
(AQ), Lashkar-e-Tayyiba, and other groups continued to use territory across the border in
Pakistan as a base from which to plot and launch attacks within the region and beyond. AQ
leadership in Pakistan maintained its support to militants conducting attacks in Afghanistan and
provided funding, training, and personnel to facilitate terrorist and insurgent operations.

The potential for WMD trafficking and proliferation was a concern in Afghanistan because of its
porous borders and the presence of terrorist groups. The U.S. government worked with the
Government of Afghanistan to implement comprehensive strategic trade controls. In August
2010, the Export Control and Related Border Security Assistance (EXBS) program assisted the
Government of Afghanistan in drafting a Strategic Goods Law. This law was still pending final
approval at year’s end in the Ministry of Justice. In addition, EXBS contributed to strengthening
Afghanistan’s enforcement capacity through participation in a regional cross-border training
program.

Pakistan. Portions of Pakistan’s Federally Administered Tribal Areas (FATA), Khyber
Paktunkhwa (KPK), and Baluchistan, remained a safe haven for terrorist groups seeking to
conduct domestic, regional, and global attacks. Given the inability of Pakistan’s security
agencies to fully control portions of its own territory, the Haqqani Network, the Quetta Shura,
and Lashkar-e-Tayyiba, exploited the country to plan and direct operations. Militant groups
operating from within Pakistan conducted attacks against Afghan targets and Coalition Forces
across the border. In October, the U.S. Secretary of State, the Director of Central Intelligence,
and the Chairman of the Joint Chiefs of Staff met with their counterparts in Islamabad to outline
concrete steps Pakistan’s civilian and military leadership must take to join pressure the Haqqani
Network from both sides of the Afghanistan-Pakistan border, and to eliminate terrorist safe
havens.


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The potential for WMD trafficking and proliferation remained a concern in Pakistan due to the
porous borders and the challenging security situation. Export Control and Related Border
Security Assistance (EXBS) has enabled Pakistani officials to gain expertise in properly
classifying items of proliferation concern and learn about export licensing best practices.

WESTERN HEMISPHERE

Colombia’s borders with Venezuela, Ecuador, Peru, Panama, and Brazil include rough terrain
and dense forest cover, which coupled with low population densities and historically weak
government presence, have often allowed for potential safe havens for insurgent and terrorist
groups, particularly the Revolutionary Armed Forces of Colombia (FARC). The FARC,
retreating in the face of Colombian military pressures, has operated with relative ease along the
fringes of Colombia’s borders, and used areas in neighboring countries along those borders to
rest and regroup, procure supplies, and stage and train for terrorist attacks. The FARC elements
in these border regions often engaged the local population in direct and indirect ways, including
relying on them for recruits and logistical support. This is seemingly less so in Brazil and Peru
where potential safe havens were addressed by stronger government actions. Both Ecuador and
Panama appeared to be strengthening their efforts against Colombian narcotics trafficking and
terrorist groups.

Trafficking of WMD and related materials could be a potential concern in this region, given the
high volume of global trade that ships through, and the existence of proliferation networks
looking to exploit vulnerabilities in states’ export controls.

Venezuela. The FARC and the National Liberation Army (ELN) reportedly continued to use
Venezuelan territory to rest and regroup, engage in narcotics trafficking, and extort protection
money and kidnap Venezuelans to finance their operations. On several occasions during the
year, President Chavez asserted that “we cannot permit the presence in Venezuela of any body,
armed or not, that is outside of the law." Venezuela and Colombia continued their dialogue on
security and border issues. Venezuela captured and deported four lower-level FARC and ELN
members to Colombia during the year. The Venezuelan government also captured a fifth FARC
member, but despite the government's initial statement that it would deport him to Colombia, he
remained in Venezuela at year's end.

The Tri-Border Area (Argentina, Brazil, and Paraguay). No credible information showed
that Hizballah, HAMAS, or other Islamist extremist groups used the Tri-Border Area for terrorist
training or other operational activity, but the United States remained concerned that these groups
used the region to raise funds from local supporters. The Argentine, Brazilian, and Paraguayan
governments have long been concerned with arms and drugs smuggling, document fraud, money
laundering, trafficking in persons, and the manufacture and movement of contraband goods
through the Tri-Border Area.

As two of a handful of countries with uranium enrichment capabilities, Brazil and Argentina
have the potential to serve as a source of WMD-related equipment, materials, and proliferation-
sensitive nuclear fuel cycle expertise. The goal of the Export Control and Related Border
Security Assistance (EXBS) Program in Brazil and Argentina is to encourage strengthening their
strategic trade control systems and to foster their regional leadership by providing

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nonproliferation training and technical expertise to their neighbors. With EXBS cooperation,
Brazil was quick to develop a Commodity Identification Training (CIT) course to train
enforcement officials in identification of proliferation-sensitive goods and is now conducting
domestic training without EXBS support. Likewise, Argentina has worked with EXBS on WMD
violation training for judges and prosecutors to help enforce criminal and administrative
sanctions and has also begun providing CIT training to neighboring countries.


              1.b STRATEGIES, TACTICS, AND TOOLS FOR DISRUPTING OR
                            ELIMINATING SAFE HAVENS

I. COUNTERING TERRORISM ON THE ECONOMIC FRONT

In 2011, the Department of State designated two new Foreign Terrorist Organizations, the Army
of Islam and the Indian Mujahideen; and listed 20 organizations and individuals as Specially
Designated Global Terrorists under Executive Order (E.O.) 13224. The Department of the
Treasury also designated organizations and individuals under EO 13224.

FTO/EO group designations:
 On May 23, the Department of State designated the Army of Islam (AOI) as a Foreign
  Terrorist Organization, and as a Specially Designated Global Terrorist under E.O. 13224.
  (See Chapter 6, Foreign Terrorist Organizations, for further information on AOI.)
 On September 19, the Department of State designated the Indian Mujahideen (IM)as a
  Foreign Terrorist Organization, and as a Specially Designated Global Terrorist under E.O.
  13324 on September 15. (See Chapter 6, Foreign Terrorist Organizations, for further
  information on IM.)

E.O. 13224 designations:
 On January 20, the Department of State designated Tehrik-e Taliban Pakistan (TTP) leader
   Qari Hussain. Hussain was one of TTP’s top lieutenants and also served as the trainer and
   organizer of the group’s suicide bombers. Hussain gained particular notoriety for his heavy
   recruitment of children. Hussain is widely considered to be the deadliest of all TTP’s
   commanders, and is believed to have trained the Jordanian militant Humam Muhammad Abu
   Mulal al-Balawi, the double-agent whose suicide mission on December 30, 2009, in Khost,
   Afghanistan, killed seven Americans. Hussain was rumored to have been killed in an
   October 2010 airstrike in Pakistan, and his death was confirmed in February 2011.
 On March 24, the Department of State designated al-Qa’ida in the Arabian Peninsula
   (AQAP) operative and bombmaker Ibrahim Hassan Tali al-Asiri. Al-Asiri gained particular
   notoriety for the recruitment of his younger brother as a suicide bomber in the failed
   assassination of Saudi Prince Muhammed bin Nayif. Al-Asiri is suspected of designing the
   underwear bomb used in the December 24, 2009 attempted airline bombing.
 On May 26, the Department of State designated Russia-based Caucasus Emirate. Led by
   Specially Designated Global Terrorist Doku Umarov (designated by the Department of State
   in 2010), Caucasus Emirate uses bombings, shootings, and attempted assassinations in its
   efforts to provoke a revolution and expel the Russian government from the North Caucasus
   region. In December 2009, investigators identified a May 15, 2009 suicide bombing outside

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    the Chechnya Interior Ministry as being organized by Umarov. The group was responsible
    for the November 2009 attack on the high-speed Nevsky Express and the January 2011
    bombing at the Domodedovo airport that killed 36 people.
   On June 16, the Department of State designated al-Qa’ida in the Arabian Peninsula (AQAP)
    operative Othman al-Ghamdi. As a member of AQAP’s leadership and the group’s
    operational commander, al-Ghamdi has been involved in raising funds for AQAP’s
    operations and activities in Yemen. He has also worked with other AQAP members to plan
    and stockpile weapons for future attacks.
   On August 19, the Department of State designated Army of Islam (AOI) leader Mumtaz
    Dughmush. Under Dughmush’s guidance, the AOI has launched rocket attacks against Israel
    from Palestinian territories, kidnapped two journalists – one American and one British – and
    is also responsible for early 2009 attacks on Egyptian civilians in Cairo and Heliopolis,
    which resulted in casualties and deaths.
   On September 22, the Department of State designated Muhammad Hisham Muhammad
    Isma’il Abu Ghazala, a HAMAS operative, who also has links to Iran, and is an improvised
    explosive device (IED) facilitator with connections to multiple IED networks throughout
    northern Iraq.
   On October 4, the Department of State designated al-Qa’ida in Iraq (AQI) leader Ibrahim
    ‘Awwad Ibrahim ‘Ali al-Badri, also known as Abu Du’a. Abu Du’a is in charge of running
    AQI operations in Iraq and directing large scale operations, such as the August 28, 2011
    attack on the Umm al-Qura mosque in Baghdad, which killed prominent Sunni lawmaker
    Khalid al-Fahdawi. Under Abu Du’a’s guidance, the group claimed 23 other attacks south of
    Baghdad between March and April 2011.
   On October 11, the Department of the Treasury designated five individuals tied to the Iranian
    plot to assassinate the Saudi Arabian Ambassador to the United States, including Manssor
    Arbabsiar, a naturalized U.S. citizen, for acting on behalf of the Islamic Revolutionary Guard
    Corps-Qods Force (IRGC-QF) to pursue the failed plot; IRGC-QF commander Qasem
    Soleimani; senior IRGC-QF officials Hamed Abdollahi and Abdul Reza Shahlai, and IRGC-
    QF official Ali Gholam Shakuri, who met with Arbabsiar on several occasions to discuss the
    assassination and other planned attacks.
   On October 13, the Department of State designated Greece-based Conspiracy of Fire Nuclei.
    It has targeted civilians and government officials, both Greek and foreign, in an attempt to
    spread its violent anarchist ideology. The group first emerged in January 2008 with a wave
    of fire-bombings against car dealerships and banks in Athens and Thessaloniki, and in late
    2010 claimed responsibility for a series of mail bombs delivered to both foreign embassies in
    Greece and the Berlin offices of the German Chancellor.
   On November 22, the Department of State designated Abdullah Azzam Brigades (AAB)
    bomb maker and operative Ibrahim Suleiman Hamad Al-Hablain (aka Abu Jabal). Abu Jabal
    is suspected to have been the bomb maker for the July 28, 2010 attempted bombing of a
    Japanese oil tanker, the M. Star.
   On December 15, the Department of State designated Saleh al-Qarawi, a senior leader and
    operative for the Abdullah Azzam Brigades (AAB), the Lebanese militant organization that
    claimed responsibility for the July 28, 2010 maritime bombing of a Japanese oil tanker, the
    M. Star. Prior to his activity with AAB, al-Qarawi fought against U.S. forces in Fallujah,
    Iraq and worked with now-deceased Abu Musab al-Zarqawi, the former head of al-Qa’ida in
    Iraq.

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   In 2011, the Department of State designated three senior members of the Haqqani Network.
    Badruddin Haqqani, who has command and control over all Haqqani Network activities, and
    helps lead insurgents and foreign fighters in attacks against targets in southeastern
    Afghanistan, was designated on May 11. Sangeen Zadran, who helps lead fighters in attacks
    across Southeastern Afghanistan, has orchestrated the kidnappings of Afghans and foreign
    nationals, and is believed to have planned and coordinated the movement of hundreds of
    foreign fighters into Afghanistan, was designated on August 16. Mali Khan was designated
    on November 1. Before his capture, Mali Khan oversaw hundreds of fighters, and was
    involved in the planning and execution of attacks in Afghanistan against civilians, coalition
    forces, and Afghan police. The Department of the Treasury also designated four Haqqani
    Network members in 2011, including Khalil Haqqani (February 9), Ahmed Jan Wazir (June
    21), Fazl Rabi (June 21), and Abdul Aziz Abbasin (September 29).
   In 2011, the Department of State designated four members of the terrorist organization
    Basque Fatherland and Liberty (ETA). Miguel de Garikoitz Aspiazu Rubina, and Jose
    Ignacio Reta de Frutos were designated on March 24. Rubina has been charged by Spanish
    court for planning to stage attacks in Valencia to disrupt the 2007 America’s Cup yacht race
    and for the 2006 attack on the Barajas International Airport in Madrid. Frutos is a long time
    ETA operative and explosives expert. ETA military leader Jurdan Martitegui Lizaso was
    designated on September 22. Finally, Jose Antonio Urruticoechea Bengoechea, the longest
    serving active member of ETA, was designated on December 19.

In addition to these actions, on February 10, the Department of the Treasury identified the
Beirut-based Lebanese Canadian Bank (LCB) as a financial institution of primary money
laundering concern under Section 311 of the Patriot Act. LCB was identified under Section 311
for its links to Hizballah and for the bank’s role in facilitating the activities of an international
narcotics trafficking and money laundering network operating across five continents. The action
exposed a vast trade-based money laundering scheme that co-mingled profits of used car sales
with narcotics proceeds and funneled them through West Africa into Lebanon. (Section 311
allows the Department of the Treasury to identify a foreign jurisdiction, foreign financial
institution, type of account or class of transactions as a primary money laundering concern.
Section 311 enables the Treasury to cut off foreign financial institutions from the U.S. financial
system on the grounds that they facilitate transactions organized crime or other illicit activity.)

MULTILATERAL EFFORTS TO COUNTER TERRORISM

As addressed in the U.S. National Strategy for Counterterrorism that was released in June 2011,
the United States alone cannot eliminate every terrorist or terrorist organization that threatens our
safety, security, or interests. Therefore, we must join with key partners and allies to share the
burdens of common security. By deepening and broadening the international multilateral
counterterrorism framework, we are drawing on the resources and strengthening the activities of
multilateral institutions at the international, regional, and sub-regional levels to counter violent
extremists who work in scores of countries around the globe. Working with and through these
institutions increases the engagement of our partners, reduces the financial burden on the United
States, and enhances the legitimacy of our counterterrorism efforts.




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The Global Counterterrorism Forum (GCTF). The Global Counterterrorism Forum (GCTF)
was officially launched by Secretary of State Hillary Clinton and Turkish Foreign Minister
Ahmet Davutoğlu on September 22, 2011 in New York, New York. An initiative aimed at
strengthening the international architecture to address 21st century terrorism, the GCTF is a new,
informal, multilateral counterterrorism platform that focuses on identifying critical civilian
needs, mobilizing the necessary expertise and resources to address such needs, and enhancing
global cooperation. It provides a needed venue for national counterterrorism officials and
practitioners to meet with their counterparts from key countries in different regions to share
counterterrorism experiences, expertise, strategies, capacity needs, and capacity-building
programs. The GCTF prioritizes civilian capacity building in areas such as rule of law, border
management, and countering violent extremism.

The 30 founding members of the GCTF are: Algeria, Australia, Canada, China, Colombia,
Denmark, Egypt, the European Union, France, Germany, India, Indonesia, Italy, Japan, Jordan,
Morocco, The Netherlands, New Zealand, Nigeria, Pakistan, Qatar, Russia, Saudi Arabia, South
Africa, Spain, Switzerland, Turkey, the United Arab Emirates, the United Kingdom, and the
United States.

The GCTF consists of a strategic-level Coordinating Committee, co-chaired initially by the
United States and Turkey; five thematic and regional expert-driven working groups; and a small
administrative unit that the United States is hosting for the first few years. Initial working
groups will focus on: 1) the criminal justice sector and rule of law; 2) countering violent
extremism; 3) capacity building in the Sahel; 4) capacity building in the Horn of Africa region;
and 5) capacity building in Southeast Asia.

At the September 2011 launch, in addition to adopting the GCTF’s Political Declaration and
Terms of Reference, GCTF ministers adopted the Cairo Declaration on Counterterrorism and the
Rule of Law and announced that GCTF members had mobilized over US $90 million to
strengthen counterterrorism-related rule of law institutions, in particular, for countries
transitioning away from emergency law. In addition, the United Arab Emirates announced its
intention to host the first-ever multilateral training and research center focused on countering
violent extremism, which will open in Abu Dhabi in late 2012.

The United Nations (UN) is a close partner of and participant in the GCTF and its activities. The
GCTF will serve as a mechanism for furthering the implementation of the universally-agreed UN
Global Counter-Terrorism Strategy and, more broadly, complement and reinforce existing
multilateral CT efforts, starting with those of the UN. (For further information on the GCTF, we
refer you to http://www.thegctf.org/web/guest and http://www.state.gov/j/ct/gctf/index.htm.)

The United Nations (UN). Sustained and strategic engagement at the UN on counterterrorism
issues is a priority for the United States as it is an important forum for setting global
counterterrorism norms and building counterterrorism partnerships and capacities. The United
States engaged with a wide range of UN actors on counterterrorism in 2011. These include:

The Counter-Terrorism Committee (CTC). In 2011, the United States played a leading role
in drafting/supporting UN Security Council Resolution (UNSCR) 1963, which renewed the UN

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CTC’s Counterterrorism Executive Directorate’s (CTED) mandate for three years and broadened
its mandate by placing greater emphasis on prevention and human rights. CTED conducted
several visits in 2011 to countries in Africa, the Middle East, Southeastern Europe, and Southeast
Asia to assess the implementation of UNSCR 1373. Additionally, CTED held a variety of
workshops in South Asia, Southeast Asia and the Pacific, the Sahel, East Africa, and Southeast
Europe that brought together relevant practitioners within these regions to address issues such as
border security, countering terrorist financing, the investigation and prosecution of terrorist
cases, and countering violent extremism.

CTED is well suited to bring together experts and officials to identify practical solutions to
common counterterrorism challenges. The United States continued to help fund and participate
in an initiative that brought together senior prosecutors from across the globe with experience in
handling high-profile terrorism cases. The United States also financed an East African sub-
regional workshop in Nairobi, Kenya in November to build capacity for implementation of
UNSCR 1624 (2005), which calls on Member States to take appropriate steps to prohibit and
prevent the incitement to commit acts of terrorism.

The UNSC 1267 Committee. In June 2011, the UNSC 1267 Committee, which had covered
both al-Qa’ida (AQ) and Taliban sanctions regimes, was split into two committees. The UNSC
1267/1989 Committee now covers AQ-related sanctions, and the UNSC 1988 Committee
manages Taliban-related sanctions. As such, the 1267/1989 Committee added ten new
individuals and two new entities to its Consolidated List in 2011. In conjunction with continued
efforts to list individuals associated with AQ, the Committee also has worked to ensure the
integrity of the list by endeavoring to remove those individuals and entities that no longer meet
the criteria for listing. The Committee also buttressed the Office of the Ombudsperson by
allowing, inter alia, it to make delisting recommendations, an important reform that has
improved the fairness and transparency of the sanctions regime.

The UNSC 1540 Committee. On April 20, 2011, the Security Council unanimously adopted
UNSC Resolution 1977 to extend the mandate of the 1540 Committee for ten years, regarding
the non-proliferation of weapons of mass destruction. The resolution also encouraged Member
States to prepare national implementation plans and urged the Committee to strengthen its role in
facilitating technical assistance for implementing UNSCR 1540. The United States continued to
urge full implementation of UNSCR 1540 by the international community and hosted a
successful domestic visit by the 1540 Committee in September. The visit, the first
comprehensive “country-visit” conducted by the 1540 Committee, provided a snap-shot of U.S.
actions to implement UNSCR 1540 across a range of agencies, and emphasized the “whole-of-
government” approach to implementing the Resolution. The United States also contributed US
$3 million to the UN Trust Fund for Global and Regional Disarmament in order to support
UNSCR 1540 implementation. See Chapter 4, for more information about The Global
Challenge of Chemical, Biological, Radiological, and Nuclear (CBRN) Terrorism.

The Counterterrorism Implementation Task Force (CTITF). Since the adoption of the UN
Global Counterterrorism Strategy in 2006, the Task Force – composed of all UN Member States
and 30 UN entities across the UN system and INTERPOL – has become the focal point for UN
efforts to support implementation of the global framework. In 2011, the United States continued

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to fund a series of workshops aimed at raising awareness of the Strategy in key regions,
including a regional workshop that was held in Windhoek, Namibia in March. The United States
also participated in a series of expert-level workshops organized by CTITF and the UN Regional
Center for Preventive Diplomacy in Central Asia to reaffirm our strong commitment to
supporting the implementation of the UN Global Counter Terrorism Strategy in Central Asia,
which resulted in the adoption of a Joint Action Plan. CTITF also supported the Integrated
Assistance for Countering Terrorism initiative, which seeks to enhance information sharing and
coordination of technical assistance delivery with partnering governments and the different
entities of the UN.

The UN Interregional Crime and Justice Research Institute (UNICRI). In May, UNICRI
and the Dutch non-governmental organization, the International Center for Counterterrorism
(The Hague), launched an initiative on prison disengagement and rehabilitation. The initiative,
sponsored in part by the United States, aims to provide a forum where policymakers,
practitioners, and experts can compare experiences and best practices in this critical area. Two
workshops were held in 2011, with more than 20 countries, a number of key multilateral
organizations, and more than 30 experts participating in these sessions.

The International Civil Aviation Organization (ICAO). ICAO’s Universal Security Audit
Program (USAP) continued to contribute directly to U.S. homeland security by ensuring that
each of ICAO's 191 Member States undergo regular security audits and comply with uniform
aviation security standards. USAP completed 129 second-cycle security audits as of December
2011, following up on initial audits of 181 Member States and Hong Kong. USAP also
conducted 17 assistance missions to help states correct security problems revealed by surveys
and audits. Member States held a series of regional aviation-security conferences calling for
tighter counterterrorism measures. In June, ICAO adopted the Code of Conduct for Safety
Information Sharing, which provides guiding principles to develop a consistent, fact-based, and
transparent response to safety concerns at the State and global levels and to oversee the
collection, sharing, and use of aviation safety information.

The UN Office on Drugs and Crime’s Terrorism Prevention Branch (UNODC/TPB). The
Terrorism Prevention Branch (TPB), in conjunction with UNODC’s Global Program Against
Money Laundering, continued to provide assistance to countries in its efforts to ratify and
implement the universal legal instruments against terrorism. In 2011, the United States
supported the TPB by funding programs to provide counterterrorism training to national
prosecutors and judges in different regions.

The International Atomic Energy Agency (IAEA). The IAEA continued to implement its
Nuclear Security Plan (2010-2013) for countering the threat of terrorism involving nuclear and
other radioactive material. The United States was actively involved in IAEA efforts to enhance
security for vulnerable nuclear and other radioactive materials and associated facilities, and to
reduce the risk that such materials could be used by terrorists.

Group of Eight (G8). France, which held the G8 presidency, hosted the 2011 annual G8
Summit in Deauville where leaders recognized the need for comprehensive counterterrorism
strategies that included security and development-oriented initiatives with full respect for human

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rights, fundamental freedoms, and the rule of law. They also noted the resilience and unity of
communities and countries in the face of terrorism and noted the work of the Roma Lyon
Counterterrorism and Anti-Crime Group, which was committed to working cooperatively on:
transportation security; border security and identity integrity (including biometrics, to ensure the
legitimacy and validity of travel and identity documents); preventing chemical, biological,
nuclear, and radiological terrorism; counterterrorist financing; countering violent extremism and
radicalization leading to violence; and terrorist recruitment.

Financial Action Task Force (FATF) and FATF-Style Regional Bodies (FSRBs). The
Financial Action Task Force (FATF) develops and promotes policies to protect the global
financial system against money laundering and terrorist financing. The FATF has developed a
series of recommendations that are recognized as the international standard for countering money
laundering and the financing of terrorism. They form the basis for a coordinated response to
these threats to the integrity of the financial system and help ensure a level playing field. Over
180 jurisdictions have committed to implement the FATF recommendations. In 2011, the FATF
continued identifying high-risk and non-cooperative jurisdictions and working closely with these
jurisdictions to address deficiencies.

In 2011, the U.S. delegation supported the Plenary on issues of policy, negotiating, and revising
the standards, conducting mutual evaluations, and participating in the Working Groups on issues
of implementation. The United States continued its co-chair roles with Italy on the International
Cooperation Review Group and with Spain on the Working Group on Terrorist Financing and
Money Laundering. The U.S. delegation continued its emphasis on the importance of Targeted
Financial Sanctions and Special Recommendation III, a provision regarding the freezing and
confiscation of assets; and under U.S. joint leadership with the Dutch, the kidnapping for ransom
and maritime piracy for ransom report was adopted and published by the FATF. Additional
work contributed by the United States included participation in the Contact Group on the Central
African Action Group against Money Laundering and engagement with that organization to
become a FATF Style Regional Body (FSRB), examining and revising the FATF-FSRB
relationship, outreach to the private sector, public-private partnerships, and maintaining its
emphasis on non-financial businesses and professions.

The United States played a similar and equally active role in the FSRBs, advising and supporting
the work of the FSRB members as well as the Secretariats, by supporting FSRB-executed
training and workshops, as well as providing technical assistance to both members and the
Secretariats. As such, the United States remained committed to increasing the capacity and
transparency of the Secretariats. Additionally, the United States took part in Contact Groups to
guide outreach for new members, and Expert Review Groups to delve deeply into mutual
evaluation points raised.

European Union (EU). The newly established European External Action Service (EEAS) led
the EU’s engagement with the United States on a range of counterterrorism issues. EEAS
officials, along with counterterrorism officials from the European Commission and the EU
Counterterrorism Coordinator’s office, participated with their U.S. counterparts in bi-annual
discussions. Issues addressed in the dialogues, which took place in June and November, ranged



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from terrorist finance to capacity building in third countries, to transatlantic counterterrorism
cooperation. Specific developments included:

       In January, the United States and EU jointly hosted an expert-level seminar on countering
        violent extremism concerning Somalia and Somali diaspora communities in the United
        States and in EU member states.
       In March, the United States and EU held a joint experts conference on explosives.
        Participants discussed improving information exchange, reducing the misuse of
        chemicals as precursors to explosives, detection of explosives and threats to air cargo,
        research and development; and civil-military cooperation.
       In June, the United States and EU held an experts meeting on Critical Infrastructure
        Protection and signed a joint agreement on secure supply chains.
       In September, the EU became one of the 30 founding members of the new Global
        Counterterrorism Forum (GCTF) co-chaired by the United States and Turkey. The EU
        further agreed to co-chair the GCTF Working Group on the Horn of Africa.
       In November, the United States and EU held the joint “CyberAtlantic” Cyber-security
        exercise in Brussels under the auspices of the U.S.-EU Cyber-security and Cyber-crime
        Working Group.
       In December, the Council of the EU approved, and sent to the European Parliament for
        debate and consent, a new Passenger Name Record agreement to replace the 2007 pact
        that is provisionally being applied.
       The November 2011 U.S.-EU Summit pledged to continue efforts to extend the
        transatlantic partnership on counterterrorism cooperation, both bilaterally and
        multilaterally, including through the United Nations. Leaders also expressed support for
        a continuation of joint efforts to empower diaspora communities to counter violent
        extremism.

Organization for Security and Cooperation in Europe (OSCE). The OSCE was chaired by
Lithuania in 2011 and began the process of consolidating the organization’s counterterrorism
mandate. A new head of the OSCE Action against Terrorism Unit (ATU), an American, was
selected to take over the work of the unit within the Secretariat’s restructured Department to
Address Transnational Threats. U.S. counterterrorism efforts in the OSCE focused on: border
security, critical energy infrastructure protection, travel document security, cyber-security, non-
proliferation, and countering violent extremism. In particular, a U.S.-sponsored workshop on
tourism security highlighted the need for all 56 participating states to develop closer security
collaboration regarding the planning for significant sporting and other high-level international
events and provided a valuable forum for enhancing awareness of the shared challenges and
opportunities throughout the region. Border security training in Central Asia, particularly
through the OSCE’s Border Management Staff College in Dushanbe, also contributed to the
capabilities of border and customs officials to counter threats at the borders. Through the
OSCE/ATU, the United States continued to support initiatives aimed at promoting the role that
women play in countering violent extremism, particularly in Central Asia.

North Atlantic Treaty Organization (NATO). NATO leads the International Security
Assistance Force (ISAF) stability operations against insurgents in Afghanistan. ISAF, in support
of the Government of Afghanistan, conducted operations to degrade the capability and will of the

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insurgency, support the growth in capacity and capability of the Afghan National Security
Forces, and facilitate improvements in governance and socio-economic development to provide a
secure environment for stability. For details regarding ISAF contributions by country, see:
http://www.isaf.nato.int/troop-numbers-and-contributions/index.php.

NATO also continued Operation Active Endeavor, a naval mission that aimed to counter
terrorism by monitoring Mediterranean maritime traffic. Through NATO’s Defense Against
Terrorism program, the Alliance also continued to develop a range of new cutting-edge
technologies to protect troops and civilians against terrorist attacks.

NATO also focused on the protection of critical infrastructure, including energy infrastructure, as
well as harbor security and route clearance. Many of these challenges are being addressed by
NATO’s new Emerging Security Challenges Division.

       NATO-Russia Council (NRC). Founded in 2002, NRC provides a framework for
        security cooperation to address shared challenges, including NATO-Russia
        counterterrorism cooperation. In 2011, NRC completed work on the development stage
        of the Cooperative Airspace Initiative (CAI), which is an aviation counterterrorism
        program that allows participant countries (Poland, Turkey, Norway, and Russia) to share
        tracking data regarding civilian aircraft of concern transiting sensitive border airspace, to
        counter a cross-border hijacking threat. In June, Turkey and Poland participated with
        Russia in the CAI live exercise Vigilant Skies, testing a coordinated counterterrorism
        response across shared borders. Vigilant Skies marked the first time Russian jets
        participated in a live exercise with NATO. Through NRC’s Science for Peace and
        Security Committee, NATO Allies and Russia are working on the STANDEX (“Stand-
        off Detection of Explosive Devices”) project, which is designed to detect and counter a
        terrorist threat to mass transit and other public spaces. NRC also sponsored workshops
        and discussions on counterterrorism topics; for example, in June, it hosted a conference
        on critical infrastructure protection at NATO’s Center of Excellence, Defense Against
        Terrorism, in Ankara, Turkey.

The African Union (AU). In November, African Union Commission (AUC) Chairperson Jean
Ping published the Report of the Chairperson on the Commission on Measures to Strengthen
Cooperation in the Prevention and Combating of Terrorism. The report included sections on
Africa’s vulnerabilities to terrorism, the AU’s legal instruments to fight terrorism, an update on
the AU’s Plan of Action, and a discussion of the AU’s recent counterterrorism efforts. The
report indicated that key determinants of the terrorist threat in Africa were activities in two
regions led by two organizations: al-Qa’ida in the Islamic Maghreb (AQIM) in North and West
Africa, and al-Shabaab in East Africa.

In 2011, the AUC completed its Anti-Terrorism Model Law for use by member states to enact
stronger domestic counterterrorism legislation. The AUC provided guidance to its 54-member
states and coordinated limited technical assistance to cover member states' counterterrorism
capability gaps. The African Center for the Study and Research on Terrorism, based in Algiers,
served as a forum for discussion, cooperation, and collaboration among AU member states and
also served as the AU’s central institution to collect information, studies, and analyses on

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terrorism and terrorist groups and to develop counterterrorism training programs. Additionally,
the first-ever AU Special Representative for Counterterrorism was tasked to coordinate AU
efforts to ensure the effective implementation of the relevant AU legal instruments. The Special
Representative’s efforts also focused on the mobilization of the international community in
support of Africa’s counterterrorism efforts.

Association of Southeast Asian Nations (ASEAN). In 2011, the United States worked closely
with ASEAN to enhance counterterrorism cooperation. In a July meeting with ASEAN Senior
Officials on Transnational Crime, the United States called for increased international cooperation
in countering terrorism and suggested possible new areas for U.S. engagement with ASEAN to
bolster the capabilities of member countries to address terrorism and other transnational criminal
threats. The United States actively participated in counterterrorism-related activities of the 27-
member ASEAN Regional Forum (ARF), including the annual meetings on counterterrorism and
transnational crime (CTTC) and provided substantial support in capacity building through ARF
institutions. The United States supported the CTTC work plan, which focuses ARF efforts on
three priority areas: biological terrorism, narcotics trafficking, and cyber-security and terrorism.
Proposals made by the United States included the ARF Transnational Threat Information-
Sharing Center to utilize and deepen existing regional mechanisms that specialize in information-
sharing and capacity building and a workshop on bio-security.

Asia-Pacific Economic Cooperation (APEC). In 2011, APEC Ministers welcomed a
comprehensive Counterterrorism and Secure Trade Strategy, which endorsed the principles of
security, efficiency, and resilience, and advocates for risk-based approaches to security
challenges across its four cross-cutting areas of supply chains, travel, finance, and infrastructure.
The United States served as the 2011 Chair of the APEC Counter Terrorism Task Force (CTTF)
and directly led initiatives to build the capacity of APEC members to counter terrorist financing,
improve aviation security, and counter terrorist threats against the food supply.

Organization of American States Inter-American Committee against Terrorism
(OAS/CICTE). In March, at the Eleventh Regular Session of CICTE in Washington, D.C., the
33 Member States adopted the Declaration of Renewed Hemispheric Commitment to Enhance
Cooperation to Prevent, Combat, and Eliminate Terrorism. The CICTE Secretariat conducted
117 activities, training courses, and technical assistance missions, which benefited more than
5,800 participants through programs in five areas: border control; critical infrastructure
protection; counterterrorism legislative assistance and terrorist financing; strengthening strategies
on emerging terrorist threats (crisis management); and international cooperation and
partnerships. The United States was a major contributor to CICTE’s training programs and
directly provided funding and/or expert trainers for capacity building programs focused on
maritime security, aviation security, travel document security and fraud prevention, cyber-
security, counterterrorism legislation, and efforts to counter terrorist financing.


            INTERNATIONAL CONVENTIONS AND PROTOCOLS

A matrix of the signatories to the 16 international conventions and protocols can be found here:
https://www.unodc.org/tldb/universal_instruments_NEW.html

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  III. LONG-TERM PROGRAMS/ACTIONS DESIGNED TO REDUCE CONDITIONS
              THAT ALLOW TERRORIST SAFE HAVENS TO FORM

COUNTERING VIOLENT EXTREMISM (CVE). CVE programming seeks to undermine
the terrorist ideology of violence, to provide positive alternatives to those most at-risk of
recruitment into violent extremism, and to increase partner capacity (civil society and
government) to address the drivers of radicalization. CVE activities put particular emphasis on
building capacity at the local level.

Through small grants to U.S. embassies, the Department of State implemented projects that
focused on activities that link at-risk youth with responsible influencers and leaders in their
communities. These activities aim to build that sense of camaraderie through activities that
social and behavioral sciences have demonstrated have positive effects, such as youth sports
leagues, leadership development, and skills and language training. Grants have also supported
the building of youth networks within Muslim majority countries and across countries and
regions to share best practices to push back against violent extremism. Muslim youth also work
with non-Muslim counterparts in these efforts. Programs supported leadership, technology, and
community development training for young Muslims to help build communities that are
indigenously resistant to violent messaging, empowering participants to build bridges between
communities and strengthen the social fabric of their countries.

Generally, CVE programming more closely resembles programs for curtailing recruitment into
militias or gangs than traditional public diplomacy or development programming. It requires
knowledge of where youth are most susceptible to radicalization and why that is so. We ensure
that our areas of focus align with the areas of greatest risk by working with foreign partners and
other U.S. government agencies to identify hotspots of radicalization and to design programs.

       Global Counterterrorism Forum (GCTF) CVE Working Group. To engage our foreign
        government partners on CVE issues, the newly created Global Counterterrorism Forum
        (GCTF) provides a platform for counterterrorism policymakers and experts to work
        together to identify urgent needs, devise solutions, and mobilize resources for addressing
        key counterterrorism challenges. GCTF’s CVE Working Group, one of five expert-
        driven groups, will examine a number of areas, including a) using institutions to counter
        violent extremism; b) studying causes of radicalization that lead to violence; c) measuring
        the impact of CVE programs; and d) countering the violent extremist narrative. The
        Working Group will also help establish the first-ever International Center of Excellence
        on CVE, scheduled to open in Abu Dhabi in 2012, which will serve as the premier
        international center of choice for training, dialogue, collaboration, and research to counter
        violent extremism.

       To counter the terrorist narrative, the Center for Strategic Counterterrorism
        Communications (CSCC) was established in September 2010 to coordinate, orient, and
        inform government-wide public communications activities directed at audiences abroad,
        targeting violent extremists and terrorist organizations – especially al-Qa'ida (AQ) and its

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         affiliates and adherents – by using communication tools to reduce radicalization by
         terrorists.

         CSCC is an interagency effort based in the Department of State that operates under the
         broad policy direction of the White House and an interagency steering committee. CSCC
         works at the interagency level and with communicators in the field to counter terrorist
         narratives and misinformation, drawing on the full range of intelligence information and
         analysis to provide context and feedback for communicators.

         CSCC challenges extremist messages online in Arabic, Urdu, and Somali through
         engagement by the Digital Outreach Team on forums, blogs, media, and social
         networking sites, and by producing and disseminating targeted attributed videos to
         undermine AQ’s propaganda and narrative.

        Engaging Women. CVE places particular emphasis on engaging women to counter
         violent extremism. Women are uniquely positioned to counter radicalization both at
         home and in their communities and are therefore a vital component of our efforts.
         Training civil society and law enforcement to work together and to have greater mutual
         confidence can deliver significant dividends in terms of community resilience. Lastly,
         we seek to amplify the voices of victims of terrorism who can credibly articulate the
         destructive consequences of terrorism and can help to dissuade those contemplating such
         acts.

CAPACITY BUILDING PROGRAMS. As the terrorist threat has evolved and grown more
geographically diverse in recent years, it has become clear that our success depends in large part
on the effectiveness and ability of our partners. To succeed over the long term, we must increase
the number of countries capable of and willing to take on this challenge. We have had important
successes in Indonesia and Colombia, but we must intensify efforts to improve our partners’ law
enforcement and border security capabilities to tackle these threats. Our counterterrorism
capacity building programs – Antiterrorism Assistance Program, Counterterrorist Finance,
Counterterrorism Engagement, the Terrorist Interdiction Program/Personal Identification Secure
Comparison and Evaluation System Program, and transnational activities under the Regional
Strategic Initiatives – are all critically important and work on a daily basis to build capacity and
improve political will. For further information on these programs, we refer you to the Annual
Report on Assistance Related to International Terrorism, Fiscal Year 2011 at
http://www.state.gov/j/ct/rls/other/rpt/161418.htm.

REGIONAL STRATEGIC INITIATIVE. Denying safe haven to terrorists plays a major role
in undermining their capacity to operate effectively and forms a key element of U.S.
counterterrorism strategy. The Department of State’s Bureau of Counterterrorism has developed
the Regional Strategic Initiative (RSI) in key terrorist theaters of operation to collectively assess
the threat, pool resources, and devise collaborative strategies, action plans, and policy
recommendations. In 2011, RSI groups were in place for South East Asia, Iraq and its
neighbors, the Eastern Mediterranean, the Western Mediterranean, East Africa, the Trans-Sahara,
South Asia, and Latin America.



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                               2. SUPPORT TO PAKISTAN

We refer you to http://www.state.gov/s/special_rep_afghanistan_pakistan/133902.htm for the
Pakistan Country Assistance Strategy.

   3. COUNTERTERRORISM COORDINATION WITH SAUDI ARABIA

The United States and Saudi Arabia have a strong bilateral relationship. Multiple high-level
visits in 2011 deepened this relationship at the personal and institutional level and enabled senior
officials from both countries the chance to discuss means of improving coordination. In 2011,
Vice President Joseph Biden, Secretary of Defense Robert Gates, National Security Advisor
Thomas E. Donilon, and Assistant to the President for Homeland Security and Counterterrorism
John O. Brennan, each visited Saudi Arabia, meeting with King Abdullah and other Saudi
officials.

Like other countries in the region, Saudi Arabia sought to find meaningful economic and civic
opportunities for its people, over 65 percent of its population is under 25 years old. The King
has clearly enunciated an economic development agenda, and Saudi Arabia made progress in
addressing economic sources of social discontent, such as housing scarcity, a low public-sector
minimum wage, and the lack of a private-sector unemployment benefit. The King Abdulaziz
Center for National Dialogue continued to promote tolerance and respect for diversity through its
dialogue and awareness-raising programs. In October, as an extension of Saudi Arabia’s efforts
to promote tolerance and dialogue, the Saudi government, in cooperation with the governments
of Spain and Austria, launched the King Abdullah International Centre for Interreligious and
Intercultural Dialogue in Vienna to offer a permanent platform for dialogue between the world’s
major religions.

The United States continued to support the Saudis in the reforms they are undertaking by
facilitating Saudis studying in the United States and other educational exchanges; by
encouraging increased bilateral trade and investment and urging Saudi Arabia to take actions
necessary to attract job-creating partnerships with U.S. companies; and by targeted programming
in areas that include judicial reform, local governance, and women’s entrepreneurship. The
United States encouraged the Saudi government to take concrete steps to increase opportunities
for civic participation; in September, the Saudi government held municipal council elections
(delayed since 2009); also in September, King Abdullah announced that women would be
allowed to participate in future elections (expected in 2015) and that women would be appointed
to future sessions of the Consultative Council.

U.S.-Saudi collaboration was not confined to bilateral issues: With political upheaval across the
region throughout the year, we consulted closely with the Saudi government on regional
stability, including in Yemen, Syria, and Egypt. Working both bilaterally and multilaterally
through the Gulf Cooperation Council and the Arab League, the Saudi government provided
leadership in promoting peaceful transitions. As part of its strategy to support these transitions
and to promote stability throughout the region, the Saudi government significantly increased the
scope of its economic and development assistance.
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        4. BROADCASTING BOARD OF GOVERNORS INITIATIVES:
               OUTREACH TO FOREIGN MUSLIM AUDIENCES

          This section is provided by the Broadcasting Board of Governors (BBG)

Four of the five broadcast entities under the supervision of the Broadcasting Board of Governors
(BBC): the Voice of America (VOA), the Middle East Broadcasting Networks (Alhurra TV,
Radio Sawa, and Afia Darfur), Radio Free Europe/Radio Liberty (RFE/RL), and Radio Free
Asia, provided programming for Muslim audiences in 2011:

       Eighteen of RFE/RL’s broadcast languages – almost two-thirds of the total – were
        directed to regions with majority-Muslim populations, including Iran, Iraq, Afghanistan,
        Azerbaijan, Kosovo, Albania, Kazakhstan, Kyrgyzstan, Pakistan, Tajikistan,
        Turkmenistan, and Uzbekistan. Additional broadcasting regions in the Russian
        Federation included the majority Muslim populations of Tatarstan, Bashkortostan, and
        the North Caucasus.
       VOA’s Persian Service reached some three million Iranians weekly. A majority of those
        surveyed indicated the network has increased their understanding of events in the Middle
        East, Iran, and the United States.
       The Middle East Broadcasting Networks (MBN) broadcast throughout the region to a
        Muslim population estimated at 315 million.
       VOA’s Indonesian Service reached more than 38 million Indonesians each week.
       VOA and RFE/RL provided news and information to Afghanistan and the Afghanistan-
        Pakistan border region in Dari and Pashto. Together, RFE/RL and VOA reached 75.3
        percent of Afghan adults each week.
       Radio Free Asia broadcast to the more than 16 million mainly ethnic Uighur Muslims in
        the Xinjiang Uighur Autonomous Region of northwestern China and Central Eurasia.

The BBG used the latest communications technologies to avoid jamming and to reach new
audiences through digital and other communications tools, such as webchats and blogs.

THE MIDDLE EAST

Arabic. Through its five bureaus/production centers across the Middle East and North Africa,
the networks presented in-depth discussions on subjects not often addressed in Arabic-language
media, such as human rights, freedom of speech, and religion. As part of its coverage of the pro-
democracy protests in the Middle East, Alhurra and Radio Sawa deployed correspondents to key
locations such as Cairo, Alexandria, Tunis, Sanaa, Benghazi, and Tripoli. Thirty correspondents
provided continuous and comprehensive coverage for listeners and viewers across the Middle
East and North Africa.

Phone surveys in Cairo and Alexandria showed that 25 percent of Egyptians tuned to Alhurra to
follow the events in Tahrir Square. At the time, Alhurra Television broadcast to 22 countries in

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the Middle East via Arabsat and Nilesat satellite system. Alhurra’s coverage was named the
People’s Choice Award for the Best Coverage of the Democratic Uprisings by the Association of
International Broadcasting. These awards came despite the restrictions placed on the media by
the ruling regimes.

The Middle East Broadcasting Networks (MBN) also explored the establishment of democratic
institutions in Egypt and Tunisia following the ousting of Hosni Mubarak and Zine El Abidine
Ben Ali, respectively, and covered the first free elections that took place after years of
dictatorship. MBN’s social media platforms spread breaking news about the protests via
Facebook, Twitter, and YouTube. Social media provided an outlet for user-generated content,
such as photos, audio, and videos from the protests.

Radio Sawa was a 24/7 network of stations designed to reach the Arabic-speaking population
under the age of 35. It broadcast 325 newscasts per week about the Middle East, the United
States, and the world. According to international research firms such as ACNielsen, Radio Sawa
had a weekly reach of 14.9 million people in countries where its audience has been measured.

Radio Sawa broadcast on FM in:
    Morocco (Rabat, Casablanca, Tangier, Meknes, Marrakesh, Agadir, and Fes)
    Jordan (Amman and Ajlun)
    The Palestinian Territories (Ramallah and Jenin)
    Kuwait (Kuwait City)
    Bahrain (Manama)
    Libya (Benghazi)
    Qatar (Doha)
    United Arab Emirates (Abu Dhabi and Dubai)
    Iraq (Baghdad, Nasiriya, Basra, Mosul, Kirkuk, Sulimaniya, Fallujah, Ramadi, Al-Hilla,
       Tikrit, Amara, Najaf, Samawa, and Erbil)
    Lebanon (Beirut, North Lebanon, South Lebanon, and Bekaa Valley)
    Djibouti

Radio Sawa also broadcast on medium wave to Egypt, Yemen, Saudi Arabia, and throughout
Sudan; and was available on the Arabsat, Nilesat, and Eutelsat satellite systems.

Iraq. Every week, 67 percent of Iraqi adults – some 12.4 million people – listened to or watched
one of the four BBG broadcasters serving the country: Alhurra TV, Radio Sawa, RFE/RL’s
Radio Free Iraq, and VOA Kurdish. Alhurra was the leading TV channel among hundreds
available by satellite and locally with 22 percent daily and 48.5 percent weekly reach. Radio
Sawa had 23.2 percent weekly reach and was the number one radio station for Iraqis on a
national basis. Radio Free Iraq, with 12.9 percent weekly reach, was among the top five radio
stations for news. VOA Kurdish reached 7.1 percent of Kurdish-speaking Iraqis weekly.

RFE/RL’s Radio Free Iraq. In 2011, Radio Free Iraq provided in-depth coverage and analysis of
the Arab Awakening. It also closely followed the final withdrawal of U.S. military forces from
Iraq. While radio was Radio Free Iraq’s primary platform, iraqhurr.org gained online users. The
Service also had a mobile version of its website and was active on Facebook, Twitter, and

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YouTube. Radio Free Iraq’s SMS service increased public interactivity. Listeners’ feedback sent
in via SMS, as well as via voice mail service, was used to enrich radio programming.

Kurdish. VOA’s Kurdish Service was the only international broadcaster that broadcast to Iraq’s
Kurds in their main dialects, Sorani and Kurmanji. Although the target audience was the Iraqi
Kurd population, the Service regularly covered developments in neighboring Iran, Turkey, and
Syria, all of which have sizable Kurdish minorities. The Service broadcast three hours of radio
programming seven days a week via FM transmitters in the cities of Sulaimania, Kirkuk, Mosul,
Erbil, and Baghdad, delivering extensive coverage of the new government formation in Iraq and
the U.S. withdrawal. Postings on YouTube, Facebook, and Twitter increased the number of
visitors to the service’s Sorani and Kurmanji sites. A 2011 survey indicated an audience increase
in the weekly listening rate to seven percent of Kurdish adults in Iraq.

Iran

VOA Persian. Although the Islamic Republic of Iran (IRIG) worked to jam satellite television
signals, VOA Persian still reached some three million Iranians weekly. While a decrease in
weekly viewers was of concern, the number of people who said they watched within a one-
month period remained strong, at 26.3 percent of the adult population (roughly 12 million
people), indicating that VOA Persian remained a reference point for news. The VOA Persian
website was one of VOA’s most active, with an average of 1.7 million additional visits via
client-based circumvention tools and approximately 600,000 additional visits via web-based
proxy servers. VOA Persian was also actively engaged in the social media space, overseeing a
Twitter feed, twelve Facebook sites, six blogs, and a YouTube channel. These sites had tens of
thousands of users and generated significant discussion.

VOA Persian’s popular show, Parazit (Static), attracted over 19 million Facebook page views in
a month. YouTube recorded another 3.5 million views of the show. A weekly 30-minute
satirical program, Parazit has more Facebook fans than any other Facebook page in Iran.

RFE/RL’s Radio Farda broadcast newscasts at the top of each hour, followed by reports,
features, interviews, and regular segments on youth, women, culture, economics, and politics. In
2011, Radio Farda continued to expand its internet and social media audience and launched a
number of short, lively topical weekly and daily programs:

       Dot Com: Issues discussed on the internet and social media.
       Report Card: Labor issues.
       Hatch: Human rights issues and abuses in Iran and around the world, highlighting civil
        society and human rights.
       Visit: The profile of political prisoners.
       The Scene: The latest news in cinema, theater, and the entertainment world in Iran and
        the world. The program is not only tailored to appeal to a young audience, but it also
        informs the general population on topics that are heavily censored or banned in Iran.

SOUTH ASIA


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Radio Free Afghanistan. According to research, RFE/RL’s Radio Free Afghanistan (Azadi)
was the most listened-to radio broadcaster in Afghanistan in 2011. Afghanistan was the only
country in RFE/RL’s broadcast region where U.S. government-funded broadcasters were the
dominant media outlets. Radio Azadi provided breaking news, in-depth reporting, analysis, and
programming emphasizing democracy, the rights of women and minorities, and religious
tolerance, and also addressed issues facing the country such as corruption and narcotics. The
Service’s call-in shows provided an important platform for discussion and debate as well as a
means of communicating needs and concerns to Afghan officials. Every day the service received
between 200-300 voice mails and messages from listeners. Nearly 400,000 Afghans signed up to
receive news from Radio Azadi on their mobile phones and send citizen journalism reports to the
station, via a subscription-based SMS news service RFE/RL launched in 2010 in partnership
with local mobile phone service provider Etisalat Afghanistan.

VOA’s Afghanistan Service provided radio and television programming to Afghan audiences,
reaching a combined radio and television audience of 9.5 million people, or 60 percent of the
adult population. VOA’s television service, TV Ashna, has become especially popular in urban
centers. In Afghanistan’s top five cities, TV Ashna reached 62 percent of adults weekly, while
its total “all-media” audience was over 71 percent. Special radio programming and segments
covered Eid, Ramadan, and the Haj, with correspondent reports on prayers in mosques in both
Afghanistan and Washington. VOA’s TV Ashna continued its dominance in urban markets,
where almost half of all adults watch the newscast at least once a week. In addition to news of
Afghanistan, Ashna provided the full range of news and views from the United States. In June,
President Obama spoke exclusively to VOA just hours before his national address on the Afghan
troop withdrawal.

Urdu. VOA Urdu’s flagship show, “Khabron Se Agy” (Beyond the Headlines) provided news
and analysis. Story segments such as Muslims’ America, Diaspora, What Would You Do, Hello
America, and Campus are produced to give audiences a well-rounded picture of the United
States. Program segments also targeted youth in Pakistan. Audiences were invited to send their
observations, suggestions, and questions to VOA. The Service also provided an interactive
capability through Facebook and Twitter. Every TV reporter has a Facebook page and responds
to viewers comments. In its six hour live radio broadcast, programming delved into the lives of
Muslims in the United States. Interactive programming with Pakistani-Americans and Pakistani
youth on campus, provided discussion on issues of common interest to the Pakistanis in the
target area and the diaspora. VOA’s weekly combined radio and TV audience in Pakistan was
3.2 million in 2011

The Pakistan/Afghanistan Border Region

BBG research has shown VOA’s Deewa Radio as the market leader in the target region for two
consecutive years (2010 and 2011), reaching 22 percent of Pashtuns. Its daily nine-hour
broadcast to around 40 million Muslims in Pakistan and the border regions of Pakistan and
Afghanistan provided accurate and timely news in an area dominated by state-controlled media,
Taliban-run Mullah Radio, and Jehadi media. The Service launched a one hour “Radio on TV”
show, broadcasting the audio of VOA’s TV product to the region. The show provided news and
analysis and discussed health and other issues relevant to refugees.

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Deewa’s network of 28 stringers reported from one of the world’s most hostile media
environments, providing extensive daily coverage of the FATA, including live reports from the
camps that housed internally displaced people. Journalists in the region received threats from
various parties, but continued to provide objective news coverage. A reporter for Deewa radio
was shot by unidentified gunmen while at evening prayers; a Taliban spokesman claimed
responsibility for the killing.

RFE/RL’s Radio Mashaal (Torch). With its extensive network of local reporters, Radio Mashaal
provided breaking news and in-depth coverage of developments in the Pashtun region, including
the raid that killed Usama bin Ladin. It regularly focused on issues of religious tolerance,
culture, counterterrorism, and promoting understanding. The Service emphasized interaction
with its audience through regular call in shows and voice mails.

Bangladesh. VOA’s Bangla Service reported on events in Bangladesh and in the United States.
This included coverage of Ramadan/Eid celebrations in Bangladesh, Pakistan, and India; and
interfaith activities and dialogues. Bangala Service coverage of U.S. events included remarks by
Members of Congress, Administration officials, and Muslim leaders.

CENTRAL ASIA

Kazakhstan. RFE/RL’s Kazakh Service was delivered primarily through its Internet platform
but also provided two daily hours of radio programming. The web strategy attracted a younger
audience to this bilingual (Kazakh and Russian) site, providing opportunities for interactivity and
exploring new genres such as video reporting. The Service provided innovative coverage of the
April 3 election through crowd-sourcing of violations around the country. The information was
cited by the New York Times and other international media. It was the only media outlet in
Kazakhstan devoting extensive coverage to a Kazakh police crackdown on Kazakh “Wahhabi” –
a topic left untouched by other media due to government sensitivity.

Kyrgyzstan. RFE/RL’s Kyrgyz Service (Radio Azattyk) was one of the most trusted sources of
news and information in Kyrgyzstan, especially during periods of political turmoil. The
Service’s two TV shows were broadcast during prime time hours on National TV with a
combined weekly reach of almost 30% of the population. On the first anniversary of the June
2010 ethnic clashes between Kyrgyz and Uzbeks in southern Kyrgyzstan, the Service prepared a
series of investigative reports based on interviews with residents of Osh, the site of some of the
worst clashes, as well as with Uzbeks who fled Kyrgyzstan after the tragic events. The Service
also developed a new radio and web program called “The Invisible Women of Osh,” telling the
stories of women who were assaulted or raped during the violence.

Tajikistan. RFE/RL’s Tajik Service was the largest independent media outlet in Tajikistan and
the top international broadcaster in the country. As the country's only source for unbiased
information, the Tajik service was repeatedly criticized by the Tajik government for its coverage.
Over the past year the Tajik Service devoted extensive coverage to counterterrorist operations in
the east of the country. The Service also closely followed important political, economic, and
social issues including the “law on parent responsibility,” forbidding children from praying in

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mosques. While state TV gave ample airtime to supporters of the law, the Tajik Service offered
alternative views, giving voice to those who opposed the law.

Uzbekistan. Lacking a local bureau since it was closed in 2005, and despite operating in
adverse conditions, RFE/RL’s Uzbek Service emphasized interactivity with new citizen
journalism initiatives, using Facebook pages and Twitter feeds to interact with its audiences.
VOA’s Uzbek TV program and daily 30-minute radio broadcast featured interviews with U.S.
and international sources on topics including terrorism, religious extremism, and U.S.-Uzbek
relations. The Service launched uzmobil.com, distributing VOA news to mobile phone
subscribers. Reports were also accessible on Twitter, YouTube, and Facebook.

Turkmenistan. RFE/RL was not allowed to have a bureau or even accredited journalists in
Turkmenistan. The Turkmen Service’s “unofficial” reporters worked under routine surveillance
and harassment. In March, Turkmen authorities confined an RFE/RL contributor to a psychiatric
hospital after he criticized a local government official for corruption on the air. In October, an
RFE/RL correspondent was arrested and jailed on dubious charges before being pardoned by the
Turkmen authorities after extensive international pressure. Despite these restrictions, the
Turkmen Service increased its online traffic through new-media techniques including blogging
and social networking on Facebook and Twitter.

EAST ASIA AND PACIFIC

China. VOA Chinese included daily Mandarin and Cantonese broadcasts via satellite television,
radio, on line, and mobile channels to penetrate PRC government jamming and censorship.
These broadcasts delivered news about the world and the United States including religious and
legal issues affecting China’s estimated 22 million Muslims.

Radio Free Asia’s (RFA) Uighur language service broadcast two hours daily, seven days a week
and was the only international radio service providing impartial news and information in the
Uighur language to the potential audience of more than 16 million Uighur Muslims in Western
China and Central Eurasia. Consistent with RFA's mandate, the Uighur service acted as a
substitute for indigenous media reporting on local events in the region. Its programs included
breaking news, analysis, interviews, commentary, a weekly news review, and feature stories.
Programs addressed issues including democratic development in Central Asia, Uighur history,
human rights, religious freedom, labor issues, corruption, the environment, Internet control in
China, AIDS, and other health issues. Despite the media blackout enforced by Chinese
authorities, RFA provided eyewitness news coverage of the events, including breaking the news
of a prominent Uighur economist’s detainment after his blog was shut down by authorities.

RFA's Uighur service website updated news in all three writing systems used to convey the
Uighur language: Arabic, Latin, and Cyrillic. The site streamed the daily RFA broadcast in
Uighur and offered ongoing coverage of events in the XUAR in text, image, and video. RFA’s
multimedia web page devoted to the lives of and challenges faced by Uighur women since the
2009 ethnic riots, “Half the Xinjiang Sky,” received wide recognition and accolades. RSS feeds
were available, making it possible for people to automatically update their newsreaders or web
pages with RFA news content. RFA also offered a mobile version of its website as well as

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Uighur Twitter and Facebook pages. Despite Chinese censorship, research indicates that Uighur
listeners and web users considered RFA a lifeline in a controlled media environment.

Indonesia. VOA’s weekly audience in Indonesia grew to more than 38 million people, largely
because of key placements of short program segments on highly popular national TV stations.
VOA Indonesian TV news products were regularly seen on eight of Indonesia’s 11 national
stations, in addition to more than 30 local and regional stations. During Ramadan, VOA
produced a special series on Islam in the United States, which was carried by national stations.
The Service produced more than eight hours daily of original radio programming for a network
of more than 250 affiliate FM and medium wave stations across the country. Radio
programming included five-minute Headline News reports aired 32 times a day, seven days a
week. The Service’s Facebook page surpassed half-a-million fans in 2011. The Service
launched a year-long VOA Blogging competition and participated in two major off air events,
UrbanFest with 50,000 attendees, and On/Off, a national blogging conference.

Thailand. VOA broadcast news throughout Thailand with a weekly audience of 5.5 percent in
the cities of Bangkok, Chiang Mai, and Udon Thani. While Thailand is largely Buddhist,
southern Thailand’s Muslim population has been restive and VOA served this audience through
a national TV affiliate and a radio affiliate in the south.

EUROPE AND EURASIA

The Russian Federation

VOA’s Russian Service has systematically addressed issues related to Islam in key areas. A
special section on the website, dealing specifically with developments in the North Caucasus
region, is regularly updated with reports, interviews, and video features. The Russian Service
has produced several Crossfire programs – 15 minute video discussions in a TV studio setting,
bringing together an expert from the United States and an expert from Russia via remote
connection.

Tatarstan/Bashkortostan. The Tatar and Bashkir communities are the two largest Muslim
communities in Russia. Radio Free Europe/Radio Liberty's (RFE/RL) Tatar/Bashkir Service was
the only major international broadcaster in the Tatar and Bashkir languages and provided
listeners with objective news and analysis. The service’s web page has become a virtual meeting
place for people to discuss these issues. VOA Russian also targeted these communities, who
largely rely on Russian language for their news and information. Since May 2010, there were
over 100,000 visits to VOA’s Russian website for Tatarstan and Bashkortostan.

North Caucasus. Broadcasting in the Avar, Chechen, and Circassian Languages, RFE/RL’s
North Caucasus Service reports the news in a region where media freedom and journalists
remained under severe threat. The North Caucasus Service is often the only media outlet to
report on human rights abuses in the region.

Turkey. VOA’s Turkish Service, updated with top news seven days a week, offered English
teaching programs, a daily web radio program, video and audio clips, and the ability for users to

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post comments. It was also accessible by web-enhanced mobile phones and similar devices and
content was distributed on YouTube, Twitter, and Facebook. The Service continued to provide
its TV affiliate, TGRT News Network in Turkey (one of the top five all-news networks in
Turkey), 15-minute live TV news and analysis broadcasts four times per week. VOA Turkish
also produced a weekly 30-minute magazine show that was aired on TGRT. The Service’s
weekly audience rate increased to over five percent in the past year.

The Balkans. VOA’s Balkan services explored the possible rise and impact of Islamic
extremism in the Balkans. More than 4.7 million adults watched or listened weekly to VOA
programs in Albania, Kosovo, Bosnia, Serbia, and Macedonia.
     VOA Bosnian featured reports on the village of Gornja Maoca, the alleged stronghold of
       the radical Wahhabi movement in Bosnia; interviewed the Grand Mufti of Bosnia,
       Mustafa Ceric; and presented commentary and analysis from U.S. terrorism experts.
     VOA Serbian featured exclusive interviews with Serbian terrorism experts in Belgrade
       and the Reis of the Islamic community in Montenegro, Rifat Fejzic. Stringers from
       Belgrade and Podgorica also travelled to the Sandzak region to file exclusive reports.
     VOA Albanian’s special feature on the spread of Islamic radicalism featured interviews
       with the heads of the Islamic Community in Macedonia and Kosovo.

Azerbaijan. When it was banned from FM airwaves, RFE/RL’s Azerbaijan Service (Radio
Azadliq) lost more than half of its reach in Baku. It has turned to the Internet to attempt to
reconnect with listeners. Its programming includes interviews with both opposition and pro-
government representatives. Recently, Radio Azadliq has been branching out into simulcasts on
other platforms.

AFRICA

Nigeria. VOA’s Hausa Service broadcast to the estimated 90 million Muslims in Nigeria and
Niger. In Nigeria, where the language is spoken by over 75 million people, VOA had a weekly
audience of 26 percent (23.5 million adults). The service covered Boko Haram, among other
issues, and provided a forum for Muslims and Christians to discuss common concerns. VOA
Hausa hosted town hall meetings on a variety of topics including health and education and
engaged Muslim audiences with a weekly program called Islam in the United States, while its
web site posted Eid listener greetings to mark the end of the Holy Month of Ramadan.

Ethiopia and Eritrea. VOA’s Horn of Africa Service broadcast 17 hours a week in three
languages: seven 60-minute broadcasts in Amharic, five 30-minute broadcasts in Tigrigna, and
five 30-minute broadcasts in Afan Oromo. In addition to shortwave, these languages aired live
on VOA24, a 24/7 channel on Arabsat satellite television.

Somalia. VOA’s Somali Service broadcast to a largely Muslim population estimated at 16
million people in the Horn of Africa, including 10 million in Somalia. Broadcasts were available
on shortwave, and on FM affiliate stations in Somalia, Kenya, and Djibouti. A recent survey of
the Somaliland and Puntland regions found VOA Somali to be the number one broadcaster,
reaching 74 percent of adults weekly. The Service’s web site reached an estimated two million
Somali speakers outside the Horn region. Program samples include: A weekly “Islamic Affairs

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Program” focusing on current affairs and a six-part series on the rise of militants and the origin
of al-Shaabab; and programs on why Somali youth from the diaspora are returning to Somalia to
join the terrorists and what can be done about it.

Swahili. VOA’s Swahili Service broadcast to large Muslim populations in Tanzania and Kenya,
and to Muslim communities in Uganda, Burundi, and the Democratic Republic of the Congo.

French to Africa. VOA’s French to Africa Service broadcast 23 hours weekly on radio to the
250 million French speakers in Africa, many of whom live in predominantly Muslim countries
such as Senegal, Mali, Burkina Faso, Niger, and Chad. A weekly interactive program, “Dialogue
of Religions,” featured guest experts. The Service also broadcast a 30-minute weekly television
program.

Africa Digital Unit. The Africa division took the lead in providing videos for ‘Muslim Voices’
9-11 anniversary coverage. The division provided videos from Muslims living in the United
States, Nigeria, the Democratic Republic of the Congo, and in East Africa.

     5. ECONOMIC REFORM IN MUSLIM MAJORITY COUNTRIES

In countries with predominantly Muslim populations, the pursuit of economic growth is one
method of achieving sustainable social benefits that can ultimately minimize some of the
pressures that can lead to radicalization. In 2011, the United States Agency for International
Development (USAID), in cooperation with other U.S. government agencies, undertook
programs that promoted reforms to enable developing and transition countries to allocate
resources toward activities to accelerate economic growth. USAID activities often focused on
improving the regulatory or business-enabling environment, so the power of private sector
investment, both domestic and foreign, could be leveraged to increase business activity and
trade. A battery of program interventions have been designed and initiated to pursue measurable
results in the commercial, legal, and regulatory framework that would significantly lower the
costs, obstacles, and time required for doing business.

Afghanistan. USAID’s Trade and Accession Facilitation for Afghanistan project assisted the
Government of Afghanistan and the private sector in pursuing greater regional and global trade
linkages and economic integration.

Albania. The Competitive Enterprise Development project sought the sustained growth of
Albania's non-agricultural enterprises, and the strengthening of the competitiveness capacity of
start-ups in targeted regions of the country. The Department of Treasury’s Office of Technical
Assistance provided policy, regulatory, and technical assistance to improve government finance
functions and capability.

Algeria. The Department of Treasury’s Office of Technical Assistance facilitated the adoption
of Basel II requirements to the Algerian banking system and assisted with the modernization of
policies, procedures, and functions to meet international standards. In addition, technical
assistance worked to strengthen the government’s capacity to prevent, detect, and investigate
corruption within the tax administration through internal audit and internal investigation

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programs.

Azerbaijan. Numerous U.S. government agencies work with Azerbaijan to promote economic
reform, growth, and diversification. Among them, the Overseas Private Investment Corporation
has provided both political risk insurance and financing lines in Azerbaijan for the construction
of the Baku-Tblisi-Ceyhan Pipeline and to expand banks’ small-and medium-sized enterprise
lending portfolio, respectively. A USAID program begun in October 2010, the Azerbaijan Trade
and Competitiveness Project, is focused on technical assistance for World Trade Organization
accession-related processes and reforms, promoting a trade enabling environment, and
strengthening value chains.

Bangladesh. USAID provided technical assistance through the Poverty Reduction by Increasing
the Competitiveness of Enterprises (PRICE) Program, which developed business support
services that enhance products for export and reduce barriers to trade. PRICE focused on women
and young entrepreneurs.

Burkina Faso. The Department of the Treasury’s Office of Technical Assistance provided
support to the country’s Ministry of Economy and Finance with budget and financial
accountability assistance. The U.S. African Development Foundation provided agricultural
assistance to local agricultural associations, with program support to increase agro-processing,
food production, and the design of long-term strategies.

Egypt. USAID provided technical assistance to increase investment and strengthen the trade
environment by improving commercial laws and the efficiency of government procedures, along
with support for the development of agriculture value chains. The Department of Commerce’s
Commercial Law Development Program assisted with courses, workshops, and visits by U.S.
judges and government experts. The U.S. Trade and Development Agency provided support for
technical symposiums focusing on trade investment and commercial opportunities between the
United States and Egypt to help foster business development in the wake of Egypt’s regime
change.

Indonesia. USAID provided Biotechnology Regulatory Development Assistance for the
development and implementation of bio-safety regulatory policies and practices. The
Agribusiness Market and Support Activity assisted the Government of Indonesia in promoting a
strong agribusiness system to cultivate gainful employment, growth, and prosperity. The
Department of the Treasury’s Office of Technical Assistance facilitated government debt
issuance and management, and provided technical assistance in the areas of banking and
financial services. The Department of Labor’s Better Work Program sought to improve both
compliance with labor standards and competitiveness in global supply chains. USAID’s Support
for Economic Analysis Development activity delivered economic policy advisory services to the
Indonesian government to identify policy options that accelerate growth, employment, and
poverty reduction. USAID extended a portable loan guarantee to a microfinance institution to
develop a four-year loan program for low-income women entrepreneurs, 98% of whom are
Muslim. The institution used the guarantee to obtain financing from Bank Muamalat Indonesia,
an Islamic financing institution. Finally, the Federal Trade Commission provided support to



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assist Indonesia in building its institutional capacity to encourage competition and create
effective policies.

Iraq. USAID provided technical and capacity building assistance to the Government of Iraq on
legal, procedural, and practical matters pertaining to Iraq's bid to join the World Trade
Organization. The U.S. Department of technical assistance also sought to revitalize Iraq's
agricultural sector and enhance the trade capacity of institutions and developing regulatory
frameworks. The Department of Commerce’s Commercial Legal Development Program
(CLDP) provided training for several government ministries in forming joint ventures and
strategic partnerships with investors, managing contracts, and quality controls. CLDP, in close
collaboration with Iraq's Higher Judicial Council, also organized a series of workshops to
develop curriculum on commercial law leading to the creation of the first commercial court in
Iraq. The Treasury’s Office of Technical Assistance advised on new areas of critical importance
to the Central Bank of Iraq and the Iraqi financial sector as a whole, including enhanced bank
supervision.

Jordan. USAID’s Jordan Economic Development project is a five-year broad economic
development initiative that supported improvements in the business environment and provided
assistance to expand innovation and productivity in Jordanian businesses. With its Ministry of
Finance counterparts, USAID’s Jordan Fiscal Reform Project staff worked to reform and
modernize the tax system and increase tax compliance; reform the budget system; streamline
customs administration; and establish a Government Financial Management Information System.
Support was also provided to higher institutions of learning to develop and implement an
entrepreneurship-across-the-curriculum program for career and technical education. The Patent
and Trademarks Office supported reforms in the area of intellectual property law and strategic
management.

Kazakhstan. The Patent and Trademarks Office and Overseas Private Investment Corporation
provided technical assistance in the areas of patent examination training and project financing to
microenterprises. The U.S. Trade and Development Agency approved a Reverse Trade Mission
to bring a delegation of Kazakh pipeline officials to the United States to gain exposure to
advanced pipe technology.

Kosovo. The Department of Commerce’s Commercial Law Development Program and the
Overseas Private Investment Corporation provided technical assistance in the areas of improving
the commercial legal framework, and expanding credit to microenterprises and consumers.
USAID’s Business Enabling Environment Program focused on building trade capacity by
improving the legal and regulatory framework for external trade, lowering trade barriers, and
reducing import and export times and costs. The U.S. Department of the Treasury-Office of
Technical Assistance (OTA) supported improvements in government finance functions.

Kyrgyz Republic. The Department of Commerce’s Commercial Law Development Program
sponsored workshops on the challenges and potential solutions of exporting local products and
the role of intellectual property in economic development. The Department of State’s Self
Employed Women’s Association project sought to empower women shareholders, artisans, and



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other self-employed entrepreneurs to effectively manage their enterprises and compete in the
marketplace.

Lebanon. USAID began a comprehensive feasibility study for the Tripoli Special Economic
Zone. The study will draw on best practices from special economic zones globally and in the
Middle East, while considering particular circumstances that affect investors in Lebanon and
North Lebanon. USAID also provided support to Lebanon’s accession to the World Trade
Organization with the goals of helping Lebanon build a strong connection to the global economy,
and expanding commercial opportunities for local businesses.

Libya. The Department of Commerce’s Commercial Law Development Program organized the
first three phases of a four-phase program intended to build the judiciary's capacity to enforce
arbitration awards as well as adjudicate international trade and investment disputes.

Mali. USAID’s Investment Climate Reform Phase II project provided assistance to the
Government of Mali in implementing regulatory and institutional reforms in order to stimulate
domestic and foreign private investment. USAID’s Integrated Initiatives for Economic Growth
in Mali Project, 2007-2012, focuses on selected value chains, including the expansion of
agriculture production, enhancing access to finance, and enhancing access to markets and trade.
The U.S. Department of Commerce, through its Commercial Law Development Program,
worked with the Ministry of Justice, Ministry of Agriculture, Customs, and the Malian police to
develop and adopt policy guidelines and other instruments to strengthen the protection of
Intellectual Property Rights.

Morocco. USAID supported improved vocational training in sectors including agro-processing
to provide youth jobs and career development opportunities, while remedying the shortage of
skilled and semi-skilled labor for employers. Assistance was provided to stand up a center
supporting entrepreneurship and innovation in support of the country’s new Innovation Strategy,
and support was given to educational institutions in Morocco to deliver a train-the-trainer
program to more effectively prepare a global workforce. The U.S. Department of the Treasury,
through USAID’s Office of Technical Assistance, supported increasing the functional expertise
and capacity of the Government of Morocco to successfully carry out criminal, civil, and
administrative adjudication of financial crimes.

Nigeria. USAID’s Nigeria Expanded Trade and Transportation project supported the Nigerian
government’s efforts to expand trade domestically and beyond. The U.S. Department of
Agriculture’s Foreign Agriculture Service provided funding to address the problem of post-
harvest storage losses in Nigeria. The Department of Commerce’s Commercial Law
Development Program supported a legislative advisor to assist the Economic Community of
West African State’s legal and trade offices to produce a draft intellectual property policy and
guidelines for harmonizing protection among the member states. The Federal Trade
Commission assisted Nigeria in building institutional capacity to apply competition and
consumer law and policies, and the African Development Foundation provided support for
agriculture via grants to increase production and marketing capacity. Finally, the U.S.
Department of the Treasury, through USAID’s Office of Technical Assistance, provided support
to banking and financial services by increasing asset management capacity.

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Oman. Advisors from the Department of Commerce’s Commercial Law Development Program
and Customs and Border Protection experts worked with Oman Customs officials to create
institutional knowledge and understanding of the Advance Rulings under the U.S.-Oman Free
Trade Agreement.

Pakistan. The Department of Commerce’s Commercial Law Development Program provided
technical assistance in the areas of trade and market access, and energy sector reforms. USAID
supported an enterprise development initiative to increase affordable access to finance for
Pakistan’s private sector, and also began agricultural and agribusiness projects to improve the
macroeconomic environment and promote trade. USAID also transferred funds to the U.S.
Trade and Development Agency to provide feasibility studies to identify and facilitate
investments in Pakistan's infrastructure and key economic sectors. Finally, USAID provided
support in implementing the Afghan Pakistan Transit and Trade Agreement.

Senegal. The U.S. Department of the Treasury, through the USAID Office of Technical
Assistance, assisted with government debt issuance and management. USAID provided support
with activities that helped Senegal strengthen its international standard business environment and
improve its trade and investment capacity. The United States Department of Agriculture
provided support for phytosanitary and technical training and further assisted in the development
of a local response to global food insecurity by increasing agricultural productivity and
implementing sound market-based principles for agriculture. The U.S. African Development
Foundation provided technical assistance with the production and marketing of agriculture to
improve yields.

Somalia. USAID supported the Ministry of Commerce's Investment Climate Unit and Chamber
of Commerce in the development of investment promotion strategies, and facilitating
government and private sector participation in local, regional, and U.S. trade fairs (the latter in
collaboration with the Department of State).

Tunisia. The Department of Commerce’s Commercial Law Development Program worked in
Tunisia to create a legal framework for franchising and facilitated the publication of French and
English versions of “Entrepreneurship and Innovation in the Maghreb.”

Uzbekistan. USAID’s Ag Links Plus project provided training to agro-firms and water user
associations on agronomic issues and agribusiness management. The Overseas Private
Investment Corporation provided financing for business support services to stimulate the
construction sector, as well as the local agricultural and hotel supply sectors, to encourage
importing and exporting.

West Bank and Gaza. The U.S. Department of the Treasury, through its Office of Technical
Assistance, provided support to the Palestinian Authority for anti-money laundering activities,
countering terrorist finance, and financial crimes capacity building in the West Bank and Gaza.
The Overseas Private Investment Corporation provided financing for a telecom project to
develop trade infrastructure.



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INTRAREGIONAL TRADE

The ASEAN-U.S. Technical Assistance and Training Facility, a joint project of the U.S.
Department of State and USAID, worked to advance the goals of the U.S.-Association of
Southeast Asian Nations (ASEAN) Cooperation Plan and contribute to ASEAN becoming a
stronger regional institution.

Central Asia-Afghan Electricity Trade (Pamir Energy). The Pamir Energy program sought
to promote greater energy cooperation, an increase in regional economic activity, and the
development of small commercial enterprises. It transmitted electricity from Tajikistan to serve
Afghan villages in Badakhshan Provice to supply households, shops, government offices,
schools, and clinics.

Central Asia Regional Program. The “Regional Economic Integration Activity” in Central
Asia and Afghanistan increased trade among Central Asian and Afghan firms through training,
networking, and supply chain improvement.

Cochran Fellowship Program. This program provided training for agriculturalists from
middle-income, emerging market, and emerging democracy countries throughout the world. The
training took place in the United States and targeted senior and mid-level specialists and
administrators from the public and private sectors concerned with agricultural trade, agribusiness
development, management, policy, and marketing.

Coral Triangle Initiative. The program supported the development of a common Ecosystem
Approach to Fisheries Management (EAFM) framework, environmental standards, and
technology towards sustainable management of Live Reef Food Fish Trade (LRFFT) in the CTI
region, which included Indonesia, Malaysia, Papua New Guinea, Philippines, Solomon Islands,
and Timor-Leste.

Faculty Exchange Program. The Faculty Exchange Program brings qualified agricultural
educators from progressive agricultural institutions of higher learning in Kazakhstan, Russia, and
Ukraine to the United States for four to five months to increase their knowledge and ability to
teach agricultural economics, marketing, agribusiness, and agrarian law in a market-based
economy.

Global Labor Program: ALNI. The program was established to meet the needs of the region
by educating members of the “Asia Labor Network on International Financial Institutions"
coalition about how international financial institutions work, creating and enhancing watchdog
functions, and creating opportunities for civil society to engage in a dialogue with governments
about loan regulations and expectations.

South Asia Regional Initiative for Energy. USAID promoted energy security in Afghanistan,
Bangladesh, Maldives, Pakistan, and the rest of South Asia through three areas: cross border
energy trade, energy market formation, and regional clean energy development.

Special American Business Internship Training. This program facilitated economic

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development through the training of managers and scientists in U.S. business practices, thereby
advancing commercial partnerships and encouraging market-based reforms. SABIT programs
trained business managers and scientist-entrepreneurs in U.S. companies where they were
exposed to Western management concepts that provided models for process improvement.

Women’s Economic Symposium in Central Asia. The Department of State organized a
Women's Economic Symposium for women in the region to discuss strategies to overcome
challenges and form connections that prepare them to compete in the national and regional
marketplace. The conference concluded with a suite of follow-on projects facilitated by a
steering committee of participants from the region.


                 6. Basic Education in Muslim Majority Countries

USAID/Asia and Middle East Bureau’s total basic education assistance was approximately US
$373 million; approximately US $360 million of this sum was targeted in predominantly Muslim
countries or in Muslim majority populations within a country. Countries included Afghanistan,
Bangladesh, Egypt, India, Indonesia, Jordan, Lebanon, Morocco, Pakistan, Philippines
(Mindanao), Yemen, and the Central Asian Republics. West Bank/Gaza was also included in the
program. USAID/Europe and Eurasia Bureau’s education assistance for Kosovo totaled US
$1,510,000. USAID/Africa Bureau's total education assistance for the region was approximately
US $272,678 million in basic education; US $75,785 million was used for Muslim populations in
Djibouti, Ethiopia, Kenya, Mali, Nigeria, Senegal, Somalia, Tanzania, Uganda, and on regional
programs in several other countries.

Innovation and Technology. USAID/India’s US $12.5 million program, Technology Tools for
Teaching and Training (T4), employed technologies to educate poor and disadvantaged children
studying in public schools in Karnataka, Chhattisgarh, Madhya Pradesh, Jharkhand, and Bihar
states, and reached more than 24 million children. Combining technology tools with sound
pedagogy and effective teacher training, interactive radio, video, and computer programs,
simplified the teaching of difficult concepts in various subjects, including language, math,
science, and social studies.

ASIA AND THE MIDDLE EAST

Afghanistan. USAID’s basic education program totaling US $70,000,000 continued to open
access, improve the quality of education, and build the skills of Afghan partners to deliver basic
education and literacy training for out-of-school youth and adults. The United States continued
working with the Ministry of Education to implement its national education strategy.
Community-based education reached over 60,000 children in areas with no government schools,
and a youth and adult literacy program provided learning opportunities for over 151,000 learners,
60 percent of whom were female. In-service teacher training, the printing of 21.5 million
textbooks, and assistance with school materials and security have strengthened educational
programs that currently reach 2.3 million (one third) of Afghan school children. The training of
40,850 teachers and over 3,800 literacy teachers were complemented by follow-up classroom
support to help improve the quality of basic education programs. Programs on pedagogy,

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instructional content, and research methods updated teaching skills for over 700 education
professors involved in pre-service education of secondary school instructors. Community
participation in education significantly expanded in 2011. U.S.-trained school management
committees monitored classes and teacher performance, contributed furnishings and materials,
aided teacher recruitment, and collaborated with district and provincial officials. The
strengthening of national ministries is another key to long-term sustainability. U.S. assistance
strengthened Ministry of Education employee recruitment and performance evaluation systems,
and established an electronic database for employees.

Bangladesh. USAID focused on early childhood development to improve enrollment, retention,
and performance in primary schools. The Promoting Talent Through Early Education Program
developed a pre-school curriculum and increased learning skills and access to educational
opportunities for 39,710 preschoolers. Over 2,800 primary school teachers were trained in
interactive teaching methodologies that also included health, nutrition, and sanitation
components. In addition to teacher training, the program trained school administrators to ensure
that curriculum and teaching improvements were institutionalized. The US $8.3 million
Bangladeshi version of Sesame Street was the most widely viewed children’s television show in
the country, reaching over 10 million Bangladeshi children weekly.

India. While not a Muslim majority country, India has a large Muslim population. USAID’s
basic education activities helped provide quality education to disadvantaged children including
Muslim minorities and promoted the use of technologies to improve teaching and learning in the
classroom and interventions that link education to employment. The Madrassa Education
Program came to a close and helped to enroll over 51,000 disadvantaged students. More than
200 teachers and 110 administrators were trained in modern pedagogic concepts and effective
teaching methods resulting in madrassa leaders assuming new roles in education for youth,
particularly girls. A noteworthy achievement has been the mobilization of community support
groups and volunteers through training, resulting in formal communication channels being
institutionalized between parents and madrassas.

In addition, USAID/India’s Youth Skill Development Initiative provided education in basic life
and employability skills to deprived out-of-school youth. The program provided training in
market-oriented skills, such as computer usage, spoken English, and customer relations to make
participants more employable. Over 38,000 youth were trained in the states of Delhi, Jharkhand,
and Maharashtra. Seventy-five percent of the trainees received employment and many opted for
further studies. Designed as a public-private initiative, the program has leveraged resources
from non-USAID sources such as the Centre for Civil Society, the India Islamic Cultural Centre
and Jan Shikshan Sansthan, Kishanganj. Finally, USAID/India implemented a program in over
500 madrassas in Hyderabad, West Bengal, and Andra Pradesh, that introduced formal curricula,
enrolled and retained out-of-school children, improved the quality of education, and prepared
madrassas to meet government standards. Over 50,000 Muslim children were provided with
formal education in the two states.

Indonesia. The Decentralized Basic Education initiative expanded the dissemination,
replication, and sustainability of best practices to more schools and districts. Funds provided by
local governments and schools, resulted in 75 district governments officially budgeting for Basic

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Education programs in more than 2,000 schools across 24 districts. The program benefited
nearly 30,000 educators, 2000 administrators, and 200,000 students. USAID also supported
Jalan Sesama, a Sesame Street Workshop that reached 7.5 million children. The Opportunities
for Vulnerable Children Program assisted children with special needs to attend inclusive
education programs.

Egypt. USAID made significant progress in promoting new and innovative government
education policies, increasing fluency, and increasing learning in the classroom through
technology. In FY 2011, USAID provided school leadership and teacher training, and installed
computer technology and other digital resources that helped more than 300,000 students in 500
schools. USAID trained 7,309 teachers and 2,818 trainers and administrators in student-centered
pedagogy and use of technology in instruction. Evaluations in 2010 and 2011 revealed that
teaching and learning practices improved dramatically with over 30 percent gains in teacher
practices shown to support critical thinking and improve student achievements.

An early grade Arabic reading assessment, for grades two through four, conducted in a sample of
schools in Upper Egypt, indicated that more than half of the students could not read at grade
level. Six months after USAID introduced a new teaching approach and instructional materials
in targeted schools, a follow-up assessment indicated an increase of 82 percent over baseline in
reading fluency. Subsequently, the Government of Egypt co-funded the use of the USAID
devised reading intervention in 3,000 primary schools in four governorates, and made a policy
decision to expand its use nationwide.

Finally, training for 271 school Boards of Trustees enhanced their role as grassroots community
structures in the Delta and Upper Egypt, demonstrating democratic principles in school
governance and using data in school decision-making. The Ministry of Education decentralized
the technical education and school maintenance budgets (US $100 million) to schools and
governorates throughout the country.

Pakistan. USAID programs supported improving academic standards for teacher education,
training master trainers and education managers, improving administration and academic
supervision, and supporting federal, provincial, and district education officials in school
management and planning, including procuring and training for the National Education
Management Information System.

The Sindh Basic Education program focused on improving the quality of early grade reading,
community mobilization, school consolidation to eliminate ghost schools and ghost teachers, and
improving educational management practices. In Baluchistan, USAID continued to rehabilitate
schools affected by the 2010 floods, support pre-service teacher education, and assist the
government to increase literacy through improved reading instruction and assessment. In the
Federal Administered Tribal Area (FATA), USAID worked with teacher colleges to improve the
preparation of pre-service teachers and with the FATA secretariat to reform the teacher
certification process. In Punjab, the main focus was on building partnership with the private
sector and civil society to improve the access and quality of basic education programs.




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The new Increasing Educational Quality Program improved reading instruction and assessment
to prevent school dropout and increase student achievement in primary schools nationwide. The
Pakistan Television Project, Sim Sim Hamara (Sesame Street), successfully launched an
interactive website (SimSimHamara.org) with videos, games and learning activities to help
viewers regard girls and other marginalized children as competent contributors to society.
Multi-media programs reflected messages of inclusion, mutual respect, and equal opportunity
while helping the Pakistan government reach its objective of overcoming structural divides
through education.

Philippines. USAID education program assistance reached more than 387,000 learners and
10,300 teachers and administrators in Mindanao. To improve access to education, 385
classrooms were constructed and repaired. Programs also supported 729 Parent-Teacher-
Community Associations and distributed more than 700,000 learning materials. The National
Achievement test scores of students in U.S.-supported schools increased by 14 percent, and
marked improvements were observed in all skill sets including reading fluency.

West Bank and Gaza. In close coordination with the Ministry of Education and Higher
Education (MOEHE), USAID focused on the professional development of teachers and
administrators, increasing access to education by constructing and renovating schools and
classrooms, and equipping students with the knowledge and skills necessary to compete in the
Palestinian labor market. Programs supported the production of a new series of Sesame Street
television shows, produced radio episodes targeting teachers and parents, and launched the
Shara’a Simsim (the Arabic name for Sesame Street) website. USAID partnered with the
National Institute for Educational Training to design and accredit the new Principal Leadership
Program. Through partnership and dialogue, the MOEHE has embraced a decentralized
education system model and delegated decision-making authorities to the district and local
levels. One hundred twelve classrooms were constructed or rehabilitated at eight schools, while
11 youth centers were renovated in the West Bank, with 3,000 students benefiting from increased
access to education facilities.

Yemen. USAID worked to strengthen the capacity of communities, schools, and the Ministry of
Education to sustain educational improvements. USAID’s education program activities included
school renovations, adult literacy support, support to increase community participation in school
management, and teacher professional development in reading, writing, and mathematics. The
program established baseline data on target student competencies in math and science.

CENTRAL ASIA

Kyrgyzstan. USAID’s education programs benefited more than 80,000 students and 4,000
teachers across the country. The model for school financing and increased accountability
continued to spread to schools and administrative units beyond the USAID project areas.
Assistance also supported the American University of Central Asia and a Development Credit
Authority student loan program that increased access to higher education and vocational training
for students, particularly those from rural areas, by creating a replicable, private-sector tuition
financing model.



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Tajikistan. The USAID Safe School Program assisted the government with anti-gender based
violence training modules that were adapted and integrated through the national teacher training
institutes. In collaboration with the Tajik government, the School Dropout and Prevention
Program began to address school drop-out in three regions, and in collaboration with the Tajik
government and the World Bank, USAID-supported school financing and management systems
were rolled out nationwide in 68 districts. A new activity promoting positive youth engagement
in three high-need regions of the country was launched; through civic education courses, youth
development activities, and community development grants, this initiative will reach 900
disadvantaged youth.

EUROPE AND EURASIA

Kosovo. USAID continued its basic education program, a five-year initiative designed to benefit
all public primary and lower secondary schools in Kosovo, grades one through nine. The project
has three components: Enhance School Management Capacities in a Decentralized Environment;
Strengthen the Assessment of Learning Outcomes; and Improve In-Service Teacher
Development. The three components provided strategic support to the reforms introduced by the
Ministry of Education, Science, and Technology. Approximately 58,000 students benefitted
from activities that modernized classrooms; increased teacher capacity and teaching
methodologies; trained 692 educators from 58 primary schools; established 17 professional
development centers in support of the Government of Kosovo’s decentralization policy; and
ensured 48 schools received teaching and learning materials, including technological equipment.
Collaboration and cooperation with donors and the private sector included partnerships with the
Teacher Training Project of GIZ (Deutsche Gessellschaft fur Zuzammenarbeit) and the European
Union, with the Swedish International Development Cooperation Agency-supported Education
Technology program, and with Intel and Microsoft to integrate technology in classrooms.

SUB-SAHARAN AFRICA

Djibouti. USAID’s basic education program focused on improving the education systems
through decentralized teacher training; strategic planning and budgeting; enhanced community
participation; improving the Education Management Information System; and increasing
learning for out-of-school youth. The program trained 1,100 teachers and administrators in
childhood literacy and mathematics. Host country strategic information capacity was improved
through the establishment of a software application that accurately captures statistical data and
more than 50 administrators were trained in the use of this data for more informed planning and
policy decision-making. To further strengthen the management of the schools, more than 80
Parents-Teachers Associations are involved in school operations through small grants for school
improvements projects.

To address Djibouti's chronically high unemployment rate and enable the Djiboutian people to
leverage their own skills for continued economic growth, the program expanded education and
training for employment for out-of-school youth and dropouts. In addition to its bilateral
program, USAID/Djibouti implemented the Ambassador's Girls' Scholarship program benefitting
over 1,200 recipients, who received supplies, mentoring, clothing, hygiene kits, tutorials,
payment for school fees, and HIV/AIDS awareness training. The Teachers' for Africa program

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provided highly skilled volunteers to assist in the decentralized teacher training program and
reinforce the teaching and learning of the English language in secondary schools.

Ethiopia. Activities in Muslim-majority areas in the Somali, Afar, Benishangul, Gumuz, and
Oromia regions included teacher training to improve the quality of primary education; capacity
building training for Parent-Teacher Associations and community members to increase parent
and community involvement in school management; grants to schools to enhance learning and
teaching and to build the capacity of education officers to plan and manage the education system;
and establishment and expansion of alternative basic education centers to provide non-formal
primary education to children, especially girls; and adult literacy classes for illiterate adults.

Kenya. USAID’s Education for Marginalized Children program concentrated on the
predominantly-Muslim North Eastern and Coast Provinces, reaching nearly 377,000 children in
both provinces. Approximately 250 Early Childhood Development Centers were supported and
over 13,000 teachers were trained in child-centered teaching and early grade reading methods.
USAID/Kenya’s Education & Youth Office also oversaw the Garissa Youth Project, which
provided livelihood and workforce readiness programs for ethnic-Somali youth susceptible to
recruitment by al-Shabaab. The Garissa program partnered with USAID’s Office of Military
Affairs to pilot the District Stability Framework, a tool to gauge the level of instability within
Garissa and to help coordinate an interagency response, as well as coordinate action by the youth
themselves through an U.S. $800,000 youth fund. This was the first pilot of the Framework
outside of Iraq, Afghanistan, or Yemen.

Mali. In support of the Trans-Sahara Counterterrorism Partnership (TSCTP), USAID/Mali’s
basic education program focused on supporting moderate Islamic schools and improving the
quality of primary education for Mali's predominantly Muslim population. In 2011, US $1.3
million in TSTCP funds were allocated to school construction in the northern regions of
Timbuktu, Gao, and Kidal.

Nigeria. While education indicators were poor nationwide, they were worse in the
predominantly Muslim North, where poor education contributed to the marginalization of
Muslim communities. An estimated 10 million children were not enrolled in school, and with no
vocational skills have little hope of ever joining the formal workforce. USAID implemented
interventions that targeted both access to education services for the vulnerable, increased quality
for those in school, and system strengthening for increased accountability and transparency. In
FY 2011, USAID worked in Islamiyyah and Quranic schools benefitting 72,350 pupils (41,915
male and 30,435 female), out of which 15,060 were identified as orphans and vulnerable children
(OVC). The vulnerable children received support materials to allow them to attend school. A
total number of 200 OVC acquire vocational and life skills annually by participating in the skills
program.

Senegal. One of the USAID’s education program’s biggest accomplishments was the
completion of a “Community Daara Model.” Traditionally, these community education
institutions are tied to their founding teacher and/or Quranic instructor and are somewhat isolated
in their communities. Daaras selected to participate in the three-year USAID educational
program agreed to implement the project’s model of a “community daara” which includes: 1) a

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selection process that involves relevant stakeholders; 2) renovation of the learning space using a
standardized classroom model, a blackboard, school desks, gender separate toilets and access to
water where there is none; 3) a management committee comprised of community members to
help manage, and increase resources to the daaras; 4) support and monitoring from education
authorities and community-based organizations. USAID worked with 296 daaras, which are at
various stages of their development as community daaras; and constructed 57 new classrooms in
support to this initiative. More than 22,000 vulnerable and out-of-school children between the
ages of five and 18 were enrolled in the program.

Somalia. A dual approach was taken in Somalia. For those enrolled in schools – only 20% of
school-aged children – USAID provided learning materials, and improved the physical and
sanitary environments of schools and the quality of their teachers and their administrations.
Achievements for in-school children included the rehabilitation of 102 classrooms and the
construction of 68 new classrooms in 25 schools in Somaliland, Puntland, and South Central
Somalia; the training of 505 teachers and 43 head teachers in improved teaching practices; the
training of 351 Community Education Committee members on improved school management
techniques; the distribution of 11,221 school kits and teaching/learning charts; the rehabilitation
of three health centers; the training of 296 health workers and eight community health
committees; the construction of numerous latrines, water tanks, shallow wells, and hand-washing
facilities and the associated water quality testing and training; and the airing of three health
promotion programs. As an integral part of improving school environments, improvements in
water and sanitation infrastructure were funded in schools and their communities. Part of the
rationale for this was the finding that the lack of sanitary facilities for girls was preventing many
of them from attending school. As a result of USAID attention, overall, 9,130 people (5,444
male and 3,686 female) were provided with access to clean water and improved sanitation
facilities and better knowledge of good hygiene practices. The above results expanded access to
8,441 new learners (5109 male and 3332 female).

For the remaining 80% of school-aged children not enrolled in school, an interactive radio
instruction program using distance learning techniques through radio-based programs was
employed for those most at risk, primarily women and girls, youth, internally displaced persons,
and illiterate urban youth. Through this initiative, USAID helped enroll an additional 1,337 new
learners, trained 1,513 educators, and distributed 102,861 text books and learning materials.

Tanzania. USAID’s assistance has enhanced and improved educational service delivery for
primary, secondary and adult literacy education. In underserved, primarily Muslim communities
in Zanzibar and mainland Tanzania, 30,575 primary school learners (14,530 girls and 16,045
boys) have gone to school who would otherwise have dropped out; 34,985 learners (17,997 girls
and 16,988 boys) experienced increased learning gains in mathematics, science, and life skills
through the innovative use of cell phones and digital technology; and 1,016 teachers, including
600 women and 416 men from 150 schools, were trained on classroom management skills. In
secondary education, over 1.5 million science and mathematics textbooks were procured for the
mainland, resulting in a substantial reduction in the student-textbook ratio; 489 young women
from marginalized populations completed their post-primary education; and over 2,000 Maasai
adult women in the north learned to read and write in the Swahili language, empowering them to
secure their land rights, get involved in local government, and bring their products to market.

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The 21st Century Basic Education Program carried out professional development needs
assessments in Mtwara and Zanzibar, reaching a mix of over 6,000 primary school teachers, head
teachers, district education officers, education managers, and pupils. Finally, USAID/Tanzania
provided over 2,000 deaf and hard-of-hearing children with assorted hearing aid equipment;
developed 1,000 new signs to the existing 800 Tanzania Sign Language (TSL) published signs,
and raised awareness among 2,812 community members of the importance of sending hearing
impaired children to school.

Uganda. USAID supported the Aga Kahn Foundation's Madrassa Early Childhood
Development Program, which targeted poor districts and allowed communities to establish and
manage their own pre-schools. In 2011, the Madrassa Resource Center trained 145 individuals
from 25 teacher training Coordinating Centers on early childhood instruction. A total of 835
teachers from lower primary schools were trained in issues of transition from early childhood to
primary education. A training of trainers succeeded in teaching 985 educators on the
development and use of instructional materials. In addition, new early childhood development
resource rooms were established in five districts. By year’s end, the resource rooms were
handed over to the districts in order to promote continuity and sustainability of support to early
childhood development.




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CHAPTER 6
FOREIGN TERRORIST ORGANIZATIONS

Foreign Terrorist Organizations (FTOs) are designated by the Secretary of State in
accordance with section 219 of the Immigration and Nationality Act (INA). FTO designations
play a critical role in the fight against terrorism and are an effective means of curtailing support
for terrorist activities.

Legal Criteria for Designation under Section 219 of the INA as amended:
   1. It must be a foreign organization.
   2. The organization must engage in terrorist activity, as defined in section 212 (a)(3)(B) of
       the INA (8 U.S.C. § 1182(a)(3)(B)), or terrorism, as defined in section 140(d)(2) of the
       Foreign Relations Authorization Act, Fiscal Years 1988 and 1989 (22 U.S.C. §
       2656f(d)(2)), or retain the capability and intent to engage in terrorist activity or
       terrorism.
   3. The organization’s terrorist activity or terrorism must threaten the security of U.S.
       nationals or the national security (national defense, foreign relations, or the economic
       interests) of the United States.

                U.S. Government Designated Foreign Terrorist Organizations

Abu Nidal Organization (ANO)
Abu Sayyaf Group (ASG)
Al-Aqsa Martyrs Brigade (AAMB)
Ansar al-Islam (AAI)
Army of Islam (AOI)
Asbat al-Ansar (AAA)
Aum Shinrikyo (AUM)
Basque Fatherland and Liberty (ETA)
Communist Party of Philippines/New People’s Army (CPP/NPA)
Continuity Irish Republican Army (CIRA)
Gama’a al-Islamiyya (IG)
Hamas
Harakat ul-Jihad-i-Islami (HUJI)
Harakat ul-Jihad-i-Islami/Bangladesh (HUJI-B)
Harakat ul-Mujahideen (HUM)
Hizballah
Indian Mujahideen (IM)
Islamic Jihad Union (IJU)
Islamic Movement of Uzbekistan (IMU)
Jaish-e-Mohammed (JEM)
Jemaah Islamiya (JI)
Jundallah
Kahane Chai
Kata’ib Hizballah (KH)
Kurdistan Workers’ Party (PKK)

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Lashkar e-Tayyiba (LT)
Lashkar i Jhangvi (LJ)
Liberation Tigers of Tamil Eelam (LTTE)
Libyan Islamic Fighting Group (LIFG)
Moroccan Islamic Combatant Group (GICM)
Mujahadin-e Khalq Organization (MEK)
National Liberation Army (ELN)
Palestine Islamic Jihad – Shaqaqi Faction (PIJ)
Palestine Liberation Front – Abu Abbas Faction (PLF)
Popular Front for the Liberation of Palestine (PFLP)
Popular Front for the Liberation of Palestine-General Command (PFLP-GC)
Al-Qa’ida (AQ)
Al-Qa’ida in the Arabian Peninsula (AQAP)
Al-Qa’ida in Iraq (AQI)
Al-Qa’ida in the Islamic Maghreb (AQIM)
Real IRA (RIRA)
Revolutionary Armed Forces of Colombia (FARC)
Revolutionary Organization 17 November (17N)
Revolutionary People’s Liberation Party/Front (DHKP/C)
Revolutionary Struggle (RS)
Al-Shabaab (AS)
Shining Path (SL)
Tehrik-e Taliban Pakistan (TTP)
United Self-Defense Forces of Colombia (AUC)

ABU NIDAL ORGANIZATION

aka ANO; Arab Revolutionary Brigades; Arab Revolutionary Council; Black September; Fatah
Revolutionary Council; Revolutionary Organization of Socialist Muslims

Description: Designated as a Foreign Terrorist Organization on October 8, 1997, the Abu Nidal
Organization (ANO) was founded by Sabri al-Banna (aka Abu Nidal) after splitting from the
Palestine Liberation Organization (PLO) in 1974. In August 2002, Abu Nidal died in Baghdad.
Present leadership of the organization remains unclear. ANO advocates the elimination of Israel
and has sought to derail diplomatic efforts in support of the Middle East peace process.

Activities: The ANO has carried out terrorist attacks in 20 countries, killing or injuring almost
900 persons. It has not staged a major attack against Western targets since the late 1980s and
was expelled from its safe haven in Libya in 1999. Major attacks included those on the Rome
and Vienna airports in 1985, the Neve Shalom synagogue in Istanbul, the hijacking of Pan Am
Flight 73 in Karachi in 1986, and the City of Poros day-excursion ship attack in Greece in 1988.
The ANO was suspected of assassinating PLO Deputy Chief Abu Iyad and PLO Security Chief
Abu Hul in Tunis in 1991 and a senior Jordanian diplomat in Beirut in 1994. In 2008, a
Jordanian official reported the apprehension of an ANO member who planned to carry out
attacks in Jordan. The ANO did not attempt or successfully carry out attacks in 2011.



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Strength: Current strength is unknown.

Location/Area of Operation: Former and current ANO associates are presumed present in
Lebanon.

External Aid: The ANO’s current access to resources is unclear, but it is likely that the decline
in support previously provided by Libya, Syria, and Iran has had a severe impact on its
capabilities.

ABU SAYYAF GROUP

aka al Harakat al Islamiyya (the Islamic Movement)

Description: The Abu Sayyaf Group (ASG) was designated as a Foreign Terrorist Organization
on October 8, 1997. ASG is the most violent of the terrorist groups operating in the Philippines
and claims to promote an independent Islamic state in western Mindanao and the Sulu
Archipelago, although the goals of the group appear to have vacillated over time between
criminal objectives and a more ideological intent. The group split from the much larger Moro
Islamic Liberation Front (MILF) in the early 1990s under the leadership of Abdurajak Abubakar
Janjalani, who was killed in a clash with Philippine police in December 1998. In 2011, Radullah
Sahiron was ASG’s leader.

Activities: The ASG engages in kidnappings for ransom, bombings, beheadings, assassinations,
and extortion. In April 2000, an ASG faction kidnapped 21 people, including 10 Western
tourists, from a resort in Malaysia. In May 2001, the ASG kidnapped three U.S. citizens and 17
Filipinos from a tourist resort in Palawan, Philippines. Several of the hostages, including U.S.
citizen Guillermo Sobero, were murdered. A Philippine military hostage rescue operation in
June 2002 freed U.S. hostage Gracia Burnham, but her husband, U.S. national Martin Burnham,
and Filipina Deborah Yap were killed. U.S. and Philippine authorities blamed the ASG for a
bomb near a Philippine military base in Zamboanga in October 2002 that killed a U.S.
serviceman. In one of the most destructive acts of maritime violence, the ASG bombed
SuperFerry 14 in Manila Bay in February 2004, killing at least 116 people.

In 2011, ASG remained active, particularly with kidnappings for ransom, an increase in the use
of improvised explosive device (IED) attacks, and armed attacks on civilian and police
personnel. In 2011, ASG took close to 20 people hostage, including children, in multiple attacks,
an increase over the previous year. In January, an IED killed five civilians and wounded 13
others in Makati. In March, five civilians were killed and 10 others were injured in an IED
attack in Jolo. In June, a police officer was killed in Sulu; and in September, a soldier, a
paramilitary member, and four civilians – including a child – were killed in an armed attack by
the ASG in Basilan. Two American citizens, a mother and son, were kidnapped in July near
Zamboanga. The mother was released in October while her son managed to escape custody in
December.

In addition, authorities believed ASG was responsible for the following attacks where no group
claimed responsibility:

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       A January 10 attack in Basilan where armed assailants fired upon a group, killing five
        people;
       A September 27 attack in Basilan where 15 armed assailants fired upon a village, killing
        six, wounding five, and damaging the village; and
       A November 27 attack in Zamboanga where assailants detonated an IED inside the
        Atilano Pension House, killing three civilians, injuring 25 others, and damaging the
        hotel.

Strength: ASG is estimated to have between 200 and 400 members.

Location/Area of Operation: The ASG operates primarily in the provinces of the Sulu
Archipelago, namely Basilan, Sulu, and Tawi-Tawi. The group also operates on the Zamboanga
Peninsula, and members occasionally travel to Manila.

External Aid: The ASG is funded through kidnapping for ransom and extortion, and may also
receive funding from external sources such as remittances from overseas Filipino workers and
Middle East-based extremists. The ASG also receives funding from regional terrorist groups
such as Jemaah Islamiya, whose operatives have provided training to ASG members and helped
facilitate several ASG terrorist attacks.

AL-AQSA MARTYRS BRIGADE

aka al-Aqsa Martyrs Battalion

Description: Designated as a Foreign Terrorist Organization on March 27, 2002, the al-Aqsa
Martyrs Brigade (AAMB) is composed of an unknown number of small cells of Fatah-affiliated
activists that emerged at the outset of the al-Aqsa Intifada, in September 2000. Al-Aqsa’s goal is
to drive the Israeli military and West Bank settlers from the West Bank in order to establish a
Palestinian state loyal to the Fatah.

Activities: Al-Aqsa employed primarily small-arms attacks against Israeli military personnel
and settlers as the intifada spread in 2000, but by 2002 they turned increasingly to suicide
bombings against Israeli civilians inside Israel. In January 2002, the group claimed
responsibility for the first female suicide bombing inside Israel. In 2010, AAMB launched
numerous rocket attacks on communities in Israel, including the city of Sederot and areas of the
Negev desert. AAMB has not pursued a policy of targeting U.S. interests, although its anti-
Israeli attacks have killed dual U.S.-Israeli citizens. In December 2011, AAMB launched
rockets aimed at communities in the Negev. The attack caused no injuries or damage.

Strength: A few hundred members.

Location/Area of Operation: Most of al-Aqsa’s operational activity is in Gaza but the group
also planned and conducted attacks inside Israel and the West Bank. The group also has
members in Palestinian refugee camps in Lebanon.



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External Aid: Iran has exploited al-Aqsa’s lack of resources and formal leadership by providing
funds and guidance, mostly through Hizballah facilitators.

ANSAR AL-ISLAM

aka Ansar al-Sunna; Ansar al-Sunna Army; Devotees of Islam; Followers of Islam in Kurdistan;
Helpers of Islam; Jaish Ansar al-Sunna; Jund al-Islam; Kurdish Taliban; Kurdistan Supporters of
Islam; Partisans of Islam; Soldiers of God; Soldiers of Islam; Supporters of Islam in Kurdistan

Description: Designated as a Foreign Terrorist Organization on March 22, 2004, Ansar al-
Islam’s (AI’s) goals include expelling the western interests from Iraq and establishing an
independent Iraqi state based on Sharia law. AI was established in 2001 in Iraqi Kurdistan with
the merger of two Kurdish extremist factions that traced their roots to the Islamic Movement of
Kurdistan.

On May 4, 2010 Abu Abdullah al-Shafi'i, Ansar al-Islam's leader was captured by U.S. forces in
Baghdad and remains in prison. On December 15, 2011 AI announced a new emir, Sheikh Abu
Hashim Muhammad bin Abdul Rahman al Ibrahim.

Activities: AI has conducted attacks against a wide range of targets including the Iraqi
government and security forces, and U.S. and Coalition forces. AI has conducted numerous
kidnappings, executions, and assassinations of Iraqi citizens and politicians. The group has
either claimed responsibility or is believed to be responsible for attacks in 2011 that killed 24 and
wounded 147 people. On February 7, AI posted leaflets in Kirkuk warning of an attack on a
Kurdish militia in retaliation for the arrest of Muslim women in the city. Two days later, a series
of car bombs exploded in Kirkuk, destroying the militia’s headquarters and injuring two nearby
police patrols. The attack killed ten and wounded 90. On October 13, 16 civilians and two
police officers were killed and 43 others wounded in a double improvised explosive device
attack in Baghdad. The group was also responsible for kidnappings in February and December.

Strength: Although precise numbers are unknown, AI is considered one of the largest Sunni
terrorist groups in Iraq.

Location/Area of Operation: Primarily northern Iraq but maintained a presence in western and
central Iraq.

External Aid: AI received assistance from a loose network of associates in Europe and the
Middle East.

ARMY OF ISLAM

aka Jaysh al-Islam; Jaish al-Islam

Description: Designated a Foreign Terrorist Organization on May 19, 2011, the Army of Islam
(AOI) is a Gaza-based terrorist organization founded in late 2005 that has been responsible for
numerous terrorist acts against the Governments of Israel and Egypt, as well as American,

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British, and New Zealander citizens. AOI is led by Mumtaz Dughmush, and operates in Gaza. It
subscribes to a Salafist ideology together with the traditional model of armed Palestinian
resistance. AOI has previously worked with Hamas and is attempting to develop closer al-
Qa’ida contacts.

Activities: AOI’s terrorist acts include a number of rocket attacks on Israel, the 2006
kidnapping of two journalists in Gaza (an American and a New Zealander), and the 2007
kidnapping of a British citizen, journalist Alan Johnston, in Gaza. AOI is also responsible for
early 2009 attacks on Egyptian civilians in Cairo and Heliopolis, Egypt. AOI is alleged to have
planned the January 1, 2011 Alexandria attack on a Coptic Christian church that killed 25 and
wounded 100. On May 7, 2011, the group released a eulogy for Usama bin Ladin via its Al Nur
Media Foundation.

Strength: Membership estimates range in the low hundreds.

Location/Area of Operation: Gaza, with attacks in Egypt and Israel.

External Aid: AOI receives the bulk of its funding from a variety of criminal activities in Gaza.

ASBAT AL-ANSAR

aka Asbat al-Ansar; Band of Helpers; Band of Partisans; League of Partisans; League of the
Followers; God’s Partisans; Gathering of Supporters; Partisan’s League; AAA; Esbat al-Ansar;
Isbat al-Ansar; Osbat al-Ansar; Usbat al-Ansar; Usbat ul-Ansar

Description: Designated as a Foreign Terrorist Organization on March 27, 2002, Asbat al-
Ansar is a Lebanon-based Sunni extremist group composed primarily of Palestinians with links
to al-Qa’ida (AQ) and other Sunni extremist groups. Some of the group’s stated goals include
thwarting perceived anti-Islamic and pro-Western influences in the country, although the group
remains largely confined to Lebanon’s refugee camps.

Activities: Asbat al-Ansar first emerged in the early 1990s. In the mid-1990s, the group
assassinated Lebanese religious leaders and bombed nightclubs, theaters, and liquor stores. The
group has also plotted against foreign diplomatic targets. In October 2004, Mahir al-Sa’di, a
member of Asbat al-Ansar, was sentenced, in absentia, to life imprisonment for his 2000 plot to
assassinate then-U.S. Ambassador to Lebanon David Satterfield. Asbat al-Ansar has no formal
ties to the AQ network, but the group shares AQ’s ideology and has publicly proclaimed its
support for al-Qa’ida in Iraq. Members of the group have traveled to Iraq since 2005 to fight
Coalition Forces. Asbat al-Ansar has been reluctant to involve itself in operations in Lebanon
due in part to concerns over losing its safe haven in Ain al-Hilwah. AAA did not stage any
successful attacks in 2011.

Strength: The group has fewer than 2,000 members, mostly of Palestinian descent.




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Location/Area of Operation: The group’s primary base of operations is the Ain al-Hilwah
Palestinian refugee camp near Sidon in southern Lebanon. The group is also in Iraq, where it has
engaged in fighting U.S. and Coalition Forces.

External Aid: It is likely that the group receives money through international Sunni extremist
networks.

AUM SHINRIKYO

aka A.I.C. Comprehensive Research Institute; A.I.C. Sogo Kenkyusho; Aleph; Aum Supreme
Truth

Description: Aum Shinrikyo (Aum) was designated as a Foreign Terrorist Organization on
October 8, 1997. Jailed leader Shoko Asahara established Aum in 1987, and the organization
received legal status in Japan as a religious entity in 1989. The Japanese government revoked its
recognition of Aum as a religious organization following Aum’s deadly sarin gas attack in Tokyo
in March 1995. Despite claims of renunciation of violence and Asahara’s teachings, members of
the group continue to adhere to the violent and apocalyptic teachings of its founder.

Activities: In March 1995, Aum members simultaneously released the chemical nerve agent
sarin on several Tokyo subway trains, killing 12 people and causing up to 6,000 to seek medical
treatment. Subsequent investigations by the Japanese government revealed the group was
responsible for other mysterious chemical incidents in Japan in 1994, including a sarin gas attack
on a residential neighborhood in Matsumoto that killed seven and hospitalized approximately
500. Japanese police arrested Asahara in May 1995; in February 2004, authorities sentenced him
to death for his role in the 1995 attacks. In September 2006, Asahara lost his final appeal against
the death penalty and the Japanese Supreme Court upheld the decision in October 2007. In
February 2010, the death sentence for senior Aum member Tomomitsu Miimi was finalized by
Japan’s Supreme Court. In 2011, the death sentences of Masami Tsuchiya, Tomomasa
Nakagawa, and Seiichi Endo were affirmed by Japanese courts, bringing the number of Aum
members on death row to 13.

Since 1997, the group has recruited new members, engaged in commercial enterprises, and
acquired property, although it scaled back these activities significantly in 2001 in response to a
public outcry. In July 2001, Russian authorities arrested a group of Russian Aum followers who
had planned to detonate bombs near the Imperial Palace in Tokyo as part of an operation to free
Asahara from jail and smuggle him to Russia.

Although Aum has not conducted a terrorist attack since 1995, concerns remain regarding its
continued adherence to the violent teachings of founder Asahara that led AUM to carry out the
1995 sarin gas attack.

Strength: According to a study by the Japanese government issued in December 2009, Aum
Shinrikyo/Aleph membership in Japan is approximately 1,500 with another 200 in Russia. As of
November 2011, Aum continues to maintain 32 facilities in 15 Prefectures in Japan and may
continue to possess a few facilities in Russia. At the time of the Tokyo subway attack, the group

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claimed to have as many as 40,000 members worldwide, including 9,000 in Japan and 30,000
members in Russia.

Location/Area of Operation: Aum’s principal membership is located in Japan; a residual
branch of about 200 followers live in Russia.

External Aid: Funding primarily comes from member contributions.

BASQUE FATHERLAND AND LIBERTY

aka ETA, Askatasuna; Batasuna; Ekin; Euskal Herritarrok; Euzkadi Ta Askatasuna; Herri
Batasuna; Jarrai-Haika-Segi; K.A.S.; XAKI

Description: Designated as a Foreign Terrorist Organization on October 8, 1997, Basque
Fatherland and Liberty (ETA) was founded in 1959 with the aim of establishing an independent
homeland based on Marxist principles encompassing the Spanish Basque provinces of Vizcaya,
Guipuzcoa, and Alava; the autonomous region of Navarra; and the southwestern French
territories of Labourd, Basse-Navarre, and Soule. Spain and the European Union have listed
ETA as a terrorist organization. In 2002, the Spanish Parliament banned the political party
Batasuna, ETA’s political wing, charging its members with providing material support to the
terrorist group. The European Court of Human Rights in June 2009 upheld the ban on Batasuna.
In September 2008, Spanish courts also banned two other Basque independence parties with
reported links to Batasuna. In 2010, Batasuna continued to try to participate in regional politics
and splits between parts of ETA became publicly apparent in deciding a way forward.

Activities: ETA primarily has conducted bombings and assassinations. Targets typically have
included Spanish government officials, businessmen, politicians, judicial figures, and security
and military forces, but the group has also targeted journalists and tourist areas. The group is
responsible for killing 829 civilians and members of the armed forces or police and injuring
thousands since it formally began a campaign of violence in 1968.

ETA has committed numerous attacks in the last four decades. Some of the group’s high profile
attacks include the February 2005 ETA car bombing in Madrid at a convention center where
Spanish King Juan Carlos and then Mexican President Vicente Fox were scheduled to appear,
wounding more than 20 people. In December 2006, ETA exploded a massive car bomb that
destroyed much of the covered parking garage at Madrid’s Barajas International Airport. ETA
marked its 50th anniversary in 2009 with a series of high profile and deadly bombings including
the July attack on a Civil Guard Barracks that injured more than 60 people including children.

In March 2010, a Spanish judge charged ETA and Revolutionary Armed Forces of Colombia
members of terrorist plots, including a plan to assassinate Colombian President Alvaro Uribe.
Spanish authorities arrested more than 400 ETA members between 2007 and 2010 and have
arrested an additional 52 in 2011. In 2011, in cooperation with international partners, Spanish
security services arrested an additional 52 ETA member or associates. In April 2011, Spanish
authorities seized 1,600 kilos of bomb-making material while arresting three ETA members. In
the same month, French police arrested two ETA members in Creuse, France, after they fired

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shots from their car and wounded a police officer while speeding through a police checkpoint.
On July 7, 2011, Eneko Gogeaskoetxea, one of the alleged attempted assassins of King Juan
Carlos I in 1997, was apprehended in the United Kingdom and is being held there pending
extradition to Spain on several arrest warrants.

The militarily weakened and politically isolated ETA, in October 2011, publicly announced a
“definitive cessation” of armed activity. As the group has made and broken several past cease-
fires, Madrid rejected the latest announcement and continues to demand that ETA disarm and
disband.

Strength: Estimates put ETA membership of those who have not been captured by authorities at
fewer than 100. Spanish and French prisons together hold approximately 750 ETA members.

Location/Area of Operation: ETA operates primarily in the Basque autonomous regions of
northern Spain and southwestern France, but has attacked Spanish and French interests
elsewhere. In previous years, ETA safe houses were identified and raided in Portugal. The
group also maintains a low profile presence in Cuba and Venezuela.

External Aid: ETA is probably experiencing financial shortages given that the group
announced publicly in September 2011 that it had ceased collecting “revolutionary taxes” from
Basque businesses. This extortion program was a major source of ETA’s income.

COMMUNIST PARTY OF PHILIPPINES/NEW PEOPLE’S ARMY

aka CPP/NPA; Communist Party of the Philippines; the CPP; New People’s Army; the NPA

Description: The Communist Party of the Philippines/New People’s Army (CPP/NPA) was
designated as a Foreign Terrorist Organization on August 9, 2002. The military wing of the
Communist Party of the Philippines (CPP), the New People’s Army (NPA), is a Maoist group
formed in March 1969 with the aim of overthrowing the government through protracted guerrilla
warfare. Jose Maria Sison, the Chairman of the CPP’s Central Committee and the NPA’s
founder, reportedly directs CPP and NPA activity from the Netherlands, where he lives in self-
imposed exile. Luis Jalandoni, a fellow Central Committee member and director of the CPP’s
overt political wing, the National Democratic Front (NDF), also lives in the Netherlands and has
become a Dutch citizen. Although primarily a rural-based guerrilla group, the NPA had an
active urban infrastructure to support its terrorist activities and, at times, used city-based
assassination squads.

Activities: The CPP/NPA primarily targeted Philippine security forces, government officials,
local infrastructure, and businesses that refused to pay extortion, or “revolutionary taxes.” The
CPP/NPA charged politicians running for office in CPP/NPA-influenced areas for “campaign
permits.” Despite its focus on Philippine governmental targets, the CPP/NPA has a history of
attacking U.S. interests in the Philippines. In 1987, the CPP/NPA conducted direct action
against U.S. personnel and facilities killing three American soldiers in four separate attacks in
Angeles City. In 1989, the CPP/NPA issued a press statement taking credit for the ambush and


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murder of Colonel James Nicholas Rowe, chief of the Ground Forces Division of the Joint U.S.-
Military Advisory Group.

For many years, the CPP/NPA carried out killings, raids, acts of extortion, and other forms of
violence. In May 2010, 40 CPP/NPA guerillas ambushed an army convoy escorting election
officials in the Compostela Valley, an attack that culminated in five deaths; and 40 CPP/NPA
assailants launched a synchronized landmine improvised explosive device and light arms attack
against a police vehicle on August 21 that resulted in nine deaths in Cataman, Philippines.

In 2011, the CPP/NPA’s attacks and kidnappings continued unabated. In January, the CPP/NPA
was responsable for detonating a landmine IED in Illuro Sur, Philippines that killed five and
injured two police officers. In February, two civilians were killed when 50 CPP/NPA assailants
fired upon a police checkpoint in Trento, Philippines. In August, the CPP/NPA kidnapped the
Mayor of Lingig, Phillippines, and two of his bodyguards. The group demanded a prisoner swap
before releasing the hostages in October.

Strength: The Philippines government estimates there are 5,000 members.

Location/Area of Operations: The CPP/NPA operates in rural Luzon, Visayas, and parts of
northern and eastern Mindanao. There are also cells in Manila and other metropolitan centers.

External Aid: The CPP raises funds through extortion.

CONTINUITY IRISH REPUBLICAN ARMY

aka Continuity Army Council; Continuity IRA; Republican Sinn Fein

Description: Designated as a Foreign Terrorist Organization on July 13, 2004, the Continuity
Irish Republican Army (CIRA) is a terrorist splinter group formed in 1994 as the clandestine
armed wing of Republican Sinn Fein; it split from Sinn Fein in 1986. “Continuity” refers to the
group’s belief that it is carrying on the original Irish Republican Army’s (IRA) goal of forcing
the British out of Northern Ireland. CIRA cooperates with the larger Real IRA (RIRA).

Activities: CIRA has been active in Belfast and the border areas of Northern Ireland, where it
has carried out bombings, assassinations, kidnappings, hijackings, extortion, and robberies. On
occasion, it provided advance warning to police of its attacks. Targets have included the British
military, Northern Ireland security forces, and Loyalist paramilitary groups. CIRA did not join
the Provisional IRA in the September 2005 decommissioning and remained capable of effective,
if sporadic, terrorist attacks. On April 21, 2011, authorities defused an explosive device planted
by CIRA near a statue of the Duke of Wellington in Trim, Meath, Ireland.

Strength: Membership is small, with possibly fewer than 50 hard-core activists. Police
counterterrorist operations have reduced the group’s strength. In June, the CIRA may have
experienced further splintering when hard-liners made an apparently unsuccessful attempt to take
over the leadership of the group.


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Location/Area of Operation: Northern Ireland and the Irish Republic.

External Aid: CIRA supported its activities through criminal activities, including smuggling.
CIRA may have acquired arms and materiel from the Balkans, in cooperation with the RIRA.

GAMA’A AL-ISLAMIYYA

aka al-Gama’at; Egyptian al-Gama’at al-Islamiyya; GI; Islamic Gama’at; IG; Islamic Group

Description: Gama’a al-Islamiyya (IG) was designated as a Foreign Terrorist Organization on
October 8, 1997. Once Egypt’s largest militant group, IG was active in the late 1970s, but is
now a loosely organized network and formed the Building and Development political party that
competed in the 2011 parliamentary elections, winning 13 seats. Egypt-based members of IG
released from prison prior to the revolution have renounced terrorism, although some members
located overseas have worked with or joined al-Qa’ida (AQ). Hundreds of members who may
not have renounced violence were released from prison in 2011. The external wing, composed
of mainly exiled members in several countries, maintained that its primary goal was to replace
the Egyptian government with an Islamic state. IG’s spiritual leader, Sheik Umar Abd al-
Rahman, is serving a life sentence in a U.S. prison for his involvement in the 1993 World Trade
Center bombing. Supporters of Sheikh Abd al-Rahman still remain a possible threat to U.S.
interests and have called for reprisal attacks in the event of his death in prison.

Activities: In the 1990s, IG conducted armed attacks against Egyptian security and other
government officials and Coptic Christians. IG claimed responsibility for the June 1995
assassination attempt on Egyptian President Hosni Mubarak in Addis Ababa, Ethiopia. The
group also launched attacks on tourists in Egypt, most notably the 1997 Luxor attack. In 1999,
part of the group publicly renounced violence. There were no known terrorist attacks by the IG
in 2011.

Strength: At its peak, IG likely commanded several thousand hardcore members and a similar
number of supporters. Security crackdowns following the 1997 attack in Luxor and the 1999
cease-fire, along with post-September 11 security measures and defections to AQ, have probably
resulted in a substantial decrease in what is left of an organized group.

Location/Area of Operation: The IG maintained an external presence in Afghanistan, Yemen,
Iran, the United Kingdom, Germany, and France. IG terrorist presence in Egypt was minimal
due to the reconciliation efforts of former local members.

External Aid: Unknown.

HAMAS

aka the Islamic Resistance Movement; Harakat al-Muqawama al-Islamiya; Izz al-Din al Qassam
Battalions; Izz al-Din al Qassam Brigades; Izz al-Din al Qassam Forces; Students of Ayyash;
Student of the Engineer; Yahya Ayyash Units; Izz al-Din al-Qassim Brigades; Izz al-Din al-
Qassim Forces; Izz al-Din al-Qassim Battalions

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Description: Designated as a Foreign Terrorist Organization on October 8, 1997, Hamas
possesses military and political wings and came into being in late 1987 at the onset of the first
Palestinian uprising, or Intifada, as an outgrowth of the Palestinian branch of the Muslim
Brotherhood. The armed element, called the Izz al-Din al-Qassam Brigades, conducts anti-
Israeli attacks, including suicide bombings against civilian targets inside Israel. Hamas also
manages a broad, mostly Gaza-based network of “Dawa” or ministry activities that include
charities, schools, clinics, youth camps, fund-raising, and political activities. After winning
Palestinian Legislative Council elections in January 2006, Hamas gained control of significant
Palestinian Authority (PA) ministries in Gaza, including the Ministry of Interior. Hamas
subsequently formed an expanded militia called the Executive Force, subordinate to the Interior
Ministry. This force and other Hamas cadres took control of Gaza in a violent confrontation
with Fatah in June 2007, forcing Fatah forces to leave Gaza or go underground.

A Shura Council based in Damascus, Syria, set overall policy, but the group began leaving
Damascus in late 2011 following a disagreement with the Syrian government over its use of
violence against protestors.

Activities: Prior to 2005, Hamas conducted numerous anti-Israeli attacks, including suicide
bombings, rocket launches, improvised explosive device (IED) attacks, and shootings. Hamas
has not directly targeted U.S. interests, although the group has conducted attacks against Israeli
targets frequented by foreigners. The group curtailed terrorist attacks in February 2005 after
agreeing to a temporary period of calm brokered by the PA and ceased most violence after
winning control of the PA legislature and cabinet in January 2006. After Hamas staged a June
2006 attack on Israeli Defense Forces soldiers near Kerem Shalom that resulted in two deaths
and the abduction of Corporal Gilad Shalit, Israel took steps that severely limited the operation
of the Rafah crossing. In June 2007, after Hamas took control of Gaza from the PA and Fatah,
the Gaza borders were closed and HAMAS increased its use of tunnels to smuggle weapons into
Gaza, using the Sinai and maritime routes. Hamas has since dedicated the majority of its activity
in Gaza to solidifying its control, hardening its defenses, tightening security, and conducting
limited operations against Israeli military forces.

Hamas fought a 23-day war with Israel from late December 2008 to January 2009. Since Israel’s
declaration of a unilateral ceasefire on January 18, 2009, Hamas has largely enforced the calm,
focusing on rebuilding its weapons caches, smuggling tunnels, and other military infrastructure
in Gaza. Throughout 2011, Hamas carried out rocket attacks on Southern Israel. In March, an
IED attack that was attributed to Hamas wounded a government employee in Jerusalem. In
April, Hamas fired an anti-tank missile at a school bus, killing an Israeli teenager.

Over the course of 2011, Hamas kidnapped approximately 20 Palestinian civilians and 30
political party members in Gaza. Hamas also actively worked against violent Salafi groups in
Gaza during 2011, including pursuing the Army of Islam leader and elements of the Palestinian
terrorist group Jaljalat, who they perceive as a threat to their control of Gaza and ceasefire with
Israel.




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Strength: Several thousand Gaza-based operatives with varying degrees of skills in its armed
wing, the Izz al-Din al-Qassam Brigades; along with its reported 9,000-person Hamas-led
paramilitary group known as the “Executive Force.”

Location/Area of Operation: Hamas has a presence in every major city in the Palestinian
territories. The group retains a cadre of leaders and facilitators that conduct political,
fundraising, and arms-smuggling activities throughout the region. Hamas also increased its
presence in the Palestinian refugee camps in Lebanon, probably with the goal of eclipsing
Fatah’s long-time dominance of the camps.

External Aid: Hamas receives funding, weapons, and training from Iran. In addition, the group
raises funds in the Persian Gulf countries and receives donations from Palestinian expatriates
around the world, through its charities, such as the Union of Good. Some fundraising and
propaganda activity takes place in Western Europe.

HARAKAT-UL JIHAD ISLAMI

aka HUJI, Movement of Islamic Holy War; Harkat-ul-Jihad-al Islami; Harkat-al-Jihad-ul Islami;
Harkat-ul-Jehad-al-Islami; Harakat ul Jihad-e-Islami; Harakat-ul Jihad Islami

Description: Designated as a Foreign Terrorist Organization on August 6, 2010, Harakat-ul
Jihad Islami (HUJI) was founded in 1980 in Afghanistan to fight against the Soviet Union.
Following the Soviet withdrawal from Afghanistan in 1989, the organization re-focused its
efforts on India. HUJI seeks the annexation of Indian Kashmir and expulsion of Coalition Forces
from Afghanistan. It also has supplied fighters for the Taliban in Afghanistan. In addition, some
factions of HUJI espouse a more global agenda and conduct attacks in Pakistan as well. HUJI is
composed of militant Pakistanis and veterans of the Soviet-Afghan war. HUJI has experienced a
number of internal splits and a portion of the group has aligned with al-Qa’ida (AQ) in recent
years, including training its members in AQ training camps. Mohammad Ilyas Kashmiri, one of
HUJI’s top leaders who also served as an AQ military commander and strategist, was killed on
June 3, 2011.

Activities: HUJI has been involved in a number of terrorist attacks in recent years. On March 2,
2006, a HUJI leader was the mastermind behind the suicide bombing of the U.S. Consulate in
Karachi, Pakistan, which killed four people, including U.S. diplomat David Foy, and injured 48
others. HUJI was also responsible for terrorist attacks in India including the May 2007
Hyderabad mosque attack, which killed 16 and injured 40, and the March 2007 Varanasi attack,
which killed 25 and injured 100. HUJI claimed credit for the September 7, 2011 bombing of the
New Delhi High Court, which left at least 11 dead and an estimated 76 wounded. HUJI sent an
email to the press stating that the bomb was intended to force India to repeal a death sentence of
a HUJI member.

Strength: HUJI has an estimated strength of several hundred members.




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Location/Area of Operations: HUJI’s area of operation extends throughout South Asia, with
its terrorist operations focused primarily in India and Afghanistan. Some factions of HUJI
conduct attacks within Pakistan.

External Aid: Unknown.

HARAKAT UL-JIHAD-I-ISLAMI/BANGLADESH

aka HUJI-B, Harakat ul Jihad e Islami Bangladesh; Harkatul Jihad al Islam; Harkatul Jihad;
Harakat ul Jihad al Islami; Harkat ul Jihad al Islami; Harkat-ul-Jehad-al-Islami; Harakat ul Jihad
Islami Bangladesh; Islami Dawat-e-Kafela; IDEK

Description: Designated as a Foreign Terrorist Organization on March 5, 2008, Harakat ul-
Jihad-i-Islami/Bangladesh (HUJI-B) was formed in April 1992 by a group of former Bangladeshi
Afghan veterans to establish Islamic rule in Bangladesh. In October 2005, Bangladeshi
authorities banned the group. HUJI-B has connections to Pakistani militant groups such as
Lashkar e-Tayyiba (LeT) and the Indian Mujahedeen (IM), which advocate similar objectives.
The leaders of HUJI-B signed the February 1998 fatwa sponsored by Usama bin Ladin that
declared American civilians legitimate targets.

Activities: In December 2008, three HUJI-B members were convicted for the May 2004
grenade attack that wounded the British High Commissioner in Sylhet, Bangladesh. In 2011,
Bangladeshi authorities formally charged multiple suspects, including HUJI-B leader Mufti
Abdul Hannan, with the killing of former Finance Minister Shah AMS Kibria of Awami League
(AL) in a grenade attack on January 27, 2005. Bangladeshi police also arrested many top HUJI-
B leaders in 2011, including Amir Rahmatullah (aka Sheikh Farid) in April, and chief Moulana
Yahiya in August. Bangladeshi police recovered arms, explosives and bomb making materials
following the arrest of HUJI-B operative Abdul Alim in May.

Strength: HUJI-B leaders claim that up to 400 of its members are Afghan war veterans, but its
total membership is unknown.

Location/Area of Operation: The group operates primarily in Bangladesh and India. HUJI-B
trains and has a network of madrassas in Bangladesh.

External Aid: HUJI-B funding comes from a variety of sources. Several international Islamic
non-governmental organizations may have funneled money to HUJI-B and other Bangladeshi
militant groups.

HARAKAT UL-MUJAHIDEEN (HUM)

aka HUM; Harakat ul-Ansar; HUA; Jamiat ul-Ansar; JUA; Al-Faran; Al-Hadid; Al-
Hadith; Harakat ul-Mujahidin

Description: Designated as a Foreign Terrorist Organization on October 8, 1997, Harakat ul-
Mujahideen (HUM) seeks the annexation of Indian Kashmir and expulsion of Coalition Forces in

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Afghanistan. Reportedly under pressure from the Government of Pakistan, HUM’s long-time
leader Fazlur Rehman Khalil stepped down and was replaced by Dr. Badr Munir as the head of
HUM in January 2005. Khalil has been linked to Usama bin Ladin, and his signature was found
on bin Ladin’s February 1998 fatwa calling for attacks on U.S. and Western interests. HUM
operated terrorist training camps in eastern Afghanistan until Coalition air strikes destroyed them
in 2001. Khalil was detained by Pakistani authorities in mid-2004 and subsequently released in
late December of the same year. In 2003, HUM began using the name Jamiat ul-Ansar (JUA).
Pakistan banned JUA in November 2003.

Activities: HUM has conducted a number of operations against Indian troops and civilian
targets in Kashmir. It is linked to the Kashmiri militant group al-Faran, which kidnapped five
Western tourists in Kashmir in July 1995; the five reportedly were killed later that year. HUM
was responsible for the hijacking of an Indian airliner in December 1999 that resulted in the
release of Masood Azhar, an important leader in the former Harakat ul-Ansar, who was
imprisoned by India in 1994 and then founded Jaish-e-Mohammed (JEM) after his release.
Another former member of Harakat ul-Ansar, Ahmed Omar Sheik was also released by India as
a result of the hijackings and was later convicted of the abduction and murder in 2002 of U.S.
journalist Daniel Pearl.

HUM targets Indian security and civilian targets in Kashmir. In 2005, such attacks resulted in
the deaths of 15 people. In November 2007, two Indian soldiers were killed in Kashmir while
engaged in a firefight with a group of HUM militants. Indian police and army forces have
engaged with HUM militants in the Kashmir region, killing a number of the organization’s
leadership in April, October, and December 2008. In February 2009, Lalchand Kishen Advani,
leader of the Indian opposition Bharatiya Janata Party, received a death threat that was attributed
to HUM. HUM did not carry out any attacks during 2011.

Strength: HUM has several hundred armed supporters located in Azad Kashmir, Pakistan;
India’s southern Kashmir and Doda regions; and in the Kashmir valley. Supporters are mostly
Pakistanis and Kashmiris, but also include Afghans and Arab veterans of the Afghan war. After
2000, a significant portion of HUM’s membership defected to JEM.

Location/Area of Operation: Based in Muzaffarabad, Rawalpindi, and several other cities in
Pakistan, HUM conducts insurgent and terrorist operations primarily in Kashmir and
Afghanistan. HUM trains its militants in Afghanistan and Pakistan.

External Aid: HUM collects donations from wealthy and grassroots donors in Pakistan, Saudi
Arabia, and other Gulf states. HUM’s financial collection methods include soliciting donations
in magazine ads and pamphlets.

HIZBALLAH

aka the Party of God; Islamic Jihad; Islamic Jihad Organization; Revolutionary Justice
Organization; Organization of the Oppressed on Earth; Islamic Jihad for the Liberation of
Palestine; Organization of Right Against Wrong; Ansar Allah; Followers of the Prophet
Muhammed

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Description: Hizballah was designated as a Foreign Terrorist Organization on October 8, 1997.
Formed in 1982, in response to the Israeli invasion of Lebanon, the Lebanese-based radical Shia
group takes its ideological inspiration from the Iranian revolution and the teachings of the late
Ayatollah Khomeini. The group generally follows the religious guidance of Khomeini’s
successor, Iranian Supreme Leader Ali Khamenei. Hizballah is closely allied with Iran and often
acts at its behest, although it also acts independently. Hizballah shares a close relationship with
Syria, and like Iran, the group is helping advance Syrian objectives in the region. It has strong
influence in Lebanon, especially with the Shia community. Hizballah also plays an active role in
Lebanese politics, and the group holds 13 seats in the 128-member Lebanese Parliament.
Hizballah’s political strength has grown in the wake of the 2006 war with Israel and the group’s
2008 takeover of West Beirut.

Hizballah provides support to several Palestinian terrorist organizations, as well as a number of
local Christian and Muslim militias in Lebanon. This support includes the covert provision of
weapons, explosives, training, funding, and guidance, as well as overt political support.

Activities: Hizballah’s terrorist attacks have included the suicide truck bombings of the U.S.
Embassy and U.S. Marine barracks in Beirut in 1983; the U.S. Embassy annex in Beirut in 1984;
and the 1985 hijacking of TWA flight 847, during which a U.S. Navy diver was murdered.
Elements of the group were responsible for the kidnapping, detention, and murder of Americans
and other Westerners in Lebanon in the 1980s. Hizballah was implicated in the attacks on the
Israeli Embassy in Argentina in 1992 and on the Argentine-Israeli Mutual Association in Buenos
Aires in 1994. In 2000, Hizballah operatives captured three Israeli soldiers in the Sheba’a Farms
area and, separately, kidnapped an Israeli non-combatant in Dubai. Although the non-combatant
survived, on November 1, 2001, Israeli Army Rabbi Israel Weiss pronounced the soldiers dead.
The surviving non-combatant, as well as the bodies of the IDF soldiers, were returned to Israel in
a prisoner exchange with Hizballah on January 29, 2004.

Since at least 2004, Hizballah has provided training to select Iraqi Shia militants, including on
the construction and use improvised explosive devices (IEDs) that can penetrate heavily-armored
vehicles. Senior Hizballah operative, Ali Mussa Daqduq, was captured in Iraq in 2007 with
detailed documents that discussed tactics to attack Iraqi and Coalition Forces; he was facilitating
Hizballah training of Iraqi Shia militants.

In July 2006, Hizballah attacked an Israeli Army patrol, kidnapping two soldiers and killing
three, starting a conflict with Israel that lasted into August.

Senior Hizballah officials have repeatedly vowed retaliation for the February 2008 killing in
Damascus of Imad Mughniyah, Hizballah’s military and terrorism chief, who was suspected of
involvement in many attacks.

Hizballah and a Palestinian group affiliated with al-Qa’ida blamed each other for a May 2011
roadside bomb attack that wounded six Italian soldiers with the UN Interim Force in Lebanon.
Two other attacks against UNIFIL peackeepers – an attack in late July that wounded six French
citizens and a second attack days later that injured three other French soldiers – were believed to

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have been carried out by Hizballah. Although the group did not take credit for the attacks
against UNIFIL troops, Hizballah is likely the perpetrator because of UNIFIL’s efforts directed
against Hizballah throughout Lebanon. Also in 2011, four Hizballah members were indicted by
the U.N.-based Special Tribunal for Lebanon, an international tribunal investigating the 2005
assassination of Lebanese Prime Minister Rafik Hariri. The four Hizballah members indicted by
the Special Tribunal for Lebanon include Mustafa Badreddine – identified as the primary suspect
in Hariri’s assassination, Badreddine is believed to have replaced his cousin, the infamous Imad
Mugniyeh, as Hizballah’s top military commander after Mugniyeh’s 2008 death – as well as
Salim Ayyash, Assad Sabra, and Hassan Anise. Hizballah denounced the trial and vowed to
retaliate, saying the four indicted Hizballah members would not be handed over at any time.

Strength: Several thousand supporters and members.

Location/Area of Operation: Operates in the southern suburbs of Beirut, the Bekaa Valley, and
southern Lebanon.

External Aid: Iran continues to provide Hizballah with training, weapons, and explosives, as
well as political, diplomatic, monetary, and organizational aid; Syria furnished training,
weapons, diplomatic, and political support. Hizballah also receives funding from private
donations and profits from legal and illegal businesses. Hizballah receives financial support
from Lebanese Shia communities in Europe, Africa, South America, North America, and Asia.
Hizballah supporters are often engaged in a range of criminal activities, including smuggling
contraband goods; passport falsification; credit card, immigration, and bank fraud; trafficking in
narcotics; and money laundering. The Barakat Network – a criminal network operating in the
tri-border area between Paraguay, Brazil, and Argentina – is an example of such criminal
activity. Furthermore, two separate U.S. government investigations implicated the Lebanese
Canadian Bank as a key conduit for drug money being funneled to Hizballah.

INDIAN MUJAHEDEEN

aka Indian Mujahidin; Islamic Security Force-Indian Mujahideen (ISF-IM)

Description: The Indian Mujahideen (IM) was designated as a Foreign Terrorist Organization
on September 19, 2011. An India-based terrorist group with significant links to Pakistan, IM has
been responsible for dozens of bomb attacks throughout India since 2005, and has caused the
deaths of hundreds of innocent civilians. IM maintains close ties to other U.S.-designated
terrorist entities including Pakistan-based Lashkar e-Tayyiba (LeT), Jaish-e-Mohammed (JEM),
and Harakat ul-Jihad-i-Islami (HUJI). IM’s stated goal is to carry out terrorist actions against
non-Muslims in furtherance of its ultimate objective, an Islamic Caliphate across South Asia.

Activities: IM’s primary method of attack is multiple coordinated bombings in crowded areas
against economic and civilian targets to maximize terror and casualties. In 2008, an IM attack in
Delhi killed 30 people; that same year, IM was responsible for 16 synchronized bomb blasts in
crowded urban centers and a local hospital in Ahmedabad that killed 38 and injured more than
100. IM also played a facilitative role in the 2008 Mumbai attack carried out by LeT that killed


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163 people, including six Americans. In 2010, IM carried out the bombing of a popular German
bakery in Pune, India, frequented by tourists, killing 17 and injuring over 60 people.

In 2011, IM conducted multiple bombings killing dozens of innocent civilians and injuring
hundreds more. On May 25, IM was suspected of an improvised explosive device (IED) attack
in New Delhi. On July 13, 25 civilians were killed and 137 wounded in an IED attack in
Mumbai. On September 7, 15 civilians were killed, and 91 others injured in a bombing in New
Delhi.

Strength: Estimated to have several thousand supporters and members.

Location/Area of Operation: India

External Aid: Suspected to obtain funding and support from other terrorist organizations, such
as LeT and HUJI, and from sources in the Middle East.

ISLAMIC JIHAD UNION

aka Islamic Jihad Group; Islomiy Jihod Ittihodi; al-Djihad al-Islami; Dzhamaat Modzhakhedov;
Islamic Jihad Group of Uzbekistan; Jamiat al-Jihad al-Islami; Jamiyat; The Jamaat Mojahedin;
The Kazakh Jama’at; The Libyan Society

Description: Designated as a Foreign Terrorist Organization on June 17, 2005, the Islamic Jihad
Union (IJU) is a Sunni extremist organization that splintered from the Islamic Movement of
Uzbekistan (IMU).

Activities: The IJU, based in Pakistan, primarily operates against Coalition Forces in
Afghanistan and continues to pose a threat of attacks in Central Asia. The group claimed
responsibility for attacks in March and April 2004, targeting police at several roadway
checkpoints and at a popular bazaar, killing approximately 47 people, including 33 IJU members,
some of whom were suicide bombers. In July 2004, the group carried out near-simultaneous
suicide bombings of the Uzbek Prosecutor General’s office and the U.S. and Israeli Embassies in
Tashkent. In September 2007, German authorities disrupted an IJU plot by detaining three IJU
operatives, including two German citizens. Foreign fighters from Germany, Turkey, and
elsewhere in Europe continued to travel to the Afghan-Pakistan border area to join the IJU to
fight against U.S. and Coalition Forces.

Strength: 100-200 members.

Location/Area of Operation: IJU members are scattered throughout Central Asia, Europe,
Pakistan, and Afghanistan.

External Aid: Unknown.

ISLAMIC MOVEMENT OF UZBEKISTAN


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aka IMU

Description: Designated as a Foreign Terrorist Organization on September 25, 2000, the
Islamic Movement of Uzbekistan’s (IMU) goal is to overthrow the Uzbek regime and to
establish an Islamic state. For most of the past decade, however, the group recruited members
from other Central Asian states and Europe and has focused on fighting in Afghanistan and
Pakistan. The IMU has a relationship with the Taliban and Tehrik-e Taliban Pakistan (TTP). In
2011, IMU’s leadership cadre remained based in Pakistan's Taliban-controlled North Waziristan
and operated primarily along the Afghanistan-Pakistan border and in northern Afghanistan. Top
IMU leaders have integrated themselves into the Taliban's shadow government in the northern
provinces. Operating in cooperation with each other, the Taliban and the IMU have expanded
their presence throughout northern Afghanistan and have established training camps in the
region.

Activities: Since the beginning of Operation Enduring Freedom, the IMU has been
predominantly focused on attacks against U.S. and Coalition soldiers in Afghanistan. In late
2009, NATO forces reported an increase in IMU-affiliated foreign fighters in Afghanistan. In
2010, the IMU continued to fight in Afghanistan and the group claimed credit for the September
19 ambush that killed 25 Tajik troops in Tajikistan. On October 15, 2011, IMU claimed
responsibility for a suicide assault on a U.S.-led Provincial Reconstruction Team base in the
Afghan province of Panjshir. The attack began when a suicide bomber detonated a car packed
with explosives at the front gate, killing two Afghan civilians and wounding two security guards
at the base.

Strength: 200-300 members.

Location/Area of Operation: IMU militants are located in South Asia, Central Asia, and Iran.

External Aid: The IMU receives support from a large Uzbek diaspora, terrorist organizations,
and donors from Europe, Central and South Asia, and the Middle East.

JAISH-E-MOHAMMED

aka the Army of Mohammed; Mohammed’s Army; Tehrik ul-Furqaan; Khuddam-ul-Islam;
Khudamul Islam; Kuddam e Islami; Jaish-i-Mohammed

Description: Designated as a Foreign Terrorist Organization on December 26, 2001, Jaish-e-
Mohammed (JEM) is based in Pakistan. JEM was founded in early 2000 by Masood Azhar, a
former senior leader of Harakat ul-Ansar, upon his release from prison in exchange for 155
hijacked Indian Airlines hostages in India. The group’s aim is to annex Indian Kashmir and
expel Coalition Forces in Afghanistan, and it has openly declared war against the United States.
Pakistan outlawed JEM in 2002. By 2003, JEM had splintered into Khuddam-ul-Islam (KUI),
headed by Azhar, and Jamaat ul-Furqan (JUF), led by Abdul Jabbar, who was released from
Pakistani custody in August 2004. Pakistan banned KUI and JUF in November 2003.




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Activities: JEM continues to operate openly in parts of Pakistan despite the 2002 ban on its
activities. Since Masood Azhar’s 1999 release from Indian custody, JEM has conducted many
fatal terrorist attacks in the region. JEM claimed responsibility for several suicide car bombings
in Kashmir, including an October 2001 suicide attack on the Jammu and Kashmir legislative
assembly building in Srinagar that killed more than 30 people. The Indian government has
publicly implicated JEM, along with Lashkar e-Tayyiba, for the December 2001 attack on the
Indian Parliament that killed nine and injured 18. In 2002, Pakistani authorities arrested and
convicted a JEM member for the abduction and murder of U.S. journalist Daniel Pearl. Pakistani
authorities suspect that JEM members may have been involved in the 2002 anti-Christian attacks
in Islamabad, Murree, and Taxila that killed two Americans. In December 2003, Pakistan
implicated JEM members in the two assassination attempts against President Musharraf. In
2006, JEM claimed responsibility for a number of attacks, including the killing of several Indian
police officials in the Indian-administered Kashmir capital of Srinagar. Indian police and JEM
extremists continued to engage in firefights throughout 2008 and 2009. In March 2011, Indian
security forces killed chief JEM commander Sajad Afghani and his bodyguard in Sirnagar,
Kashmir.

Strength: JEM has at least several hundred armed supporters – including a large cadre of
former HUM members – located in Pakistan, India’s southern Kashmir and Doda regions, and in
the Kashmir Valley. In 2011, JEM restarted its fundraising and recruitment activities in
Pakistan.

Location/Area of Operation: Pakistan, particularly southern Punjab; Afghanistan; and
Kashmir.

External Aid: In anticipation of asset seizures by the Pakistani government, JEM withdrew
funds from bank accounts and invested in legal businesses, such as commodity trading, real
estate, and production of consumer goods. In addition, JEM collects funds through donation
requests in magazines and pamphlets, sometimes using charitable causes to solicit donations.

JEMAAH ISLAMIYA

aka Jemaa Islamiyah; Jema’a Islamiyah; Jemaa Islamiyya; Jema’a Islamiyya; Jemaa
Islamiyyah; Jema’a Islamiyyah; Jemaah Islamiah; Jemaah Islamiyah; Jema’ah Islamiyah;
Jemaah Islamiyyah; Jema’ah Islamiyyah; JI

Description: Designated as a Foreign Terrorist Organization on October 23, 2002, Jemaah
Islamiya (JI) is a Southeast Asia-based terrorist group co-founded by Abu Bakar Ba’asyir and
Abdullah Sungkar that seeks the establishment of an Islamic caliphate spanning Indonesia,
Malaysia, southern Thailand, Singapore, Brunei, and the southern Philippines. More than 400 JI
operatives have been captured since 2002, including operations chief and al-Qa’ida (AQ)
associate Hambali. In 2006, several members connected to JI’s 2005 suicide attack in Bali were
arrested; in 2007, JI emir Muhammad Naim (a.k.a. Zarkasih) and JI military commander Abu
Dujana were arrested; and in 2008, two senior JI operatives were arrested in Malaysia and a JI-
linked cell was broken up in Sumatra. In September 2009, JI-splinter group leader Noordin
Mohammad Top was killed in a police raid. Progress against JI continued in February 2010,

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when Indonesian National Police discovered and disbanded an extremist training base in Aceh in
which members of JI and other Indonesian extremist groups participated. The police raid
resulted in the capture of over 60 militants, including some JI operatives, and led authorities to
former JI leader Dulmatin, one of the planners of the 2002 Bali bombing. In March 2010,
Dulmatin was killed outside of Jakarta. In June 2010, wanted JI commander Abdullah Sunata
was captured while planning to bomb the Danish Embassy in Jakarta. In January 2011, JI
member Umar Patek was captured in Abbottabad, Pakistan, and transferred to Indonesia for trial.

Activities: In December 2001, Singaporean authorities uncovered a JI plot to attack U.S.,
Israeli, British, and Australian diplomatic facilities in Singapore. Other significant JI attacks
include the 2002 Bali bombings, which killed more than 200, including seven U.S. citizens; the
August 2003 bombing of the J. W. Marriott Hotel in Jakarta, the September 2004 bombing
outside the Australian Embassy in Jakarta, and JI’s October 2005 suicide bombing in Bali, which
killed 26, including the three suicide bombers.

A JI faction led by Noordin Mohammad Top conducted the most recent high-profile attack
associated with the group July 17, 2009 at the J.W. Marriott and Ritz-Carlton hotels in Jakarta
when two suicide bombers detonated explosive devices, killing seven and injuring more than 50,
including seven Americans.

Strength: Estimates of total JI members vary from 500 to several thousand.

Location/Area of Operation: JI is based in Indonesia and is believed to have elements in
Malaysia and the Philippines.

External Aid: Investigations have indicated that JI is fully capable of its own fundraising
through membership donations and criminal and business activities. It has received financial,
ideological, and logistical support from Middle Eastern contacts and non-governmental
organizations.

JUNDALLAH

aka People’s Resistance Movement of Iran (PMRI); Jonbesh-i Moqavemat-i-Mardom-i Iran;
Popular Resistance Movement of Iran; Soldiers of God; Fedayeen-e-Islam; Former Jundallah of
Iran; Jundullah; Jondullah; Jundollah; Jondollah; Jondallah; Army of God (God’s Army); Baloch
Peoples Resistance Movement (BPRM)

Description: Jundallah was designated as a Foreign Terrorist Organization on November 4,
2010. Since its 2003 inception, Jundallah, a violent extremist organization that operates
primarily in the province of Sistan va Balochistan of Iran, has engaged in numerous attacks,
killing and maiming scores of Iranian civilians and government officials. Jundallah’s stated
goals are to secure recognition of Balochi cultural, economic, and political rights from the
Government of Iran and to spread awareness of the plight of the Baloch situation through violent
and nonviolent means.




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Activities: In March 2006, Jundallah attacked a motorcade in eastern Iran, which included the
deputy head of the Iranian Red Crescent Security Department, who was then taken hostage. The
Governor of Zahedan, his deputy, and five other officials were wounded; seven others were
kidnapped; and more than 20 were killed in the attack. An October 2009 suicide bomb attack in
a marketplace in the city of Pishin in the Sistan va Balochistan province, which killed more than
40 people, was reportedly the deadliest terrorist attack in Iran since the 1980s. In a statement on
its website, Jundallah claimed responsibility for the December 15, 2010 suicide bomb attack
inside the Iman Hussein Mosque in Chabahar, which killed an estimated 35 to 40 civilians and
wounded 60 to 100. In July 2010, Jundallah attacked the Grand Mosque in Zahedan, killing
approximately 30 and injuring an estimated 300. There were no reported attacks attributed to
Jundallah in 2011.

Strength: Reports of Jundallah membership vary from 500 to 2,000.

Location/Area of Operation: Throughout Sistan va Balochistan province in southeastern Iran
and the greater Balochistan area of Afghanistan and Pakistan.

External Aid: Unknown.

KAHANE CHAI

aka American Friends of the United Yeshiva; American Friends of Yeshivat Rav Meir;
Committee for the Safety of the Roads; Dikuy Bogdim; DOV; Forefront of the Idea; Friends of
the Jewish Idea Yeshiva; Jewish Legion; Judea Police; Judean Congress; Kach; Kahane; Kahane
Lives; Kahane Tzadak; Kahane.org; Kahanetzadak.com; Kfar Tapuah Fund; Koach; Meir’s
Youth; New Kach Movement; Newkach.org; No’ar Meir; Repression of Traitors; State of Judea;
Sword of David; The Committee Against Racism and Discrimination (CARD); The Hatikva
Jewish Identity Center; The International Kahane Movement; The Jewish Idea Yeshiva; The
Judean Legion; The Judean Voice; The Qomemiyut Movement; The Rabbi Meir David Kahane
Memorial Fund; The Voice of Judea; The Way of the Torah; The Yeshiva of the Jewish Idea;
Yeshivat Harav Meir

Description: Kach – the precursor to Kahane Chai – was founded by radical Israeli-American
Rabbi Meir Kahane with the goal of restoring Greater Israel, which is generally used to refer to
Israel, the West Bank, and Gaza. Its offshoot, Kahane Chai, (translation: “Kahane Lives”) was
founded by Meir Kahane’s son Binyamin following his father’s 1990 assassination in the United
States. Both organizations were designated as Foreign Terrorist Organizations on October 8,
1997. The group has attempted to gain seats in the Israeli Knesset over the past several decades
but has won only one seat in 1984.

Activities: Kahane Chai has harassed and threatened Arabs, Palestinians, and Israeli
government officials, and has vowed revenge for the death of Binyamin Kahane and his wife.
The group is suspected of involvement in a number of low-level attacks since the start of the
First Palestinian Intifada in 2000. Since 2003, Kahane Chai activists have called for the
execution of former Israeli Prime Minister Ariel Sharon, and physically intimidated other Israeli
and Palestinian government officials who favored the dismantlement of Israeli settlements.

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Although they have not explicitly claimed responsibility for a series of mosque burnings in the
West Bank, individuals affiliated with Kahane Chai are widely suspected of being the
perpetrators.

Strength: Kahane Chai’s core membership is believed to be fewer than 100. The group’s
membership and support networks are overwhelmingly composed of Israeli citizens, most of
whom live in West Bank settlements.

Location/Area of Operation: Israel and West Bank settlements, particularly Qiryat Arba’ in
Hebron.

External Aid: Receives support from sympathizers in the United States and Europe.

KATA’IB HIZBALLAH

aka Hizballah Brigades; Hizballah Brigades In Iraq; Hizballah Brigades-Iraq; Kata’ib Hezbollah;
Khata’ib Hezbollah; Khata’ib Hizballah; Khattab Hezballah; Hizballah Brigades-Iraq Of The
Islamic Resistance In Iraq; Islamic Resistance In Iraq; Kata’ib Hizballah Fi Al-Iraq; Katibat Abu
Fathel Al A’abas; Katibat Zayd Ebin Ali; Katibut Karbalah

Description: Designated as a Foreign Terrorist Organization on July 2, 2009, Kata’ib Hizballah
(KH) was formed in 2006 and is a radical Shia Islamist group with an anti-Western outlook and
extremist ideology that has conducted attacks against Iraqi, U.S., and Coalition targets in Iraq.
KH has threatened the lives of Iraqi politicians and civilians that support the legitimate political
process in Iraq. The group is notable for its extensive use of media operations and propaganda
by filming and releasing videos of attacks. KH has ideological ties to Lebanese Hizballah and
may have received support from that group and its sponsor, Iran.

Activities: KH has been responsible for numerous violent terrorist attacks since 2007, including
improvised explosive device bombings, rocket propelled grenade attacks, and sniper operations.
In 2007, KH gained notoriety with attacks on U.S. and Coalition Forces in Iraq. KH was
particularly active in summer 2008, recording and distributing video footage of its attacks against
U.S. and Coalition soldiers. Using the alias “Hizballah Brigades in Iraq,” KH filmed attacks on
U.S. Stryker vehicles, Abrams tanks, and Bradley armored personnel carriers. In 2009, KH
continued to release videos of attacks ranging in date from 2006 to 2008 on the Internet.

In June 2011, five U.S. soldiers were killed in a rocket attack in Baghdad, Iraq, when KH
assailants fired between three and five rockets at the United States military base Camp Victory,
which surrounds Baghdad's International airport.

Strength: Membership is estimated at 400 individuals.

Location/Area of Operation: KH’s operations are predominately Iraq-based. In 2011, KH
conducted the majority of its operations in Baghdad but was active in other areas of Iraq,
including Kurdish areas such as Mosul.


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External Aid: KH is almost entirely dependent on support from Iran and Lebanese Hizballah.

KURDISTAN WORKERS’ PARTY

aka the Kurdistan Freedom and Democracy Congress; the Freedom and Democracy Congress
of Kurdistan; KADEK; Partiya Karkeran Kurdistan; the People’s Defense Force; Halu Mesru
Savunma Kuvveti; Kurdistan People’s Congress; People’s Congress of Kurdistan; KONGRA-
GEL

Description: Founded by Abdullah Ocalan in 1978 as a Marxist-Leninist separatist
organization, the Kurdistan Workers’ Party (PKK) or Kongra-Gel (KGK) was designated as a
Foreign Terrorist Organization on October 8, 1997. The group, composed primarily of Turkish
Kurds, launched a campaign of violence in 1984. The PKK’s original goal was to establish an
independent Kurdish state in southeastern Turkey, but in recent years it has spoken more often
about autonomy within a Turkish state that guarantees Kurdish cultural and linguistic rights.

In the early 1990s, the PKK moved beyond rural-based insurgent activities to include urban
terrorism. In the 1990s, southeastern Anatolia was the scene of significant violence; some
estimates place casualties at approximately 30,000 persons. Following his capture in 1999,
Ocalan announced a “peace initiative,” ordering members to refrain from violence and
requesting dialogue with Ankara on Kurdish issues. Ocalan’s death sentence was commuted to
life imprisonment; he remains the symbolic leader of the group. The group foreswore violence
until June 2004, when the group’s hard-line militant wing took control and renounced the self-
imposed cease-fire of the previous five years. Striking over the border from bases within Iraq,
the PKK has engaged in terrorist attacks in eastern and western Turkey.

Activities: Primary targets have been Turkish government security forces, local Turkish
officials, and villagers who oppose the organization in Turkey. In 2006, 2007, and 2008, PKK
violence killed or injured hundreds of Turks.

The PKK remained active in 2011, with approximately 61 credited attacks. At least 88 people
were killed in the attacks and 216 wounded. Although the majority of the attacks took place in
Turkey, suspected PKK members have carried out multiple attacks on the offices of a Turkish
newspaper in Paris, France.

Strength: Approximately 4,000 to 5,000; 3,000 to 3,500 are located in northern Iraq.

Location/Area of Operation: The PKK operate primarily in Turkey, Iraq, and Europe.

External Aid: In the past, the PKK received safe haven and modest aid from Syria, Iraq, and
Iran. Since 1999, Iran has also cooperated in a limited fashion with Turkey against the PKK.
The PKK receives substantial financial support from the large Kurdish diaspora in Europe and
from criminal activity there.

LASHKAR E-TAYYIBA


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aka al Mansooreen; Al Mansoorian; Army of the Pure; Army of the Pure and Righteous; Army
of the Righteous; Lashkar e-Toiba; Lashkar-i-Taiba; Paasban-e-Ahle-Hadis; Paasban-e-Kashmir;
Paasban-i-Ahle-Hadith; Pasban-e-Ahle-Hadith; Pasban-e-Kashmir; Jamaat-ud-Dawa, JUD;
Jama’at al-Dawa; Jamaat ud-Daawa; Jamaat ul-Dawah; Jamaat-ul-Dawa; Jama’at-i-Dawat;
Jamaiat-ud-Dawa; Jama’at-ud-Da’awah; Jama’at-ud-Da’awa; Jamaati-ud-Dawa; Idara Khidmat-
e-Khalq; Falah-i-Insaniat Foundation; FiF; Falah-e-Insaniat Foundation; Falah-e-Insaniyat;
Falah-i-Insaniyat; Falah Insania; Welfare of Humanity; Humanitarian Welfare Foundation;
Human Welfare Foundation

Description: Designated as a Foreign Terrorist Organization (FTO) on December 26, 2001,
Lashkar e-Tayyiba (LeT) is one of the largest and most proficient of the traditionally Kashmir-
focused militant groups. It has the ability to severely disrupt already delicate regional relations.
LeT formed in the late 1980s as the militant wing of the Islamic extremist organization Markaz
Dawa ul-Irshad, a Pakistan-based Islamic fundamentalist mission organization and charity
founded to oppose the Soviet presence in Afghanistan. Led by Hafiz Muhammad Saeed, LeT is
not connected to any political party. Shortly after LeT was designated as an FTO, Saeed
changed the name to Jamaat-ud-Dawa (JUD) and began humanitarian projects to avoid
restrictions. LeT disseminates its message through JUD’s media outlets. Elements of LeT and
Jaish-e-Muhammad (JEM) combined with other groups to mount attacks as “The Save Kashmir
Movement.” The Pakistani government banned LeT in January 2002 and JUD in 2008 following
the Mumbai attack. LeT and Saeed continued to spread terrorist ideology, as well as virulent
rhetoric condemning the United States, India, Israel, and other perceived enemies.

Activities: LeT has conducted a number of operations against Indian troops and civilian targets
in Jammu and Kashmir since 1993, as well as several high profile attacks inside India. Indian
governmental officials hold LeT responsible for the July 2006 train attack in Mumbai, and
multiple attacks in 2005 and 2006. LeT conducted the November 2008 attacks in Mumbai
against luxury hotels, a Jewish center, a train station, and a popular café that killed at least 183,
including 22 foreigners, and injured more than 300. India has charged 38 people in the case,
including the lone surviving alleged attacker Mohammad Ajmal Amir Kasab, who was captured
at the scene. While most of those charged are at large and thought to be in Pakistan, Kasab was
sentenced to death for his involvement in the Mumbai massacre. In March 2010, Pakistani-
American businessman David Headley pleaded guilty in a U.S. court to crimes relating to his
role in the November 2008 LeT attacks in Mumbai as well as to crimes relating to a separate plot
to bomb the Danish newspaper Jyllands-Posten. In May 2011, Headley was a witness in the trial
of Tahawwur Rana, who was charged with providing material support to LeT. Rana was
convicted for providing material support to LeT in June.

In 2011, LeT was responsible for multiple attacks. Most of the attacks occurred in Jammu and
Kashmir, with the deadliest being a May 27, 2011 attack on a private residence in the city of
Kupwara that killed two civilians. In a notable 2011 counterterrorism success, police in Indian-
administered Kashmir shot and killed a senior LeT operative, Azhar Malik, after they surrounded
a house where he was hiding in the town of Sopore.

Strength: The actual size of LeT is unknown, but it has several thousand members in Azad
Kashmir and Punjab Pakistan, and in the southern Jammu, Kashmir, and Doda regions. Most

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LeT members are Pakistanis or Afghans or veterans of the Afghan wars. The group uses assault
rifles, machine guns, mortars, explosives, and rocket-propelled grenades.

Location/Area of Operation: LeT maintains a number of facilities, including training camps,
schools, and medical clinics in Pakistan.

External Aid: LeT collects donations from Pakistani expatriate communities in the Middle East
and Europe, particularly the United Kingdom; Islamic non-governmental organizations; and
Pakistani and Kashmiri business people. LeT has global connections and a strong operational
network throughout South Asia.

LASHKAR I JHANGVI

aka Army of Jhangvi; Lashkar e Jhangvi; Lashkar-i-Jhangvi

Description: Designated as a Foreign Terrorist Organization on January 30, 2003, Lashkar I
Jhangvi (LJ) is the militant offshoot of the Sunni Deobandi sectarian group Sipah-i-Sahaba
Pakistan. LJ focuses primarily on anti-Shia attacks and other attacks in Pakistan and
Afghanistan, and was banned by Pakistan in August 2001 as part of an effort to rein in sectarian
violence. Many of its members then sought refuge in Afghanistan with the Taliban, with whom
they had existing ties. After the collapse of the Taliban as the ruling government in Afghanistan,
LJ members became active in aiding other terrorists, providing safe houses, false identities, and
protection in Pakistani cities, including Karachi, Peshawar, and Rawalpindi. LJ works closely
with Tehrik-e-Taliban Pakistan (TTP).

Activities: LJ specializes in armed attacks and bombings and has admitted responsibility for
numerous killings of Shia religious and community leaders in Pakistan. In January 1999, the
group attempted to assassinate former Prime Minister Nawaz Sharif and his brother Shabaz
Sharif, Chief Minister of Punjab Province. Media reports linked LJ to attacks on Christian
targets in Pakistan, including a March 2002 grenade assault on the Protestant International
Church in Islamabad that killed two U.S. citizens. Pakistani authorities believe LJ was
responsible for the July 2003 bombing of a Shia mosque in Quetta, Pakistan. Authorities also
implicated LJ in several sectarian incidents in 2004, including the May and June bombings of
two Shia mosques in Karachi, which killed more than 40 people.

LJ was very active in 2011. The most notable attack occurred on December 6, in Kabul,
Afghanistan, when a suicide bomber detonated an improvised explosive device in a crowd of
Shia mourners, killing 48 civilians – including 12 children – and wounding 193. LJ claimed
responsibility. In another attack on September 29, in Balochistan, LJ operatives ordered Shia
pilgrims off a bus and shot dead 29 victims. An hour after the initial attack, gunmen killed
family members travelling to retrieve the victims of the first attack. Additional 2011 attacks
included: a January firebombing attack that injured four police officers, and six civilians,
including three children; a May attack that killed eight civilians and wounded 15; another May
attack that killed two police officers and wounded three; and a July 30 attack that killed 11
civilians and wounded three.


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Strength: Assessed in the low hundreds.

Location/Area of Operation: LJ is active primarily in Punjab, FATA, Karachi, and
Baluchistan. Some members travel between Pakistan and Afghanistan.

External Aid: Funding comes from wealthy donors in Pakistan as well as the Middle East,
particularly Saudi Arabia. The group also engages in criminal activity to fund its activities,
including extortion and protection money.

LIBERATION TIGERS OF TAMIL EELAM

aka Ellalan Force; Tamil Tigers

Description: Founded in 1976 and designated as a Foreign Terrorist Organization on October 8,
1997, the Liberation Tigers of Tamil Eelam (LTTE) became a powerful Tamil secessionist group
in Sri Lanka. Despite its military defeat at the hands of the Sri Lankan government in 2009, the
LTTE’s international network of sympathizers and financial support persists. LTTE remnants
continued to collect contributions from the Tamil diaspora in North America, Europe, and
Australia, where there were reports that some of these contributions were coerced by locally-
based LTTE sympathizers. The LTTE also used Tamil charitable organizations as fronts for its
fundraising.

Activities: Although the LTTE has been largely inactive since its military defeat in Sri Lanka in
2009, in the past the LTTE was responsible for an integrated battlefield insurgent strategy that
targeted key installations and senior Sri Lankan political and military leaders. It conducted a
sustained campaign targeting rival Tamil groups, and assassinated Prime Minister Rajiv Gandhi
of India in 1991 and President Ranasinghe Premadasa of Sri Lanka in 1993. Although most
notorious for its cadre of suicide bombers, the Black Tigers, the organization included an
amphibious force, the Sea Tigers, and a nascent air wing, the Air Tigers. Fighting between the
LTTE and the Sri Lanka government escalated in 2006 and continued through 2008.

In early 2009, Sri Lankan forces recaptured the LTTE’s key strongholds, including their capital
of Kilinochchi. In May 2009, government forces defeated the last LTTE fighting forces and
killed LTTE leader Prahbakaran and other members of the LTTE leadership and military
command. As a result, the Sri Lankan government declared military victory over LTTE. In
2010, some LTTE members reportedly fled Sri Lanka and have since attempted to reorganize in
India. In June 2010, assailants claiming LTTE membership may have been responsible for an
attack against a railway in Tamil Nadu, India. No one was injured when the targeted train was
able to stop in time to prevent derailment. There have been no known attacks in Sri Lanka that
could verifiably be attributed to the LTTE since the end of the war. In March 2010, German
police arrested six Tamil migrants living in Germany for supposedly using blackmail and
extortion to raise funds for the LTTE. LTTE’s financial network of support continued to operate
throughout 2011.

Strength: Exact strength is unknown.


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Location/Area of Operations: Sri Lanka and India.

External Aid: The LTTE used its international contacts and the large Tamil diaspora in North
America, Europe, and Asia to procure weapons, communications, funding, and other needed
supplies. The group employed charities as fronts to collect and divert funds for their activities.

LIBYAN ISLAMIC FIGHTING GROUP

aka LIFG

Description: The Libyan Islamic Fighting Group (LIFG) was designated as a Foreign Terrorist
Organization on December 17, 2004. In the early 1990s, LIFG emerged from the group of
Libyans who had fought Soviet forces in Afghanistan and pledged to overthrow Libyan leader
Muammar al-Qadhafi. In the years following, some members maintained an anti-Qadhafi focus
and targeted Libyan government interests. Others, such as Abu al-Faraj al-Libi, who was
arrested in Pakistan in 2005, have aligned with Usama bin Ladin and are believed to be part of
the al-Qa’ida (AQ) leadership structure. On November 3, 2007, AQ leader Ayman al-Zawahiri
announced a formal merger between AQ and LIFG. However, on July 3, 2009, LIFG members
in the United Kingdom released a statement formally disavowing any association with AQ. In
September 2009, six imprisoned LIFG members issued a 417-page document that renounced
violence. More than 100 LIFG members pledged to adhere to this revised doctrine and have
been pardoned and released from prison in Libya since September 2009.

Activities: LIFG has been largely inactive operationally in Libya since the late 1990s when
members fled predominately to Europe and the Middle East because of tightened Libyan security
measures. In early 2011, in the wake of the Libyan revolution and the fall of Qadhafi, LIFG
members created the LIFG successor group, the Libyan Islamic Movement for Change (LIMC),
and became one of many rebel groups united under the umbrella of the opposition leadership
known as the Transitional National Council. Former LIFG emir and LIMC leader Abdel Hakim
Bil-Hajj was appointed the Libyan Transitional Council’s Tripoli military commander during the
Libyan uprisings and has denied any link between his group and AQ.

Strength: Unknown.

Location/Area of Operation: Since the late 1990s, many members have fled to southwest Asia,
and European countries, particularly the UK.

External Aid: Unknown.

MOROCCAN ISLAMIC COMBATANT GROUP

aka Groupe Islamique Combattant Marocain; GICM

Description: Designated as a Foreign Terrorist Organization on October 11, 2005, the
Moroccan Islamic Combatant Group (GICM) is a transnational terrorist group centered in the
Moroccan diaspora communities of Western Europe. Its goals include establishing an Islamic

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state in Morocco. The group emerged in the 1990s and is composed of Moroccan recruits who
trained in armed camps in Afghanistan, including some who fought in the Soviet war in
Afghanistan. GICM members interact with other North African extremists, particularly in
Europe.

Activities: GICM members are believed to be among those responsible for the 2004 Madrid
train bombings, which killed 191 people. GICM members were also implicated in the
recruitment network for Iraq, and at least one GICM member carried out a suicide attack against
Coalition Forces in Iraq. According to open source reports, GICM individuals are believed to
have participated in the 2003 Casablanca attacks. However, the group has largely been inactive
since these attacks, and has not claimed responsibility for or had attacks attributed to them since
the Madrid train bombings.

Strength: Much of GICM’s leadership in Morocco and Europe has been killed, imprisoned, or
is awaiting trial. Alleged leader Mohamed al-Guerbouzi was convicted in absentia by the
Moroccan government for his role in the Casablanca attacks but remains free in exile in London.

Location/Area of Operation: Morocco, Western Europe, and Afghanistan.

External Aid: In the past, GICM has been involved in narcotics trafficking in North Africa and
Europe to fund its operations.

MUJAHADIN-E KHALQ ORGANIZATION

aka MEK; MKO; Mujahadin-e Khalq; Muslim Iranian Students’ Society; National Council of
Resistance; NCR; Organization of the People’s Holy Warriors of Iran; the National Liberation
Army of Iran; NLA; People’s Mujahadin Organization of Iran; PMOI; National Council of
Resistance of Iran; NCRI; Sazeman-e Mujahadin-e Khalq-e Iran

Description: Designated as a Foreign Terrorist Organization on October 8, 1997, the
Mujahadin-E Khalq Organization (MEK) is a Marxist-Islamic Organization that seeks the
overthrow of the Iranian regime through its military wing, the National Liberation Army (NLA),
and its political front, the National Council of Resistance of Iran (NCRI).

The MEK was founded in 1963 by a group of college-educated Iranian Marxists who opposed
the country’s pro-western ruler, Shah Mohammad Reza Pahlavi. The group participated in the
1979 Islamic Revolution that replaced the Shah with a Shiite Islamist regime led by Ayatollah
Khomeini. However, the MEK’s ideology – a blend of Marxism, feminism, and Islamism – was
at odds with the post-revolutionary government, and its original leadership was soon executed by
the Khomeini regime. In 1981, the group was driven from its bases on the Iran-Iraq border and
resettled in Paris, where it began supporting Iraq in its eight-year war against Khomeini’s Iran.
In 1986, after France recognized the Iranian regime, the MEK moved its headquarters to Iraq,
which facilitated its terrorist activities in Iran. From 2003 through the end of 2011, roughly
3,400 MEK members were encamped at Ashraf in Iraq.




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Activities: The group’s worldwide campaign against the Iranian government uses propaganda
and terrorism to achieve its objectives. During the 1970s, the MEK staged terrorist attacks inside
Iran and killed several U.S. military personnel and civilians working on defense projects in
Tehran. In 1972, the MEK set off bombs in Tehran at the U.S. Information Service office (part
of the U.S. Embassy), the Iran-American Society, and the offices of several U.S. companies to
protest the visit of President Nixon to Iran. In 1973, the MEK assassinated the deputy chief of
the U.S. Military Mission in Tehran and bombed several businesses, including Shell Oil. In
1974, the MEK set off bombs in Tehran at the offices of U.S. companies to protest the visit of
then U.S. Secretary of State Kissinger. In 1975, the MEK assassinated two U.S. military officers
who were members of the U.S. Military Assistance Advisory Group in Tehran. In 1976, the
MEK assassinated two U.S. citizens who were employees of Rockwell International in Tehran.
In 1979, the group claimed responsibility for the murder of an American Texaco executive.
Alhough denied by the MEK, analysis based on eyewitness accounts and MEK documents
demonstrates that MEK members participated in and supported the 1979 takeover of the U.S.
Embassy in Tehran and that the MEK later argued against the early release of the American
hostages. The MEK also provided personnel to guard and defend the site of the U.S. Embassy in
Tehran, following the takeover of the Embassy.

In 1981, MEK leadership attempted to overthrow the newly installed Islamic regime; Iranian
security forces subsequently initiated a crackdown on the group. The MEK instigated a bombing
campaign, including an attack against the head office of the Islamic Republic Party and the
Prime Minister’s office, which killed some 70 high-ranking Iranian officials, including Chief
Justice Ayatollah Mohammad Beheshti, President Mohammad-Ali Rajaei, and Prime Minister
Mohammad-Javad Bahonar. These attacks resulted in an expanded Iranian government
crackdown that forced MEK leaders to flee to France. For five years, the MEK continued to
wage its terrorist campaign from its Paris headquarters. Expelled by France in 1986, MEK
leaders turned to Saddam Hussein’s regime for basing, financial support, and training. Near the
end of the 1980-1988 Iran-Iraq War, Baghdad armed the MEK with heavy military equipment
and deployed thousands of MEK fighters in suicidal, waves of attacks against Iranian forces.

The MEK’s relationship with the former Iraqi regime continued through the 1990s. In 1991, the
group reportedly assisted the Iraqi Republican Guard’s bloody crackdown on Iraqi Shia and
Kurds who rose up against Saddam Hussein’s regime. In April 1992, the MEK conducted near-
simultaneous attacks on Iranian embassies and consular missions in 13 countries, including
against the Iranian mission to the United Nations in New York, demonstrating the group’s ability
to mount large-scale operations overseas. In June 1998, the MEK was implicated in a series of
bombing and mortar attacks in Iran that killed at least 15 and injured several others. The MEK
also assassinated the former Iranian Minister of Prisons in 1998. In April 1999, the MEK
targeted key Iranian military officers and assassinated the deputy chief of the Iranian Armed
Forces General Staff, Brigadier General Ali Sayyaad Shirazi.

In April 2000, the MEK attempted to assassinate the commander of the Nasr Headquarters,
Tehran’s interagency board responsible for coordinating policies on Iraq. The pace of anti-
Iranian operations increased during “Operation Great Bahman” in February 2000, when the
group launched a dozen attacks against Iran. One attack included a mortar attack against a major
Iranian leadership complex in Tehran that housed the offices of the Supreme Leader and the

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President. The attack killed one person and injured six other individuals. In March 2000, the
MEK launched mortars into a residential district in Tehran, injuring four people and damaging
property. In 2000 and 2001, the MEK was involved in regular mortar attacks and hit-and-run
raids against Iranian military and law enforcement personnel, as well as government buildings
near the Iran-Iraq border. Following an initial Coalition bombardment of the MEK’s facilities in
Iraq at the outset of Operation Iraqi Freedom, MEK leadership negotiated a cease-fire with
Coalition Forces and surrendered their heavy-arms to Coalition control. From 2003 through the
end of 2011, roughly 3,400 MEK members were encamped at Ashraf in Iraq.

In 2003, French authorities arrested 160 MEK members at operational bases they believed the
MEK was using to coordinate financing and planning for terrorist attacks. Upon the arrest of
MEK leader Maryam Rajavi, MEK members took to Paris’ streets and engaged in self-
immolation. French authorities eventually released Rajavi.

Strength: Estimates place MEK’s worldwide membership at between 5,000 and 10,000
members, with large pockets in Paris and other major European capitals. In Iraq, roughly 3,400
MEK members were gathered at Camp Ashraf, the MEK’s main compound north of Baghdad, at
the end of 2011.

As a condition of the 2003 cease-fire agreement, the MEK relinquished more than 2,000 tanks,
armored personnel carriers, and heavy artillery.

Location/Area of Operation: The MEK’s global support structure remains in place, with
associates and supporters scattered throughout Europe and North America. Operations have
targeted Iranian government elements across the globe, including in Europe and Iran. The
MEK’s political arm, the National Council of Resistance of Iran (NCRI), has a global support
network with active lobbying and propaganda efforts in major Western capitals. NCRI also has a
well-developed media communications strategy.

External Aid: Before Operation Iraqi Freedom began in 2003, the MEK received all of its
military assistance and most of its financial support from Saddam Hussein. The fall of Saddam
Hussein’s regime has led the MEK increasingly to rely on front organizations to solicit
contributions from expatriate Iranian communities.

NATIONAL LIBERATION ARMY

aka ELN; Ejercito de Liberacion Nacional

Description: The National Liberation Army (ELN) was designated as a Foreign Terrorist
Organization on October 8, 1997. The ELN is a Colombian Marxist-Leninist group formed in
1964 by intellectuals inspired by Fidel Castro and Che Guevara. It is primarily rural-based,
although it also has several urban units. The ELN remains focused on attacking economic
infrastructure, in particular oil and gas pipelines and electricity pylons, and extorting foreign and
local companies.




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Activities: The ELN engages in kidnappings, hijackings, bombings, drug trafficking, and
extortion activities. The group also uses intimidation of judges, prosecutors and witnesses and
has been involved in the murder of teachers and trade unionists. Historically, the ELN has been
one of the most prolific users of anti-personnel mines in Colombia. In recent years, the ELN has
launched joint attacks with the Revolutionary Armed Forces of Colombia (FARC), Colombia’s
largest terrorist organization. Authorities believe that the ELN kidnapped at least 25 people and
was involved in at least 23 attacks in 2010, some of which were carried out jointly with the
FARC.

The two Colombia-based terrorist groups significantly increased their attacks in 2011 as they
attempted to undermine the October 30 national elections. Attacks on Colombia’s oil and gas
industry also significantly increased resulting in major economic damage, and numerous deaths
and kidnappings. On June 25, ELN attacked a police outpost in Colon Genova, Narino, killing
eight civilians, including a child, and wounding four others. On October 30 – election day – the
ELN attempted to kill the Vice President of the House of Representatives, killing his driver but
missing the Vice President.

Strength: Approximately 2,000 armed combatants and an unknown number of active
supporters.

Location/Area of Operation: Mostly in the rural and mountainous areas of northern,
northeastern, and southwestern Colombia, as well as the border regions with Venezuela.

External Aid: The ELN draws its funding from the narcotics trade and from extortion of oil and
gas companies. Additional funds are derived from kidnapping ransoms. There is no known
external aid.

PALESTINE ISLAMIC JIHAD - SHAQAQI FACTION

aka PIJ; Palestine Islamic Jihad; PIJ-Shaqaqi Faction; PIJ-Shallah Faction; Islamic Jihad of
Palestine; Islamic Jihad in Palestine; Abu Ghunaym Squad of the Hizballah Bayt Al-Maqdis; Al-
Quds Squads; Al-Quds Brigades; Saraya Al-Quds; Al-Awdah Brigades

Description: Palestine Islamic Jihad (PIJ) was designated as a Foreign Terrorist Organization
on October 8, 1997. Formed by militant Palestinians in Gaza during the 1970s, PIJ is committed
to both the destruction of Israel through attacks against Israeli military and civilian targets and
the creation of an Islamic state in all of historic Palestine, including present day Israel.

Activities: PIJ terrorists have conducted numerous attacks, including large-scale suicide
bombings against Israeli civilian and military targets. PIJ continued to plan and direct attacks
against Israelis both inside Israel and in the Palestinian territories. Although U.S. citizens have
died in PIJ attacks, the group has not directly targeted U.S. interests. PIJ attacks in 2008, 2009,
and 2010 were primarily rocket attacks aimed at southern Israeli cities, and have also included
attacking Israeli targets with explosive devices. PIJ continued operations into 2011, claiming
responsibility for a mortar attack in Sedero, Israel in February, and a rocket attack in Ashdod,
Israel in March.

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Strength: PIJ currently has fewer than 1,000 members.

Location/Area of Operation: Primarily Gaza with minimal operational presence in the West
Bank and Israel. The group’s senior leadership resides in Syria. Other leadership elements
reside in Lebanon and official representatives are scattered throughout the Middle East.

External Aid: Receives financial assistance and training primarily from Iran.

PALESTINE LIBERATION FRONT - ABU ABBAS FACTION

aka PLF; PLF-Abu Abbas; Palestine Liberation Front

Description: The Palestinian Liberation Front – Abu Abbas Faction (PLF) was designated as a
Foreign Terrorist Organization on October 8, 1997. In the late 1970s, the Palestine Liberation
Front (PLF) splintered from the Popular Front for the Liberation of Palestine-General Command
(PFLP-GC), and then later split into pro-PLO, pro-Syrian, and pro-Libyan factions. The pro-
PLO faction was led by Muhammad Zaydan (a.k.a. Abu Abbas) and was based in Baghdad prior
to Operation Iraqi Freedom.

Activities: Abbas’s group was responsible for the 1985 attack on the Italian cruise ship Achille
Lauro and the murder of U.S. citizen Leon Klinghoffer. The PLF was suspected of supporting
terrorism against Israel by other Palestinian groups into the 1990s. In April 2004, Abu Abbas
died of natural causes while in U.S. custody in Iraq. The PLF took part in the 2006 Palestinian
parliamentarian elections but did not win a seat. In 2008, as part of a prisoner exchange between
Israel and Hizballah, Samir Kantar, a PLF member, and purportedly the longest serving Arab
prisoner in Israeli custody, was released from an Israeli prison. After going approximately 16
years without claiming responsibility for an attack, PLF claimed responsibility for two attacks
against Israeli targets on March 14, 2008. One attack was against an Israeli military bus in
Huwarah, Israel, and the other involved a PLF “brigade” firing at an Israeli settler south of the
Hebron Mountain, seriously wounding him. On March 28, 2008, shortly after the attacks, a PLF
Central Committee member reaffirmed PLF’s commitment to using “all possible means to
restore” its previous glory and to adhering to its role in the Palestinian “struggle” and
“resistance,” through its military. The PLF did not successfully carry out attacks in 2011.

Strength: Estimates have placed membership between 50 and 500.

Location/Area of Operation: PLF leadership and membership are based in Lebanon and the
Palestinian territories.

External Aid: Unknown.

POPULAR FRONT FOR THE LIBERATION OF PALESTINE

aka PFLP; Halhul Gang; Halhul Squad; Palestinian Popular Resistance Forces; PPRF; Red Eagle
Gang; Red Eagle Group; Red Eagles; Martyr Abu-Ali Mustafa Battalion

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Description: Designated as a Foreign Terrorist Organization on October 8, 1997, the Popular
Front for the Liberation of Palestine (PFLP), a Marxist-Leninist group founded by George
Habash, broke away from the Arab Nationalist Movement in 1967. The group earned a
reputation for spectacular international attacks in the 1960s and 1970s, including airline
hijackings that killed at least 20 U.S. citizens. A leading faction within the PLO, the PFLP has
long accepted the concept of a two-state solution but has opposed specific provisions of various
peace initiatives.

Activities: The PFLP stepped up its operational activity during the Second Intifada. This was
highlighted by at least two suicide bombings since 2003, multiple joint operations with other
Palestinian terrorist groups, and the assassination of Israeli Tourism Minister Rehavam Ze’evi in
2001, to avenge Israel’s killing of the PFLP Secretary General earlier that year. The PFLP was
involved in several rocket attacks, launched primarily from Gaza, against Israel in 2008 and
2009, and claimed responsibility for numerous attacks on Israeli forces in Gaza, including a
December 2009 ambush of Israeli soldiers in central Gaza. The PLFP claimed numerous mortar
and rocket attacks fired from Gaza into Israel in 2010, as well as a February attack on a group of
Israeli citizens. In 2011, the group continued to use rockets and mortars to target communities in
Israel, including rocket attacks in August and October in Eshkolot and Ashqelon, respectively,
which caused no injuries or damage. In October, the PFLP claimed responsibility for a rocket
attack that killed one civilian in Ashqelon.

Strength: Unknown.

Location/Area of Operation: Syria, Lebanon, Israel, the West Bank and Gaza.

External Aid: Leadership received safe haven in Syria.

POPULAR FRONT FOR THE LIBERATION OF PALESTINE—GENERAL
COMMAND

aka PFLP-GC

Description: The Popular Front for the Liberation of Palestine – General Command (PFLP-GC)
was designated as a Foreign Terrorist Organization on October 8, 1997. The PFLP-GC split
from the PFLP in 1968, claiming it wanted to focus more on resistance and less on politics.
Originally, the group was violently opposed to the Arafat-led PLO. Ahmad Jibril, a former
captain in the Syrian Army, has led the PFLP-GC since its founding. The PFLP-GC is closely
tied to both Syria and Iran.

Activities: The PFLP-GC carried out dozens of attacks in Europe and the Middle East during
the 1970s and 1980s. The organization was known for cross-border terrorist attacks into Israel
using unusual means, such as hot-air balloons and motorized hang gliders. The group’s primary
recent focus was supporting Hizballah’s attacks against Israel, training members of other
Palestinian terrorist groups, and smuggling weapons. The PFLP-GC maintained an armed
presence in several Palestinian refugee camps and at its own military bases in Lebanon and along

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the Lebanon-Syria border. In recent years, the PFLP-GC was implicated by Lebanese security
officials in several rocket attacks against Israel. In May 2008, the PFLP-GC claimed
responsibility for a rocket attack on a shopping center in Ashqelon that wounded at least 10
people. In 2009, the group was responsible for wounding two civilians in an armed attack in
Nahariyya, Northern District, Israel. In 2011, the PFLP-GC targeted Israeli communities in a
March 20 rocket attack by its Jihad Jibril Brigades in the city of Eshkolot, Southern District,
Israel. The attack caused no injuries or damage.

Strength: Several hundred.

Location/Area of Operation: Political Leadership was headquartered in Damascus, with bases
in southern Lebanon and a presence in the Palestinian refugee camps in Lebanon and Syria. The
group also maintains a small presence in Gaza.

External Aid: Received safe haven and logistical and military support, from Syria and financial
support from Iran.

AL-QA’IDA

Variant spelling of al-Qa’ida, including al Qaeda; translation “The Base”; Qa’idat al-Jihad (The
Base for Jihad); formerly Qa’idat Ansar Allah (The Base of the Supporters of God); the Islamic
Army; Islamic Salvation Foundation; the Base; The Group for the Preservation of the Holy Sites;
The Islamic Army for the Liberation of the Holy Places; the World Islamic Front for Jihad
Against Jews and Crusaders; the Usama Bin Ladin Network; the Usama Bin Ladin Organization;
al-Jihad; the Jihad Group; Egyptian al-Jihad; Egyptian Islamic Jihad; New Jihad

Description: Designated as a Foreign Terrorist Organization on October 8, 1999, al-Qa’ida
(AQ) was established by Usama bin Ladin in 1988. The group helped finance, recruit, transport,
and train Sunni Islamist extremists for the Afghan resistance. AQ’s strategic objectives are to
remove Western influence and presence from the Muslim world, topple “apostate” governments
of Muslim countries, and establish a pan-Islamic caliphate governed by its own interpretation of
Sharia law that ultimately would be at the center of a new international order. These goals
remain essentially unchanged since the group’s public declaration of war against the United
States in 1996. AQ leaders issued a statement in February 1998 under the banner of “The World
Islamic Front for Jihad against the Jews and Crusaders,” saying it was the duty of all Muslims to
kill U.S. citizens, civilian and military, and their allies everywhere. AQ merged with al-Jihad
(Egyptian Islamic Jihad) in June 2001. Many AQ leaders were killed in 2011, including Usama
bin Ladin and then second in command Atiyah Abd al-Rahman in May and August, respectively.

Activities: AQ and its supporters conducted three bombings that targeted U.S. troops in Aden in
December 1992, and claim to have shot down U.S. helicopters and killed U.S. servicemen in
Somalia in 1993. AQ also carried out the August 1998 bombings of the U.S. Embassies in
Nairobi and Dar es Salaam, killing up to 300 individuals and injuring more than 5,000. In
October 2000, AQ conducted a suicide attack on the USS Cole in the port of Aden, Yemen, with
an explosive-laden boat, killing 17 U.S. Navy sailors and injuring 39.


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On September 11, 2001, 19 AQ members hijacked and crashed four U.S. commercial jets – two
into the World Trade Center in New York City, one into the Pentagon near Washington, DC; and
the last into a field in Shanksville, Pennsylvania – leaving over 3,000 individuals dead or
missing.

In November 2002, AQ carried out a suicide bombing of a hotel in Mombasa, Kenya that killed
15. In 2003 and 2004, Saudi-based AQ operatives and associated extremists launched more than
a dozen attacks, killing at least 90 people, including 14 Americans in Saudi Arabia. Ayman al-
Zawahiri claimed responsibility on behalf of AQ for the July 7, 2005 attacks against the London
public transportation system. AQ likely played a role in the unsuccessful 2006 plot to destroy
several commercial aircraft flying from the United Kingdom to the United States using liquid
explosives. AQ claimed responsibility for a suicide car bomb attack on the Danish embassy in
2008 that killed five, as retaliation for a Danish newspaper re-publishing cartoons depicting the
Prophet Muhammad and for Denmark’s involvement in Afghanistan.

In January 2009, Bryant Neal Vinas – a U.S. citizen who traveled to Pakistan, allegedly trained
in explosives at AQ camps, was captured in Pakistan and extradited to the United States – was
charged with providing material support to a terrorist organization and conspiracy to commit
murder. Vinas later admitted his role in helping AQ plan an attack against the Long Island Rail
Road in New York and confessed to having fired missiles at a U.S. base in Afghanistan. In
September 2009, Najibullah Zazi, an Afghan immigrant and U.S. lawful permanent resident, was
charged with conspiracy to use weapons of mass destruction, to commit murder in a foreign
country, and with providing material support to a terrorist organization as part of an AQ plot to
attack the New York subway system. Zazi later admitted to contacts with AQ senior leadership,
suggesting they had knowledge of his plans. In February 2010, Zazi pled guilty to charges in the
United States District Court for the Eastern District of New York.

In a December 2011 video, new AQ leader al-Zawahiri claimed AQ was behind the August
kidnapping of American aid worker Warren Weinstein in Pakistan. As conditions for his release,
al-Zawahiri demanded the end of U.S. air strikes and the release of all terrorist suspects in U.S.
custody.

Strength: AQ’s organizational strength is difficult to determine precisely in the aftermath of
extensive counterterrorism efforts since 9/11. The death or arrest of mid- and senior-level AQ
operatives—including the group’s long-time leader Usama Bin Ladin in May 2011— have
disrupted communication, financial, facilitation nodes, and a number of terrorist plots.
Additionally, supporters and associates worldwide who are “inspired” by the group’s ideology
may be operating without direction from AQ central leadership; it is impossible to estimate their
numbers. AQ serves as a focal point of “inspiration” for a worldwide network of affiliated
groups – al-Qa’ida in the Arabian Peninsula, al-Qa’ida in Iraq, al-Qa’ida in the Lands of the
Islamic Maghreb – and other Sunni Islamic extremist groups, including the Islamic Movement of
Uzbekistan, the Islamic Jihad Union, Lashkar i Jhangvi, Harakat ul-Mujahadin, and Jemaah
Islamiya. TTP also has strengthened its ties to AQ.

Location/Area of Operation: AQ was based in Afghanistan until Coalition Forces removed the
Taliban from power in late 2001. Since then, they have resided in Pakistan’s Federally

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Administered Tribal Areas. AQ has a number of regional affiliates, including al-Qa’ida in Iraq
(AQI), al-Qa’ida in the Arabian Peninsula (AQAP), al-Qa’ida in the Islamic Maghreb (AQIM),
and al-Shabaab.

External Aid: AQ primarily depends on donations from like-minded supporters as well as from
individuals who believe that their money is supporting a humanitarian cause. Some funds are
diverted from Islamic charitable organizations.

Al-QA’IDA IN THE ARABIAN PENINSULA

aka al-Qa’ida in the South Arabian Peninsula; al-Qa’ida in Yemen; al-Qa’ida of Jihad
Organization in the Arabian Peninsula; al-Qa’ida Organization in the Arabian Peninsula; Tanzim
Qa’idat al-Jihad fi Jazirat al-Arab; AQAP; AQY

Description: Al-Qa’ida in the Arabian Peninsula (AQAP) was designated as a Foreign Terrorist
Organization on January 19, 2010. In January 2009, the leader of al-Qa’ida in Yemen (AQY),
Nasir al-Wahishi, publicly announced that Yemeni and Saudi al-Qa’ida (AQ) operatives were
working together under the banner of AQAP. This announcement signaled the rebirth of an AQ
franchise that previously carried out attacks in Saudi Arabia. AQAP’s self-stated goals include
establishing a caliphate in the Arabian Peninsula and the wider Middle East, as well as
implementing Sharia law.

On September 30, 2011, AQAP cleric and head of external operations Anwar al-Aulaqi, as well
as Samir Khan, the publisher of AQAP’s online magazine, Inspire, were killed in Yemen.

Activities: AQAP has claimed responsibility for numerous terrorist acts against both internal
and foreign targets since its inception in January 2009. Attempted attacks against foreign targets
include a March 2009 suicide bombing against South Korean tourists in Yemen, the August 2009
attempt to assassinate Saudi Prince Muhammad bin Nayif, and the December 25, 2009 attempted
attack on Northwest Airlines Flight 253 from Amsterdam to Detroit, Michigan. AQAP was
responsible for an unsuccessful attempt to assassinate the British Ambassador in April 2010, and
a failed attempt to target a British embassy vehicle with a rocket in October of that year. Also in
October 2010, AQAP claimed responsibility for a foiled plot to send explosive-laden packages to
the United States via cargo plane. The parcels were intercepted in the United Kingdom and in
the United Arab Emirates.

AQAP took advantage of the pro-democracy demonstrations that swept the Middle East in 2011
when similar demonstrations took place in Yemen. The demonstrations quickly turned violent in
Sanaa; and as a result, the Yemeni government focused its attention away from AQAP and
towards suppressing the upheaval in the capital. This allowed AQAP to carry out numerous
attacks, including multiple attempts to disrupt oil pipelines, attacks on police and government
personnel that killed approximately 60 people, and the October assassination of the head of the
counterterrorism police force for Abyan Governorate. AQAP was also able to seize small
amounts of territory in southern Yemen.

Strength: AQAP has a few thousand members.

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Location/Area of Operation: Yemen

External Aid: AQAP’s funding primarily comes from robberies and kidnap for ransom
operations, and to a lesser degree donations from like-minded supporters.

AL-QA’IDA IN IRAQ

aka al-Qa’ida Group of Jihad in Iraq; al-Qa’ida Group of Jihad in the Land of the Two Rivers;
al-Qa’ida in Mesopotamia; al-Qa’ida in the Land of the Two Rivers; al-Qa’ida of Jihad in Iraq;
al-Qa’ida of Jihad Organization in the Land of The Two Rivers; al-Qa’ida of the Jihad in the
Land of the Two Rivers; al-Tawhid; Jam'at al-Tawhid Wa’al-Jihad; Tanzeem Qa’idat al
Jihad/Bilad al Raafidaini; Tanzim Qa’idat al-Jihad fi Bilad al-Rafidayn; The Monotheism and
Jihad Group; The Organization Base of Jihad/Country of the Two Rivers; The Organization Base
of Jihad/Mesopotamia; The Organization of al-Jihad’s Base in Iraq; The Organization of al-
Jihad’s Base in the Land of the Two Rivers; The Organization of al-Jihad’s Base of Operations
in Iraq; The Organization of al-Jihad’s Base of Operations in the Land of the Two Rivers; The
Organization of Jihad’s Base in the Country of the Two Rivers; al-Zarqawi Network

Description: Al-Qa’ida in Iraq (AQI) was designated as a Foreign Terrorist Organization on
December 17, 2004. In the 1990s, Abu Mus’ab al-Zarqawi, a Jordanian-born militant, organized
a terrorist group called al-Tawhid wal-Jihad to oppose the presence of U.S. and Western military
forces in the Islamic world and the West's support for and the existence of Israel. In late 2004,
he joined al-Qa’ida (AQ) and pledged allegiance to Usama bin Ladin. After this al-Tawhid wal-
Jihad became known as al-Qa’ida in Iraq (AQI). Zarqawi traveled to Iraq during Operation Iraqi
Freedom and led his group against U.S. and Coalition Forces until his death in June 2006. In
October 2006, AQI publicly re-named itself the Islamic State of Iraq and has since used that
name in its public statements. In 2011, AQI was led by Ibrahim Awwad Ibrahim Ali al-Badri,
aka Abu Du’a, who was designated under Executive Order 13224 on October 4.

Activities: Since its founding, AQI has conducted high profile attacks, including improvised
explosive device (IED) attacks against U.S. military personnel and Iraqi infrastructure,
videotaped beheadings of Americans Nicholas Berg (May 11, 2004), Jack Armstrong
(September 22, 2004), and Jack Hensley (September 21, 2004), suicide bomber attacks against
both military and civilian targets, and rocket attacks. AQI perpetrates the majority of suicide and
mass casualty bombings in Iraq, using foreign and Iraqi operatives.

Examples of high profile AQI attacks in 2011 included a series of bombings that spanned
January 18-20 that killed 139 people in Tikrit. In August, AQI vowed to carry out “100 attacks”
across Iraq, starting in the middle of the Ramadan, to exact revenge for the May 2011 death of
Usama bin Ladin. On November 28, AQI killed 20 police officers, government employees,
civilians, and children, and wounded 28 others in a suicide vehicle-borne IED attack in At Taji,
Baghdad, Iraq. On December 27, nine car bombs, six roadside bombs, and a mortar round all
went off in a two-hour period, targeting residential, commercial, and government districts in
Baghdad. AQI later claimed responsibility for the attacks, which killed 70 and wounded almost
200.

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Strength: Membership is estimated at 1,000-2,000, making it the largest Sunni extremist group
in Iraq.

Location/Area of Operation: AQI’s operations are predominately Iraq-based, but it has
perpetrated attacks in Jordan. The group maintains a logistical network throughout the Middle
East, North Africa, Iran, South Asia, and Europe, and is believed to be responsible for attacks in
Syria as well. In Iraq, AQI conducted the majority of its operations in Ninawa, Diyala, Salah ad
Din, and Baghdad provinces in 2011.

External Aid: AQI receives most of its funding from a variety of businesses and criminal
activities within Iraq.

AL-QA’IDA IN THE ISLAMIC MAGHREB

aka AQIM; Group for Call and Combat; GSPC; Le Groupe Salafiste Pour La Predication Et Le
Combat; Salafist Group for Preaching and Combat

Description: The Salafist Group for Call and Combat (GSPC) was designated as a Foreign
Terrorist Organization on March 27, 2002. After the GSPC officially merged with al-Qa’ida
(AQ) in September 2006 and became known as al-Qa’ida in the Islamic Maghreb (AQIM), the
Department of State amended the GSPC designation to reflect the change on February 20, 2008.
AQIM remains largely a regionally-focused terrorist group. It has adopted a more anti-Western
rhetoric and ideology and has aspirations of overthrowing “apostate” African regimes and
creating an Islamic Caliphate. Abdelmalek Droukdel, aka Abu Mus’ab Abd al-Wadoud, is the
group’s leader.

Activities: Since 2007, when AQIM bombed the UN headquarters building in Algiers and an
Algerian government building outside of Algiers killing 60 people, AQIM had been relatively
quiet and focused on its kidnapping for ransom efforts. In 2011, however, AQIM intensified its
terrorist activities. In February, AQIM targeted Mauritanian President Muhammad Abdel Aziz
and detonated a vehicle-borne improvised explosive device (VBIED) in Nouakchott, injuring
nine soldiers. In July, AQIM claimed responsibility for two suicide bomb attacks at the police
headquarters and a town hall in Bordj Manaiel, Algeria. The attacks killed two and injured 14.
In August, AQIM was responsible for a double suicide attack on the Algerian Military Academy,
which killed at least 18 people, and wounded 35 others.

AQIM factions in the northern Sahel (northern Mali, Niger, and Mauritania) conducted kidnap
for ransom operations and conducted small-scale attacks and ambushes on security forces. The
targets for kidnap for ransom are usually Western citizens from governments or third parties that
have established a pattern of making concessions in the form of ransom payments for the release
of individuals in custody.

In September 2010, AQIM claimed responsibility for the kidnapping of seven people working at
a mine in Niger. AQIM released three of the hostages in February 2011, but at year’s end, four
French citizens remained in captivity. AQIM continued kidnapping operations throughout 2011.

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In January, AQIM kidnapped two French civilians in Niamey, Niger. The kidnappers later killed
both hostages during a failed rescue attempt. In February, AQIM conducted its first abduction of
a foreigner in Algeria since 2003 when it kidnapped an Italian tourist in Alidena. In October,
AQIM kidnapped two Spanish and one Italian aid worker from a refugee camp near Tindouf,
Algeria. In November, AQIM was responsible for the November 26 killing of a German man in
Mali and the abduction of three men from the Netherlands, South Africa, and Sweden in Mali.

Strength: AQIM has under a thousand fighters operating in Algeria with a smaller number in
the Sahel. AQIM is significantly constrained by its poor finances and lack of broad general
appeal in the region. It is attempting to take advantage of the volatile political situation in the
Sahel to expand its membership, resources, and operations.

Location/Area of Operation: Northeastern Algeria (including but not limited to the Kabylie
region) and northern Mali, Niger, and Mauritania.

External Aid: AQIM members engage in kidnapping for ransom and criminal activitities to
finance their operations. Algerian expatriates and AQIM supporters abroad, many residing in
Western Europe, provide limited financial and logistical support.

REAL IRA

aka RIRA; Real Irish Republican Army; 32 County Sovereignty Committee; 32 County
Sovereignty Movement; Irish Republican Prisoners Welfare Association; Real Oglaigh Na
hEireann

Description: Designated as a Foreign Terrorist Organization on May 16, 2001, the Real IRA
(RIRA) was formed in 1997 as the clandestine armed wing of the 32 County Sovereignty
Movement, a “political pressure group” dedicated to removing British forces from Northern
Ireland and unifying Ireland. The RIRA has historically sought to disrupt the Northern Ireland
peace process and did not participate in the September 2005 weapons decommissioning. In
September 1997, the 32 County Sovereignty Movement opposed Sinn Fein’s adoption of the
Mitchell principles of democracy and non-violence. Despite internal rifts and calls by some
jailed members, including the group’s founder Michael “Mickey” McKevitt, for a cease-fire and
disbandment, the RIRA has pledged additional violence and continued to conduct attacks.

Activities: Many RIRA members are former Provisional Irish Republican Army members who
left the organization after that group renewed its cease-fire in 1997. These members brought a
wealth of experience in terrorist tactics and bomb making to the RIRA. Targets have included
civilians (most notoriously in the Omagh bombing in August 1998), British security forces, and
police in Northern Ireland. The Independent Monitoring Commission, which was established to
oversee the peace process, assessed that RIRA members were likely responsible for the majority
of the shootings and assaults that occurred in Northern Ireland. In October 2011, Lithuanian
authorities convicted a RIRA member for attempting to arrange a shipment of weapons to
Northern Ireland in 2008.




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In 2011, the group was responsible for seven attacks on Northern Ireland businesses and the
Police Service of Northern Ireland (PSNI) and was suspected of other incidents. In January,
May, and October, the RIRA damaged office buildings, government facilities, and banks in
improvised explosive device (IED) attacks, and in February authorities defused another IED
before it could explode. In March, RIRA attacked PSNI officers investigating a car theft, and
officials blamed RIRA for a bomb placed under a police car that killed a Catholic police officer
in April. RIRA conducted two separate attacks on August 4 and August 24 that killed one
civilian and wounded another, respectively.

Strength: According to the Irish government, the RIRA has approximately 100 active members.
The organization may receive limited support from IRA hardliners and Republican sympathizers
who are dissatisfied with the IRA’s continuing cease-fire and with Sinn Fein’s involvement in
the peace process.

Location/Area of Operation: Northern Ireland, Great Britain, and the Irish Republic.

External Aid: The RIRA is suspected of receiving funds from sympathizers in the United States
and of attempting to buy weapons from U.S. gun dealers. The RIRA was also reported to have
purchased sophisticated weapons from the Balkans and to have occasionally collaborated with
the Continuity Irish Republican Army.

REVOLUTIONARY ARMED FORCES OF COLOMBIA

aka FARC; Fuerzas Armadas Revolucionarias de Colombia

Description: Designated as a Foreign Terrorist Organization on October 8, 1997, the
Revolutionary Armed Forces of Colombia (FARC) is Latin America’s oldest, largest, most
violent, and best-equipped terrorist organization. The FARC began in the early 1960s as an
outgrowth of the Liberal Party-based peasant self-defense leagues, but took on Marxist ideology.
Today, it only nominally fights in support of Marxist goals, and is heavily involved in narcotics
production and trafficking. The FARC is responsible for large numbers of kidnappings for
ransom in Colombia and in past years has held more than 700 hostages. The FARC has been
degraded by a continuing Colombian military offensive targeting key FARC units and leaders
that has, by most estimates, halved the FARC’s numbers and succeeded in capturing or killing a
number of FARC senior and mid-level commanders.

Activities: The FARC has carried out bombings, murder, mortar attacks, kidnapping, extortion,
and hijacking, as well as guerrilla and conventional military action against Colombian political,
military, civilian, and economic targets. The FARC has also used landmines extensively. The
group considers U.S. citizens legitimate targets, and other foreign citizens are often targets of
abductions carried out to obtain ransom and political leverage. The FARC has well-documented
ties to the full range of narcotics trafficking activities, including taxation, cultivation, and
distribution. In 2011, Colombian government investigators reported that the FARC controlled
approximately 15 gold mines in the Bolivar Department, and was actively involved in the
extortion of heavy equipment operators at the mines. According to the investigators, the FARC
could be receiving approximately $850 million annually from these activities.

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Over the years, the FARC has perpetrated a large number of high profile terrorist acts, including
the 1999 murder of three U.S. missionaries working in Colombia, and multiple kidnappings and
assassinations of Colombian government officials and civilians. In July 2008, the Colombian
military made a dramatic rescue of 15 high-value FARC hostages including three U.S.
Department of Defense contractors Marc Gonsalves, Keith Stansell, and Thomas Howe, who
were held in captivity for more than five years along with former Colombian presidential
candidate Ingrid Betancourt.

FARC attacks increased significantly during 2011 likely due to the FARC’s effort to disrupt the
October national elections. Among the numerous attacks was the February 11 mortar attack in
San Miguel, Putumayo, killing five civilians including a child and wounding two other children.
Coordinated FARC attacks in late October in Narino and Arauca killed more than 30 Colombian
service members. In July, a bombing of a bus, attributed to the FARC, took place in Toribio,
Cauca, resulting in two deaths and 70 injuries of members of a local indigenous community. The
FARC executed four Colombian military hostages on November 25. The four had been held
captive for at least 12 years and were shot at close range while in chains.

Strength: Approximately 8,000 to 9,000 combatants, with several thousand more supporters.

Location/Area of Operation: Primarily in Colombia. Activities including extortion,
kidnapping, weapons sourcing, and logistical planning took place in neighboring countries.

External Aid: Cuba provided some medical care, safe haven, and political consultation. The
FARC often use Colombia’s border areas with Venezuela, Panama, and Ecuador for incursions
into Colombia; and Venezuelan and Ecuadorian territory for safe haven, although the degree of
government acquiescence is not always clear.

REVOLUTIONARY ORGANIZATION 17 NOVEMBER

aka Epanastatiki Organosi 17 Noemvri; 17 November

Description: Designated as a Foreign Terrorist Organization on October 8, 1997, the
Revolutionary Organization 17 November (17N) is a radical leftist group established in 1975.
Named for the student uprising in Greece in November 1973 that protested the ruling military
junta, 17N is opposed to the Greek government, the United States, Turkey, and the North
Atlantic Treaty Organization (NATO). It seeks the end of the U.S. military presence in Greece,
the removal of Turkish military forces from Cyprus, and the severing of Greece’s ties to NATO
and the European Union (EU).

Activities: Initial attacks consisted of assassinations of senior U.S. officials and Greek public
figures. Five U.S. Embassy employees have been murdered since 17N began its terrorist
activities in 1975. The group began using bombings in the 1980s. In 1990, 17N expanded its
targets to include Turkish diplomats, EU facilities, and foreign firms investing in Greece. 17N’s
most recent attack was a bombing attempt in June 2002 at the port of Piraeus in Athens. After


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the attempted attack, Greek authorities arrested 19 17N members, including a key leader of the
organization. The convictions of 13 of these members have been upheld by Greek courts.

Strength: Unknown.

Location/Area of Operation: Athens, Greece.

External Aid: Unknown.

REVOLUTIONARY PEOPLE’S LIBERATION PARTY/FRONT

aka DHKP/C; Dev Sol; Dev Sol Armed Revolutionary Units; Dev Sol Silahli Devrimci
Birlikleri; Dev Sol SDB; Devrimci Halk Kurtulus Partisi-Cephesi; Devrimci Sol; Revolutionary
Left

Description: Designated as a Foreign Terrorist Organization on October 8, 1997, the
Revolutionary People’s Liberation Party/Front (DHKP/C) was originally formed in 1978 as
Devrimci Sol, or Dev Sol, a splinter faction of Dev Genc (Revolutionary Youth). It was
renamed in 1994 after factional infighting. “Party” refers to the group’s political activities, while
“Front” is a reference to the group’s militant operations. The group espouses a Marxist-Leninist
ideology and vehemently opposes the United States, NATO, and Turkish establishments. Its
goals are the establishment of a socialist state and the abolition of harsh high-security “F-type”
prisons, in Turkey. DHKP/C finances its activities chiefly through donations and extortion.

Activities: Since the late 1980s, the group has primarily targeted current and retired Turkish
security and military officials. It began a new campaign against foreign interests in 1990, which
included attacks against U.S. military and diplomatic personnel and facilities. Dev Sol
assassinated two U.S. military contractors, wounded an Air Force officer, and bombed more than
20 U.S. and NATO military, commercial, and cultural facilities. DHKP/C added suicide
bombings to its repertoire in 2001, with successful attacks against Turkish police in January and
September. Since the end of 2001, DHKP/C has typically used improvised explosive devices
against official Turkish targets and U.S. targets of opportunity.

Operations and arrests against the group have weakened its capabilities. In late June 2004, the
group was suspected of a bus bombing at Istanbul University, which killed four civilians and
wounded 21. In July 2005, in Ankara, police intercepted and killed a DHKP/C suicide bomber
who attempted to attack the Ministry of Justice. In June 2006, the group killed a police officer in
Istanbul; four members of the group were arrested the next month for the attack.

The DHKP/C was dealt a major ideological blow when Dursun Karatas, leader of the group, died
in August 2008 in the Netherlands. After the loss of their leader, the DHKP/C reorganized in
2009 and was reportedly competing with the Kurdistan Workers Party for influence in both
Turkey and with the Turkish diaspora in Europe. In 2011, DHKP/C continued to plan terrorist
attacks, and suspected members were arrested in Greece in July. In October, a suspected
DHKP/C member blew himself up with a grenade in Thessaloniki, Greece. A significant cache


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of weapons was found in the suspect’s apartment, shared with other suspected DHKP/C
members.

Strength: Probably several dozen members inside Turkey, with a limited support network
throughout Europe.

Location/Area of Operation: Turkey, primarily in Istanbul, Ankara, Izmir, and Adana.

External Aid: DHKP/C raises funds in Europe. The group also raises funds through extortion.

REVOLUTIONARY STRUGGLE

aka RS; Epanastatikos Aghonas; EA

Description: Designated as a Foreign Terrorist Organization on May 18, 2009, Revolutionary
Struggle (RS) is a radical leftist group with Marxist ideology that has conducted attacks against
both Greek and U.S. targets in Greece. RS emerged in 2003 following the arrests of members of
the Greek leftist groups 17 November and Revolutionary People’s Struggle.

Activities: RS first gained notoriety when it claimed responsibility for the September 5, 2003
bombings at the Athens Courthouse during the trials of 17 November members. From 2004 to
2006, RS claimed responsibility for a number of improvised explosive device (IED) attacks,
including a March 2004 attack outside of a Citibank office in Athens. RS claimed responsibility
for the January 12, 2007 rocket propelled grenade (RPG) attack on the U.S. Embassy in Athens,
which resulted in damage to the building. In 2009, RS increased the number and sophistication
of its attacks on police, financial institutions, and other targets. RS successfully bombed a
Citibank branch in Athens in March 2009, but failed in its vehicle-borne IED attack in February
2009 against the Citibank headquarters building in Athens. In September 2009, RS claimed
responsibility for a car bomb attack on the Athens Stock Exchange, which caused widespread
damage and injured a passerby.

In 2010, the Greek Government made significant strides in curtailing RS’s terrorist activities.
On April 10, Greek police arrested six suspected RS members, including purported leadership
figure Nikos Maziotis. In addition to the arrests, the Greek raid resulted in the seizure of a RPG
launcher, possibly the one used against the U.S. Embassy in Athens in January 2007. The six,
plus two other suspected RS members, face charges for arms offenses, causing explosions, and
multiple counts of attempted homicide. Their trial started in December 2011, and if found guilty,
the suspects face up to 25 years in prison.

Strength: Unknown but numbers presumed to be small.

Location/Area of Operation: Athens, Greece.

External Aid: Unknown.

AL-SHABAAB

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aka The Harakat Shabaab al-Mujahidin; al-Shabab; Shabaab; the Youth; Mujahidin al-Shabaab
Movement; Mujahideen Youth Movement; Mujahidin Youth Movement

Description: Designated as a Foreign Terrorist Organization on March 18, 2008, al-Shabaab
was the militant wing of the former Somali Islamic Courts Council that took over parts of
southern Somalia in the second half of 2006. Since the end of 2006, al-Shabaab and disparate
clan militias have led a violent insurgency using guerrilla warfare and terrorist tactics against the
Transitional Federal Government (TFG) of Somalia. Several senior al-Shabaab leaders have
publicly proclaimed loyalty to AQ. In some camps, AQ-affiliated foreign fighters often led the
training and indoctrination of the recruits. Rank and file militia fighters from multiple clan and
sub-clan factions that are aligned with al-Shabaab are predominantly interested in indigenous
issues. The group’s foreign fighters were generally intent on conducting attacks outside Somalia
and as of late 2011 had seen their operational capacity reduced due to the military campaign
against al-Shabaab. Al-Shabaab proceeded to develop ties to al-Qa’ida in the Arabian Peninsula
(AQAP) during 2011.

Activities: Al-Shabaab has used intimidation and violence to undermine the TFG, forcibly
recruit new fighters, and kill activists working to bring about peace through political dialogue
and reconciliation. The group has claimed responsibility for several high profile bombings and
shootings throughout Somalia targeting African Union Mission in Somalia (AMISOM) troops
and TFG officials. It has been responsible for the assassination of numerous civil society
figures, government officials, and journalists. Al-Shabaab fighters and those who have also
claimed allegiance to the group have conducted violent attacks and have assassinated
international aid workers and members of non-governmental organizations.

In its first attack outside of Somalia, al-Shabaab was responsible for the July 11, 2010 suicide
bombings in Kampala, Uganda during the World Cup, which killed nearly 76 people, including
one American citizen. Al-Shabaab’s attacks continued apace in 2011, and resulted in the deaths
of more than 1,000 people. Among al-Shabaab’s most deadly 2011 attacks were a string of
armed assaults in May that killed over 120 people, a June attack on AMISOM peacekeepers that
killed 13, and an October vehicle-borne improvised explosive device attack on a government
compound in Mogadishu that killed more than 70 people, including nine children. Al-Shabaab
also killed the TFG Minister of Interior in June.

Location/Area of Operation: After the organization’s area of control expanded in 2010, al-
Shabaab lost control of significant areas of territory in 2011. By August, after a multi-front
offensive against al-Shabaab, the group left Mogadishu, and the TFG and AMISOM gained
control of the majority of districts in Mogadishu for the first time. Despite these losses, al-
Shabaab continued to control much of southern Somalia throughout 2011.

Strength: Al-Shabaab is estimated to have several thousand members when augmented by
foreign fighters and allied clan militias.

External Aid: Because al-Shabaab is a multi-clan entity, it receives significant donations from
the global Somali diaspora; however, the donations are not all intended to support terrorism; the

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money is also meant to support family members. The loss of Mogadishu as a source of tax
revenue caused al-Shabaab’s revenue to diminish in 2011. However, al-Shabaab leaders and
many rank-and-file fighters have successfully garnered significant amounts of money from port
revenues and through criminal enterprises, especially in Kismayo.

SHINING PATH

aka SL; Sendero Luminoso; Ejercito Guerrillero Popular (People’s Guerrilla Army); EGP;
Ejercito Popular de Liberacion (People’s Liberation Army); EPL; Partido Comunista del Peru
(Communist Party of Peru); PCP; Partido Comunista del Peru en el Sendero Luminoso de Jose
Carlos Mariategui (Communist Party of Peru on the Shining Path of Jose Carlos Mariategui);
Socorro Popular del Peru (People’s Aid of Peru); SPP

Description: Shining Path (SL) was designated as a Foreign Terrorist Organization on October
8, 1997. Former university professor Abimael Guzman formed SL in Peru in the late 1960s, and
his teachings created the foundation of SL’s militant Maoist doctrine. SL’s stated goal is to
destroy existing Peruvian institutions and replace them with a communist peasant revolutionary
regime. It also opposes any influence by foreign governments. In the 1980s, SL was one of the
most ruthless terrorist groups in the Western Hemisphere. The Peruvian government made
dramatic gains against SL during the 1990s, capturing Guzman in 1992, and killing a large
number of militants. In 2011, the Upper Huallaga Valley (UHV) faction of SL was largely
reduced, and in December, the faction’s leader publicly acknowledged defeat. Still, he did not
turn himself in or disband his organization. Separately, the much larger and stronger rival SL
faction in the Apurimac and Ene River Valley (VRAE) maintained its influence.

Activities: SL activities have included intimidation of U.S.-sponsored non-governmental
organizations involved in counternarcotics efforts, the ambushing of counternarcotics
helicopters, and attacks against Peruvian police perpetrated in conjunction with narcotics
traffickers.

SL killed an estimated 17 people in 2011, including 11 soldiers in a December attack on a
military convoy and a military helicopter.

Strength: The two SL factions together are believed to have several hundred armed members.

Location/Area of Operation: Peru, with most activity in rural areas, specifically the Huallaga
Valley, the Ene River, and the Apurimac Valley of central Peru.

External Aid: SL is primarily funded by the narcotics trade.

TEHRIK-E TALIBAN PAKISTAN

Aka: Pakistani Taliban; Tehreek-e-Taliban; Tehrik-e-Taliban; Tehrik-e Taliban Pakistan; Tehrik-
i-Taliban Pakistan; TTP




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Description: Designated as a Foreign Terrorist Organization on September 1, 2010, Tehrik-e
Taliban Pakistan (TTP) is a Pakistan-based terrorist organization formed in 2007 in opposition to
Pakistani military efforts in the Federally Administered Tribal Areas. Previously disparate
militant tribes agreed to cooperate and eventually coalesced into TTP under the leadership of
now deceased leader Baitullah Mehsud. The group officially presented itself as a discrete entity
in 2007. TTP has been led by Hakimullah Mehsud since August 2009. Other senior leaders
include Wali Ur Rehman, the TTP emir in South Waziristan, Pakistan. TTP’s goals include
overthrowing the Government of Pakistan by waging a terrorist campaign against the civilian
leader of Pakistan, its military, and NATO forces in Afghanistan. TTP uses the tribal belt along
the Afghan-Pakistani border to train and deploy its operatives, and the group has a symbiotic
relationship with al-Qa’ida (AQ). TTP draws ideological guidance from AQ, while AQ relies on
TTP for safe haven in the Pashtun areas along the Afghan-Pakistani border. This arrangement
gives TTP access to both AQ’s global terrorist network and the operational experience of its
members. Given the proximity of the two groups and the nature of their relationship, TTP is a
force multiplier for AQ.

Activities: TTP has carried out and claimed responsibility for numerous terrorist acts against
Pakistani and U.S. interests, including a December 2009 suicide attack on a U.S. military base in
Khowst, Afghanistan, which killed seven U.S. citizens, and an April 2010 suicide bombing
against the U.S. Consulate in Peshawar, Pakistan, which killed six Pakistani citizens. TTP is
suspected of being involved in the 2007 assassination of former Pakistani Prime Minister
Benazir Bhutto. TTP claimed to have supported the failed attempt by Faisal Shahzad to detonate
an explosive device in New York City’s Times Square on May 1, 2010. TTP’s claim was
validated by investigations that revealed that TTP directed and facilitated the plot.

Throughout 2011, TTP carried out attacks against the Government of Pakistan and civilian
targets, as well as against U.S. targets in Pakistan. Attacks in 2011 included: a March bombing
at a gas station in Faisalabad that killed 31 people; an April double suicide bombing at a Sufi
shrine in Dera Ghazi Khan that left more than 50 dead; a May bombing of an American
consulate convoy in Peshawar that killed one person and injured twelve; a May siege of a naval
base in Karachi; the May assassination of the PNS Mehran Saudi diplomat in Karachi; and a
September attack against a school bus that killed four children and the bus driver.

Strength: Several thousand.

Location: Federally Administered Tribal Areas (FATA), Pakistan

External aid: TTP is believed to raise most of its funds through kidnapping for ransom and
operations that target Afghanistan-bound military transport trucks for robbery. Such operations
enable TTP to steal military equipment, which they then sell in Afghan and Pakistani markets.

UNITED SELF-DEFENSE FORCES OF COLOMBIA

aka AUC; Autodefensas Unidas de Colombia




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Description: Designated as a Foreign Terrorist Organization on September 10, 2001, the United
Self-Defense Forces of Colombia (AUC) – commonly referred to as the paramilitaries – was
formed in April 1997. AUC was designed to serve as an umbrella group for loosely affiliated,
illegal paramilitary groups retaliating against leftist guerillas. As the Colombian government
increasingly confronted terrorist organizations, however, including the AUC, the group’s
activities decreased. After a large-scale demobilization process began in 2010, most of the
AUC’s centralized military structure was dismantled and all of the top paramilitary chiefs have
stepped down.

Activities: The AUC has carried out political killings and kidnappings of human rights workers,
journalists, teachers, and trade unionists, among others. As much as 70 percent of the AUC’s
paramilitary operational costs were financed with drug-related earnings. Some former members
of the AUC never demobilized or are recidivists, and these elements have continued to engage
heavily in criminal activities. The AUC did not carry out any terrorist attacks during 2011.

Strength: Unknown.

Location/Areas of Operation: Paramilitary forces were strongest in Northwest Colombia, with
affiliate groups in Valle del Cauca, on the west coast, and Meta Department, in Central
Columbia.

External Aid: None.




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CHAPTER 7
LEGISLATIVE REQUIREMENTS AND KEY TERMS

Country Reports on Terrorism 2010 is submitted in compliance with Title 22 of the United
States Code, Section 2656f (the “Act”), which requires the Department of State to provide
Congress a full and complete annual report on terrorism for those countries and groups meeting
the criteria of the Act. Statutory excerpts relating to the terms used in this report and a
discussion of the interpretation and application of those terms in this report are included below.

Excerpts and Summary of Key Statutory Terms:

Section 2656f(a) of Title 22 of the United States Code states as follows:
(a) … The Secretary of State shall transmit to the Speaker of the House of Representatives and
the Committee on Foreign Relations of the Senate, by April 30 of each year, a full and complete
report providing -

(1) (A) detailed assessments with respect to each foreign country -

(i) in which acts of international terrorism occurred which were, in the opinion of the Secretary,
of major significance;

(ii) about which the Congress was notified during the preceding five years pursuant to Section
2405(j) of the Export Administration Act of 1979; and

(iii) which the Secretary determines should be the subject of such report; and

(B) detailed assessments with respect to each foreign country whose territory is being used as a
sanctuary for terrorist organizations;

(2) all relevant information about the activities during the preceding year of any terrorist group,
and any umbrella group under which such terrorist group falls, known to be responsible for the
kidnapping or death of an American citizen during the preceding five years, any terrorist group
known to have obtained or developed, or to have attempted to obtain or develop, weapons of
mass destruction, any terrorist group known to be financed by countries about which Congress
was notified during the preceding year pursuant to section 2405(j) of the Export Administration
Act of 1979, any group designated by the Secretary as a foreign terrorist organization under
section 219 of the Immigration and Nationality Act (8 U.S.C. 1189), and any other known
international terrorist group which the Secretary determines should be the subject of such
report;

(3) with respect to each foreign country from which the United States Government has sought
cooperation during the previous five years in the investigation or prosecution of an act of
international terrorism against United States citizens or interests, information on -

(A) the extent to which the government of the foreign country is cooperating with the United
States Government in apprehending, convicting, and punishing the individual or individuals

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responsible for the act; and

(B) the extent to which the government of the foreign country is cooperating in preventing
further acts of terrorism against United States citizens in the foreign country; and

(4) with respect to each foreign country from which the United States Government has sought
cooperation during the previous five years in the prevention of an act of international terrorism
against such citizens or interests, the information described in paragraph (3)(B).

Section 2656f(d) of Title 22 of the United States Code defines certain key terms used in Section
2656f(a) as follows:

(1) the term “international terrorism” means terrorism involving citizens or the territory of more
than one country;

(2) the term “terrorism” means premeditated, politically motivated violence perpetrated against
non-combatant targets by subnational groups or clandestine agents; and

(3) the term “terrorist group” means any group practicing, or which has significant subgroups
which practice, international terrorism.

Interpretation and Application of Key Terms. For purposes of this report, the terms
“international terrorism,” “terrorism,” and “terrorist group” have the definitions assigned to them
in 22 USC 2656f(d) (see above). The term “non-combatant,” which is referred to but not defined
in 22 USC. 2656f(d)(2), is interpreted to mean, in addition to civilians, military personnel
(whether or not armed or on duty) who are not deployed in a war zone or a war-like setting.

It should be noted that 22 USC 2656f(d) is one of many U.S. statutes and international legal
instruments that concern terrorism and acts of violence, many of which use definitions for
terrorism and related terms that are different from those used in this report. The interpretation
and application of defined and related terms concerning terrorism in this report is therefore
specific to the statutory and other requirements of the report, and is not intended to express the
views of the U.S. government on how these terms should be interpreted or applied for any other
purpose. Accordingly, there is not necessarily any correlation between the interpretation of
terms such as “non-combatant” for purposes of this report and the meanings ascribed to similar
terms pursuant to the law of war (which encapsulates the obligations of states and individuals
with respect to their activities in situations of armed conflict).

Statistical Information. Pursuant to 22 USC § 2656f(b), this report must contain “to the extent
practicable, complete statistical information on the number of individuals, including United
States citizens and dual nationals, killed, injured, or kidnapped by each terrorist group during the
preceding calendar year.” This requirement is satisfied through the inclusion of a statistical
annex to the report that sets out statistical information provided by the National Counterterrorism
Center (NCTC). The statistical annex includes a discussion of the methodology employed by
NCTC in compiling the relevant data. This report does not contain statistical information
specifically concerning combatants. The focus of the terrorism report, as is clear from the

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definition of terrorism, is on violence against noncombatant targets. Further, it would not be
practicable to provide such statistics, as the government does not maintain - and would have
great difficulty maintaining - statistics that distinguish between incidents against combatants by
terrorist groups and by others, including insurgents, in Iraq and Afghanistan.

Contextual Reporting. Adverse mention in this report of individual members of any political,
social, ethnic, religious, or national population is not meant to imply that all members of that
population are terrorists. Indeed, terrorists rarely represent anything other than a tiny fraction of
such larger populations. It is terrorist groups – and their actions – that are the focus of this
report.

Furthermore, terrorist acts are part of a larger phenomenon of violence inspired by a cause, and
at times the line between the two can become difficult to draw. This report includes some
discretionary information in an effort to relate terrorist events to the larger context in which they
occur, and to give a feel for the conflicts that spawn violence.

Thus, this report will discuss terrorist acts as well as other violent incidents that are not
necessarily “international terrorism” and therefore are not subject to the statutory reporting
requirement.




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                         National
                         Counterterrorism
                         Center


                         Annex of Statistical Information



                                       Information cut off date:   March 12, 2012
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DEVELOPING STATISTICAL INFORMATION

The National Counterterrorism Center (NCTC) was created in 2004 to ensure, in part, that U.S.
government agencies have appropriate access to and receive the intelligence necessary to
accomplish their assigned missions. NCTC is the U.S. government’s central and shared
knowledge bank on international terrorism and, in this capacity, NCTC provides the Department
of State with statistical information to assist it in completing the annual Country Reports on
Terrorism (CRT).

Title 22, Section 2656f of the United States Code (U.S.C.) requires the Department of State to
include in its annual report, "to the extent practicable, complete statistical information on the
number of individuals, including United States citizens and dual nationals, killed, injured, or
kidnapped by each terrorist group during the preceding calendar year." In compiling the figures
of terrorist incidents that are included in the CRT, NCTC uses the definition of terrorism found
in Title 22, which provides that terrorism is "premeditated, politically motivated violence
perpetrated against noncombatant targets by subnational groups or clandestine agents." (See, 22
U.S.C. § 2656f(d)[2]).

NCTC maintains its statistical information on the U.S. government's authoritative and
unclassified database on terrorist acts, the Worldwide Incidents Tracking System (WITS). The
primary function of WITS is to provide terrorism statistics to the Department of State for
preparation of its annual report. WITS uses a well-defined methodology that involves
documented coding practices for categorizing and enumerating relevant statistics. WITS is
accessible on the NCTC Web site, www.nctc.gov, providing the public with a transparent view
of the NCTC data. The data posted to the website is updated on a quarterly basis, pursuant to a
rigorous 90-day review and vetting process.

The statistical material in this unclassified report is drawn from terrorism incidents that occurred
in 2011, as reported in open source information. This open source material is the most
comprehensive resource that NCTC can use to compile and provide the statistical data necessary
for the Department of State to fulfill its legislative reporting requirements.

While open source material provides an unparalleled expanse of information, the credibility of
sources may vary. For example, the ability of WITS to provide specific details on incident
victims, the perpetrators responsible, or the extent of the damage incurred is limited by access to
reliable open-source reporting. Additionally, annual comparisons of the total number of global
attacks do not indicate the international community’s rate of effectiveness at preventing attacks
or reducing terrorist capacity.

As such, this Annex is provided for general statistical purposes only. Observations made on this
statistical material relating to the frequency, intensity, or nature of the incidents are offered only
as part of the analytic work of NCTC and may not reflect the assessments of other U.S.
government departments and agencies. Nothing in this report should be construed as a
determination that individuals associated with incidents have been found guilty of terrorism or
criminal offense.



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The reader is encouraged to use this Annex as a guide to review publicly reported annual terrorist
activity. Tracking terrorist incidents helps to understand important characteristics, patterns, and
trends that surround terrorism, and helps to advance analysis and research. The ultimate goal in
following incidents as they occur, however, is to maintain global awareness of the persistent
threat terrorism poses and the critical need to secure its defeat.




                    INCIDENTS OF TERRORISM, WORLDWIDE*
                                         2007   2008   2009   2010                     2011
Attacks worldwide                      14,415 11,663 10,968 11,641                   10,283
Attacks resulting in at least 1 death,
                                       11,085  8,361  7,874  8,259                    7,453
injury, or kidnapping
Attacks resulting in the death of at
                                          353    234    236    193                      193
least 10 individuals
Attacks resulting in the death of at
                                        7,229  5,040  4,761  4,704                    4,502
least 1 individual
Attacks resulting in the death of
                                        3,982  2,870  2,695  2,691                    2,550
only 1 individual
Attacks resulting in the death of 0
                                        7,186  6,623  6,207  6,937                    5,781
individuals
Attacks resulting in the injury of at
                                        6,231  4,831  4,530  4,724                    4,333
least 1 individual
Attacks resulting in the kidnapping
                                        1,156    948    882  1,118                      795
of at least 1 individual
People killed, injured or kidnapped
                                       71,803 54,290 58,720 49,928                   43,990
as a result of terrorism, worldwide
People killed as a result of
                                       22,720 15,709 15,311 13,193                   12,533
terrorism, worldwide
People injured as a result of
                                       44,103 33,901 32,660 30,684                   25,903
terrorism, worldwide
People kidnapped as a result of
                                        4,980  4,680 10,749  6,051                    5,554
terrorism, worldwide




                                                                                           Page | 2
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               INCIDENTS OF TERRORISM IN IRAQ AND AFGHANISTAN*
                                            2007   2008   2009   2010                              2011
    Attacks in Iraq                        6,210  3,255  2,458  2,687                             2,265
    Attacks in Iraq resulting in at least
                                           5,575  2,900  2,179  2,358                             2,158
    1 death, injury, or kidnapping
    People killed, injured, or kidnapped
                                          44,014 19,077 16,869 15,108                            12,192
    as a result of terrorism in Iraq
    Attacks in Afghanistan                 1,122  1,219  2,124  3,346                             2,872
    Attacks in Afghanistan resulting in
    at least 1 death, injury, or             889    950  1,451  2,060                             1,846
    kidnapping
    People killed, injured, or kidnapped
    as a result of terrorism in            4,647  5,488  7,588  9,035                             9,171
    Afghanistan

*Attacks are limited to attacks against noncombatant targets. Numbers represented in table for 2007 through 2010
have been updated since the 2010 publication and are based on data in the Worldwide Incidents Tracking Systems
<www.nctc.gov>.

NCTC OBSERVATIONS ON THE STATISTICAL MATERIAL PROVIDED BY WITS

Overarching Trends

Over 10,000 terrorist attacks occurred in 2011, affecting nearly 45,000 victims in 70 countries
and resulting in over 12,500 deaths. The total number of worldwide attacks in 2011, however,
dropped by almost 12 percent from 2010 and nearly 29 percent from 2007. Although the 2011
numbers represent five-year lows, they also underscore the human toll and geographic reach of
terrorism. The Near East and South Asia continued to experience the most attacks, incurring just
over 75 percent of the 2011 total. In addition, Africa and the Western Hemisphere experienced
five-year highs in the number of attacks, exhibiting the constant evolution of the terrorist threat.

•     The Near East and South Asia suffered 7,721 attacks and 9,236 deaths. The majority of
      those occurred in just three countries—Afghanistan, Iraq and Pakistan—which, together,
      accounted for 85 percent of attacks in these regions and almost 64 percent of attacks
      worldwide. While attacks in Afghanistan and Iraq decreased from 2010 by 14 and 16
      percent, respectively, attacks in Pakistan increased by 8 percent. 1

•     Africa experienced 978 attacks in 2011, an 11.5 percent increase over 2010. This is
      attributable in large part to the more aggressive attack tempo of the Nigeria-based terrorist
      group Boko Haram, which conducted 136 attacks in 2011—up from 31 in 2010.




1
 Trend analysis for Afghanistan includes inconsistent source reporting between 15 November and 31 December
2011.
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•   Attacks in Europe and Eurasia fell 20 percent from 703 in 2010 to 561 in 2011. The greatest
    decline occurred in Russia where terrorist attacks were down from 396 in 2010 to 238 in
    2011. In contrast, Turkey experienced a spike in terrorist attacks, rising from 40 in 2010 to
    91 in 2011. Together, Russia and Turkey suffered almost 70 percent of all 2011 terrorism-
    related deaths in Europe and Eurasia.

•   The number of terrorist attacks in East Asia and the Pacific declined for the fifth consecutive
    year, falling 25 percent from 724 in 2010 to 543 in 2011, and 62 percent from the peak of
    1,423 in 2007. Thailand and the Philippines continued to be the primary terrorist targets in
    the region.

•   Terrorist attacks in the Western Hemisphere rose nearly 40 percent from 343 in 2010 to 480
    in 2011, the vast majority of which were ascribed to the Revolutionary Armed Forces of
    Colombia (FARC).

Perpetrators

Sunni extremists accounted for the greatest number of terrorist attacks and fatalities for the third
consecutive year. More than 5,700 incidents were attributed to Sunni extremists, accounting for
nearly 56 percent of all attacks and about 70 percent of all fatalities. Among this perpetrator
group, al-Qa‘ida (AQ) and its affiliates were responsible for at least 688 attacks that resulted in
almost 2,000 deaths, while the Taliban in Afghanistan and Pakistan conducted over 800 attacks
that resulted in nearly 1,900 deaths. Secular, political, and anarchist groups were the next largest
category of perpetrators, conducting 2,283 attacks with 1,926 fatalities, a drop of 5 percent and 9
percent, respectively, from 2010.

•   Attacks by AQ and its affiliates increased by 8 percent from 2010 to 2011. A significant
    increase in attacks by al-Shabaab, from 401 in 2010 to 544 in 2011, offset a sharp decline in
    attacks by al-Qa‘ida in Iraq (AQI) and a smaller decline in attacks by al-Qa‘ida in the
    Arabian Peninsula (AQAP) and al-Qa‘ida in the Islamic Maghreb (AQIM).

•   The most active of the secular, political, and anarchist groups in 2011 included the FARC
    (377 attacks), the Communist Party of India-Maoist (CPI-Maoist) (351 attacks), the New
    People’s Army/Communist Party of the Philippines (NPA-CPP) (102 attacks), and the
    Kurdistan Worker’s Party (PKK) in Turkey (48 attacks).

Notable 2011 Sunni Extremist Attacks Cataloged in WITS:

•   On June 3, in Sanaa, Yemen, suspected AQAP members bombed the Presidential Palace,
    injuring President Ali Abdallah Salih and Prime Minister Ali Muhammad Mujawar, and
    killing and injuring 16 members of their entourage and bodyguards. This was the only attack
    in 2011 where a sitting head of state was wounded.

•   On August 26, in Abuja, Nigeria, Boko Haram conducted its first attack against a foreign
    target with a suicide Vehicle-Borne Improvised Explosive Device (VBIED) attack on the
    United Nations compound in Abuja, Nigeria, killing 12 UN staff members and 12 others and
    wounding 115 persons. This is the largest terrorist attack in the country to date.
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•   On September 20, in Kabul, Afghanistan, a suspected Taliban suicide bomber detonated an
    Improvised Explosive Device (IED) at the residence of the former President of Afghanistan
    and current Peace Council Chief, killing the Peace Council Chief and five others and
    wounding several civilians.

•   On October 4, in Mogadishu, Somalia, a suspected al-Shabaab suicide bomber drove a truck
    into a government compound and detonated a VBIED, killing 91 civilians and nine children
    and wounding 164 civilians and children. This incident resulted in the most total victims of
    any single attack during 2011.

Other Notable Attacks Cataloged in WITS:

•   On March 13, in Nzako, Central African Republic, suspected Lord's Resistance Army (LRA)
    assailants attacked the village, killing 12 civilians, kidnapping more than 100 others
    (including children) and setting fire to and looting the village.

•   On July 22, in Oslo, Norway, a politically-motivated lone wolf first detonated a VBIED
    outside the Prime Minister’s office, killing seven government employees and one civilian and
    wounding 30 other civilians. Two hours later, on Utoya Island, the same assailant fired upon
    a Norwegian Labor Party-associated youth camp, killing 67 people and two police officers
    and injuring 66 others.

Types of Attacks

Armed attacks and bombings constituted nearly 80 percent of all terrorist attacks in 2011.
Suicide attacks accounted for just 2.7 percent of terrorist attacks last year but 21 percent of all
terrorism-related fatalities, a fact that underscores their extreme lethality. IEDs were the most
frequently used and deadliest terrorist weapon employed.

•   The number of bombings has remained relatively consistent over the past five years, ranging
    between approximately 4,000 and 4,500 annually. In contrast, the number of armed attacks
    has steadily decreased from a high of 7,958 in 2007 to 4,290 in 2011.

•   Suicide attacks rose from 264 in 2010 to 279 in 2011. In spite of the increase, this represents
    a sharp drop from the five-year peak of 520 suicide attacks in 2007. Sunni extremists
    conducted 93 percent of suicide attacks.

•   Terrorism-related kidnapping events and deaths, 978 and 576, respectively, hit five-year
    lows.

Victims of Attacks

Over 12,000 people were killed by terrorist attacks in 2011. The overall number of victims
killed, however, decreased 5 percent from 2010. More than half of the people killed in 2011
were civilians and 755 were children. Although terrorism deaths decreased, the number of
government representative and security force fatalities increased significantly. Muslims
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continued to bear the brunt of terrorism, while attacks targeting Christians dropped nearly 45
percent from a five-year high in 2010.

•   Although civilians were the largest single group of victims killed in terrorist attacks, their
    numbers over the past five years in proportion to the total number of deaths have gone down
    by 13 percent, decreasing from a 2007 high of 64 percent.

•   The number of government employees and contractors killed in 2011 increased by over 60
    percent from 2010, while the number of government officials killed in 2011 increased by
    over 13 percent. The number of police killed in 2011 also increased by over 15 percent.

•   In cases where the religious affiliation of terrorism casualties could be determined, Muslims
    suffered between 82 and 97 percent of terrorism-related fatalities over the past five years.

•   Muslim majority countries bore the greatest number of attacks involving 10 or more deaths,
    with Afghanistan sustaining the highest number (47), followed by Iraq (44), Pakistan (37),
    Somalia (28), and Nigeria (12).

•   Afghans also suffered the largest number of fatalities overall with 3,245 deaths, followed by
    Iraqis (2,958), Pakistanis (2,038), Somalis (1,013), and Nigerians (590).

Attacks against Facilities

Over two-thirds of all terrorist attacks struck infrastructure or facilities. Of those, transportation
assets and public places were the most frequently targeted. Transportation facilities—such as
vehicles, buses and transportation infrastructure—incurred damage in about 27 percent of the
attacks, while public places—including communal areas, markets, polling stations, religious
institutions, schools and residences—incurred damage in about 21 percent of the attacks.

•   Attacks on government facilities decreased by about 43 percent from 2010, from 796 attacks
    to 453 attacks in 2011.

•   There was a sharp increase in the number of attacks directed at energy infrastructure,
    including fuel tankers, fuel pipelines and electrical networks, rising from 299 attacks in 2010
    to 438 attacks in 2011.

•   The number of attacks directed at public places declined in each of the past five years, from a
    high of 4,121 attacks in 2007 to 2,186 attacks in 2011.




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Terrorism Deaths, Injuries, Kidnappings of Private U.S. Citizens, 2011
Provided by the Bureau of Consular Affairs, U.S. Department of State

The term “Private U.S. Citizen” refers to any U.S. citizen not acting in an official capacity on
behalf of the U.S. Government; therefore these figures do not include, for example, U.S. military
personnel killed or injured in a terrorism-related incident while on active duty or employees of
the Department of State and other federal agencies. Members of U.S. government employees'
households are considered private U.S. citizens for purposes of this report.

Although every effort was made to include all terrorism-related deaths and injuries involving
private U.S. citizens, the figures below reflect only those cases reported to, or known by, the U.S.
Department of State, and may not reflect actual numbers of injured, which may not always be
reported depending on the severity of injuries. As NCTC also notes, in the cases of Iraq and
Afghanistan, it is particularly difficult to gather comprehensive information about all incidents
and to distinguish terrorism from the numerous other forms of violence.

U.S. citizens worldwide killed as a result of incidents of terrorism: 17
U.S. citizens worldwide injured as a result of incidents of terrorism: 14
U.S. citizens worldwide kidnapped as a result of incidents of terrorism: 3




TERRORISM DEATHS OF PRIVATE U.S. CITIZENS IN 2011 (BY COUNTRY)

Country                    Date of Death           Number      Location
Afghanistan                February 7, 2011             1      Kandahar, Afghanistan
                           April 27, 2011               1      Kabul, Afghanistan
                           April 28, 2011               1      FOB Bermel/Boris, Afghanistan
                           June 6, 2011                 1      Laghman, Afghanistan
                           July 27, 2011                1      Kandahar, Afghanistan
                           September 5, 2011            1      Ghazni Province, Afghanistan
                           October 29, 2011             7      Kabul, Afghanistan
                           December 6, 2011             1      Kabul, Afghanistan
                           December 11, 2011            1      Kabul, Afghanistan
Israel, Jerusalem, Gaza,   September 23, 2011           1      Jerusalem, Jerusalem
and the West Bank
Iraq                       June 23, 2011                1      Baghdad, Iraq
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TERRORISM INJURIES OF PRIVATE U.S. CITIZENS IN 2011 (BY COUNTRY)

Country                    Date of Injury       Number   Location
Afghanistan                September 13. 2011   4        Kabul, Afghanistan
                           October 19, 2011     1        Kabul, Afghanistan
                           December 2, 2011     5        Kabul, Afghanistan
Israel, Jerusalem, Gaza,
and the West Bank          March 23, 2011       2        Jerusalem, Jerusalem
                           August 19, 2011      1        Tel Aviv, Israel
Iraq                       June 23, 2011        1        Baghdad, Iraq




       TERRORISM KIDNAPPINGS OF PRIVATE U.S. CITIZENS IN 2011 (BY
                            COUNTRY)

Country                    Date of Kidnapping   Number   Location / Date Released or Rescued
Pakistan                   8/13/2011                1    Lahore, Pakistan
Iraq                       7/11/2011                1    Baghdad, Iraq- Released March 17, 2012
Somalia                    10/25/2011               1    Haradhere, Somalia -Rescued on January
                                                         25, 2012
